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                      EXHIBIT B


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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE
In re:                                                             )    Chapter 11
                                                                   )
W. R. GRACE & CO., et al.,1                                        )    Case No. 01-1139 (JKF)
                                                                   )    Jointly Administered
                             Debtors.                              )
                                                                   )

              EXHIBIT BOOK TO FIRST AMENDED JOINT PLAN
  OF REORGANIZATION AND DISCLOSURE STATEMENT AS OF FEBRUARY 27, 2009

        The above-captioned debtors and debtors in possession (collectively, the “Debtors”)
 hereby file this exhibit book (the “Exhibit Book”) in conjunction with the filing of the First
 Amended Joint Plan of Reorganization under Chapter 11 of the Bankruptcy Code of W. R. Grace
 & Co., et al., The Official Committee of Asbestos Personal Injury Claimants, the Asbestos PI
 Future Claimants’ Representative, and the Official Committee Of Equity Security Holders Dated
 as of February 27, 2009 (as it may be amended or supplemented, the “Plan”) and accompanying
 disclosure statement (as it may be amended or supplemented, the “Disclosure Statement”). The
 Exhibit Book contains the following documents:

                                                                                                                               Exhibit
 Document Title                                                                                                                  No.

 First Amended Joint Plan of Reorganization ...................................................................................1

 Asbestos PI Trust Agreement ..........................................................................................................2

 Asbestos PD Trust Agreement.........................................................................................................3

 1    The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R.
      Grace & Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB
      Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace 11, Inc., Creative Food ‘N
      Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy
      Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I,
      Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings,
      Inc., GPC Thomasville Corp., Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B I1 Inc.,
      Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Drilling Company, Grace Energy
      Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G I1 Inc., Grace Hotel
      Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
      Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc.,
      Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation,
      Gracoal, Inc., Gracoal 11, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation,
      Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a
      GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe
      Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-
      BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a
      Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin
      & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
      Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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                            FOR THE DISTRICT OF DELAWARE

In re:                                               )        Chapter 11
                                                     )
W. R. GRACE & CO., et al.1                           )        Case No. 01-01139 (JKF)
                                                     )        Jointly Administered
                         Debtors.                    )
                                                     )
                                                     )
                                                     )


                           EXHIBIT 1 TO EXHIBIT BOOK
                  FIRST AMENDED JOINT PLAN OF REORGANIZATION

                                                                                                  EXHIBIT 1

         Attached.




1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF DELAWARE


In re:                               )     Chapter 11
                                     )
W. R. GRACE & CO., et al.            )     Case No. 01-1139 (JKF)
                                     )     Jointly Administered
                  Debtors.           )
                                     )


  FIRST AMENDED JOINT PLAN OF REORGANIZATION UNDER CHAPTER 11 OF
    THE BANKRUPTCY CODE OF W. R. GRACE & CO., ET AL., THE OFFICIAL
 COMMITTEE OF ASBESTOS PERSONAL INJURY CLAIMANTS, THE ASBESTOS PI
 FUTURE CLAIMANTS’ REPRESENTATIVE, AND THE OFFICIAL COMMITTEE OF
          EQUITY SECURITY HOLDERS DATED FEBRUARY 27, 2009




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David M. Bernick, P.C.                            Elihu Inselbuch
Theodore L. Freedman                              CAPLIN & DRYSDALE, CHARTERED
Deanna D. Boll                                    375 Park Avenue, 35th Floor
KIRKLAND & ELLIS LLP                              New York, NY 10152-3500
Citigroup Center                                  Telephone: (212) 319-7125
153 East 53rd Street
New York, NY 10022                                Peter Van N. Lockwood
Telephone: (212) 446-4800                         Ronald Reinsel
                                                  Jeffrey Liesemer
Janet S. Baer, P.C.                               CAPLIN & DRYSDALE, CHARTERED
THE LAW OFFICES OF JANET S. BAER, P.C.            One Thomas Circle, NW
70 W. Madison St.                                 Washington, DC 20005
Suite 2100                                        Telephone: (202) 862-5000
Chicago, IL 60602
Telephone: 312-641-2162                           Marla R. Eskin (#2989)
                                                  Mark T. Hurford (#3299)
Laura Davis Jones (#2436)                         CAMPBELL & LEVINE, LLC
James E. O’Neill (#4042)                          800 King Street, Suite 300
Timothy Cairns (#4228)                            Wilmington, DE 19801
PACHULSKI STANG ZIEHL & JONES LLP                 Telephone: (302) 426-1900
919 North Market Street, 17th Floor
P.O. Box 8705                                     Counsel for the Official Committee of
Wilmington, DE 19899-8705 (Courier 19801)         Asbestos Personal Injury Claimants
Telephone: (302) 652-4100

Counsel for the Debtors and Debtors in Possession Philip Bentley
                                                  Douglas Mannal
Roger Frankel                                     KRAMER LEVIN NAFTALIS & FRANKEL
Richard H. Wyron                                  LLP
Debra L. Felder                                   1177 Avenue of the Americas
ORRICK, HERRINGTON & SUTCLIFFE LLP                New York, NY 10036
Columbia Center                                   Telephone: (212) 715-9100
1152 15th Street, NW
Washington, DC 20005-1706                         Teresa K.D. Currier (#3080)
Telephone: (202) 339-8400                         BUCHANAN INGERSOLL & ROONEY PC
                                                  The Brandywine Building
John C. Phillips, Jr. (#110)                      1000 West Street, Suite 1410
PHILLIPS, GOLDMAN & SPENCE, P.A.                  Wilmington, DE 19801
1200 North Broom Street                           Telephone: (302) 552-4200
Wilmington, DE 19806
Telephone: (302) 655-4200                         Counsel for the Official Committee of Equity
                                                  Security Holders
Counsel for David T. Austern,
Asbestos PI Future Claimants’ Representative



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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                   )    Chapter 11
                                                         )
W. R. GRACE & CO., et al.                                )    Case No. 01-1139 (JKF)
                                                         )    Jointly Administered
                         Debtors.                        )
                                                         )

     FIRST AMENDED JOINT PLAN OF REORGANIZATION UNDER CHAPTER 11 OF
        THE BANKRUPTCY CODE OF W. R. GRACE & CO., ET AL, THE OFFICIAL
          COMMITTEE OF ASBESTOS PERSONAL INJURY CLAIMANTS, THE
      ASBESTOS PI FUTURE CLAIMANTS’ REPRESENTATIVE, AND THE OFFICIAL
       COMMITTEE OF EQUITY SECURITY HOLDERS DATED FEBRUARY 27, 2009

         THIS PLAN1 PROVIDES, AMONG OTHER THINGS, FOR THE
         ISSUANCE OF INJUNCTIONS THAT (A) RESULT IN THE
         CHANNELING OF ALL ASBESTOS PERSONAL INJURY CLAIMS,
         ASBESTOS PROPERTY DAMAGE CLAIMS, AND CDN ZAI PD CLAIMS
         (INCLUDING ALL RELATED SUCCESSOR CLAIMS) AGAINST W. R.
         GRACE & CO. AND THE ASBESTOS PROTECTED PARTIES (AS
         DEFINED HEREIN) INTO TRUSTS AND/OR A CLAIMS FUND AND (B)
         ENJOIN ALL SUCCESSOR CLAIMS BASED ON OR ARISING FROM,
         IN WHOLE OR IN PART, DIRECTLY OR INDIRECTLY, THE
         CRYOVAC TRANSACTION OR FRESENIUS TRANSACTION AGAINST
         W. R. GRACE & CO. AND THE ASBESTOS PROTECTED PARTIES (AS
         DEFINED HEREIN), EACH AS MORE FULLY DESCRIBED HEREIN.

        This Plan constitutes a settlement of all Claims and Demands against the Debtors
 on, and subject to, the terms described herein and the other Plan Documents. Nothing in
 the Plan Documents constitutes an admission by the Debtors as to the existence, merits, or
 amount of the Debtors’ actual present or future liability on account of any Claim or
 Demand except to the extent that such liability is specifically provided for in the Plan or the
 other Plan Documents in accordance with the Confirmation Order effective as of the
 Effective Date.

         This Plan is not an offer with respect to any securities or a solicitation of acceptances of
 this Plan; any such offer or solicitation will only be made in compliance with applicable law,
 including applicable provisions of securities laws and the Bankruptcy Code. This Plan has not
 been filed with or reviewed by the Securities and Exchange Commission or any securities
 regulatory authority of any state under the Securities Act of 1933, as amended, or under any state
 securities or “blue sky” laws. This Plan has not been approved or disapproved by any court or

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         Unless otherwise indicated, capitalized terms shall have the meanings ascribed to them in Article 1 of this
 Plan.




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the Securities and Exchange Commission. Any representation to the contrary is a criminal
offense.

        The Debtors, the Official Committee of Asbestos Personal Injury Claimants, the Asbestos
PI Future Claimants’ Representative, and the Official Committee of Equity Security Holders
hereby jointly propose the following Plan of Reorganization pursuant to the provisions of chapter
11 of title 11 of the United States Code for W. R. Grace & Co. and the other Debtors in these
Chapter 11 Cases.           Reference is made to the Disclosure Statement distributed
contemporaneously herewith for, among other things, a discussion of the history, businesses,
properties, and results of operations of the Debtors, and risks associated with this Plan.

                                  ARTICLE 1
                DEFINITIONS, CONSTRUCTION OF TERMS, EXHIBITS
                         AND ANCILLARY DOCUMENTS

1.1    DEFINED TERMS

                                          Definitions

Terms defined in this Section 1 apply to the Plan, the Disclosure Statement and the other Plan
Documents (unless specifically provided otherwise in any such Plan Document).

1.     “1998 Tax Sharing Agreement” means the Tax Sharing Agreement by and among Old
       Grace Delaware, Grace-Conn., and Old Sealed Air Corporation, dated as of March 30,
       1998.

2.     “Administrative Expense Claim” shall mean: (i) any Claim constituting a cost or
       expense of administration in the Chapter 11 Cases, on or after the Petition Date but prior
       to the Effective Date, under Bankruptcy Code §§ 503(b), 507(a)(1), 507(b) or
       1114(e)(2), including: (a) any actual and necessary costs and expenses of preserving the
       estates of the Debtors, (b) any actual and necessary costs and expenses of operating the
       businesses of the Debtors, (c) any indebtedness or obligation incurred or assumed by the
       Debtors (including any executory contracts of the Debtors assumed pursuant to
       Bankruptcy Code § 365 by order of the Bankruptcy Court or the Plan) in connection
       with the conduct of their businesses or for the acquisition or lease of property or the
       rendition of services, and (d) any allowed compensation or reimbursement of expenses
       awarded or allowed under Bankruptcy Code §§ 330(a), 331 or 503, and (ii) any fees or
       charges assessed against the estates of the Debtors under 28 U.S.C. § 1930.

3.     “Affiliate” shall mean as to any specified Entity: (i) any other Entity that, directly or
       indirectly through one or more intermediaries or otherwise, controls, is controlled by, or
       is under common control with, the specified Entity, and (ii) any Entity that is an
       “affiliate” (within the meaning of Bankruptcy Code § 101(2)) of the specified Entity. As
       used in clause (i) of this definition, “control” shall include the possession, directly or
       indirectly, of the power to direct or cause the direction of the management or policies of
       an Entity (whether through ownership of Capital Stock of that Entity, by contract, or
       otherwise).

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4.   “Allowed” shall mean:

     (a)   With respect to Asbestos PD Claims in Class 7A, such Asbestos PD Claim in
           such amount as is set forth (i) in any PD Settlement Agreement and subject to the
           terms set forth in the Asbestos PD Trust Agreement, or (ii) after the Effective
           Date, as set forth in any stipulation, order, judgment, decree, or agreement
           approved by a Final Order of the Bankruptcy Court or such other United States
           District Court as is authorized to determine the liability of the Asbestos PD Trust
           on account of such Asbestos PD Claims as set forth in the Class 7A CMO;

     (b)   With respect to any Plan Claim other than an Administrative Expense Claim or
           an Asbestos Claim, as to which a proof of claim was Filed within the applicable
           period of limitation fixed in accordance with Bankruptcy Rule 3003(c)(3) by the
           Court, (i) as to which no objection to the allowance thereof has been interposed
           within the applicable period of limitations fixed by the Plan, the Bankruptcy
           Code, the Bankruptcy Rules, or a Final Order of the Bankruptcy Court, (ii) as to
           which an objection to the allowance thereof has been interposed within such time
           as is set by the Bankruptcy Court pursuant to the Plan, the Bankruptcy Code, the
           Bankruptcy Rules, or a Final Order of the Bankruptcy Court, such Plan Claim to
           the extent that such objection has been (A) overruled in whole or in part by a
           Final Order of the Bankruptcy Court, (B) resolved by agreement of the Debtors
           and the Claimant which is approved by a Final Order of the Bankruptcy Court,
           (C) resolved by agreement of the Reorganized Debtors and the Claimant pursuant
           to Section 5.1 of the Plan, or (D) determined by Final Order in the Chapter 11
           Cases, or (iii) as to which such Claim is listed on an Undisputed Claims Exhibit
           indicating allowance thereof, which has been Filed pursuant to Section 5.1 of the
           Plan;

     (c)    With respect to any Plan Claim other than an Administrative Expense Claim or
           Asbestos Claim, as to which no proof of claim was Filed within the applicable
           period of limitation fixed by the Plan, the Bankruptcy Code, the Bankruptcy
           Rules, or a Final Order of the Bankruptcy Court, such Plan Claim to the extent
           that it has been listed by the Debtors in their Schedules as liquidated in amount
           and not disputed or contingent and not otherwise subject to an objection Filed
           within such time as is set by the Bankruptcy Court pursuant to the Plan, the
           Bankruptcy Code, the Bankruptcy Rules, or a Final Order of the Bankruptcy
           Court;

     (d)    With respect to any Equity Interest in Parent, any Equity Interest registered in the
           stock register maintained by or on behalf of the Debtors as of the Confirmation
           Date; and

     (e)   With respect to any Administrative Expense Claim:




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           (i)    that represents a Claim of a Professional, such a Claim to the extent it is
                  allowed in whole or in part by a Final Order of the Bankruptcy Court; or

           (ii)   other than with respect to a Claim of a Professional, (X) a Claim to the
                  extent that the Debtors or the Reorganized Debtors determine it to
                  constitute an Administrative Expense Claim, or (Y) a Claim to the extent it
                  is allowed in whole or in part by a Final Order of the Bankruptcy Court and
                  only to the extent that such allowed portion is deemed, pursuant to a Final
                  Order of the Bankruptcy Court, to constitute a cost or expense of
                  administration under Bankruptcy Code §§ 503 or 1114.

5.   “Allowed Amount” shall mean the dollar amount of an Allowed Plan Claim (other than
     an Asbestos PI Claim).

6.   “Asbestos Claims” shall mean any and all Asbestos PI Claims (including Indirect PI
     Trust Claims, CDN ZAI PI Claims, and Asbestos Medical Monitoring Claims), CDN
     ZAI PD Claims, Workers’ Compensation Claims that are SA Asbestos Personal Injury
     Claims, Asbestos PD Claims (including US ZAI PD Claims and Indirect PD Trust
     Claims), SA Asbestos Personal Injury Claims, and SA Asbestos Property Damage
     Claims, and any and all Demands related thereto.

7.   “Asbestos In-Place Insurance Coverage” means any insurance coverage issued to any
     Insurance Contributor to the extent available to be utilized for the payment or
     reimbursement of liability, indemnity, or defense costs arising from or related to Asbestos
     PI Claims or Asbestos PI Trust Expenses under any Asbestos Insurance Policy or
     Asbestos Insurance Settlement Agreement; provided, however, that the term “Asbestos
     In-Place Insurance Coverage” shall not include any Asbestos Insurance Reimbursement
     Agreement.

8.   “Asbestos Insurance Action” shall mean any claim, cause of action, or right of any
     Insurance Contributor, under the laws of any jurisdiction, against any Asbestos Insurance
     Entity, arising from or based on: (i) any such Asbestos Insurance Entity’s failure to
     provide coverage for, or failure to pay or agree to pay, any claim under any Asbestos
     Insurance Policy, Asbestos In-Place Insurance Coverage, Asbestos Insurance
     Reimbursement Agreement, or Asbestos Insurance Settlement Agreement; (ii) the refusal
     of any such Asbestos Insurance Entity to compromise or settle any claim under or
     pursuant to any Asbestos Insurance Policy, Asbestos In-Place Insurance Coverage,
     Asbestos Insurance Reimbursement Agreement, or Asbestos Insurance Settlement
     Agreement; (iii) the interpretation or enforcement of the terms of any Asbestos Insurance
     Policy, Asbestos In-Place Insurance Coverage, Asbestos Insurance Reimbursement
     Agreement, or Asbestos Insurance Settlement Agreement; or (iv) any conduct of any
     Asbestos Insurance Entity constituting “bad faith” or other wrongful conduct under
     applicable law with respect to any Asbestos Insurance Policy, Asbestos In-Place
     Insurance Coverage, Asbestos Insurance Reimbursement Agreement, or Asbestos
     Insurance Settlement Agreement.



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9.    “Asbestos Insurance Entity” shall mean any Entity, including any insurance company,
      broker, or guaranty association, that has issued, or that has or had actual or potential
      liability, duties or obligations under or with respect to, any Asbestos Insurance Policy.

10.   “Asbestos Insurance Entity Injunction” shall mean the injunction described in Section
      8.4 of the Plan.

11.   “Asbestos Insurance Policy” shall mean any insurance policy under which any
      Insurance Contributor has or had insurance coverage with a policy period incepting prior
      to June 30, 1985, whether known or unknown, that actually or potentially provides
      insurance coverage for any Asbestos Claim, including the policies listed on schedule 1
      attached to Exhibit 6 in the Exhibit Book; provided that an Asbestos Insurance Policy
      shall not include any rights or obligations under any insurance policy or settlement
      agreement to which any of the Debtors are a party to the extent, but only to the extent,
      that such rights or obligations pertain solely to coverage for Workers’ Compensation
      Claims.

12.   “Asbestos Insurance Reimbursement Agreement” means any agreement entered into
      prior to the Petition Date between the Debtors or Non-Debtor Affiliates, or any of them
      or their predecessors, on the one hand, and any Asbestos Insurance Entity, on the other
      hand, pursuant to which the Asbestos Insurance Entity agreed to reimburse the Debtors or
      the Non-Debtor Affiliates, or any of them or their predecessors, for certain liability,
      indemnity, or defense costs arising from or related to asbestos-related claims, including
      Asbestos PI Claims. The known Asbestos Insurance Reimbursement Agreements are
      listed on Schedule 3 to the Asbestos Insurance Transfer Agreement.

13.   “Asbestos Insurance Rights” shall mean any and all rights, titles, privileges, interests,
      claims, demands or entitlements of the Insurance Contributors to any proceeds, payments,
      escrowed funds, initial or supplemental dividends, scheme payments, supplemental
      scheme payments, causes of action, and choses in action of any Insurance Contributor
      with respect to any Asbestos Insurance Policy, Asbestos Insurance Settlement
      Agreement, Asbestos In-Place Insurance Coverage, or Asbestos Insurance
      Reimbursement Agreement, including all Asbestos Insurance Actions, whether now
      existing or hereafter arising, accrued or unaccrued, liquidated or unliquidated, matured or
      unmatured, disputed or undisputed, fixed or contingent, including:

      (a)   any and all rights of any Insurance Contributor to pursue or receive payments or
            proceeds under any Asbestos Insurance Policy, whether for liability, defense, or
            otherwise;

      (b)   any and all rights of any Insurance Contributor to pursue or receive payments
            made or proceeds received on or after April 6, 2008, pursuant to any Asbestos
            Insurance Settlement Agreement or Asbestos In-Place Insurance Coverage,
            together with all interest earned thereon;

      (c)   any and all proceeds of the settlement with Lloyd’s Underwriters, together with all
            interest earned thereon;

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      (d)      any and all proceeds of all settlements with Asbestos Insurance Entities under
               Asbestos In-Place Insurance Coverage or installment payment agreements, to the
               extent payment of the proceeds occurred on or after April 6, 2008;

      (e)      any and all rights of any Insurance Contributor to pursue or receive payments from
               any insolvent Asbestos Insurance Entity, whether in receivership, liquidation,
               rehabilitation, run-off, or scheme of arrangement, or any other form of proceeding,
               or from any insolvent insurer’s estate, and the proceeds of all payments received
               by any Insurance Contributor from any such insolvent Asbestos Insurance Entity
               or such insolvent insurer’s estate on or after April 6, 2008, together with all
               interest earned on such proceeds;

      (f)      any and all rights of any Insurance Contributor to pursue or receive payments with
               respect to Asbestos PI Claims from any insurance guaranty association; and

      (g)      any and all rights of any Insurance Contributor to pursue or receive payments
               pursuant to an exception to a workers’ compensation exclusion in any Asbestos
               Insurance Policy;

      provided that, other than the rights identified in Section 1.1.12(g) above, Asbestos
      Insurance Rights shall not include any rights or obligations under any insurance policy,
      settlement agreement, or coverage-in-place agreement to which any Insurance
      Contributor is a party to the extent, but only to the extent, that such rights or obligations
      pertain solely to coverage for Workers’ Compensation Claims; and provided, further,
      that, for the avoidance of doubt, Asbestos Insurance Rights shall not include any rights,
      titles, privileges, interests, claims, demands, or entitlements of the Insurance Contributors
      against any of the Sealed Air Indemnified Parties or the Fresenius Indemnified Parties.

14.   “Asbestos Insurance Settlement Agreement” shall mean any settlement agreement
      between or among any of the Debtors, the Reorganized Debtors, the Non-Debtor
      Affiliates, or any of them or their predecessors, and any Asbestos Insurance Entity
      involving any Asbestos Insurance Policy, provided, however, that the term “Asbestos
      Insurance Settlement Agreement” shall not include any Asbestos Insurance
      Reimbursement Agreement, and further provided that the parties to an Asbestos
      Insurance Reimbursement may agree to modify such agreement to become an Asbestos
      Insurance Settlement Agreement.

15.   “Asbestos Insurance Transfer Agreement” shall mean the Asbestos Insurance Transfer
      Agreement substantially in the form included as Exhibit 6 in the Exhibit Book.

16.   “Asbestos Insurer Coverage Defenses” shall mean all rights and defenses at law or in
      equity that any Asbestos Insurance Entity may have under any Asbestos Insurance
      Policy, Asbestos Insurance Settlement Agreement, Asbestos In-Place Insurance
      Coverage, or applicable law to a claim seeking insurance coverage. Asbestos Insurer
      Coverage Defenses include any defense based on the terms of the Plan or the Plan
      Documents or the manner in which the Plan or Plan Documents were negotiated; but
      Asbestos Insurer Coverage Defenses do not include any defense that (i) the Plan or any of

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      the Plan Documents do not comply with the Bankruptcy Code, or (ii) the transfer of
      Asbestos Insurance Rights pursuant to the Asbestos Insurance Transfer Agreement is
      prohibited by any Asbestos Insurance Policy, any Asbestos Insurance Settlement
      Agreement, any Asbestos In-Place Insurance Coverage or applicable non-bankruptcy
      law.

17.   “Asbestos Medical Monitoring Claim” shall mean: a Claim, Canadian Claim, SA
      Claim, Grace-Related Claim, or Demand against, or present or future debt, liability, or
      obligation of, any of the Debtors or the Asbestos Protected Parties, including (x) all
      related claims, debts, obligations, liabilities or remedies for compensatory (including
      general, special, and consequential damages) and punitive damages, and (y) all cross-
      claims, contribution claims, subrogation claims, reimbursement claims or indemnity
      claims (whether or not such Claim, Canadian Claim, SA Claim, Grace-Related Claim,
      Demand, remedy, debt, liability, or obligation is reduced to judgment, liquidated,
      unliquidated, fixed, settled, contingent, matured, unmatured, disputed, undisputed, legal,
      equitable, secured, or unsecured; whether or not the facts of or legal bases therefor are
      known or unknown; and whether in the nature of or sounding in tort, or under contract,
      warranty, guarantee, contribution, joint and several liability, subrogation, reimbursement
      or indemnity, or any other theory of law, equity, or admiralty), in each case for, based on,
      or arising out of, resulting from, or attributable to, directly or indirectly, personal injuries
      or damages by or on behalf of those who have not, as of the Petition Date, suffered any
      personal injury but who are alleging that:

            (i)     the Debtors (or (x) any of their respective predecessors, successors, or
                    assigns, or any current or former Affiliate of any of the foregoing (including
                    any of the Non-Debtor Affiliates), but only to the extent that any liability is
                    asserted to exist as a result of it being such a predecessor, successor, assign,
                    or current or former Affiliate, or (y) any other Entity for whose products or
                    operations any of the Debtors allegedly has liability or is otherwise liable)
                    wrongfully caused them to be significantly exposed to hazardous asbestos
                    fibers,

            (ii)    this exposure significantly increased the Claimant’s risk of contracting a
                     serious latent disease,

            (iii)   medical monitoring could reasonably be expected to result in early
                    detection of the onset and mitigation of the severity of such disease, and

            (iv)    because of this exposure it is necessary for the Claimant to be examined by
                    a physician or receive medical testing more often that he or she otherwise
                    would.

      Asbestos Medical Monitoring Claims are included within Asbestos PI Claims.




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18.   “Asbestos PD Claim” shall mean:


      (i)   a Claim, Canadian Claim, Indirect PD Trust Claim, SA Claim, Grace-Related
            Claim, or Demand, if any, against, or present or future debt, liability, or obligation
            of, any of the Debtors or the Asbestos Protected Parties, including (x) all related
            claims, debts, obligations, liabilities, and remedies for compensatory (including
            general, special, and consequential damages) and punitive damages, and (y) all
            cross-claims, contribution claims, subrogation claims, reimbursement claims, and
            indemnity claims (whether or not such Claim, Canadian Claim, Indirect PD Trust
            Claim, SA Claim, Grace-Related Claim, Demand, if any, remedy, debt, liability,
            or obligation is reduced to judgment, liquidated, unliquidated, fixed, settled,
            contingent, matured, unmatured, disputed, undisputed, legal, equitable, secured,
            or unsecured; whether or not the facts of or legal bases therefor are known or
            unknown; and whether in the nature of or sounding in tort, or under contract,
            warranty, guarantee, contribution, joint and several liability, subrogation,
            reimbursement or indemnity, or any other theory of law, equity, or admiralty):

            (a)    arising from acts or omissions of one or more of the Debtors (or any of
                   their respective predecessors, successors, or assigns, or any current or
                   former Affiliate of any of the foregoing (including any of the Non-Debtor
                   Affiliates), or any other Entity for whose products or operations any of
                   the Debtors allegedly has liability or is otherwise liable); and

            (b)    for, based on, or arising out of, resulting from, or attributable to, directly
                   or indirectly, the cost of removal, abatement, operations and maintenance
                   activities and programs, diminution of property value, environmental
                   damage, economic loss, or property damage (including the cost of
                   inspecting,      maintaining,       encapsulating,      abating,    repairing,
                   decontaminating, removing, or disposing of asbestos or asbestos
                   containing materials or products in buildings or other structures, or other
                   property) caused or allegedly caused by, based on, arising out of, or
                   attributable to, directly or indirectly, in whole or in part:

                   (1)     the installation in, presence in, or removal of asbestos or asbestos-
                           containing materials or products mined, processed, consumed,
                           used, stored, manufactured, designed, sold, assembled, distributed,
                           supplied, produced, specified, selected, disposed of, installed by,
                           or in any way marketed by, or on behalf of, one or more of the
                           Debtors (or (x) any of their respective predecessors, successors, or
                           assigns, or any current or former Affiliate of any of the foregoing
                           (including any of the Non-Debtor Affiliates), but only to the
                           extent that any liability is asserted to exist as a result of it being
                           such a predecessor, successor, assign, or current or former
                           Affiliate, or (y) any other Entity for whose products or operations
                           any of the Debtors allegedly has liability or is otherwise liable); or

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                     (2)    asbestos-containing vermiculite mined, milled, or processed by
                            the Debtors (or (x) any of their respective predecessors,
                            successors, or assigns, or any current or former Affiliate of any of
                            the foregoing (including any of the Non-Debtor Affiliates), but
                            only to the extent that any liability is asserted to exist as a result of
                            it being such a predecessor, successor, assign, or current or former
                            Affiliate, or (y) any other Entity for whose products or operations
                            any of the Debtors allegedly has liability or is otherwise liable);

      (ii)    any and all SA Asbestos Property Damage Claims (other than CDN ZAI PD
              Claims) and related Demands, if any, against any of the Debtors, the Sealed Air
              Indemnified Parties, or the Fresenius Indemnified Parties; and

      (iii)   any and all US ZAI PD Claims against any of the Debtors or the Asbestos
              Protected Parties.

      Notwithstanding the foregoing or anything else to the contrary, “Asbestos PD Claim” as
      defined herein does not include CDN ZAI PD Claims. For the avoidance of doubt, and
      notwithstanding the foregoing or anything else to the contrary, nothing in the Plan is
      intended or shall be interpreted, to exclude CDN ZAI PD Claims from, or to otherwise
      change, the definition of “Asbestos Property Damage Claims” as that term is defined in
      the Sealed Air Settlement Agreement.

19.   “Asbestos PD Claimant” shall mean the Holder of an Asbestos PD Claim.

20.   “Asbestos PD Committee” shall mean the Official Committee of Asbestos Property
      Damage Claimants appointed in the Chapter 11 Cases.

21.   “Asbestos PD Channeling Injunction” shall mean the order(s) entered or affirmed by
      the District Court, in accordance with and pursuant to Bankruptcy Code § 524(g),
      permanently and forever staying, restraining, and enjoining any Entity from taking any
      action against any Asbestos Protected Party (except as may be specifically provided in
      such order(s)) for the purpose of, directly or indirectly, collecting, recovering, or
      receiving payment of, on, or with respect to (i) any Asbestos PD Claims in Class 7A, all
      of which shall be channeled to the Asbestos PD Trust for resolution as set forth in the
      Class 7A Case Management Order (other than actions brought to enforce any right or
      obligation under the Plan or any agreement or instrument between the Debtors or the
      Reorganized Debtors, on the one hand, and the Asbestos PD Trust, on the other hand,
      entered into pursuant to the Plan); including, (A) Unresolved Asbestos PD Claims, and
      (B) Asbestos PD Claims that were Allowed by PD Settlement Agreements that became
      final prior to the Effective Date, for which the Asbestos PD Trust shall pay such claims
      as provided in such PD Settlement Agreements from the proceeds of the Class 7A Initial
      Payment, (ii) any US ZAI PD Claims in Class 7B, all of which shall be channeled to the
      Asbestos PD Trust for resolution as set forth in the ZAI TDP, and (iii) any CDN ZAI PD
      Claims, the provision for payment of which shall be made to the Asbestos PD Trust to be


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      disbursed to the CDN ZAI PD Claims Fund. The Asbestos PD Channeling Injunction is
      further described in Section 8.3 of the Plan.

22.   “Asbestos PD FCR” shall mean the Asbestos PD Future Claimants’ Representative.

23.   “Asbestos PD Future Claimants’ Representative” shall mean Alexander M. Sanders,
      Jr. (or any Court-appointed successor), appointed as the legal representative for future
      asbestos-related property damage (including property damage related to ZAI) Claimants
      in the Chapter 11 Cases for the purpose of protecting the interests of persons that may
      subsequently assert Demands, if any, channeled to the Asbestos PD Trust.

24.   “Asbestos PD Initial Payment” shall mean collectively, the Class 7A Initial Payment
      and the Class 7B Initial Payment.

25.   “Asbestos PD Trust” shall mean the WRG Asbestos Property Damage Settlement Trust,
      a Delaware statutory trust, established pursuant to section 524(g) of the Bankruptcy Code
      and in accordance with the Asbestos PD Trust Agreement.

26.   “Asbestos PD Trustees” shall mean the Entities confirmed by the Court to serve as
      trustees of the Asbestos PD Trust pursuant to (a) the terms of the Plan, (b) the
      Confirmation Order, and (c) the Asbestos PD Trust Agreement, or who subsequently may
      be appointed pursuant to the terms of the Asbestos PD Trust Agreement.

27.   “Asbestos PD Trust Agreement” shall mean the WRG Asbestos PD Trust Agreement,
      effective as of the Effective Date, substantially in the form included as Exhibit 3 in the
      Exhibit Book, to be entered into by and among the Debtors, the Asbestos PD Future
      Claimants’ Representative, and the Asbestos PD Trustees in connection with the
      formation of the Asbestos PD Trust.

28.   “Asbestos PD Trust Assets” shall mean the payments pursuant to (a) the Class 7A
      Asbestos PD Deferred Payment Agreement and all rights of the Asbestos PD Trust under
      the Class 7A Asbestos PD Deferred Payment Agreement; (b) the Class 7B Asbestos PD
      Deferred Payment Agreement and all rights of the Asbestos PD Trust under the Class 7B
      Asbestos PD Deferred Payment Agreement; (c) the Share Issuance Agreement and all
      rights of the Asbestos PD Trust pursuant to the Share Issuance Agreement; (d) the
      Asbestos PI/PD Inter-Creditor Agreement and all rights of the Asbestos PD Trust
      pursuant to the Asbestos PI/PD Inter-Creditor Agreement; (e) the Asbestos PD Initial
      Payment; (f) the Grace PD Guarantee Agreement for Class 7A and all rights of the
      Asbestos PD Trust under the Grace PD Guarantee Agreement for Class 7A; (g) the Grace
      PD Guarantee Agreement for Class 7B and all rights of the Asbestos PD Trust under the
      Grace PD Guarantee Agreement for Class 7B; and (h) the Asbestos PD Trust Causes of
      Action.

29.   “Asbestos PD Trust Causes of Action” shall mean any and all of the actions, claims,
      rights, defenses, counterclaims, suits and causes of action of the Debtors and the other
      Asbestos Protected Parties, whether known or unknown, in law, at equity or otherwise,


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      whenever and wherever arising under the laws of any jurisdiction attributable to: (a) all
      defenses to any Asbestos PD Claim other than Asbestos PD Claims that have been
      Allowed by PD Settlement Agreements, (b) with respect to any Asbestos PD Claims, all
      rights of setoff, recoupment, contribution, reimbursement, subrogation or indemnity (as
      those terms are defined by the non-bankruptcy law of any relevant jurisdiction) and any
      other indirect claim of any kind whatsoever, whenever and wherever arising or asserted,
      and (c) any other claims or rights with respect to Asbestos PD Claims that any of the
      Debtors and the other Asbestos Protected Parties would have had under applicable law if
      the Chapter 11 Cases had not occurred and the holder of such Asbestos PD Claim had
      asserted it by initiating civil litigation against any such Debtor and the other Asbestos
      Protected Parties. Notwithstanding the foregoing, Asbestos PD Trust Assets and
      Asbestos PD Trust Causes of Action shall not include any claim, cause of action, or right
      of the Debtors or any of them, under the laws of any jurisdiction, against any party
      (including the Sealed Air Indemnified Parties and the Fresenius Indemnified Parties) for
      reimbursement, indemnity, contribution, breach of contract or otherwise arising from or
      based on any payments made by the Debtors on account of Asbestos PD Claims prior to
      the Effective Date. In addition, for the avoidance of doubt, Asbestos PD Trust Causes of
      Action do not include any rights of the Debtors, the Reorganized Debtors, or the other
      Asbestos Protected Parties arising under the Asbestos PD Channeling Injunction or any
      of the other injunctions, releases, or the discharge entered into in connection with the
      Plan and the Confirmation Order.

30.   “Asbestos PD Trust Expenses” means any liabilities, costs, taxes, or expenses of, or
      imposed upon, or in respect of, the Asbestos PD Trust or, on and after the Effective Date,
      the Asbestos PD Trust Assets (except for payments to holders of Asbestos PD Claims on
      account of such Asbestos PD Claims).

31.   “Asbestos Personal Injury Claim” shall mean an Asbestos PI Claim.

32.   “Asbestos PI Channeling Injunction” shall mean the order(s) entered or affirmed by
      the District Court, in accordance with and pursuant to Bankruptcy Code § 524(g),
      permanently and forever staying, restraining, and enjoining any Entity from taking any
      action against any Asbestos Protected Party (except as may be specifically provided in
      such order(s)) for the purpose of, directly or indirectly, collecting, recovering, or
      receiving payment of, on, or with respect to any Asbestos PI Claims, all of which shall be
      channeled to the Asbestos PI Trust for resolution as set forth in the Asbestos PI TDP
      (other than actions brought to enforce any right or obligation under the Plan or any
      agreement or instrument between the Debtors or the Reorganized Debtors, on the one
      hand, and the Asbestos PI Trust, on the other hand, entered into pursuant to the Plan).
      The Asbestos PI Channeling Injunction is further described in Section 8.2 of the Plan.

33.   “Asbestos PI Claim” shall mean:

      (i)    a Claim, Canadian Claim, Indirect PI Trust Claim, SA Claim, Grace-Related
             Claim, or Demand against, or any present or future, debt, liability, or obligation
             of, any of the Debtors or the Asbestos Protected Parties, including (x) all related


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    claims, debts, obligations, liabilities, and remedies for compensatory (including
    general, special, and consequential damages) and punitive damages, and (y) all
    cross-claims, contribution claims, subrogation claims, reimbursement claims, and
    indemnity claims (whether or not such Claim, Canadian Claim, Indirect PI Trust
    Claim, SA Claim, Grace-Related Claim, Demand, remedy, debt, liability, or
    obligation is reduced to judgment, liquidated, unliquidated, fixed, settled,
    contingent, matured, unmatured, disputed, undisputed, legal, equitable, secured,
    or unsecured; whether or not the facts of or legal bases therefor are known or
    unknown; and whether in the nature of or sounding in tort, or under contract,
    warranty, guarantee, contribution, joint and several liability, subrogation,
    reimbursement or indemnity, or any other theory of law, equity, or admiralty), in
    each case for, based on, or arising out of, resulting from, or attributable to,
    directly or indirectly:

    (a)    death, wrongful death, personal or bodily injury (whether physical,
           emotional, or otherwise), sickness, disease, loss of consortium,
           survivorship, medical monitoring, or other personal injuries (whether
           physical, emotional, or otherwise) or other damages (including medical,
           legal, and other expenses, caused, or allegedly caused, based on, and
           arising or allegedly arising, from or attributable to, directly or indirectly,
           in whole or in part, acts or omissions of one or more of the Debtors (or
           any of their respective predecessors, successors, or assigns, or any current
           or former Affiliate of any of the foregoing (including any of the Non-
           Debtor Affiliates), or any other Entity for whose products or operations
           any of the Debtors allegedly has liability or is otherwise liable); and

    (b)    the presence of or exposure at any time to:

           (1)    asbestos or any products or materials containing asbestos that
                  were mined, processed, consumed, used, stored, manufactured,
                  designed, sold, assembled, supplied, produced, specified, selected,
                  distributed, disposed of, installed by, or in any way marketed by,
                  or on behalf of, one or more of the Debtors (or (x) any of their
                  respective predecessors, successors, or assigns, or any current or
                  former Affiliate of any of the foregoing (including any of the
                  Non-Debtor Affiliates), but only to the extent that any liability is
                  asserted to exist as a result of it being such a predecessor,
                  successor, assign, or current or former Affiliate, or (y) any other
                  Entity for whose products or operations any of the Debtors
                  allegedly has liability or is otherwise liable); or

           (2)    asbestos-containing vermiculite mined, milled or processed by the
                  Debtors (or (x) any of their respective predecessors, successors, or
                  assigns, or any current or former Affiliate of any of the foregoing
                  (including any of the Non-Debtor Affiliates), but only to the
                  extent that any liability is asserted to exist as a result of it being
                  such a predecessor, successor, assign or current or former

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                            Affiliate, or (y) any other Entity for whose products or operations
                            any of the Debtors allegedly has liability or is otherwise liable);

      (ii)    any and all SA Asbestos Personal Injury Claims (other than Workers’
              Compensation Claims) and related Demands against any of the Debtors, the
              Sealed Air Indemnified Parties, or the Fresenius Indemnified Parties;

      (iii)   any and all CDN ZAI PI Claims and related Demands against any of the Debtors
              or the Asbestos Protected Parties; and

      (iv)    any and all Asbestos Medical Monitoring Claims and related Demands against
              any of the Debtors or the Asbestos Protected Parties.

      Notwithstanding the foregoing or anything else to the contrary, “Asbestos PI Claim” as
      defined herein does not include Workers’ Compensation Claims; provided, however, for
      the avoidance of doubt, that nothing in the Plan is intended to change the definition of
      “Asbestos Personal Injury Claims” as that term is defined in the Sealed Air Settlement
      Agreement.

34.   “Asbestos PI Claimant” shall mean the Holder of an Asbestos PI Claim.

35.   “Asbestos PI Committee” shall mean the Official Committee of Asbestos Personal
      Injury Claimants appointed in the Chapter 11 Cases.

36.   “Asbestos PI Deferred Payment Agreement” shall mean the agreement setting forth
      the obligation of Reorganized Grace-Conn to make deferred payments to the Asbestos PI
      Trust over a 15-year period, consisting of five annual payments of $110 million
      commencing on January 2, 2019 and ten annual payments of $100 million commencing
      on January 2, 2024, in the form included as Exhibit 11 in the Exhibit Book or such other
      substantially similar form as shall have been agreed to by each of the Plan Proponents.
      As provided therein and in the Share Issuance Agreement, the payments made pursuant to
      the Asbestos PI Deferred Payment Agreement shall be secured by Parent’s obligation to
      issue to the Trusts’ Representative, on behalf of the Asbestos PI Trust and the Asbestos
      PD Trust, 50.1% of Parent Common Stock as of the Effective Date.

37.   “Asbestos PI FCR” shall mean the Asbestos PI Future Claimants’ Representative.

38.   “Asbestos PI Future Claimants’ Representative” shall mean David T. Austern (or any
      Court-appointed successor), appointed as the legal representative for future asbestos-
      related personal injury Claimants in the Chapter 11 Cases for the purpose of protecting
      the interests of persons that may subsequently assert Demands channeled to the Asbestos
      PI Trust.

39.   “Asbestos PI/PD Inter-Creditor Agreement” shall mean the inter-creditor agreement
      substantially in the form included at Exhibit 26 in the Exhibit Book.

40.   “Asbestos PI TAC” shall mean the Asbestos PI Trust Advisory Committee.

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41.   “Asbestos PI TDP” shall mean the WRG Asbestos PI Trust Distribution Procedures.

42.   “Asbestos PI Trust” shall mean the WRG Asbestos PI Trust, a Delaware statutory trust,
      established pursuant to section 524(g) of the Bankruptcy Code and in accordance with the
      Asbestos PI Trust Agreement.

43.   “Asbestos PI Trustee” shall mean any Entity confirmed by the Court to serve as a
      trustee of the Asbestos PI Trust pursuant to (1) the terms of the Plan, (2) the
      Confirmation Order, or (3) the Asbestos PI Trust Agreement, or who subsequently may
      be appointed pursuant to the terms of the Asbestos PI Trust Agreement.

44.   “Asbestos PI Trust Advisory Committee” shall mean the Asbestos PI Trust Advisory
      Committee established pursuant to the terms of the Plan and having the powers, duties
      and obligations set forth in the Asbestos PI Trust Agreement.

45.   “Asbestos PI Trust Agreement” shall mean the agreement, effective as of the Effective
      Date, substantially in the form included as Exhibit 2 in the Exhibit Book, to be entered
      into by and among the Debtors, the Asbestos PI Future Claimants’ Representative, the
      Asbestos PI TAC and the Asbestos PI Trustees in connection with the formation of the
      Asbestos PI Trust.

46.   “Asbestos PI Trust Assets” shall mean (a) $250 million in Cash plus interest thereon
      from January 1, 2009 until (and including) the Effective Date at the same rate applicable
      to the Debtors’ senior debt; (b) the Warrant Agreement, the Warrant, and all rights of the
      Asbestos PI Trust under the Warrant Agreement and the Warrant; (c) the Asbestos PI
      Deferred Payment Agreement and all rights of the Asbestos PI Trust under the Asbestos
      PI Deferred Payment Agreement; (d) the Share Issuance Agreement and all rights of the
      Asbestos PI Trust pursuant to the Share Issuance Agreement; (e) the Asbestos PI/PD
      Inter-Creditor Agreement and all rights of the Asbestos PI Trust pursuant to the Asbestos
      PI/PD Inter-Creditor Agreement, (f) the Grace PI Guaranty and all rights of the Asbestos
      PI Trust pursuant to the Grace PI Guaranty; (g) the Plan Registration Rights Agreement;
      (h) the Asbestos Insurance Rights; (i) the Cryovac Payment reduced by the total
      aggregate amount of Cryovac, Inc.’s transfers to the Asbestos PD Trust as part of the
      Class 7A Initial Payment and the Class 7B Initial Payment; (j) the Fresenius Payment
      reduced by the total aggregate amount of Fresenius’ transfers to the Asbestos PD Trust as
      part of the Class 7A Initial Payment and the Class 7B Initial Payment; (k) an amount in
      Cash contributed by the Parent equal to the Asbestos PD Initial Payment; (l) the Asbestos
      PI Trust Causes of Action, and (m) the Asbestos Insurance Transfer Agreement and all
      rights of the Asbestos PI Trust under the Asbestos Insurance Transfer Agreement, and,
      following the transfer or vesting of the foregoing to or in the Asbestos PI Trust, any
      proceeds thereof and earnings and income thereon.

47.   “Asbestos PI Trust Causes of Action” shall mean any and all of the actions, claims,
      rights, defenses, counterclaims, suits and causes of action of the Debtors and the other
      Asbestos Protected Parties, whether known or unknown, in law, at equity or otherwise,
      whenever and wherever arising under the laws of any jurisdiction attributable to: (a) all


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      defenses to any Asbestos PI Claims, (b) with respect to any Asbestos PI Claims, all rights
      of setoff, recoupment, contribution, reimbursement, subrogation or indemnity (as those
      terms are defined by the non-bankruptcy law of any relevant jurisdiction) and any other
      indirect claim of any kind whatsoever, whenever and wherever arising or asserted, and
      (c) any other claims or rights with respect to Asbestos PI Claims that any of the Debtors
      and the other Asbestos Protected Parties would have had under applicable law if the
      Chapter 11 Cases had not occurred and the holder of such Asbestos PI Claim had asserted
      it by initiating civil litigation against any such Debtor and the other Asbestos Protected
      Parties. Notwithstanding the foregoing, except for the Asbestos Insurance Rights,
      Asbestos PI Trust Assets and Asbestos PI Trust Causes of Action shall not include any
      claim, cause of action, or right of the Debtors or any of them, under the laws of any
      jurisdiction, against any party (including the Sealed Air Indemnified Parties and the
      Fresenius Indemnified Parties) for reimbursement, indemnity, contribution, breach of
      contract or otherwise arising from or based on any payments made by the Debtors on
      account of Asbestos PI Claims prior to the Effective Date. In addition, for the avoidance
      of doubt, Asbestos PI Trust Causes of Action do not include any rights of the Debtors, the
      Reorganized Debtors, or the other Asbestos Protected Parties arising under the Asbestos
      PI Channeling Injunction or any of the other injunctions, releases, or the discharge
      entered into in connection with the Plan and the Confirmation Order.

48.   “Asbestos PI Trust Distribution Procedures” shall mean the procedures, substantially
      in the form included as Exhibit 4 in the Exhibit Book, to be implemented by the Asbestos
      PI Trustees pursuant to the terms and conditions of the Plan and the Asbestos PI Trust
      Agreement, to liquidate, determine, and pay (if entitled to payment) Asbestos PI Claims
      as and to the extent set forth in such procedures.

49.   “Asbestos PI Trust Expenses” means any liabilities, costs, taxes, or expenses of, or
      imposed upon, or in respect of, the Asbestos PI Trust or, on and after the Effective Date,
      the Asbestos PI Trust Assets (except for payments to holders of Asbestos PI Claims on
      account of such Asbestos PI Claims).

50.   “Asbestos Protected Party” shall mean any of the following parties:

      (a)      the Debtors;

      (b)      the Reorganized Debtors;

      (c)      the Non-Debtor Affiliates;

      (d)      the Settled Asbestos Insurance Companies;

      (f)      the Sealed Air Indemnified Parties;

      (g)      the Fresenius Indemnified Parties;

      (h)      Montana Vermiculite Company;


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      (i)      any Entity that, pursuant to the Plan or otherwise on or after the Effective Date,
               becomes a direct or indirect transferee of, or successor to, any of the Debtors, the
               Reorganized Debtors, the Non-Debtor Affiliates, the Sealed Air Indemnified
               Parties, or the Fresenius Indemnified Parties, or any of their respective assets (but
               only to the extent that any liability is asserted to exist as a result of its becoming
               such a transferee or successor);

      (j)      any Entity that, pursuant to the Plan or otherwise on or after the Effective Date,
               makes a loan to any of the Reorganized Debtors, the Non-Debtor Affiliates, the
               Asbestos PI Trust, the Asbestos PD Trust, or to a successor to, or transferee of
               any of the respective assets of, the Debtors, the Reorganized Debtors, the Non-
               Debtor Affiliates, the Asbestos PI Trust, or the Asbestos PD Trust (but only to the
               extent that any liability is asserted to exist as a result of its becoming such a
               lender or to the extent that any Encumbrance of assets made in connection with
               such a loan is sought to be invalidated, upset or impaired in whole or in part as a
               result of its being such a lender);

      (k)      each of the respective present and future Affiliates of each of the Debtors, the
               Reorganized Debtors, the Non-Debtor Affiliates, the Sealed Air Indemnified
               Parties, and the Fresenius Indemnified Parties (but only to the extent that any
               liability is asserted to exist as a result of its being or becoming such an Affiliate);
               or

      (l)      each of the respective Representatives of each of the Debtors, the Reorganized
               Debtors, the Non-Debtor Affiliates, the Sealed Air Indemnified Parties, and the
               Fresenius Indemnified Parties.

51.   “Asbestos-Related Claims” shall mean any and all SA Claims, SA Debts, SA Damages,
      or Grace-Related Claims based on or arising from, in whole or in part, directly or
      indirectly: (i) Asbestos Claims or (ii) Successor Claims based on or arising from, in
      whole or in part, directly or indirectly, the Cryovac Transaction or the Fresenius
      Transaction.

52.   “Ballot” shall mean the form or forms distributed to certain Holders of Plan Claims or
      Equity Interests by which such parties may indicate acceptance or rejection of the Plan.

53.   “Bankruptcy Code” shall mean title 11 of the United States Code, as set forth in §§ 101
      et seq., and applicable portions of titles 18 and 28 of the United States Code, each as in
      effect on the Petition Date or as thereafter amended to the extent such amendment is
      applicable to the Chapter 11 Cases.

54.   “Bankruptcy Court” shall mean the United States Bankruptcy Court for the District of
      Delaware.




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55.   “Bankruptcy Rules” shall mean the Federal Rules of Bankruptcy Procedure, as
      amended, as applicable to the Chapter 11 Cases, including the Local Rules of the
      Bankruptcy Court.

56.   “Board of Directors” shall mean the Board of Directors of any of the Debtors, or any of
      the Reorganized Debtors, as the case may be, as it may exist from time to time.

57.   “Business Day” shall mean any day other than a Saturday, Sunday or legal holiday (as
      defined in Bankruptcy Rule 9006(a)) in the United States of America.

58.   “By-Laws” shall mean the by-laws of any of the specified Debtors, as amended as of the
      Effective Date or thereafter.

59.   “Canadian Claim” shall mean any Claim, SA Claim, or Demand, if any, against any of
      the Debtors, the Canadian Entities, or the Sealed Air Indemnified Parties based on,
      arising from, or attributable to exposure to asbestos from the Debtors’ asbestos
      containing products in Canada or the use in Canada of the Debtors’ asbestos containing
      products, including any such Claim, SA Claim, or Demand that seeks reimbursement,
      contribution, or indemnification (contractual or otherwise).

60.   “Canadian Court” shall mean the Ontario Superior Court of Justice, Ontario Court of
      Appeal or the Supreme Court of Canada.

61.   “Canadian Entities” shall mean Grace Canada, Inc. and Sealed Air (Canada) Co./CIE,
      and each of their predecessors.

62.   “Canadian Order” shall mean the Order of the Canadian Court granted within Grace
      Canada’s proceedings (Court File Number 01-CL-4081) and pursuant to Section 18.6 of
      the Companies’ Creditors Arrangement Act recognizing the Confirmation Order and
      specifically providing for, inter alia, the approval of the Plan and granting the Asbestos
      PI Channeling Injunction, the Asbestos PD Channeling Injunction, the Successor Claims
      Injunction, and all of the Plan releases with respect to the Debtors and the other Asbestos
      Protected Parties, including the Canadian Entities, and declaring that such Confirmation
      Order be effective in Canada in accordance with its terms.

63.   “Canadian Settlement Approval Order” shall mean the Final Order of the Canadian
      Court approving the settlement of CDN ZAI PD Claims and CDN ZAI PI Claims as set
      forth in the CDN ZAI Minutes of Settlement.

64.   “Capital Stock” shall mean, with respect to: (i) any corporation, any share, or any
      depositary receipt or other certificate representing any share, of equity interest in that
      corporation; and (ii) any other Entity, any share, membership, or percentage interest, unit
      of participation, or other equivalent (however designated) in or of equity interest in that
      Entity.

65.   “Cash” shall mean lawful currency of the United States of America.


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66.   “CCAA Representative Counsel” shall mean Lauzon Belanger S.E.N.C.R.L. and
      Scarfone Hawkins LLP in their respective capacities as representative counsel to the
      Canadian ZAI PD Claimants and the CDN ZAI PI Claimants pursuant to an Order of the
      Canadian Court made on February 8, 2006.

67.   “CDN ZAI Minutes of Settlement” shall mean the minutes of settlement included as
      Exhibit 9 in the Exhibit Book, which explains how all CDN ZAI PD and CDN ZAI PI
      Claims against the Debtors and the Sealed Air Indemnified Parties are treated under the
      Plan.

68.   “CDN ZAI PD Claim” shall mean a Canadian Claim against, or any present or future,
      debt, liability, or obligation of, any of the Debtors or the Asbestos Protected Parties,
      including (x) all related claims, debts, obligations, liabilities, and remedies for
      compensatory (including general, special, and consequential damages) and punitive
      damages, and (y) all cross-claims, contribution claims, subrogation claims,
      reimbursement claims, and indemnity claims (whether or not such Canadian Claim,
      remedy, debt, liability, or obligation is reduced to judgment, liquidated, unliquidated,
      fixed, settled, contingent, matured, unmatured, disputed, undisputed, legal, equitable,
      secured, or unsecured; whether or not the facts of or legal bases therefor are known or
      unknown; and whether in the nature of or sounding in tort, or under contract, warranty,
      guarantee, contribution, joint and several liability, subrogation, reimbursement or
      indemnity, or any other theory of law, equity, or admiralty), for, based on, or arising out
      of, resulting from, or attributable to, directly or indirectly property damage located in
      Canada, including the cost of removal, abatement, or diminution in the value thereof, or
      environmental damage or economic loss caused or allegedly caused, by the ZAI sold,
      manufactured, supplied, produced, specified, selected, distributed, or in any way
      marketed by one or more of the Debtors (or any of their respective predecessors,
      successors, or assigns, or any current or former Affiliate of any of the foregoing
      (including any of the Non-Debtor Affiliates), but only to the extent that any liability is
      asserted to exist as a result of it being such a predecessor, successor, assign, or current or
      former Affiliate, or any other Entity for whose products or operations any of the Debtors
      allegedly has liability or is otherwise liable). CDN ZAI PD Claims are not included
      within Asbestos PD Claims provided, however, that notwithstanding the foregoing or
      anything else to the contrary, nothing in the Plan is intended, or shall be interpreted, to
      exclude CDN ZAI PD Claims from, or otherwise change, “Asbestos Property Damage
      Claims” as that term is defined in the Sealed Air Settlement Agreement.

69.   “CDN ZAI PD Claims Fund” shall mean the fund established to administer and make
      payments in respect of CDN ZAI PD Claims as set forth in the CDN ZAI Minutes of
      Settlement.

70.   “CDN ZAI PI Claim” shall mean a Canadian Claim, SA Claim, or Demand against, or
      any present or future debt, liability, or obligation of, any of the Debtors or the Asbestos
      Protected Parties, including (x) all related claims, debts, obligations, liabilities or
      remedies for compensatory (including general, special, and consequential damages) and


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      punitive damages, and (y) all cross-claims, contribution claims, subrogation claims,
      reimbursement claims, and indemnity claims (whether or not such Canadian Claim, SA
      Claim, Demand, remedy, debt, liability, or obligation is reduced to judgment, liquidated,
      unliquidated, fixed, settled, contingent, matured, unmatured, disputed, undisputed, legal,
      equitable, secured, or unsecured; whether or not the facts of or legal bases therefor are
      known or unknown; and whether in the nature of or sounding in tort, or under contract,
      warranty, guarantee, contribution, joint and several liability, subrogation, reimbursement
      or indemnity, or any other theory of law, equity, or admiralty), in each case for, based on,
      or arising out of, resulting from, or attributable to, directly or indirectly from:

                      (a)     death, wrongful death, personal or bodily injury (whether
      physical, emotional, or otherwise), sickness, disease, loss of consortium, survivorship,
      medical monitoring, or other personal injuries (whether physical, emotional, or
      otherwise) or other damages (including medical, legal, and other expenses, caused, or
      allegedly caused, and arising or allegedly arising, from acts or omissions of one or more
      of the Debtors (or any of their respective predecessors, successors, or assigns, or any
      current or former Affiliate of any of the foregoing (including any of the Non-Debtor
      Affiliates), or any other Entity for whose products or operations any of the Debtors
      allegedly has liability or is otherwise liable); and

                        (b)     the presence of or exposure at any time to ZAI that was mined,
      processed, consumed, used, stored, manufactured, designed, sold, assembled, supplied,
      produced, specified, selected, distributed, disposed of, installed by, or in any way
      marketed by, or on behalf of, one or more of the Debtors in Canada (or (x) any of their
      respective predecessors, successors, or assigns, or any current or former Affiliate of any of
      the foregoing (including any of the Non-Debtor Affiliates), but only to the extent that any
      liability is asserted to exist as a result of it being such a predecessor, successor, assign or
      current or former Affiliate, or (y) any other Entity for whose products or operations any of
      the Debtors allegedly has liability or is otherwise liable). CDN ZAI PI Claims are
      included within the Class of Asbestos PI Claims.

71.   “Certificate of Incorporation” shall mean the Certificate or Articles of Incorporation or
      equivalent document of any of the Debtors, as applicable, as amended as of the Effective
      Date or thereafter.

72.   “Chapter 11 Cases” shall mean the cases commenced by the Filing, on the Petition
      Date, by the Debtors of voluntary petitions for relief under chapter 11 of the Bankruptcy
      Code.

73.   “Claim” shall mean a claim (as defined in Bankruptcy Code § 101(5)) against a Debtor
      including any right to: (i) payment from any of the Debtors, whether or not such right is
      reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured,
      disputed, undisputed, legal, equitable, secured or unsecured; or (ii) an equitable remedy
      for breach of performance if such breach gives rise to a right to payment from any or all
      of the Debtors, whether or not such right to an equitable remedy is reduced to judgment,
      liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed,
      legal, equitable, secured or unsecured.

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74.   “Claimant” shall mean the Holder of a Plan Claim.

75.   “Class” shall mean a group of Plan Claims or Equity Interests classified by the Plan
      pursuant to Bankruptcy Code § 1122(a).

76.   “Class 7A Asbestos PD Deferred Payment Agreement” shall mean the “Deferred
      Payment Agreement (Class 7A PD),” substantially in the form included as Exhibit 27 in
      the Exhibit Book, executed by Parent pursuant to which the Parent shall commit to pay
      the Asbestos PD Trust on January 1 and July 1 of each year, a dollar amount equal to (i)
      the amount of the Asbestos PD Claims in Class 7A that were Allowed against the
      Asbestos PD Trust during the preceding six-month period, plus interest thereon accruing
      at the then applicable federal judgment rate per annum from the date of allowance of each
      such Asbestos PD Claim in Class 7A; and (ii) the Asbestos PD Trust Expenses for the
      next succeeding six-month period following the Asbestos PD Trust Expenses paid as part
      of the Asbestos PD Initial Payment. As provided therein, and in the Share Issuance
      Agreement, the payments made pursuant to the Class 7A Asbestos PD Deferred Payment
      Agreement shall be secured by Parent’s obligation to issue to the Trusts’ Representative,
      on behalf of the Asbestos PI Trust and the Asbestos PD Trust, 50.1% of Parent Common
      Stock as of the Effective Date.

77.   “Class 7A Case Management Order” or “Class 7A CMO” shall mean the Case
      Management Order for Class 7A Asbestos PD Claims and Exhibit A to such Order (the
      Amended Order Setting Various Deadlines Regarding Asbestos Property Damage
      Claims) substantially in the form included at Exhibit 25 of the Exhibit Book or such other
      substantially similar form as shall have been agreed to by each of the Plan Proponents
      and entered by the Bankruptcy Court.

78.   “Class 7A Initial Payment” shall mean (a) an amount in Cash sufficient for the
      Asbestos PD Trust to pay, in full, all obligations required to be paid on the Effective Date
      to Holders of Claims in Class 7A as set forth in the PD Settlement Agreements, and (b)
      an amount agreed to by the Parent, Sealed Air Corporation, Cryovac, Inc., Fresenius, and
      the Asbestos PD FCR, constituting an estimate of the first six months of the Asbestos PD
      Trust Expenses for Claims in Class 7A, to be transferred equally by Cryovac, Inc. and
      Fresenius directly to the Asbestos PD Trust on the Effective Date; provided, however,
      that Cryovac, Inc.’s transfer to the Asbestos PD Trust as part of the Class 7A Initial
      Payment when aggregated with Cryovac, Inc.’s transfer to the Asbestos PD Trust as part
      of the Class 7B Initial Payment shall not exceed 50% of the Cash component of the
      Cryovac Payment; and provided, further, that the Fresenius transfer to the Asbestos PD
      Trust as part of the Class 7A Initial Payment when aggregated with Fresenius’ transfer as
      part of the Class 7B Initial Payment shall not exceed 65% of the Fresenius Payment.

79.   “Class 7B Asbestos PD Deferred Payment Agreement” shall mean the “Deferred
      Payment Agreement (Class 7B ZAI),” substantially in the form included as Exhibit 28 in
      the Exhibit Book, executed by the Parent pursuant to which the Parent shall commit to
      pay the Asbestos PD Trust for the benefit of claims in Class 7B and make certain future


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      payments as set forth therein. As provided therein, and in the Share Issuance Agreement,
      the payments made pursuant to the Class 7B Asbestos PD Deferred Payment Agreement
      shall be secured by Parent’s obligation to issue to the Trusts’ Representative, on behalf of
      the Asbestos PI Trust and the Asbestos PD Trust, 50.1% of Parent Common Stock as of
      the Effective Date.

80.   “Class 7B Initial Payment” shall mean an amount in Cash equal to $30 million plus
      interest from April 1, 2009 to the Effective Date, accrued at the same rate applicable to
      the Debtors’ senior Exit Financing, to be transferred equally by Cryovac, Inc. and
      Fresenius directly to the Asbestos PD Trust on the Effective Date for the benefit of
      holders of Claims and Demands in Class 7B; provided, however, that Cryovac, Inc.’s
      transfer to the Asbestos PD Trust as part of the Class 7B Initial Payment when
      aggregated with Cryovac, Inc.’s transfer to the Asbestos PD Trust as part of the Class 7A
      Initial Payment shall not exceed 50% of the Cash component of the Cryovac Payment;
      and provided, further, that the Fresenius transfer to the Asbestos PD Trust as part of the
      Class 7B Initial Payment when aggregated with Fresenius’ transfer as part of the Class
      7A Initial Payment shall not exceed 65% of the Fresenius Payment.

81.   “Common Parent” shall mean the common parent, as defined in Treasury Regulation
      section 1.1502-77, of those corporations that joined, or hereafter join in filing a
      Consolidated Tax Return under section 1501 of the IRC, and the Treasury Regulations
      thereunder, or a Consolidated Tax Return under comparable provisions of law for FSA
      Taxes or other jurisdictions (domestic or foreign).

82.   “Confirmation Date” shall mean the date the clerk of the Court enters on the docket the
      Confirmation Order.

83.   “Confirmation Hearing” shall mean the hearing that the Court conducts to consider
      confirmation of the Plan pursuant to Bankruptcy Code § 1129, as such hearing may be
      adjourned or continued from time to time.

84.   “Confirmation Order” shall mean the order(s) entered by the Court on the Confirmation
      Date confirming the Plan.

85.   “Confirmation Procedures Order” shall mean the order(s) of the Bankruptcy Court (i)
      approving procedures relating to the solicitation and tabulation of votes with respect to
      the Plan; and (ii) providing or establishing the basis for calculating the amount of any
      Plan Claim for voting purposes.

86.   “Consolidated Tax Return” shall mean (i) a federal consolidated income Tax Return,
      within the meaning of section 1501 of the IRC and the Treasury Regulations under
      section 1502 of the IRC, and (ii) any combined, joint, consolidated, or other Tax Return
      respecting FSA Taxes under the laws of any jurisdiction (domestic or foreign).

87.   “Contingent Claim” shall mean any Plan Claim, the liability for which attaches or is
      dependent upon the occurrence or happening of, or is triggered by, an event, which event


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      has not yet occurred, happened, or been triggered, as of the date on which such Plan
      Claim is sought to be estimated or an objection to such Plan Claim is Filed, whether or
      not such event is within the actual or presumed contemplation of the Holder of such Plan
      Claim and whether or not a relationship between the Holder of such Plan Claim and a
      Debtor now or hereafter exists or previously existed.

88.   “Court” shall mean either the Bankruptcy Court or the District Court, as appropriate.

89.   “Crown” shall mean the Attorney General of Canada (Her Majesty the Queen in Right of
      Canada).

90.   “Cryovac, Inc.” shall mean Cryovac, Inc., taxpayer identification number XX-XXXXXXX, a
      Delaware corporation, formerly named Grace Communications, Inc.

91.   “Cryovac Payment” shall mean (i) five hundred twelve million five hundred thousand
      dollars ($512,500,000) in Cash, plus interest thereon from December 21, 2002 until the
      Effective Date, at a rate of 5.5% per annum compounded annually and (ii) eighteen
      million (18,000,000) shares of Sealed Air Common Stock (as adjusted for a two-for-one
      stock split on March 16, 2007), each of (i) and (ii) subject to further adjustment to the
      extent provided in the Sealed Air Settlement Agreement.

92.   “Cryovac Transaction” shall mean the transfers of assets, the distribution of stock, the
      merger, and all predecessor, related, and ancillary transactions, agreements, transfers, and
      distributions relating to the transactions described in, referred to, or contemplated by
      Form S-4 Registration Statement filed by Old Grace Delaware with the SEC under the
      Securities Act, on or about February 13, 1998, SEC File No. 333-46281, including all
      attachments, exhibits, and schedules thereto.

93.   “Debtor in Possession” or “Debtors in Possession” shall mean one or more of the
      Debtors, each in its capacity as a debtor in possession pursuant to Bankruptcy Code §§
      1107(a) and 1108.

94.   “Debtors” or “Grace” shall mean, collectively, W. R. Grace & Co. (f/k/a Grace
      Specialty Chemicals, Inc.), W. R. Grace & Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife
      Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a Circe
      Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food ‘N Fun
      Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
      (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited
      Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a
      Grace Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc.,
      GPC Thomasville Corp., Gloucester New Communities Company, Inc., Grace A-B Inc.,
      Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc.,
      Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace
      Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation,
      Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
      Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace


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       Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W. R. Grace
       Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
       Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco
       International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation
       Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management,
       Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp.
       (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA,
       Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium
       Group, Inc. (f/k/a Environmental Liability Management, Inc., E&C Liquidating Corp.,
       Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street
       Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country Staffing),
       Hayden-Gulch West Coal Company, and H-G Coal Company.

95.    “Demand” shall mean a “demand” as defined in section 524(g)(5) of the Bankruptcy
       Code, including any present or future demand for payment against a Debtor that (i) was
       not a Claim in the Chapter 11 Cases prior to the Effective Date; (ii) arises out of the same
       or similar conduct or events that gave rise to the Claims addressed by the Asbestos PI
       Channeling Injunction or the Asbestos PD Channeling Injunction; and (iii) pursuant to
       the Plan, shall be dealt with by the Asbestos PI Trust, the Asbestos PD Trust, or the CDN
       ZAI PD Claims Fund.

96.    “Disallowed” shall mean, with respect to a Plan Claim (other than an Asbestos PI Claim
       and US ZAI PD Claim) or Equity Interest, disallowed in its entirety by a Final Order of
       the Bankruptcy Court, District Court, or another court of competent jurisdiction.

97.    “Disclosure Statement” shall mean the disclosure statement relating to the Plan,
       including all exhibits, appendices and schedules thereto, approved by order of the
       Bankruptcy Court in connection with the Plan pursuant to Bankruptcy Code § 1125,
       together with any amendments and supplements thereto.

98.    “Disputed Claim” shall mean a Plan Claim (other than an Asbestos PI Claim or US ZAI
       PD Claim) that is neither Allowed nor Disallowed.

99.    “Distribution” shall mean the payment, distribution, or assignment under the Plan by the
       Reorganized Debtors of property or interests in property to: (i) any Holder of an Allowed
       Plan Claim (other than an Asbestos PI Claim, an Asbestos PD Claim, or a CDN ZAI PD
       Claim) or Allowed Equity Interest; (ii) the Asbestos PI Trust; or (iii) the Asbestos PD
       Trust.

100.   “District Court” shall mean the United States District Court for the District of Delaware.

101.   “Effective Date” shall mean the first Business Day after the date on which all of the
       conditions precedent to the effectiveness of the Plan specified in Section 7.8 hereto shall
       have been satisfied or waived or, if a stay of the Confirmation Order is in effect on such
       date, the first Business Day after the expiration, dissolution, or lifting of such stay.



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102.   “Employee Benefit Claims” shall mean all Claims, including accrued but unpaid
       pension Claims from the Petition Date, for compensation or benefits arising out of the
       Claimants’ employment with the Debtors, but only to the extent and amount provided for
       under a written benefit plan sponsored by the Debtors. Workers’ Compensation Claims,
       Asbestos Claims, and other Claims asserted by current or former employees are not
       Employee Benefit Claims. Further, any Claim for damages or other relief asserted by a
       current or former employee that is not for compensation or benefits in an amount
       permitted pursuant to the Debtors’ written benefit plans is not an Employee Benefit
       Claim.

103.   “Encumbrance” shall mean with respect to any property or asset (whether real or
       personal, tangible or intangible), any mortgage, lien, pledge, charge, security interest,
       assignment as collateral, or encumbrance of any kind or nature in respect of such
       property or asset (including any conditional sale or other title retention agreement, any
       security agreement, and the filing of, or agreement to give, any financing statement under
       the Uniform Commercial Code or comparable law of any jurisdiction) to secure payment
       of a debt or performance of an obligation.

104.   “Entity” shall mean any person, individual, corporation, company, limited liability
       company, firm, partnership, association, joint stock company, joint venture, estate, trust,
       business trust, unincorporated organization, any other entity, the United States Trustee or
       any Governmental Unit or any political subdivision thereof.

105.   “Environmental Claim” shall mean any Claim, other than an Asbestos Claim, asserted
       by any Entity, arising out of, related to, or based upon any Environmental Law. Under
       the Plan, Environmental Claims are treated as Administrative Expense Claims or
       Unsecured Claims, as appropriate.

106.   “Environmental Laws” shall mean (a) the Comprehensive Environmental Response,
       Compensation and Liability Act of 1980, as amended by the Superfund Amendments and
       Reauthorization Act of 1986, 42 U.S.C. §§ 9601, et seq., (b) the Resource Conservation
       and Recovery Act, as amended by the Hazardous and Solid Waste Amendment of 1984,
       42 U.S.C. §§ 6901, et seq., (c) the Clean Air Act, 42 U.S.C. §§ 7401, et seq., (d) the
       Clean Water Act of 1977, 33 U.S.C. §§ 1251, et seq., (e) the Toxic Substances Control
       Act, 15 U.S.C. §§ 2601, et seq., (f) all statutes, laws, rules, permits or regulations issued
       or promulgated by any Governmental Unit or court (including the common law), as they
       may be amended from time to time, relating to the protection and/or prevention of harm,
       contamination or pollution of or to the environment (including ecological systems and
       living organisms including humans and the following media whether alone or in
       combination: air (including air within buildings), water (including water under or within
       land or in pipe or sewage systems), land, buildings and soil) and (g) ordinances, rules,
       regulations, orders, notices of violation, requests, demands, permits and requirements
       issued or promulgated by any Governmental Unit in connection with such statutes or
       laws.




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107.   “Equity Committee” shall mean the Official Committee of Equity Security Holders
       appointed in the Chapter 11 Cases.

108.   “Equity Interest” shall mean any interest in any of the Debtors pursuant to an “equity
       security” within the meaning of Bankruptcy Code § 101(16).

109.   “ERISA” shall mean the Employee Retirement Income Security Act of 1974 and any
       regulations issued pursuant thereto, as amended from time to time.

110.   “Estate Parties” shall mean each of the Debtors, the estate of each Debtor, the post-
       confirmation estate of each Debtor, each of the Reorganized Debtors, and any trustee that
       may be appointed in any of the Debtors’ cases under the Bankruptcy Code.

111.   “Exhibit Book” shall mean the exhibits to the Disclosure Statement, the Plan, and/or the
       other Plan Documents, as may be amended, supplemented, or modified from time to
       time.

112.   “Exit Financing” shall mean such financing agreement(s) or commitment(s) as the
       Debtors may enter into to provide the Reorganized Debtors with appropriate credit
       availability.

113.   “File” or “Filed” or “Filing” shall mean file, filed, or filing with the Court in or to
       commence the Chapter 11 Cases, as the case may be.

114.   “Final Order” shall mean an order, the operation or effect of which has not been stayed,
       reversed, or amended and as to which order the time to appeal, petition for certiorari, or
       move for reargument or rehearing has expired and as to which no appeal, petition for
       certiorari, or other proceedings for reargument or rehearing shall then be pending or as to
       which any right to appeal, petition for certiorari, reargue, or rehear shall have been
       waived in writing by all Entities possessing such right, or, in the event that an appeal,
       writ of certiorari, or reargument or rehearing thereof has been sought, such order shall
       have been affirmed by the highest court to which such order was appealed, or from which
       reargument or rehearing was sought or certiorari has been denied, and the time to take
       any further appeal, petition for certiorari, or move for reargument or rehearing shall have
       expired; provided, however, that the possibility that a motion under Rule 60 of the
       Federal Rules of Civil Procedure or any analogous rule under the Bankruptcy Rules may
       be filed with respect to such order shall not cause such order not to be a Final Order.

115.   “FMCH” shall mean Fresenius Medical Care Holdings, Inc. (taxpayer identification
       number XX-XXXXXXX), a New York corporation, formerly named W. R. Grace & Co. and
       Fresenius National Medical Care Holdings, Inc., its Affiliates, and any and all of their
       predecessors, successors, and assigns.

116.   “FMCH Group” shall mean that group of corporations, immediately after December 31,
       1996, that were members of the affiliated group of corporations within the meaning of
       section 1504 of the IRC, and the Treasury Regulations thereunder, of which FMCH was


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       and on the date of the Fresenius Settlement Agreement continued to be the Common
       Parent.

117.   “Fresenius” shall mean FMCH and NMC.

118.   “Fresenius Action” shall mean the suit styled Official Committee of Asbestos Personal
       Injury Claimants and Official Committee of Asbestos Property Damage Claimants of W.
       R. Grace & Co, suing on behalf of the Chapter 11 Bankruptcy Estate of W. R. Grace &
       Co., el. al. v. Fresenius Medical Care Holdings, Inc., Adv. No. 02-2211 (D. Del.).

119.   “Fresenius Indemnified Parties” shall mean Fresenius and each of their respective
       present and former subsidiaries, parents, Affiliates, officers, directors, employees,
       partners, trustees, shareholders, beneficiaries, agents, attorneys, predecessors, successors,
       and assigns, including Fresenius Medical Care AG & Co. KGaA. and Fresenius AG, but
       not including the Estate Parties and Sealed Air.

120.   “Fresenius Indemnified Taxes” shall mean all FSA Taxes for or attributable to Tax
       Periods ending on or before December 31, 1996 other than NMC Indemnified Taxes.

121.   “Fresenius Payment” shall mean the $115,000,000 consideration to be paid by
       Fresenius as directed in the Confirmation Order pursuant to the terms of, and subject to
       the conditions set forth in, the Fresenius Settlement Agreement.

122.   “Fresenius Settlement Agreement” shall mean that certain settlement agreement and
       release of claims dated February 6, 2003 by and among the Parent, Grace-Conn,
       Fresenius, the Asbestos PI Committee, and the Asbestos PD Committee, included as
       Exhibit 13 in the Exhibit Book, as such agreement may be amended from time to time.

123.   “Fresenius Settlement Order” shall mean the Order Authorizing, Approving and
       Implementing Settlement Agreement By and Among Plaintiffs, the Official Committee of
       Asbestos Property Damage Claimants and the Official Committee of Asbestos Personal
       Injury Claimants, the Debtors, and Defendants Fresenius Medical Holdings, Inc. and
       National Medical Care, Inc., entered by the District Court on June 25, 2003, Dkt. No. 19
       and included as part of Exhibit 14 in the Exhibit Book.

124.   “Fresenius Transaction” shall mean the series of transactions that became effective on
       September 27-30, 1996, whereby, inter alia, (i) NMC distributed approximately $2.3
       billion in cash and assumed debt to Grace-Conn; (ii) Grace-Conn distributed 100% of the
       common shares of NMC stock to Grace New York; (iii) Grace New York contributed
       100% of the common shares of Grace-Conn stock to Old Grace Delaware; (iv) Grace
       New York distributed 100% of the common shares of Old Grace Delaware stock to its
       shareholders; and (iv) Grace New York merged with a subsidiary of Fresenius Medical
       Care AG & Co. KGaA., all of which are more fully described in that certain Distribution
       Agreement dated as of February 4, 1996, among Grace New York, Grace-Conn and
       Fresenius AG, and that certain Contribution Agreement dated as of February 4, 1996,
       among Fresenius AG, Sterilpharma GmbH (as defined therein), and Grace-Conn, as that


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       series of transactions is described in, referred to, or contemplated by Form S-4
       Registration Statement filed by Grace New York with the SEC under the Securities Act,
       on or about August 2, 1996, SEC File No. 333-09497, including all attachments, exhibits
       and schedules thereto.

125.   “FSA Taxes” shall mean all forms of taxation, customs, duties, levies, fees, tariffs,
       imposts, deficiencies, or other charges or assessments of any kind whatsoever, imposed
       by any government entity whenever created or imposed, and whether of the United States
       or elsewhere, and whether imposed by a local, municipal, governmental, state, foreign,
       federation or other body, and without limiting the generality of the foregoing, shall
       include income (including alternative minimum), sales, use, ad valorem, gross receipts,
       license, value added, franchise, transfer, recording, withholding, payroll, employment,
       excise, occupation, unemployment insurance, social security, business license, business
       organization, stamp, environmental, premium and property taxes, together with any
       related interest, penalties and additions to any such tax, or additional amounts imposed by
       any taxing authority (domestic or foreign) upon the FMCH Group, the New Grace Group,
       the Grace New York Group, the Sealed Air Group or any of their respective members or
       divisions or branches.

126.   “General Unsecured Claim” shall mean any Claim in the Chapter 11 Cases that is not
       an Administrative Expense Claim, Priority Tax Claim, Priority Claim, Secured Claim,
       Employee Benefit Claim, Workers’ Compensation Claim, Intercompany Claim, Asbestos
       PI Claim, CDN ZAI PD Claim, or Asbestos PD Claim.

127.   “Governmental Unit” shall mean any domestic, foreign, provincial, federal, state, local
       or municipal (a) government, or (b) governmental agency, commission, department,
       bureau, ministry, or other governmental entity, or (c) any other “governmental unit” (as
       defined in Bankruptcy Code § 101(27)).

128.   “Grace Canada” shall mean Grace Canada, Inc., an Ontario corporation.

129.   “Grace-Conn” shall mean W. R. Grace & Co.-Conn., a Connecticut corporation, and
       one of the Debtors in these Chapter 11 Cases.

130.   “Grace New York” shall mean W. R. Grace & Co., a New York corporation, (taxpayer
       identification number XX-XXXXXXX), whose name was changed to Fresenius National
       Medical Care Holdings, Inc. on September 27, 1996, and to Fresenius Medical Care
       Holdings on June 12, 1997.

131.   “Grace New York Group” shall mean that group of corporations, including Grace-Conn
       and Old Grace Delaware, that were members through (and including) September 29,
       1996 or December 31, 1996, as applicable, of the affiliated group of corporations within
       the meaning of section 1504 of the IRC, and the Treasury Regulations thereunder, of
       which Grace New York was the Common Parent, including, with respect to FSA Taxes
       of other jurisdictions (domestic or foreign), that group of corporations which included



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       Grace New York or one or more of the members of the Grace New York Group with
       respect to a Consolidated Tax Return.

132.   “Grace PI Guaranty” shall mean the guaranty by the Reorganized Parent of
       Reorganized Grace-Conn’s obligations under the Asbestos PI Deferred Payment
       Agreement in the form set forth in Exhibit 15 of the Exhibit Book or such other
       substantially similar form as shall have been agreed to by each of the Plan Proponents.

133.   “Grace PD Guarantee Agreement for Class 7A” shall mean the “W. R. Grace & Co.
       Guarantee Agreement (Class 7A PD)” substantially in the form included as Exhibit 29 of
       the Exhibit Book or such other substantially similar form as shall have been agreed to by
       each of the Plan Proponents.

134.   “Grace PD Guarantee Agreement for Class 7B” shall mean “W. R. Grace & Co.
       Guarantee Agreement (Class 7B ZAI)” substantially in the form included as Exhibit 30 of
       the Exhibit Book or such other substantially similar form as shall have been agreed to by
       each of the Plan Proponents.

135.   “Grace-Related Claim” shall have the same meaning as defined in the Fresenius
       Settlement Agreement and shall include all claims (including unknown claims),
       Demands, rights, liabilities, and causes of action of every nature and description
       whatsoever, known or unknown, direct or indirect, whether concealed or hidden, from the
       beginning of time up to and including the date on which the Fresenius Payment is made
       pursuant to the Fresenius Settlement Agreement, asserted or that might have been
       asserted (including claims for fraudulent conveyance, successor liability, piercing of the
       corporate veil, negligence, gross negligence, professional negligence, breach of duty of
       care, breach of loyalty, breach of duty of candor, fraud, breach of fiduciary duty,
       mismanagement, corporate waste, breach of contract, negligent misrepresentation,
       contribution, indemnification, any other common law or equitable claims, and violations
       of any state or federal statutes, rules or regulations), which are either “Asbestos-Related
       Claims” (as defined in the Fresenius Settlement Agreement) or are based upon or arise
       out of the Fresenius Transaction, or the conduct or operations of any business or
       operations of any of Grace-Conn and its parents or subsidiaries at any time (other than
       the NMC Business), including without limitation any claims based on or arising out of
       environmental law, but not including any claims based on or arising out of the conduct or
       operations of the NMC Business or any act or omission of the Fresenius Indemnified
       Parties in connection with the operation of the NMC Business.

136.   “Holder” shall mean any Entity holding any Plan Claim or Equity Interest and, with
       respect to a vote on the Plan, shall mean the beneficial holders on the Voting Record Date
       or any authorized signatory who has completed and executed a Ballot or on whose behalf
       a Master Ballot has been properly completed and executed.

137.   “Indirect PD Trust Claim” shall mean any Claim or remedy, liability, or Demand
       against the Debtors, now existing or hereafter arising, whether or not such Claim,
       remedy, liability, or Demand is reduced to judgment, liquidated, unliquidated, fixed,


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       contingent, matured, unmatured, disputed, undisputed, legal, equitable, secured, or
       unsecured, whether or not the facts of or legal bases for such Claim, remedy, liability, or
       Demand are known or unknown, that is (x)(i) held by (A) any Entity (other than a
       director or officer entitled to indemnification pursuant to Section 8.8.9 of the Plan) who
       has been, is, or may be a defendant in an action seeking damages for an Asbestos PD
       Claim or (B) any assignee or transferee of such Entity and (ii) on account of alleged
       liability of the Debtors for payment, repayment, reimbursement, indemnification,
       subrogation, or contribution of any portion of any damages such Entity has paid or may
       pay to the plaintiff in such action or (y) held by any Entity that is a claim seeking
       payment, repayment, reimbursement, indemnification, subrogation, or contribution from
       the Debtors with respect to any insurance settlement agreement, surety bond, letter of
       credit or other financial assurance issued or entered into by any Entity on account of, or
       with respect to, an Asbestos PD Claim; provided, however, that for the avoidance of
       doubt, the term “Indirect PD Trust Claim” shall not include or pertain to any Asbestos PI
       Claim, CDN ZAI PD Claim, Environmental Claim, or Workers’ Compensation Claim.

138.   “Indirect PI Trust Claim” shall mean any Claim or remedy, liability, or Demand
       against the Debtors, now existing or hereafter arising, whether or not such Claim,
       remedy, liability, or Demand is reduced to judgment, liquidated, unliquidated, fixed,
       contingent, matured, unmatured, disputed, undisputed, legal, equitable, secured, or
       unsecured, whether or not the facts of or legal bases for such Claim, remedy, liability, or
       Demand are known or unknown, that is (x)(i) held by (A) any Entity (other than a
       director or officer entitled to indemnification pursuant to Section 8.8.9 of the Plan) who
       has been, is, or may be a defendant in an action seeking damages for death, bodily injury,
       sickness, disease, or other personal injuries (whether physical, emotional, or otherwise) to
       the extent caused or allegedly caused, directly or indirectly, by exposure to asbestos or
       asbestos-containing products for which the Debtors have liability or (B) any assignee or
       transferee of such Entity and (ii) on account of alleged liability of the Debtors for
       payment, repayment, reimbursement, indemnification, subrogation, or contribution of any
       portion of any damages such Entity has paid or may pay to the plaintiff in such action or
       (y) held by any Entity that is a claim seeking payment, repayment, reimbursement,
       indemnification, subrogation, or contribution from the Debtors with respect to any
       insurance settlement agreement, surety bond, letter of credit or other financial assurance
       issued or entered into by any Entity on account of, or with respect to, Asbestos PI Claims;
       provided, however, that for the avoidance of doubt, the term “Indirect PI Trust Claim”
       shall not include or pertain to any Asbestos PD Claim, CDN ZAI PD Claim,
       Environmental Claim, or Workers’ Compensation Claim.

139.   “Initial Tax Distribution Date” shall mean: (i) a date within the first sixty (60) days
       after the Effective Date as selected by the Reorganized Debtors, or (ii) such later date as
       the Bankruptcy Court may establish, upon request by the Reorganized Debtors, for cause
       shown.

140.   “Insurance Contributor” shall mean any of (a) the Debtors, (b) the Reorganized
       Debtors, and (c) the Non-Debtor Affiliates identified in the Asbestos Insurance Transfer
       Agreement.


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141.   “Intercompany Claim” shall mean: (a) any Claim that arose prior to the Effective Date
       by: (i) any Debtor against any other Debtor, or (ii) a Non-Debtor Affiliate against any
       Debtor; or (b) any claim that arose prior to the Effective Date by any Debtor against any
       Non-Debtor Affiliate.

142.   “IRC” shall mean the Internal Revenue Code of 1986, as amended, and any applicable
       regulations (including temporary and proposed regulations) promulgated thereunder by
       the United States Treasury Department.

143.   “IRS” shall mean the United States Internal Revenue Service.

144.   “March 2003 Bar Date” shall mean March 31, 2003, the last day for Filing a proof of
       claim relating to pre-petition (i) Asbestos PD Claims, (ii) non-asbestos claims (including
       all governmental claims, Environmental Claims, and all derivative asbestos claims and
       asbestos-related claims for contribution, indemnity, reimbursement, or subrogation), and
       (iii) Asbestos Medical Monitoring Claims.

145.   “March 2003 Bar Date Order” shall mean the Court’s order, dated April 22, 2002, Dkt.
       No. 1963, which established the March 2003 Bar Date.

146.   “Master Ballot” shall mean a Ballot (a) cast on behalf of one or more Holders of
       Asbestos PI Claims or Asbestos PD Claims, or (b) cast on behalf of one or more
       beneficial owners of Parent Common Stock, in either case pursuant to the terms and
       guidelines established in the Plan Documents and/or the Confirmation Procedures Order.

147.   “New Grace Group” shall mean that group of corporations, including Grace-Conn
       (taxpayer identification number XX-XXXXXXX) that are, or hereafter become, members of
       that affiliated group of corporations under section 1504 of the IRC, and the Treasury
       Regulations thereunder, that have joined, or hereafter join, in filing a Consolidated Tax
       Return of which the Parent, or any successor to the Parent, including any reorganized
       Debtor successor to the Parent, was or is the Common Parent.

148.   “NMC” shall mean National Medical Care, Inc., a Delaware corporation (taxpayer
       identification number XX-XXXXXXX).

149.   “NMC Business” shall mean all of the worldwide healthcare business and operations
       conducted by NMC and the direct and indirect subsidiaries of NMC at any time, whether
       prior to or after September 29, 1996.

150.   “NMC Indemnified Taxes” shall mean all Taxes of or attributable to any Tax Period
       arising from Tax Items relating to the NMC Business conducted by a member of the
       FMCH Group (net of benefits from Tax Items relating to the NMC Business from one or
       more Tax Periods not previously paid to, or applied for the benefit of, any member of the
       FMCH Group) which have not previously been paid to (i) one of the Estate Parties, (ii)



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       Grace New York prior to the Fresenius Transaction, or (iii) the applicable tax authority,
       by any member of the FMCH Group.

151.   “Non-Debtor Affiliate” shall mean each Affiliate of the Debtors that is not a debtor or
       debtor-in-possession in the Chapter 11 Cases, including the Entities designated as Non-
       Debtor Affiliates in Exhibit 16 in the Exhibit Book.

152.   “Old Grace Delaware” shall mean W. R. Grace & Co., a Delaware corporation
       (taxpayer identification number XX-XXXXXXX), prior to the change of its name to Sealed
       Air Corporation in the Cryovac Transaction.

153.   “Old Sealed Air Corporation” shall mean Sealed Air Corporation (US), a Delaware
       corporation (taxpayer identification number XX-XXXXXXX), which was named Sealed Air
       Corporation until the consummation of the Cryovac Transaction.

154.   “Parent” shall mean W. R. Grace & Co., a Delaware corporation (taxpayer identification
       number XX-XXXXXXX), the first named Debtor in the caption of the Chapter 11 Cases and
       ultimate parent holding company of all of the other Debtors and Non-Debtor Affiliates.

155.   “Parent Common Stock” shall mean the common stock, par value $0.01 per share, of
       the Parent or, if after the Effective Date, of the Reorganized Parent.

156.   “PBGC” shall have the meaning set forth in Section 8.1.6 of the Plan.

157.   “PD Settlement Agreements” shall mean settlement agreements approved by the
       Bankruptcy Court on or before the Effective Date between the Debtors and certain
       Holders of Asbestos PD Claims fully and finally resolving the Allowed Amount of their
       Asbestos PD Claims.

158.   “PD Trust” shall mean the Asbestos PD Trust.

159.   “Pension Plans” shall have the meaning set forth in Section 8.1.6 of the Plan.

160.   “Petition Date” shall mean April 2, 2001, the date on which the Debtors Filed their
       petitions for relief commencing the Chapter 11 Cases.

161.   “Plaintiffs” means the Asbestos PI Committee and the Asbestos PD Committee, suing
       on behalf of the Chapter 11 Bankruptcy Estate of W. R. Grace & Co. in the Fresenius
       Action and the Sealed Air Action.

162.   “Plan” shall mean the First Amended Joint Plan of Reorganization Under Chapter 11 of
       the Bankruptcy Code of W. R. Grace & Co., et al., the Official Committee of Asbestos
       Personal Injury Claimants, the Asbestos PI Future Claimants’ Representative, and the
       Official Committee of Equity Security Holders Dated February 27, 2009, as it may be
       amended, supplemented, or otherwise modified from time to time, and the exhibits and
       schedules to the foregoing, as the same may be in effect from time to time.


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163.   “Plan Claims” shall mean, collectively, Administrative Expense Claims, Priority Tax
       Claims, Priority Claims, Secured Claims, Employee Benefit Claims, Workers’
       Compensation Claims, Intercompany Claims, Asbestos PI Claims, CDN ZAI PD Claims,
       Asbestos PD Claims, and General Unsecured Claims.

164.   “Plan Documents” shall mean the Plan, the Exhibit Book, the Disclosure Statement, all
       exhibits in the Exhibit Book, and the Plan Supplement, either in the form approved by
       each of the Plan Proponents or as each may be amended, supplemented, or otherwise
       modified from time to time in accordance with its terms.

165.   “Plan Proponents” means, collectively, the Debtors, the Asbestos PI Committee, the
       Asbestos PI FCR, and the Equity Committee.

166.   “Plan Registration Rights Agreement” shall mean the Registration Rights Agreement
       in the form included as Exhibit 17 of the Exhibit Book or such other substantially similar
       form as shall have been agreed to by each of the Plan Proponents.

167.   “Plan Supplement” shall mean the supplement, containing copies of certain exhibits or
       schedules to the Plan and Disclosure Statement, including the By-Laws of the Parent,
       draft amended Certificates of Incorporation, and a list disclosing the identity and
       affiliates of any person proposed to serve on the initial board of directors or be an officer
       of one or more of the Reorganized Debtors, which shall be Filed with the Bankruptcy
       Court at least ten (10) days before the objection deadline with respect to the Plan and
       served on the Entities listed in Section 11.12 of this Plan.

168.   “Pre-petition Credit Facilities” shall mean (i) the Credit Agreement, dated as of May
       14, 1998, among Grace-Conn., the Parent, the several banks from time to time parties
       thereto, the co-agents thereto, The Chase Manhattan Bank as administrative agent, and
       Chase Securities Inc. as arranger; and (ii) the 364-Day Credit Agreement, dated as of
       May 5, 1999, as amended by the First Amendment dated as of May 3, 2000, among
       Grace-Conn., the Parent, the several banks from time to time parties thereto, Bank of
       America National Trust and Savings Association as syndication agent, The Chase
       Manhattan Bank as administrative agent, Chase Securities Inc. as book manager, and
       First Union National Bank as documentation agent.

169.   “Post-Effective Distribution Date” shall mean, with respect to any Plan Claim that
       becomes an Allowed Claim after the Effective Date or with respect to the amount of post-
       petition interest payable in relation to an Allowed General Unsecured Claim that is
       subject to a Post-Petition Interest Determination Notice or a Notice of Non-Default
       Contract Rate of Interest that is resolved pursuant to Sections 3.1.9(d) or (e) of the Plan,
       the last Business Day of the month following the month in which the Plan Claim has
       become an Allowed Claim or after the amount of post-petition interest has been resolved
       pursuant to Sections 3.1.9(d) or (e) of the Plan, as the case may be.




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170.   “Priority Claim” shall mean any Claim (other than an Administrative Expense Claim or
       Priority Tax Claim) to the extent such Claim is entitled to priority in right of payment
       under Bankruptcy Code § 507.

171.   “Priority Tax Claim” shall mean a Claim that is of a kind specified in Bankruptcy Code
       §§ 502(i) or 507(a)(8).

172.   “Professional” shall mean an Entity (i) employed pursuant to a Final Order in
       accordance with Bankruptcy Code §§ 327, 328, 363, 524(g)(4)(B)(i) and/or 1103 and to
       be compensated for services pursuant to Bankruptcy Code §§ 327, 328, 329, 330 and/or
       331, or (ii) for which compensation and reimbursement have been allowed by the
       Bankruptcy Court pursuant to Bankruptcy Code § 503(b)(4).

173.   “Quarterly Tax Distribution Date” shall mean the first Business Day of each calendar
       quarter following the Initial Tax Distribution Date; provided, however, that the first
       Quarterly Tax Distribution Date following the Initial Tax Distribution Date shall be no
       less than ninety (90) days following such Initial Tax Distribution Date.

174.   “Reorganized Debtor,” “Reorganized Debtors” or “Reorganized Grace” shall mean
       the Debtor(s) from and after the Effective Date.

175.   “Reorganized Grace-Conn” shall mean W. R. Grace & Co.-Conn from and after the
       Effective Date.

176.   “Reorganized Parent” shall mean the Parent from and after the Effective Date.

177.   “Representatives” shall mean, with respect to any Entity, the past and present directors,
       officers, employees, accountants (including independent registered public accountants),
       advisors, attorneys, consultants, or other agents of that Entity, or any other
       representatives or professionals of that Entity or of any of those directors, officers,
       employees, accountants (including independent registered public accountants), advisors,
       attorneys, consultants, or other agents, but only in their capacities as such.

178.   “Retained Causes of Action” shall mean the actual and potential causes of action that
       the Reorganized Debtors shall retain under the Plan, on and after the Effective Date, on
       behalf of the Debtors, to commence and pursue, as appropriate, in any court or other
       tribunal including in an adversary proceeding filed in one or more of the Chapter 11
       Cases, whether such causes of action accrued before or after the Petition Date and
       whether such causes of action are known or unknown as of any date of determination,
       including, but not limited to, the actions listed in Exhibit 19 included in the Exhibit Book,
       but specifically excluding the Asbestos PI Trust Causes of Action and the Asbestos PD
       Trust Causes of Action.

179.   “SA Asbestos Personal Injury Claim” shall mean an “Asbestos Personal Injury Claim”
       as defined in the Sealed Air Settlement Agreement, including any and all SA Claims, SA
       Debts, and SA Damages for death, bodily injury, sickness, disease, medical monitoring,


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       or other personal injuries (whether physical or not) caused or allegedly caused by, based
       on, arising out of, or attributable to, directly or indirectly, in whole or in part, the
       presence of or exposure at any time to asbestos or asbestos-containing material or
       products, mined, processed, consumed, used, stored, manufactured, designed, sold,
       assembled, distributed, disposed of, or installed by or on behalf of any SA Debtor or any
       of its predecessors, successors, or assigns, or any current or former Affiliate of any of the
       foregoing (but only to the extent that any liability is asserted to exist as a result of it being
       such a predecessor, successor, assign, or current or former Affiliate), including any SA
       Claims, SA Debts, and SA Damages for reimbursement, indemnification, subrogation, or
       contribution.

180.   “SA Asbestos Property Damage Claim” shall mean an “Asbestos Property Damage
       Claim” as defined in the Sealed Air Settlement Agreement, including any and all SA
       Claims, SA Debts, and SA Damages for or arising out of property damage, including the
       cost of inspecting, maintaining, encapsulating, abating, repairing, decontaminating,
       removing, or disposing of asbestos or asbestos-containing materials or products in
       buildings or other structures, or other property caused or allegedly caused by, based on,
       arising out of, or attributable to, directly or indirectly, in whole or in part, the installation
       in, presence in, or removal of asbestos or asbestos-containing material or products mined,
       processed, consumed, used, stored, manufactured, designed, sold, assembled, distributed,
       disposed of, or installed by or on behalf of any SA Debtor or any of its predecessors,
       successors, or assigns, or any current or former Affiliate of any of the foregoing (but only
       to the extent that any liability is asserted to exist as a result of it being such a predecessor,
       successor, assign, or current or former Affiliate), including any SA Claims, SA Debts,
       and SA Damages for reimbursement, indemnification, subrogation, or contribution.

181.   “SA Claims” shall mean “Claim” as defined in the Sealed Air Settlement Agreement,
       including any and all claims, whether direct, indirect, derivative or otherwise, including
       ‘claim’ as the term is defined in section 101(5) of the Bankruptcy Code (except that a
       right to an equitable remedy shall also be considered an SA Claim whether or not the
       breach gives rise to a right of payment), remedies, or causes of action, liability, SA Debts,
       or SA Damages, known or unknown, now existing or hereafter arising, that have been,
       could have been, may be, or could be alleged or asserted now or in the future by any
       Entity against the SA Debtors, their predecessors, successors, assigns, or any current or
       former Affiliate of any of the foregoing, including the Canadian Entities, or the Sealed
       Air Indemnified Parties, of whatsoever kind or nature, whether alleged or asserted or not,
       whether founded in law, equity, admiralty, tort, contract, statute, or otherwise, and
       includes demands, liability, suits, judgments, and all legal or equitable theories of
       recovery whether arising under the common law or any statute, ordinance, or regulation.
       Without limiting the generality of the foregoing, SA Claims shall include any and all
       claims, causes of action, SA Debts, or SA Damages under or attributable to: (i) chapter 5
       of the Bankruptcy Code; (ii) successor liability, piercing the corporate veil, alter ego
       liability, agency liability, transferee liability, or other similar claims or causes of action
       seeking to hold an Entity liable for the debts or obligations of another Entity; (iii) chapter
       176 of title 28 of the United States Code or any other similar statutes; (iv) any debtor-
       creditor, fraudulent transfer, or fraudulent conveyance statutes; or (v) any other similar


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       claims or causes of action (all such SA Claims, causes of action, SA Debts, or SA
       Damages under or attributable to (i) through (v), collectively, “SA Successor Claims”).

182.   “SA Damages” shall mean “Damages” as defined in the Sealed Air Settlement
       Agreement, including any and all potential elements of recovery or relief, including those
       that are known, unknown, certain, uncertain, anticipated, or unanticipated, that have been,
       could have been, may be, or could be alleged or asserted now or in the future against the
       Sealed Air Indemnified Parties, whether alleged, unalleged, asserted, or unasserted by
       Plaintiffs or by any other Entity under any legal, regulatory, administrative, or equitable
       theory against the Sealed Air Indemnified Parties, and includes equitable relief,
       declaratory relief, actual damages (whether for successor liability, fraudulent transfer,
       fraudulent conveyance, alter ego liability, agency liability, property damage,
       environmental liability, Tax liability, economic loss, loss of profits, medical expenses,
       medical monitoring, personal injury, loss of consortium, wrongful death, survivorship, or
       compensatory, proximate, consequential, general, incidental, or special damages, or any
       other liability, loss, or injury), statutory or treble, or multiple or penal or punitive or
       exemplary damages, attorneys’ fees, interest, expenses, and costs of court.

183.   “SA Debtors” shall mean the “Debtors” as defined in the Sealed Air Settlement
       Agreement, including the Debtors, each of their estates, any trustee or examiner that may
       be appointed in any of the Debtors’ cases under the Bankruptcy Code, and the
       reorganized Debtors and includes any new corporation or other entity to which the stock
       or the assets of any of the Debtors or any combination thereof, are transferred pursuant to
       the Plan (other than the Asbestos PI Trust, the Asbestos PD Trust, or an unrelated third-
       party that has purchased assets from a Debtor pursuant to section 363 of the Bankruptcy
       Code).

184.   “SA Debts” shall mean “Debts” as defined in the Sealed Air Settlement Agreement,
       including any liability or obligation arising from, based on, or attributable to any SA
       Claim.

185.   “SA Indemnified Taxes” shall mean all Taxes and other amounts for which any SA
       Debtor or any SA Non-Debtor Affiliate is responsible or required to pay, or is required to
       indemnify any SA Indemnified Party for or in respect thereto, pursuant to the 1998 Tax
       Sharing Agreement and including all “Grace Taxes” (as defined in the Sealed Air
       Settlement Agreement).

186.   “SA Non-Debtor Affiliates” shall mean “Non-Debtor Affiliates” as defined in the
       Sealed Air Settlement Agreement, including the Affiliates of the SA Debtors that are not
       debtors or debtors in possession under the Bankruptcy Code.

187.   “SA Successor Claims” shall have the meaning set forth in the definition of “SA
       Claims.”

188.   “Schedules” shall mean the schedules of assets and liabilities and the statements of
       financial affairs Filed by the Debtors in Possession with the Bankruptcy Court, as


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       required by Bankruptcy Code § 521 and the Bankruptcy Rules, as such schedules and
       statements may be amended by the Debtors in Possession from time to time in
       accordance with Bankruptcy Rule 1007.

189.   “Sealed Air” shall mean Sealed Air Corporation and Cryovac, Inc.

190.   “Sealed Air Action” shall mean the suit styled Official Committee of Asbestos Personal
       Injury Claimants and Official Committee of Asbestos Property Damage Claimants of W.
       R. Grace & Co., suing on behalf of the Chapter 11 Bankruptcy Estate of W. R. Grace &
       Co., el. al. v. Sealed Air Corporation and Cryovac, Inc., Adv. No. 02-2210 (D. Del.).

191.   “Sealed Air Common Stock” shall mean the voting common stock, par value of $0.10
       per share, of Sealed Air Corporation.

192.   “Sealed Air Corporation” shall mean Sealed Air Corporation, a Delaware corporation
       (taxpayer identification number XX-XXXXXXX), formerly known as W. R. Grace & Co.
       prior to the Cryovac Transaction.

193.   “Sealed Air Group” shall mean the group of corporations, including but not limited to
       Cryovac, Inc., that from on or about September 29, 1996, were or hereafter become,
       members of an affiliated group of corporations under section 1504 of the IRC, and the
       Treasury Regulations thereunder, that have joined, or hereafter join, in filing a
       Consolidated Tax Return of which Sealed Air Corporation, or any successor to Sealed
       Air Corporation, was or is the Common Parent.

194.   “Sealed Air Indemnified Parties” shall mean the “Released Parties” as defined in the
       Sealed Air Settlement Agreement, including Sealed Air Corporation, Cryovac, Inc. and
       all of their parent corporations, subsidiary corporations, joint venturers, Affiliates, and
       sister corporations, and any and all of their past, present and future agents, servants,
       officers, directors, employees, successors, assigns, heirs, executors, administrators, legal
       representatives, beneficiaries, insurers (but solely to the extent of coverage procured by
       Sealed Air Corporation (after March 31, 1998) or Cryovac, Inc. (after such date) of any
       liabilities of Sealed Air Corporation or Cryovac, Inc. for Asbestos-Related Claims), or
       any of them, including any Entity acting on behalf of or at the direction of any of them,
       but specifically excluding (i) the SA Debtors, (ii) all SA Non-Debtor Affiliates, (iii)
       Fresenius (to the extent of any and all SA Claims, SA Damages or SA Debts arising out
       of the Fresenius Transaction), and (iv) any and all insurers of the SA Debtors or the SA
       Non-Debtor Affiliates to the extent that they have provided coverage for Asbestos-
       Related Claims now or hereafter asserted or which could have been asserted at any time
       against the SA Debtors or the SA Non-Debtor Affiliates.

195.   “Sealed Air Settlement Agreement” shall mean that certain Settlement Agreement and
       Release, dated November 10, 2003, by and among the Asbestos PI Committee, the
       Asbestos PD Committee, Sealed Air Corporation, and Cryovac, Inc., included as Exhibit
       22 in the Exhibit Book and Filed with the Bankruptcy Court on November 26, 2003, in
       Adv. No. 02-2210, Dkt. No. 729, as amended by the Sealed Air Settlement Order.


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196.   “Sealed Air Settlement Order” shall mean the Order Approving, Authorizing, and
       Implementing Settlement Agreement By and Among the Plaintiffs, Sealed Air
       Corporation and Cryovac, Inc., dated June 27, 2005, and entered by the Bankruptcy Court
       on June 29, 2005, Dkt. No. 8742, included as Exhibit 23 in the Exhibit Book.

197.   “SEC” shall mean the United States Securities and Exchange Commission.

198.   “Secured Claim” shall mean a Claim that is: (i) secured by a lien (as such term is
       defined in Bankruptcy Code § 101(37)) on property in which the Debtors have an
       interest, which lien is valid, perfected, and enforceable under applicable law or by reason
       of a Final Order, or (ii) entitled to setoff under Bankruptcy Code § 553, to the extent of
       (A) the value of the Claimant’s interest in the Debtor’s interest in such property or (B) the
       amount subject to setoff, as applicable, as determined pursuant to Bankruptcy Code §
       506(a).

199.   “Securities Act” shall mean the Securities Act of 1933, as amended.

200.   “Settled Asbestos Insurance Company” shall mean any Asbestos Insurance Entity that
       has entered into an Asbestos Insurance Settlement Agreement prior to the conclusion of
       the Confirmation Hearing; but only with respect to, and only to the extent of, any
       Asbestos Insurance Policy (or any portion thereof) identified as the subject of an
       Asbestos Insurance Settlement Agreement in Exhibit 5 in the Exhibit Book; provided,
       however, that (i) each such Asbestos Insurance Settlement Agreement is listed by the
       Plan Proponents, acting together, in Exhibit 5 and (ii) the Asbestos Insurance Settlement
       Agreement is approved by the Court as sufficiently comprehensive to warrant treatment
       under section 524(g) of the Bankruptcy Code; and further provided, for the avoidance of
       doubt, that an Asbestos Insurance Entity is a Settled Asbestos Insurance Company to the
       fullest extent, but only to the extent, provided by section 524(g) in respect of any claim
       that arises by reason of one of the activities enumerated in section 524(g)(4)(A)(ii).

201.   “Share Issuance Agreement” shall mean the agreement setting forth the obligation of
       the Reorganized Parent to issue a number of shares of Parent Common Stock to the
       Trusts’ Representative, on behalf of the Asbestos PI Trust and the Asbestos PD Trust, in
       the form included as Exhibit 20 of the Exhibit Book or such other substantially similar
       form as shall have been agreed to by each of the Plan Proponents.

202.   “Stock Incentive Plan” shall mean the stock incentive awards to the management of the
       Reorganized Debtors and to other key employees, and to the Board of Directors of the
       Reorganized Debtors as set forth in the stock incentive plan included as Exhibit 31 of the
       Exhibit Book.

203.   “Stock Trading Restrictions Term Sheet” shall mean trading restrictions on Parent
       Common Stock as summarized on the stock trading restrictions term sheet included as
       Exhibit 32 of the Exhibit Book. For the avoidance of doubt, no restrictions shall be
       imposed on the acquisition or sale of Parent Common Stock by the Asbestos PI Trust or


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       the Asbestos PD Trust or the ability of any person to acquire any or all of the Warrant
       Stock (as defined in the Stock Trading Restrictions Term Sheet at ¶ 4(a)(iii)) or any other
       Parent Common Stock from the Asbestos PI Trust and/or the Asbestos PD Trust to the
       extent the aforementioned Warrant Stock or Parent Common Stock is acquired by the
       Asbestos PI Trust or the Asbestos PD Trust from the Parent.

204.   “Successor Claims” shall mean any of the SA Successor Claims and/or the Grace-
       Related Claims.

205.   “Successor Claims Injunction” shall have the meaning set forth in Section 8.5 of this
       Plan.

206.   “Tax” or “Taxes” means all taxes, customs, duties, levies, fees, tariffs, imposts,
       deficiencies, or other charges or assessments of any kind whatsoever, including all net
       income, gross income, capital gains, gross receipt, property, franchise, sales, use, excise,
       withholding, payroll, employment, social security, worker’s compensation,
       unemployment, occupation, severance, capital stock, ad valorem, value added, transfer,
       gains, profits, net worth, asset, transaction, business consumption, or other taxes, and any
       interest, penalties, fines, additions to tax, or additional amounts with respect thereto,
       imposed by any governmental authority (whether domestic or foreign).

207.   “Tax Item” shall mean any item of income, gain, loss, deduction, credit, provisions for
       reserves, recapture of credit, net operating loss, net capital loss, tax credit, sales,
       revenues, property or asset values, capital or any other item which increases or decreases
       FSA Taxes paid or payable, including an adjustment under IRC section 481 (or
       comparable provisions of the FSA Tax law of any other jurisdiction (domestic or
       foreign)) resulting from a change in accounting method, the allowance or disallowance in
       whole or in part of, or assessment with respect to, a tentative allowance of refund claimed
       on Form 1139, the allowance or disallowance in whole or in part of a net operating loss,
       net capital loss, or tax credit claimed on a Tax Return, an amended Tax Return or claim
       for refund, or an adjustment attributable to a quick refund of overpayment of estimated
       tax.

208.   “Tax Period” shall mean any period for, or with respect to, which a Tax Return is or has
       been filed, is required to be filed or may be filed.

209.   “Tax Return” shall mean any return, filing, questionnaire, information return or other
       document required or permitted to be filed, with respect to any Tax, including requests
       for extensions of time, filings made with estimated tax payments, claims for refund,
       Forms 1139 and amended returns, that has been, or hereafter may, be filed for any Tax
       Period with any tax authority (whether domestic or foreign).

210.   “Trusts’ Representative” shall mean the Entity from time to time acting as the “Trusts’
       Representative” on behalf of the Asbestos PI Trust and the Asbestos PD Trust pursuant to
       the terms of the Asbestos PI/PD Inter-Creditor Agreement.



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211.   “TSIA” shall mean that certain Tax Sharing and Indemnification Agreement made as of
       September 27, 1996, by and among Grace New York, Grace-Conn, and Fresenius AG, an
       Aktiengesellshaft organized under the laws of the Federal Republic of Germany and an
       indirect parent of FMCH.

212.   “United States Trustee” shall mean the Office of the United States Trustee for the
       District of Delaware.

213.   “Unliquidated Claim” shall mean: (i) any Plan Claim (other than an Asbestos PI Claim),
       the amount of liability for which has not been fixed, whether pursuant to agreement,
       applicable law, or otherwise, as of the date on which such Claim is sought to be fixed, or
       (ii) any Plan Claim (other than an Asbestos PI Claim) for which no Allowed Amount has
       been determined.

214.   “Unresolved Asbestos PD Bar Date Claims” shall mean the Asbestos PD Claims in
       Class 7A that are identified on Exhibit 21 of the Exhibit Book.

215.   “Unresolved Asbestos PD Claims” shall mean the Unresolved Asbestos PD Bar Date
       Claims and all other Asbestos PD Claims in Class 7A, other than Asbestos PD Claims
       that were resolved pursuant to PD Settlement Agreements.

216.   “Unsecured Creditors’ Committee” shall mean the Official Committee of Unsecured
       Creditors appointed by the United States Trustee in the Chapter 11 Cases pursuant to
       Bankruptcy Code § 1102.

217.   “US ZAI PD Claim” shall mean a Claim, SA Claim, Grace-Related Claim, or Demand,
       if any, against or debt, liability, or obligation of, any of the Debtors or the Asbestos
       Protected Parties, including (x) all related claims, debts, obligations, liabilities, and
       remedies for compensatory (including general, special, and consequential damages) and
       punitive damages, and restitution and (y) all cross-claims, contribution claims,
       subrogation claims, reimbursement claims, and indemnity claims (whether or not such
       Claim, SA Claim, Grace-Related Claim, Demand, if any, remedy, debt, liability, or
       obligation is reduced to judgment, liquidated, unliquidated, fixed, settled, contingent,
       matured, unmatured, disputed, undisputed, legal, equitable, secured, or unsecured;
       whether or not the facts of or legal bases therefor are known or unknown; and whether in
       the nature of or sounding in tort, or under contract, warranty, guarantee, contribution,
       joint and several liability, subrogation, reimbursement or indemnity, or any other theory
       of law, equity, or admiralty), for, based on, or arising out of, resulting from, or
       attributable to, directly or indirectly property damage, including the cost of removal,
       abatement, and diminution in the value thereof, or environmental damage or economic
       loss caused or allegedly caused, by ZAI sold, manufactured, supplied, produced,
       specified, selected, distributed, or in any way marketed by one or more of the Debtors (or
       (x) any of their respective predecessors, successors, or assigns, or any current or former
       Affiliate of any of the foregoing (including any of the Non-Debtor Affiliates), but only to
       the extent that any liability is asserted to exist as a result of it being such a predecessor,
       successor, assign, or current or former Affiliate, or (y) any other Entity for whose


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       products or operations any of the Debtors allegedly has liability or is otherwise liable).
       US ZAI PD Claims are included within the Class of Asbestos PD Claims.

218.   “Voting Record Date” shall mean two (2) Business Days after the entry of an order by
       the Bankruptcy Court approving the Disclosure Statement.

219.   “Warrant” shall mean the warrant for the purchase of Parent Common Stock that is to
       be issued by the Reorganized Parent pursuant to the terms of the Plan and the Warrant
       Agreement.

220.   “Warrant Agreement” shall mean the Warrant Agreement included as Exhibit 24 of the
       Exhibit Book or such other substantially similar form as shall have been agreed to by
       each of the Plan Proponents.

221.   “Workers’ Compensation Claims” shall mean any Claim: (i) for benefits under a state-
       mandated workers’ compensation system, which a past, present, or future employee of
       the Debtors or their predecessors is receiving, or may in the future have a right to receive
       and/or (ii) for reimbursement brought by any insurance company or state agency as a
       result of payments made to or for the benefit of such employees under such a system and
       fees and expenses incurred under any insurance policies or laws or regulations covering
       such employee claims.

222.   “ZAI” shall mean Zonolite Attic Insulation, which is a loose-fill, non-roll vermiculite
       product primarily used in home attic insulation, and which may contain naturally
       occurring asbestos.

223.   “ZAI TDP” shall mean the WRG United States Zonolite Attic Insulation Property
       Damage Settlement Trust Distribution Procedures.

224.   “ZAI Trust Distribution Procedures” shall mean the procedures, substantially in the
       form included as Exhibit 33 in the Exhibit Book, to be implemented by the Class 7B
       Trustee (as defined in the Asbestos PD Trust Agreement) pursuant to the terms and
       conditions of the Plan and the Asbestos PD Trust Agreement, to liquidate, determine, and
       pay (if entitled to payment) US ZAI PD Claims in Class 7B as and to the extent set forth
       in such procedures.

225.   “Zonolite Attic Insulation Trust Advisory Committee” shall mean the Zonolite Attic
       Insulation Trust Advisory Committee established pursuant to the terms of the Plan and
       having the powers, duties and obligations set forth in the Asbestos PD Trust Agreement.

226.   “ZTAC” shall mean the Zonolite Attic Insulation Trust Advisory Committee.




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1.2   OTHER TERMS/INTERPRETATION

      (a)   Wherever from the context it appears appropriate, each term stated in either the
            singular or the plural shall include the singular and the plural, and pronouns stated
            in the masculine, feminine, or neuter gender shall include the other genders.

      (b)   Subject to Section 1.2(n), any reference in a Plan Document to a contract,
            instrument, release, indenture or other agreement or document being in a
            particular form or on particular terms and conditions shall mean that such
            document shall be substantially in such form or substantially on such terms and
            conditions.

      (c)   Any reference in a Plan Document to an existing document or exhibit in the
            Exhibit Book filed or to be filed shall mean the document or exhibit as it may
            have been or may be amended, modified or supplemented.

      (d)   Any reference to an Entity as a Holder of a Claim or Plan Claim shall include that
            Entity’s successors, assigns and affiliates.

      (f)   The words “herein,” “hereof,” “hereto,” “hereunder,” and others of similar import
            when used in a Plan Document refer to such Plan Document as a whole and not to
            any particular section, subsection, or clause contained in such Plan Document.

      (g)   The word “including” (and, with correlative meaning, the forms of the word
            “include”) shall mean including, without limiting the generality of any description
            preceding that word; and the words “shall” and “will” are used interchangeably
            and have the same meaning.

      (h)   All references to dollars are to United States dollars.

      (i)   An initially capitalized term used herein that is not defined herein shall have the
            meaning ascribed to such term, if any, in the Bankruptcy Code, unless the context
            shall otherwise require.

      (j)   The descriptive headings contained in Plan Documents are included for
            convenience of reference only and are not intended to be a part of and shall not
            affect in any way the meaning or interpretation of Plan Documents.

      (k)   All references in a particular Plan Document to sections, articles, and exhibits are
            references to sections, articles and exhibits of or to such Plan Document unless
            otherwise specified.

      (l)   In computing any period of time prescribed or allowed by a Plan Document, the
            provisions of Bankruptcy Rule 9006(a) shall apply.



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       (m)    The rules of construction set forth in Bankruptcy Code § 102 shall apply.

       (n)    Nothing in the Plan or any other Plan Document shall be deemed to alter, modify,
              amend, or otherwise change, in any way, (i) the Sealed Air Settlement Agreement,
              except to the extent that each of the Sealed Air Corporation and Cryovac, Inc.
              expressly consents to such alteration, modification, amendment, or change in
              writing in its absolute discretion or (ii) the Fresenius Settlement Agreement,
              except to the extent that Fresenius consents to such alteration, modification,
              amendment, or change in writing in its absolute discretion.

1.3    THE PLAN DOCUMENTS

       The Plan Documents, once Filed, shall also be available for review in the office of the
clerk of the Bankruptcy Court during normal hours of operation of the Bankruptcy Court.
Holders of Plan Claims and Equity Interests may also obtain a copy of the Plan Documents
following their Filing with the clerk of the Court by contacting the Debtors’ voting agent, BMC
Group, Inc. by a written request sent to:

If by hand delivery/courier:                      If by U.S. mail:
BMC Group, Inc.                                   BMC Group, Inc.
444 N. Nash Street                                P.O. Box 913
El Segundo, CA 90245-2822                         El Segundo, CA 90245-0913
Attn: Grace Voting Agent                          Attn: Grace Voting Agent

or by telephone at (888) 909-0100 or email to wrgrace@bmcgroup.com. Copies of the Plan
Documents also will be available for review on the Debtors’ website at www.grace.com and on
the website of BMC Group, Inc. at www.bmcgroup.com/wrgrace.

1.4    ANCILLARY DOCUMENTS

       Each of the Plan Documents is an integral part of this Plan and is hereby incorporated by
reference and made a part of this Plan.

                                 ARTICLE 2
                 PROVISIONS FOR PAYMENT OF ADMINISTRATIVE
                     EXPENSES AND PRIORITY TAX CLAIMS


2.1    UNCLASSIFIED CLAIMS

        In accordance with Bankruptcy Code § 1123(a)(1), Administrative Expense Claims and
Priority Tax Claims are not classified and are excluded from the Classes set forth in Article 3 of
this Plan.




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        2.1.1 PAYMENT OF ALLOWED ADMINISTRATIVE EXPENSE CLAIMS

        (a)     Treatment. Subject to the provisions of Bankruptcy Code §§ 330(a), 331, and
503, each Holder of an Allowed Administrative Expense Claim shall be paid the Allowed
Amount of its Administrative Expense Claim either (i) in full, in Cash, by the Reorganized
Debtors, on the Effective Date or as soon as practicable thereafter, or (ii) upon such other less
favorable terms as may be mutually agreed upon between the Holder of an Allowed
Administrative Expense Claim and the Reorganized Debtors or otherwise established pursuant to
an order of the Bankruptcy Court; provided, however, that (A) Administrative Expense Claims
representing liabilities incurred in the ordinary course of business by the Debtors in Possession
on or after the Petition Date or assumed by the Debtors in Possession pursuant to this Plan or an
order of the Bankruptcy Court shall be paid by the Reorganized Debtors in accordance with the
terms and conditions of the particular transactions and any agreements relating thereto or any
order of the Bankruptcy Court and (B) Allowed Administrative Expense Claims of Professionals
shall be paid pursuant to an order of the Bankruptcy Court.

       (b)    Deadline For Filing Applications for Compensation and Administrative Expenses.

                (1)    Professionals’ Fees.       All final applications for compensation of
Professionals for services rendered and for reimbursement of expenses incurred on or before the
Effective Date, and any other request for compensation by any Entity for making a substantial
contribution (as described in Bankruptcy Code § 503(b)(3)(D)) in the Chapter 11 Cases (except
only for Claims under 28 U.S.C. § 1930 and for fees incurred by the clerk’s office), shall be
Filed no later than ninety (90) days after the Effective Date (“Professionals’ Fees”). Objections
to any Administrative Expense Claims for Professionals’ Fees must be filed within sixty (60)
days after the applications have been Filed. Any Professional or Entity with an Administrative
Expense Claim that does not File an application for payment of such Administrative Expense
Claim by the deadline set forth herein shall be forever barred from asserting such Administrative
Expense Claim and shall receive no Distribution under this Plan or otherwise on account of such
Administrative Expense Claim. Compensation of Professionals for services rendered and for
reimbursement of expenses incurred after the Effective Date shall be paid by the Reorganized
Debtors in accordance with any such Professional’s invoice(s) and to the extent undisputed
without any action or order of the Court.

               (2)    Other Administrative Expense Claims. Unless a request for the payment
of an Administrative Expense Claim previously was filed with the Court, all requests or
applications for payment of Administrative Expense Claims other than Professionals’ Fees
described in Section 2.1.1(b)(1) (“Other Administrative Expense Claims”) must be filed with
the Court and served on the Reorganized Debtors, pursuant to the procedures specified in the
Confirmation Order and the notice of entry of the Confirmation Order, no later than 90 days after
the Effective Date (the “Administrative Claims Bar Date”). Any Holder of an Administrative
Expense Claim that is required to file and serve a request for payment of such Administrative
Expense Claim and that does not file and serve such a request within the time established by this
Section 2.1.1(b)(2) will be forever barred from asserting such Administrative Expense Claim
against the Debtors, the Reorganized Debtors or their respective property and such


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Administrative Expense Claim will be deemed discharged as of the Effective Date. Objections
to Other Administrative Expense Claims must be filed with the Court and served on the
requesting party within 270 days after the Effective Date; provided, however, that such objection
deadline may be extended by the Court upon request of the Reorganized Debtors.

          2.1.2 PRIORITY TAX CLAIMS

        Each Holder of an Allowed Priority Tax Claim shall be paid the Allowed Amount of its
Priority Tax Claim, at the option of the Reorganized Debtors, either (i) in full, in Cash, by the
Reorganized Debtors, on the Effective Date or as soon as practicable thereafter, or (ii) upon such
other terms as may be agreed upon by the Holder of an Allowed Priority Tax Claim and
approved by the Bankruptcy Court, or (iii) in equal quarterly Cash payments commencing on the
Initial Tax Distribution Date and, thereafter, on each Quarterly Tax Distribution Date in an
aggregate amount equal to such Allowed Priority Tax Claim, together with interest at 4.19% per
annum, over a period not exceeding six (6) years after the date of assessment of such Allowed
Priority Tax Claim, or upon such other terms (including such other rate of interest) determined
by the Bankruptcy Court, which will provide the Holder of such Allowed Priority Tax Claim
deferred Cash payments having a value, as of the Effective Date, equal to such Allowed Priority
Tax Claim; provided, however, that each Holder of a Priority Tax Claim which by operation of
the Fresenius Settlement Agreement is an obligation for Fresenius Indemnified Taxes promptly
shall be paid in full in Cash as such Fresenius Indemnified Taxes become due and payable.

                                     ARTICLE 3
                          CLASSIFICATION AND TREATMENT
                          OF CLAIMS AND EQUITY INTERESTS


3.1       SUMMARY

       Claims and Equity Interests are classified for all purposes, including voting,
confirmation, and Distribution pursuant to this Plan and pursuant to Bankruptcy Code §§ 1122
and 1123(a)(1), as follows:
                 CLASSIFICATION                        IMPAIRMENT AND VOTING
Class 1    Priority Claims                    Unimpaired -- deemed to have voted to accept the
                                              Plan; no separate vote being solicited.
Class 2    Secured Claims                     Unimpaired -- deemed to have voted to accept the
                                              Plan; no separate vote being solicited.
Class 3    Employee Benefit Claims            Unimpaired -- deemed to have voted to accept the
                                              Plan; no separate vote being solicited.
Class 4    Workers’ Compensation Claims       Unimpaired -- deemed to have voted to accept the
                                              Plan; no separate vote being solicited.
Class 5    Intercompany Claims                Unimpaired -- deemed to have voted to accept the
                                              Plan; no separate vote being solicited.
Class 6    Asbestos PI Claims                 Impaired -- vote being solicited.




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Class 7         Class 7A. Asbestos PD Claims      Unimpaired -- vote being solicited for purposes of
                (excluding US ZAI PD Claims)      § 524(g) of the Bankruptcy Code.

                Class 7B. US ZAI PD Claims        Impaired -- vote being solicited.

Class 8         CDN ZAI PD Claims                 Impaired -- vote being solicited.

Class 9         General Unsecured Claims          Unimpaired -- deemed to have voted to accept the
                                                  Plan; provisional vote being solicited.
Class 10        Equity Interests in the Parent    Impaired -- vote being solicited.

Class 11        Equity Interests in Debtors       Unimpaired -- deemed to have voted to accept the
                Other than the Parent             Plan; no separate vote being solicited.

           3.1.1     Class 1.       Priority Claims

          (a)      Classification

          Class 1 consists of all Priority Claims against the Debtors.

          (b)      Treatment

        Each Holder of an Allowed Priority Claim shall be paid the Allowed Amount of its
Allowed Priority Claim plus interest at 4.19%, from the Petition Date, compounded annually, or
if pursuant to an existing contract, interest at the non-default contract rate, at the option of the
Reorganized Debtors, either (i) in full, in Cash, on the later of (A) the Effective Date or as soon
as practicable thereafter or (B) the date such Priority Claim becomes an Allowed Priority Claim,
or as soon as practicable thereafter, or (ii) upon such other less favorable terms as may be agreed
upon by the Holder of an Allowed Priority Claim.

          (c)      Impairment and Voting

        Class 1 is unimpaired. The Holders of the Allowed Priority Claims in Class 1 are
deemed to have voted to accept this Plan and, accordingly, their separate vote will not be
solicited.

           3.1.2     Class 2.       Secured Claims

          (a)      Classification

          Class 2 consists of all Secured Claims against the Debtors.

          (b)      Treatment

      Each Holder of an Allowed Secured Claim shall be paid the Allowed Amount of its
Allowed Secured Claim plus interest at 4.19%, from the Petition Date, compounded annually, or


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if pursuant to an existing contract, interest at the non-default contract rate, at the option of the
Reorganized Debtors, either (i) in full, in Cash, on the later of (A) the Effective Date or as soon
as practicable thereafter or (B) the date such Secured Claim becomes an Allowed Secured Claim,
or as soon as practicable thereafter; (ii) upon such other less favorable terms as may be agreed
upon by the Holder of an Allowed Secured Claim; (iii) by the surrender to the Holder or Holders
of any Allowed Secured Claim of the property securing such Secured Claim; or (iv)
notwithstanding any contractual provision or applicable law that entitles the Holder of a Secured
Claim to demand or receive payment thereof prior to the stated maturity from and after the
occurrence of a default, by reinstatement in accordance with Bankruptcy Code § 1124(2)(A)-(D).

       (c)      Impairment and Voting

        Class 2 is unimpaired. The Holders of the Allowed Secured Claims in Class 2 are
deemed to have voted to accept this Plan and, accordingly, their separate vote will not be
solicited.

        3.1.3    Class 3.        Employee Benefit Claims

       (a)      Classification

       Class 3 consists of all Employee Benefit Claims.

       (b)      Treatment

       Employee Benefit Claims shall be reinstated and paid pursuant to the written benefit plan
or plans that the Debtors intend to continue pursuant to Section 9.3.1 of this Plan, subject to the
terms and conditions of such plans. Thus, this Plan leaves unaltered the legal, equitable and
contractual rights to which each such Claim entitles the Holder of such Claim.

       (c)      Impairment and Voting

        Class 3 is unimpaired. The Holders of the Employee Benefit Claims in Class 3 are
deemed to have voted to accept this Plan and, accordingly, their separate vote will not be
solicited.

        3.1.4    Class 4.        Workers’ Compensation Claims

       (a)      Classification

       Class 4 consists of all Workers’ Compensation Claims against the Debtors.

       (b)      Treatment

       This Plan leaves unaltered the legal, equitable, and contractual rights to which each such
Workers’ Compensation Claim entitles the Holder of such Workers’ Compensation Claim. For
the avoidance of doubt, in no event shall any of the Sealed Air Indemnified Parties or the


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Fresenius Indemnified Parties have any liability with respect to any Workers’ Compensation
Claim.

       (c)      Impairment and Voting

        Class 4 is unimpaired. The Holders of the Workers’ Compensation Claims in Class 4 are
deemed to have voted to accept this Plan and, accordingly, their separate vote will not be
solicited.

        3.1.5    Class 5.        Intercompany Claims

       (a)      Classification

       Class 5 consists of all Intercompany Claims.

       (b)      Treatment

       This Plan leaves unaltered the legal, equitable, and contractual rights to which each such
Intercompany Claim entitles the Holder of such Intercompany Claim.

       (c)      Impairment and Voting

       Class 5 is unimpaired. The Holders of Intercompany Claims in Class 5 are deemed to
have voted to accept this Plan and, accordingly, their separate vote will not be solicited.

        3.1.6    Class 6.        Asbestos PI Claims

       (a)      Classification

       Class 6 consists of all Asbestos PI Claims against the Debtors.

       (b)      Treatment

       (i)    All Asbestos PI Claims shall be resolved in accordance with the terms, provisions,
and procedures of the Asbestos PI Trust Agreement and the Asbestos PI TDP (unless previously
allowed pursuant to an Order of the Court or agreement of the parties).

       (ii)   All Asbestos PI Claims shall be paid by the Asbestos PI Trust solely from the
Asbestos PI Trust Assets as and to the extent provided in the Asbestos PI TDP. Asbestos PI
Claims shall not be deemed Allowed or Disallowed (unless an order or agreement approved by
the Court allowing the Claim has been previously entered), but rather shall be resolved by the
Asbestos PI Trust pursuant to the terms of the Asbestos PI TDP.




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       (c)      Asbestos PI Channeling Injunction

       The sole recourse of the Holder of an Asbestos PI Claim on account of such Asbestos PI
Claim (whether or not such Asbestos PI Claim has been previously allowed pursuant to an Order
of the Court or agreement of the parties) shall be to the Asbestos PI Trust pursuant to the
provisions of the Asbestos PI Channeling Injunction, the Asbestos PI Trust Agreement, and the
Asbestos PI TDP.

       (d)      Impairment and Voting

      Class 6 is impaired. The Debtors are soliciting the votes of Holders of the Asbestos PI
Claims in Class 6 to accept or reject this Plan in the manner and to the extent provided in the
Confirmation Procedures Order.

        3.1.7    Class 7.        Asbestos PD Claims

       (a)      Classification

       Class 7 consists of all Asbestos PD Claims against the Debtors.

       Class 7A consists of all Asbestos PD Claims (except US ZAI PD Claims) against the
Debtors.

       Class 7B consists of all US ZAI PD Claims against the Debtors.

       (b)      Treatment

        (i)     Treatment of Claims in Class 7A. Each Holder of an Asbestos PD Claim in Class
7A that is Allowed as of the Effective Date pursuant to a PD Settlement Agreement, or other
stipulation, order, or agreement, shall be paid the Allowed Amount of its Allowed Asbestos PD
Claim in Cash in full by the Asbestos PD Trust as and when due, without any deduction,
proration, reduction, setoff or discount, pursuant to the terms of the respective PD Settlement
Agreements, or other stipulation, order, or agreement, and the terms of the Asbestos PD Trust
Agreement (which Asbestos PD Trust shall be deemed by this Plan, the Confirmation Order, and
the Asbestos PD Trust Agreement to have assumed the obligations of such PD Settlement
Agreements). Unresolved Asbestos PD Claims shall be paid pursuant to the following
procedures:

            (A)   In connection with confirmation of the Plan, the Court shall enter the
Class 7A CMO; and

              (B)    Allowed Unresolved Asbestos PD Claims shall be paid in full, in Cash, by
the Asbestos PD Trust pursuant to the terms of the Asbestos PD Trust Agreement.




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             (C)    All Allowed Asbestos PD Claims in Class 7A shall be paid in full by the
Asbestos PD Trust solely from the Asbestos PD Trust Assets that are designated for Class 7A
Claims.

               (D)    The inclusion of Demands as Asbestos PD Claims in Class 7A and any
reference to Demands related to Asbestos PD Claims in Class 7A in the Plan does not constitute
an admission by the Debtors and the other Plan Proponents that an Entity which did not have an
allowable Asbestos PD Claim in Class 7A against the Debtors as of the Effective Date could
assert a valid claim against the Asbestos PD Trust contemplated under the Plan, and all rights
and defenses to the allowance of such a claim by the Asbestos PD Trust are expressly reserved
pursuant to the Plan.

       (ii)    Treatment of Claims in Class 7B. All Asbestos PD Claims in Class 7B shall be
resolved in accordance with the terms, provisions, and procedures of the Asbestos PD Trust
Agreement and the ZAI TDP (unless previously allowed pursuant to an Order of the Court or
agreement of the parties).

               (A)    All Asbestos PD Claims in Class 7B shall be paid by the Asbestos PD
Trust solely from the Asbestos PD Trust Assets that are designated for Class 7B Claims under
the Asbestos PD Trust Agreement and as provided in the ZAI TDP. Asbestos PD Claims in
Class 7B shall not be deemed Allowed or Disallowed (unless an order or agreement approved by
the Court allowing the Claim has been previously entered), but rather shall be resolved by the
Asbestos PD Trust pursuant to the terms of the ZAI TDP.

               (B)    The inclusion of Demands as US ZAI PD Claims in Class 7B and any
reference to Demands related to US ZAI PD Claims in Class 7B in the Plan does not constitute
an admission by the Debtors and the other Plan Proponents that an Entity which did not have an
allowable US ZAI PD Claim in Class 7B against the Debtors as of the Effective Date could
assert a valid claim against the Asbestos PD Trust contemplated under the Plan, and all rights
and defenses to the allowance of such a claim by the Asbestos PD Trust shall be treated as
provided for in the ZAI TDP.

       (c)     Impairment and Voting

               (i)     Voting for Class 7. The votes of all Claimants in Class 7 will be solicited
and tabulated as one class for purposes of § 524(g) of the Bankruptcy Code in the manner and to
the extent provided in the Confirmation Procedures Order.

                (ii)    Impairment and Voting for Class 7A. Class 7A is unimpaired; however,
the Debtors have agreed to solicit the votes of Holders of the Asbestos PD Claims in Class 7A to
accept or reject this Plan solely for purposes of § 524(g) of the Bankruptcy Code.

                (iii) Impairment and Voting for Class 7B. Class 7B is impaired. The Debtors
are soliciting the votes of Holders of the Asbestos PD Claims in Class 7B to accept or reject this
Plan in the manner and to the extent provided in the Confirmation Procedures Order both for



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purposes of § 524(g) and for all other purposes contemplated by §§ 1126(c) and 1129(a) of the
Bankruptcy Code.

       (d)      Asbestos PD Channeling Injunction

       The sole recourse of the Holder of an Asbestos PD Claim in Class 7A on account of such
Asbestos PD Claim (whether or not such Asbestos PD Claim is Allowed as of the Effective
Date) shall be to the Asbestos PD Trust pursuant to the provisions of the Asbestos PD
Channeling Injunction, the Asbestos PD Trust Agreement, the Class 7A CMO, and any orders
entered by the Bankruptcy Court allowing such Asbestos PD Claims.

       The sole recourse of the Holder of an Asbestos PD Claim in Class 7B on account of such
Asbestos PD Claim (whether or not such Asbestos PD Claim is Allowed as of the Effective
Date) shall be to the Asbestos PD Trust pursuant to the provisions of the Asbestos PD
Channeling Injunction, the Asbestos PD Trust Agreement, and the ZAI TDP.

        3.1.8    Class 8.        CDN ZAI PD Claims

       (a)      Classification

       Class 8 consists of all CDN ZAI PD Claims against the Debtors.

       (b)      Treatment

               (i)    All CDN ZAI PD Claims shall be resolved in accordance with the terms,
provisions, and procedures outlined in the CDN ZAI Minutes of Settlement.

               (ii)    All CDN ZAI PD Claims shall be paid solely from the CDN ZAI PD
Claims Fund in the manner set out in the CDN ZAI Minutes of Settlement. CDN ZAI PD
Claims shall not be deemed Allowed or Disallowed, but rather shall be resolved as set forth in
the CDN ZAI Minutes of Settlement. Confirmation of this Plan shall constitute approval by this
Court of the settlement reflected in the CDN ZAI Minutes of Settlement for all purposes
including to the extent required by Bankruptcy Rule 9019.

       (c)      Asbestos PD Channeling Injunction

       The sole recourse of the Holder of a CDN ZAI PD Claim on account of such CDN ZAI
PD Claim shall be to the CDN ZAI PD Claims Fund pursuant to the provisions of the CDN ZAI
Minutes of Settlement, the Asbestos PD Channeling Injunction, and any orders by the Canadian
Court allowing such CDN ZAI PD Claims.

       (d)      Impairment and Voting

       Class 8 is impaired. The CCAA Representative Counsel shall be entitled to vote to
accept or reject this Plan on behalf of holders of CDN ZAI PD Claims in the manner and to the
extent provided in the CDN ZAI Minutes of Settlement and the Canadian Settlement Approval
Order.


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        3.1.9    Class 9.        General Unsecured Claims

       (a)      Classification

       Class 9 consists of all General Unsecured Claims against the Debtors.

       (b)      Treatment

        Each Holder of an Allowed General Unsecured Claim shall be paid the Allowed Amount
of its Allowed General Unsecured Claim plus post-petition interest on such Claim either (i) in
Cash in full on the later of (A) the Effective Date or (B) the date such General Unsecured Claim
becomes an Allowed General Unsecured Claim, or (ii) on such other less favorable terms as have
been agreed upon by the Holder of an Allowed General Unsecured Claim and the Debtors or the
Reorganized Debtors. Subject to Section 3.1.9(d) of this Plan, post-petition interest on Allowed
General Unsecured Claims shall be calculated as follows: (i) either

       (A)     for General Unsecured Claims arising from the Pre-petition Credit Facilities,
       post-petition interest shall be calculated at the rate of 6.09% from the Petition Date
       through December 31, 2005 and thereafter at floating prime, in each case compounded
       quarterly through the Effective Date;

       (B)     for General Unsecured Claims arising from Environmental Claims that include a
       liquidated amount for post-petition or future cleanup liability, post-petition interest shall
       be calculated at the rate of 4.19% from the date specified in any order allowing the
       Environmental Claim in such liquidated amount, compounded annually through the
       Effective Date or the date of payment of the General Unsecured Claim if it becomes an
       Allowed General Unsecured Claim after the Effective Date;

       (C)     for General Unsecured Claims arising from an existing contract that specifies
       payment of interest at a non-default rate of interest, post-petition interest shall be
       calculated at the non-default rate of interest provided in such contract from the Petition
       Date, compounded annually through the Effective Date or the date of payment of the
       General Unsecured Claim if it becomes an Allowed General Unsecured Claim after the
       Effective Date; or

       (D)     for all other General Unsecured Claims, post-petition interest shall be calculated
       at the rate of 4.19% from the Petition Date, compounded annually through the Effective
       Date or the date of payment of the General Unsecured Claim if it becomes an Allowed
       General Unsecured Claim after the Effective Date; or

(ii) on such other less favorable terms as have been agreed upon by the Holder of an Allowed
General Unsecured Claim and the Debtors or Reorganized Debtors, including an agreement
whereby no post-petition interest is paid on the Claim or post-petition interest begins to accrue
on the Claim on a date other than the Petition Date.




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       (c)     EPA Multi-Site Agreement Obligations

       The Debtors’ obligations under the Multi-Site Settlement Agreement approved by the
Bankruptcy Court on June 3, 2008 (Dkt. No. 18847) constitute Claims in Class 9, except for
those obligations specifically identified therein as Allowed Administrative Expense Claims. The
Multi-Site Settlement Agreement is incorporated into the Plan, and the rights of the Settling
Federal Agencies (as defined in the Multi-Site Settlement Agreement) and the Debtors with
respect to “Debtor-Owned Sites,” “Additional Sites,” “Work Consent Decrees” and “Work
Administrative Orders” (as defined in the Multi-Site Settlement Agreement), shall be governed
by the Multi-Site Settlement Agreement notwithstanding any other provision of the Plan or the
Confirmation Order to the contrary.

       (d)     Procedures for Resolution of Post-Petition Interest Disputes

        (i)    If any Holder of a General Unsecured Claim, other than a Holder of a General
Unsecured Claim arising from the Pre-petition Credit Facilities (which Claims are subject to a
pending objection and litigation concerning the amount of post-petition interest to which the
Holders are entitled) believes that it is entitled to post-petition interest at a rate or calculation
other than the treatment set forth in Section 3.1.9(b) of the Plan, such Holder may File with the
Bankruptcy Court a “Post-Petition Interest Determination Notice” by no later than the
deadline established by the Bankruptcy Court for Claimants to vote to accept or reject the Plan.
Any Post-Petition Interest Determination Notice that is Filed shall (A) identify the Claim and the
requested rate of post-petition interest applicable to such Claim and (B) attach documentation
supporting the payment of such rate of interest for the Claim. Failure to timely File a Post-
Petition Interest Determination Notice with the required information and supporting
documentation will be deemed an agreement to accept the post-petition interest treatment
provided for in Section 3.1.9(b) of the Plan. The Debtors shall provide notice of the deadline to
File a Post-Petition Interest Determination Notice in the manner and to the extent provided in the
Confirmation Procedures Order.

        (ii)     The Debtors or Reorganized Debtors, as applicable, may dispute any Post-Petition
Interest Determination Notice by Filing an objection thereto by no later than 60 days after the
Effective Date. In objecting to a Post-Petition Interest Determination Notice, the Debtors or
Reorganized Debtors, as applicable, may assert that the Holder of the General Unsecured Claim
that Filed the Post-petition Interest Determination Notice is entitled to no post-petition interest
under applicable law or that an amount of post-petition interest less than the amount provided for
in Section 3.1.9(b) of the Plan should be paid on account of such Claim, and the Bankruptcy
Court may so find in accordance with any such objection asserted by the Debtors or the
Reorganized Debtors. If the Debtors or Reorganized Debtors, as applicable, object to a Post-
Petition Interest Determination Notice, then they shall also assert any and all objections that they
may have to the underlying General Unsecured Claim within the same objection notwithstanding
the time to file such other objections set forth in Section 5.1 of the Plan.

       (iii)  The Debtors shall pay the principal amount of any Allowed General Unsecured
Claim to which a Post-Petition Interest Determination Notice relates on the Effective Date or on


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the date on which such Claim becomes an Allowed General Unsecured Claim in accordance with
the applicable provisions of the Plan, provided, however, that no payment of post-petition
interest will be made with respect to any General Unsecured Claim for which a Post-Petition
Interest Determination Notice has been Filed until the Post-Petition Interest Determination
Notice has been resolved in accordance with this Section 3.1.9(d). In addition, the Debtors shall
pay the principal amount of the General Unsecured Claims arising from the Pre-petition Credit
Facilities on the Effective Date, provided, however, that no payment of post-petition interest will
be made with respect to such General Unsecured Claims until the Debtors’ objection in relation
thereto has been resolved by a Final Order. Post-petition interest shall not accrue with respect to
any General Unsecured Claim after the Debtors have paid the principal amount of such Claim.

       (iv)     At any time, if the Debtors or Reorganized Debtors, as applicable, determine that
the post-petition interest rate or calculation asserted in a Post-Petition Interest Determination
Notice is appropriate, the Debtors or Reorganized Debtors, as applicable, may File a certificate
of no objection with respect to such notice (without prejudice to their rights in relation to any
other Post-Petition Interest Determination Notice). No hearing is required by the Bankruptcy
Court with respect to any Post-Petition Interest Determination Notice for which a certificate of
no objection is Filed or to which the Debtors or Reorganized Debtors, as applicable, do not
timely File an objection, and the respective amount of post-petition interest shall be paid on the
Post-Effective Distribution Date with respect thereto.

        (v)     If the Debtors or Reorganized Debtors, as applicable, object to a Post-Petition
Interest Determination Notice and no stipulation or agreement is reached with respect to the rate
or calculation of post-petition interest for such General Unsecured Claim, the Debtors or
Reorganized Debtors, as applicable, will ask the Bankruptcy Court to schedule a hearing on the
particular Post-Petition Interest Determination Notice and the related objection at an appropriate
time and shall pay the amount of post-petition interest determined by a Final Order in relation to
such Post-Petition Interest Determination Notice on the Post-Effective Distribution Date in
relation thereto. All litigation with respect to a disputed Post-Petition Interest Determination
Notice shall be conducted in the Bankruptcy Court as claims allowance litigation, subject to the
same bankruptcy rules and procedures that would have applied had the litigation been conducted
before the Effective Date.

        (vi)    The Debtors or Reorganized Debtors, as applicable, and the Holder of the General
Unsecured Claim that Filed the Post-Petition Interest Determination Notice at any time may
enter into a stipulation or agreement as to the appropriate rate or calculation of post-petition
interest with respect to such General Unsecured Claim without further action of the Bankruptcy
Court and without any prejudice to the Debtors’ or the Reorganized Debtors’ objections to any
other Post-Petition Interest Determination Notice.

       (e)     Procedures for Determining Non-Default Contract Rate of Post-Petition Interest

       (i)    Any Holder of a General Unsecured Claim, other than a Holder of a General
Unsecured Claim arising from the Pre-petition Credit Facilities, who does not dispute the manner
in which post-petition interest shall be calculated as provided for in Section 3.1.9(b)(i)(C) of the
Plan, but who wishes to substantiate the existence of an existing contract that specifies payment


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of interest at a non-default rate of interest as contemplated by Section 3.1.9(b)(i)(C), shall submit
a “Notice of Non-Default Contract Rate of Interest” to the Debtors’ voting and claims
reconciliation agent, BMC Group, Inc., by no later than the deadline established by the
Bankruptcy Court for Claimants to vote to accept or reject the Plan. Any Notice of Non-Default
Contract Rate of Interest shall (A) identify the Claim and the non-default contractual rate of
interest applicable to such Claim, (B) attach a copy of the contract relating to such Claim and (C)
be signed by the Holder of the Claim or its authorized representative under penalty of perjury. A
Notice of Non-Default Contract Rate of Interest does not need to be Filed with the Bankruptcy
Court. Provided that a Holder of a General Unsecured Claim or its authorized representative has
not Filed a Post-Petition Interest Determination Notice, failure by a Holder of a General
Unsecured Claim or its authorized representative to timely submit a Notice of Non-Default
Contract Rate of Interest will be deemed an admission that no non-default contract rate of
interest exists with respect to such Holder’s General Unsecured Claim, and said Holder of the
General Unsecured Claim shall receive interest as set forth in Section 3.1.9(b)(i)(D) above. The
Debtors shall provide notice of the deadline to submit a Notice of Non-Default Contract Rate of
Interest in the manner and to the extent provided in the Confirmation Procedures Order.

        (ii)   The Debtors may dispute any Notice of Non-Default Contract Rate of Interest by
serving a written objection at any time before the Effective Date upon the Holder of a General
Unsecured Claim who has submitted a Notice of Non-Default Contract Rate of Interest. After a
written objection to a Notice of Non-Default Contract Rate of Interest has been served, the
Debtors or the Reorganized Debtors, as the case may be, and the Holder of the applicable
General Unsecured Claim shall negotiate to resolve the objection. If a resolution is not reached,
the Holder of the General Unsecured Claim may request a hearing before the Bankruptcy Court
to resolve the objection to its Notice of Non-Default Contract Rate of Interest, provided,
however, that such request must be made no later than 60 days after the Effective Date and that
the only issue to be determined by the Bankruptcy Court at such a hearing shall be the
appropriate amount of non-default contract interest with respect to the General Unsecured Claim,
which shall be paid on the Post-Effective Distribution Date in relation to a Final Order making
such determination. If the Debtors do not dispute a Notice of Non-Default Contract Rate of
Interest by serving a written objection upon the Holder of a General Unsecured Claim who has
submitted a Notice of Non-Default Contract Rate of Interest, then the interest rate contained in
the Notice of Non-Default Contract Rate of Interest shall govern and be paid.

        (iii)  To the extent that a Notice of Non-Default Contract Rate of Interest relates to an
Allowed General Unsecured Claim and does not relate to a Claim that is also subject to a Post-
Petition Interest Determination Notice, the Debtors shall pay, on the Effective Date or on the
date on which such Claim becomes an Allowed General Unsecured Claim, the principal amount
of the Allowed General Unsecured Claim to which such notice relates plus post-petition interest
at the rate of 4.19% from the Petition Date or, if applicable, the non-default contract rate of
interest according to the Debtors’ books and records, compounded annually, in accordance with
the applicable provisions of the Plan pending resolution of any dispute concerning the amount of
non-default contract rate of interest asserted in the Notice of Non-Default Contract Rate of
Interest. Post-petition interest shall not accrue with respect to any General Unsecured Claim
after the Debtors have paid the principal amount of such Claim.



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       (f)     Impairment and Voting

        Class 9 is unimpaired. The Holders of General Unsecured Claims in Class 9 are deemed
to have voted to accept this Plan. Notwithstanding the foregoing, the Debtors have agreed to
provisionally solicit the votes of Holders of General Unsecured Claims in Class 9 in the manner
and to the extent provided in the Confirmation Procedures Order.

        3.1.10 Class 10.        Equity Interests in the Parent

       (a)     Classification

       Class 10 consists of Equity Interests in the Parent.

       (b)     Treatment

        On the Effective Date, Class 10 Equity Interests in the Parent shall be retained, subject to
the issuance of the Warrant, the terms of the Share Issuance Agreement, and the Stock Trading
Restrictions Term Sheet.

       (c)     Impairment and Voting

        Class 10 is impaired. The Debtors are soliciting the votes of Holders of the Equity
Interests in the Parent in Class 10 to accept or reject this Plan in the manner and to the extent
provided in the Confirmation Procedures Order.

        3.1.11 Class 11.        Equity Interests in the Debtors other than the Parent

       (a)     Classification

       Class 11 consists of Equity Interests in the Debtors other than the Parent.

       (b)     Treatment

       This Plan leaves unaltered the legal, equitable, and contractual rights to which each such
Equity Interest in the Debtors other than the Parent entitles the Holder of such Equity Interest.

       (c)     Impairment and Voting

       Class 11 is unimpaired. The Holders of the Equity Interests in the Debtors other than the
Parent in Class 11 are deemed to have voted to accept this Plan and, accordingly, their separate
vote will not be solicited.




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                                 ARTICLE 4
                  MODIFICATION OR WITHDRAWAL OF THIS PLAN


4.1    MODIFICATION OF THE PLAN; AMENDMENT OF PLAN DOCUMENTS

        4.1.1   Modification of the Plan

        The Plan Proponents, acting together, may alter, amend, or modify this Plan, or any other
Plan Document, under Bankruptcy Code § 1127(a) at any time prior to the Confirmation Date so
long as this Plan, as modified, meets the requirements of Bankruptcy Code §§ 1122 and 1123.
After the Confirmation Date, the Plan Proponents, acting together, may alter, amend, or modify
this Plan but only before its substantial consummation in accordance with Bankruptcy Code §
1127(b). Notwithstanding the foregoing, in no event may the Plan Proponents alter, amend, or
modify this Plan or any other Plan Document in a manner that (a) conflicts with the Sealed Air
Settlement Agreement except to the extent that such alteration, amendment, or modification is
expressly consented to, in writing, by each of Sealed Air Corporation and Cryovac, Inc. in its
absolute discretion or (b) conflicts with the Fresenius Settlement Agreement except to the extent
that such alteration, amendment, or modification is expressly consented to, in writing, by
Fresenius in its absolute discretion. In no event shall either Sealed Air Corporation or Cryovac,
Inc. have any obligation with respect to the Cryovac Payment (including the Asbestos PD Initial
Payment) unless the terms of the Plan and/or any alteration, amendment, or modification thereto
comply fully with the Sealed Air Settlement Agreement except to the extent that any and every
non-compliance with the Sealed Air Settlement Agreement has been expressly consented to, in
writing, by each of Sealed Air Corporation and Cryovac, Inc. in its absolute discretion. In no
event shall Fresenius have any obligation with respect to the Fresenius Payment (including the
Asbestos PD Initial Payment) unless the terms of the Plan and/or any alteration, amendment, or
modification thereto comply fully with the Fresenius Settlement Agreement except to the extent
that any and every non-compliance with the Fresenius Settlement Agreement has been expressly
consented to, in writing, by Fresenius in its absolute discretion.

        4.1.2   Post-Effective Date Amendment of Other Plan Documents

       From and after the Effective Date, the authority to amend, modify, or supplement the
Plan Documents, other than the Plan, will be as provided in such Plan Documents.
Notwithstanding the foregoing, in no event may the Plan Proponents or any other party amend,
modify, or supplement any Plan Document in a manner that (a) conflicts with the Sealed Air
Settlement Agreement except to the extent that such amendment, modification or supplement is
expressly consented to, in writing, by each of Sealed Air Corporation and Cryovac, Inc. in its
absolute discretion or (b) conflicts with the Fresenius Settlement Agreement except to the extent
that such amendment, modification, or supplement is expressly consented to, in writing, by
Fresenius in its absolute discretion.




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4.2    WITHDRAWAL OF THIS PLAN

        4.2.1   Right to Withdraw this Plan

      This Plan may be withdrawn by the Plan Proponents, acting together, prior to the
Confirmation Date.

        4.2.2   Effect of Withdrawal

       If this Plan is withdrawn prior to the Confirmation Date, this Plan shall be deemed null
and void. In such event, nothing contained herein or in any of the Plan Documents shall be
deemed to constitute a waiver or release of any claims or defenses of, or an admission or
statement against interest by, any of the Plan Proponents or any other Entity or to prejudice in
any manner the rights of any of the Plan Proponents or any Entity in any further proceedings
involving the Debtors.

                                  ARTICLE 5
                PROVISIONS FOR TREATMENT OF DISPUTED CLAIMS
                       AND ASBESTOS CLAIMS GENERALLY


5.1    OBJECTION TO CLAIMS (OTHER THAN ASBESTOS PI CLAIMS, ASBESTOS
       PD CLAIMS, AND CDN ZAI PD CLAIMS); PROSECUTION OF DISPUTED
       CLAIMS

        Subject to the treatment provisions of this Plan, the Debtors or Reorganized Debtors, as
applicable, and the United States Trustee, may object to the allowance of any Plan Claims (other
than Asbestos PI Claims, Asbestos PD Claims (except as provided for pursuant to the Asbestos
PD Trust Agreement and this Plan), and CDN ZAI PD Claims)) Filed with the Bankruptcy Court
or to be otherwise resolved pursuant to any provisions of this Plan with respect to which they
dispute liability, in whole or in part. Subject to the treatment provisions of this Plan, the
Debtors’ pending objections to any Plan Claims not channeled to and assumed by the Asbestos
PI Trust or the Asbestos PD Trust shall be transferred to the Reorganized Debtors on the
Effective Date for final resolution.

        Not later than ten (10) days before the Effective Date, the Debtors shall File with the
Bankruptcy Court an exhibit listing all Plan Claims (other than Asbestos PI Claims, Asbestos PD
Claims, and CDN ZAI PD Claims) that the Debtors have already analyzed and to which the
Debtors have no objection (the “Undisputed Claims Exhibit”). Plan Claims listed on the
Undisputed Claims Exhibit shall be Allowed Claims as set forth in Section 1.1.4 of the Plan.
The Debtors or the Reorganized Debtors, as applicable, may File additional Undisputed Claims
Exhibits with the Court at any time after the Filing of the initial Undisputed Claims Exhibit with
respect to any remaining Plan Claims (other than Asbestos PI Claims, Asbestos PD Claims, and
CDN ZAI PD Claims) if they have determined not to object to any of such Claims.



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         After the Effective Date, all objections that are Filed and prosecuted by the Reorganized
Debtors as provided herein may be: (i) compromised and settled in accordance with the business
judgment of the Reorganized Debtors without approval of the Bankruptcy Court, or (ii) litigated
to Final Order by the Reorganized Debtors. Unless otherwise provided herein or ordered by the
Bankruptcy Court, all objections by the Reorganized Debtors to Plan Claims (other than
Asbestos PI Claims, Asbestos PD Claims, and CDN ZAI PD Claims, all of which have no
objection deadline) shall be served and Filed no later than 180 days after the Effective Date,
subject to any extensions granted pursuant to a further order of the Bankruptcy Court. Such
further order may be obtained by the Reorganized Debtors upon notice to all Holders of Plan
Claims (other than Asbestos PI Claims, Asbestos PD Claims, and CDN ZAI PD Claims) that are
still pending allowance and are not subject to a pending objection.

5.2    RESOLUTION OF ASBESTOS PI CLAIMS

      Asbestos PI Claims shall be resolved in accordance with the Asbestos PI Trust
Agreement and the Asbestos PI TDP.

5.3    RESOLUTION OF ASBESTOS PD CLAIMS

      Asbestos PD Claims shall be resolved in accordance with the Asbestos PD Trust
Agreement and (a) in the case of Asbestos PD Claims in Class 7A, the Class 7A Case
Management Order setting forth procedures for determining the allowance or disallowance of the
Unresolved Asbestos PD Claims; and (b) in the case of Asbestos PD Claims in Class 7B, the ZAI
TDP setting forth procedures for resolving the US ZAI PD Claims in Class 7B.

5.4    RESOLUTION OF CDN ZAI PD CLAIMS

       CDN ZAI PD Claims shall be resolved in accordance with the terms, provisions, and
procedures outlined in the CDN ZAI Minutes of Settlement.

                                  ARTICLE 6
                     ACCEPTANCE OR REJECTION OF THIS PLAN


6.1    IMPAIRED CLASSES TO VOTE

       Each Holder of a Plan Claim or Equity Interest in an impaired Class is entitled to vote to
accept or reject this Plan to the extent and in the manner provided herein or in the Confirmation
Procedures Order. In addition, the Debtors have agreed to solicit the votes of Holders of the
Asbestos PD Claims in Class 7A to accept or reject this Plan for purposes of section 524(g) of
the Bankruptcy Code as described in Section 3.1.7(c). Further, the Debtors have agreed to solicit
and tabulate the votes of the Holders of General Unsecured Claims in Class 9. Whether those
votes will be given effect, is subject to it being determined that Class 9 is an impaired Class.

6.2    ACCEPTANCE BY IMPAIRED CLASSES OF CLAIMS

       Acceptance of this Plan by any impaired Class of Plan Claims shall be determined in
accordance with the Confirmation Procedures Order and the Bankruptcy Code.

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6.3    PRESUMED ACCEPTANCE OF THIS PLAN

       Classes 1, 2, 3, 4, 5, 7A, 9, and 11 of Plan Claims and Equity Interests in Debtors other
than the Parent are unimpaired. Under Bankruptcy Code § 1126(f), the Holders of Plan Claims
and Equity Interests in such Classes (except for Class 7A with respect to section 524(g) of the
Bankruptcy Code) are conclusively presumed to have voted to accept this Plan.

6.4    ACCEPTANCE PURSUANT TO SECTION 524(g) OF THE BANKRUPTCY
       CODE.

       This Plan shall have been voted upon favorably as required by section
524(g)(2)(B)(ii)(IV)(bb) of the Bankruptcy Code to the extent that at least 75% of those voting in
Classes 6, 7, and 8 vote to accept this Plan.

6.5    NONCONSENSUAL CONFIRMATION

        6.5.1   Cram Down

       With respect to impaired Equity Interests in the Parent, and subject to Section 6.4 of this
Plan, with respect to any impaired Class of Plan Claims that fail to accept this Plan in accordance
with Bankruptcy Code §§ 1126 and 1129(a), the Plan Proponents request, to the extent consistent
with applicable law, that the Court confirm this Plan in accordance with Bankruptcy Code §
1129(b) with respect to such non-accepting Class of Equity Interests and such non-accepting
Class of Plan Claims (if any), and this Plan constitutes a motion for such relief.

        6.5.2   General Reservation of Rights

        Should this Plan fail to be accepted by the requisite number and amount of the Holders of
Plan Claims and Equity Interests required to satisfy Bankruptcy Code §§ 524(g) and 1129, then,
notwithstanding any other provision of this Plan to the contrary, the Plan Proponents reserve the
right to amend this Plan. Notwithstanding the foregoing, in no event may the Plan Proponents
amend, modify, or supplement this Plan in a manner that (a) conflicts with the Sealed Air
Settlement Agreement except to the extent that such amendment, modification, or supplement is
expressly consented to, in writing, by each of Sealed Air Corporation and Cryovac, Inc. in its
absolute discretion or (b) conflicts with the Fresenius Settlement Agreement except to the extent
that such amendment, modification, or supplement is expressly consented to, in writing, by
Fresenius in its absolute discretion. In no event shall either Sealed Air Corporation or Cryovac,
Inc. have any obligation with respect to the Cryovac Payment (including the Asbestos PD Initial
Payment) unless the terms of the Plan and/or any amendment, modification, or supplement
thereto comply fully with the Sealed Air Settlement Agreement except to the extent that any and
every non-compliance with the Sealed Air Settlement Agreement has been expressly consented
to, in writing, by each of Sealed Air Corporation and Cryovac, Inc. in its absolute discretion. In
no event shall Fresenius have any obligation with respect to the Fresenius Payment (including
the Asbestos PD Initial Payment) unless the terms of the Plan and/or any amendment,
modification, or supplement thereto comply fully with the Fresenius Settlement Agreement


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except to the extent that any and every non-compliance with the Fresenius Settlement Agreement
has been expressly consented to, in writing, by Fresenius in its absolute discretion.

                                    ARTICLE 7
                            IMPLEMENTATION OF THIS PLAN


7.1    CORPORATE GOVERNANCE

        7.1.1   Amendment of Certificates of Incorporation of the Debtors

        The Certificates of Incorporation of each of the Debtors that is a corporation shall be
amended as of the Effective Date. The amended Certificates of Incorporation of the Debtors
shall, among other things: (i) prohibit the issuance of nonvoting equity securities (A) as required
by Bankruptcy Code § 1123(a)(6) and (B) subject to further amendment as permitted by
applicable law, (ii) as to any classes of securities possessing voting power, provide for an
appropriate distribution of such power among such classes, including, in the case of any class of
equity securities having a preference over another class of equity securities with respect to
dividends, adequate provisions for the election of directors representing such preferred class in
the event of default in payment of such dividends, and (iii) effectuate any other provisions of this
Plan. The amended Certificates of Incorporation shall be filed with the Secretary of State or
equivalent official in their respective jurisdictions of incorporation on or prior to the Effective
Date and be in full force and effect without any further amendment as of the Effective Date.

        7.1.2   Amendment of By-Laws of the Parent

        The By-Laws of the Parent shall be amended as of the Effective Date to read in their
entirety substantially in the form set forth in the Plan Supplement to, among other things,
effectuate the provisions of this Plan.

        7.1.3   Precedence of Share Issuance Obligations

        The covenants and agreements of Parent (for purposes of this Section 7.1.3, as defined in
the Share Issuance Agreement) under Section 5(d) of the Share Issuance Agreement shall take
precedence and prevail over any inconsistent or contrary provision contained in the certificate of
incorporation or by-laws of Parent or any of its subsidiaries or in any contract, agreement or
other instrument to which Parent or any of its subsidiaries is a party or otherwise bound (other
than provisions, if any, that are inconsistent with, or contrary to, provisions of the Sealed Air
Settlement Agreement or the Fresenius Settlement Agreement), and, to the fullest extent
permitted by applicable law, any such inconsistent or contrary provision shall be nugatory and of
no force and effect and shall not dilute, restrict or impair the value or ownership rights of the
shares issued to the Asbestos PI Trust or the Asbestos PD Trust thereunder. The issuance of
stock to the Trusts’ Representative, on behalf of the Asbestos PI Trust and the Asbestos PD Trust
pursuant to the Share Issuance Agreement, shall not be subject to or trigger any “poison pill,”
shareholder or stockholder rights plan, or other anti-takeover or takeover defense plan, contract,
agreement, instrument, or provision adopted or implemented by the Parent.


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        7.1.4   Warrants

        The Board of Directors of Reorganized Parent shall take all actions necessary so that the
Asbestos PI Trust shall not be an “Acquiring Person” within the meaning of the Amended and
Restated Rights Agreement, dated as of March 25, 2008, by and between the Reorganized Parent
and Mellon Investor Services, LLC, as rights agent (as amended from time to time, the “Rights
Agreement”). The Reorganized Parent shall not lower the Beneficial Ownership (as defined in
the Rights Agreement) percentage in the Rights Agreement’s definition of “Acquiring Person”
until such time as the Asbestos PI Trust no longer owns the Warrant (either because of its
transfer or expiration) or any shares of Parent Common Stock issued to the Asbestos PI Trust
upon exercise of the Warrant. No “poison pill”, shareholder or stockholder rights plan, or other
anti-takeover or takeover defense plan, contract, agreement, instrument, or provision adopted or
implemented by the Reorganized Parent shall apply to or be triggered by the issuance of the
Warrant to, or the purchase of, Parent Common Stock upon exercise of the Warrant by the
Asbestos PI Trust.

        If, prior to issuance of the Warrant to the Asbestos PI Trust, the Reorganized Parent shall
issue or sell any shares of Parent Common Stock, other than Excluded Stock (defined below), or
any rights to purchase or acquire, or securities convertible into or exchangeable for, shares of
Parent Common Stock (including without limitation any (x) options (other than Excluded
Options, as defined below), warrants or other rights (whether or not at the time exercisable) to
purchase or acquire Parent Common Stock, other than Excluded Stock, (y) securities by their
terms convertible into or exchangeable (whether at the time so convertible or exchangeable) for
Parent Common Stock, other than Excluded Stock or (z) options (other than Excluded Options),
warrants or rights to purchase such convertible or exchangeable securities), for no consideration
or for a consideration per share that is less than the securities exchange average closing price per
share of Parent Common Stock for the twenty consecutive trading days preceding (and not
including) the last trading day immediately prior to the day of such issuance or sale (the
“Market Price”), then and in each such case (a “Trigger Issuance”) the per share exercise price
of the Warrant (initially, $17.00) shall be reduced, immediately upon such Trigger Issuance, to
the price determined by multiplying such exercise price by a fraction, (1) the numerator of which
shall be (x) the number of shares of Parent Common Stock outstanding immediately prior to such
issuance or sale plus (y) the number of shares of Parent Common Stock which the aggregate
consideration received (or to be received) by the Reorganized Parent for the total number of such
additional shares of Parent Common Stock so issued or sold (or issuable upon exercise,
conversion or exchange) would purchase at the Market Price and (2) the denominator of which
shall be the number of shares of Parent Common Stock outstanding (or issuable upon exercise,
conversion or exchange) immediately after such Trigger Issuance. In the event of such an
adjustment of such exercise price, the number of shares of Parent Common Stock issuable upon
the exercise of the Warrant (initially, 10,000,000 shares of Parent Common Stock) shall be
increased to a number obtained by dividing (1) the product of (x) the number of shares of Parent
Common Stock issuable upon the exercise of the Warrant before such adjustment, and (y) the
exercise price thereof in effect immediately prior to the Trigger Issuance by (2) the new exercise
price determined in accordance with the immediately preceding sentence. Such adjustments
shall be made whenever such shares of Common Stock or such rights, options (other than
Excluded Options) or warrants or convertible securities are issued or sold . “Excluded Stock”


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means shares of Parent Common Stock issued and sold in a registered firm commitment
underwritten public offering pursuant to a registration statement declared effective in accordance
with the Securities Act, or any successor statute thereto. Excluded Stock shall not include a
private placement of shares, including without limitation one which is followed by a public
offering thereof. “Excluded Options” means options to purchase shares of Parent Common
Stock issued to directors, officers, employees and consultants of any Reorganized Debtor (i)
pursuant to an option plan or arrangement approved by either the stockholders of Parent or
Reorganized Parent or the Bankruptcy Court and (ii) with an exercise price equal to the average
of the high and the low trading prices of Parent Common Stock on the New York Stock
Exchange (or if Parent Common Stock is not traded on the New York Stock Exchange, on the
principal stock exchange on which it trades) on the date of grant of the option.

      At the time of issuance, the exercise price of, and number of shares issuable pursuant to,
the Warrant shall reflect any adjustment made pursuant to the preceding paragraph.

7.2    THE ASBESTOS PI TRUST

        7.2.1   Creation of the Asbestos PI Trust

       Upon the entry of the Confirmation Order, effective as of the Effective Date, the
Asbestos PI Trust shall be created pursuant to section 524(g) of the Bankruptcy Code and in
accordance with the Plan Documents. The Asbestos PI Trust shall be a “qualified settlement
fund” for federal income tax purposes within the meaning of the treasury regulations issued
pursuant to section 468B of the IRC.

         The purpose of the Asbestos PI Trust shall be to, among other things: (i) assume the
liabilities of the Debtors with respect to all Asbestos PI Claims; (ii) process, liquidate, pay and
satisfy all Asbestos PI Claims in accordance, as applicable, with this Plan, the Asbestos PI Trust
Agreement and the Asbestos PI TDP and in such a way that provides reasonable assurance that
the Asbestos PI Trust will value, and be in a financial position to pay, present and future
Asbestos PI Claims (including Demands that involve similar claims) in substantially the same
manner and to otherwise comply with Bankruptcy Code § 524(g)(2)(B)(i); (iii) preserve, hold,
manage, and maximize the assets of the Asbestos PI Trust for use in paying and satisfying
Asbestos PI Claims entitled to payment; (iv) qualify at all times as a “qualified settlement fund”
for federal income tax purposes within the meaning of the treasury regulations issued pursuant to
section 468B of the IRC; and (v) otherwise carry out the provisions of the Asbestos PI Trust
Agreement and any other agreements into which the Asbestos PI Trustees have entered or will
enter in connection with this Plan.

        7.2.2   Funding of the Asbestos PI Trust

        (a)     On the Effective Date, Grace-Conn or Parent shall transfer to the Asbestos PI
Trust (i) the sum of $250 million in Cash that is part of the Asbestos PI Trust Assets, plus
interest thereon from January 1, 2009 until (and including) the Effective Date at the same rate
applicable to the Debtors’ senior debt and (ii) an amount in Cash equal to the Asbestos PD Initial
Payment. In addition to the foregoing, on the Effective Date, Grace-Conn or Parent shall
transfer, or cause the transfer of, on behalf of the Reorganized Debtors and the Non-Debtor

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Affiliates, all other Asbestos PI Trust Assets that are not otherwise identified, transferred, or
assigned in this Section 7.2.2 and Section 7.2.4 hereof to the Asbestos PI Trust.

         (b)    On the Effective Date, Cryovac, Inc. shall transfer the Cryovac Payment (reduced
by the total aggregate amount of Cryovac, Inc.’s transfers to the Asbestos PD Trust as part of the
Class 7A Initial Payment and the Class 7B Initial Payment) directly to the Asbestos PI Trust.
Simultaneously with, and in exchange for such direct transfer and payment to the Asbestos PI
Trust and Cryovac Inc.’s transfers to the Asbestos PD Trust described in Sections 7.3.2(a) and
7.3.2(b) of the Plan, the Plaintiffs shall deliver to Sealed Air: (i) the “Release” (as defined in the
Sealed Air Settlement Agreement) duly executed by each of the Plaintiffs and the SA Debtors;
(ii) a copy of the Plan, (iii) a copy of the Confirmation Order, (iv) a duly executed Stipulation of
Dismissal With Prejudice of the Sealed Air Action in the form annexed as Exhibit 4 to the Sealed
Air Settlement Agreement, denying any other recovery against the Sealed Air Indemnified
Parties, and (v) the Registration Rights Agreement, in the form annexed as Exhibit 1 to the
Sealed Air Settlement Agreement, with appropriate insertions therein, duly executed by the
“Initial Holders” (as defined in the Sealed Air Settlement Agreement).

        (c)    On the Effective Date, Fresenius shall transfer the Fresenius Payment (reduced by
the total aggregate amount of Fresenius’ transfers to the Asbestos PD Trust as part of the Class
7A Initial Payment and the Class 7B Initial Payment) to the Asbestos PI Trust.

        (d)    (i)     On the Effective Date, the Insurance Contributors shall execute and
deliver the Asbestos Insurance Transfer Agreement to the Asbestos PI Trust.

                (ii)    All Asbestos Insurance Rights, and all claims and causes of action asserted
or to be asserted in furtherance of or connection therewith, shall be preserved for the benefit of
the Asbestos PI Trust, for prosecution either by the applicable Insurance Contributor or the
Asbestos PI Trust in accordance with the Asbestos Insurance Transfer Agreement. Upon
execution and delivery of the Asbestos Insurance Transfer Agreement, all Asbestos Insurance
Rights shall be irrevocably transferred to and vested in the Asbestos PI Trust, without any further
action by the Debtors, the other Insurance Contributors, the Asbestos PI Trust, or the Bankruptcy
Court. Asbestos Insurance Rights shall be so vested free and clear of all Encumbrances, liens,
security interests, and other Claims or causes of action, except that all Asbestos Insurer Coverage
Defenses are preserved.

                (iii) Upon its execution and delivery, the Asbestos Insurance Transfer
Agreement shall be valid, binding, and enforceable. However, if a court of competent
jurisdiction determines the Asbestos Insurance Transfer Agreement to be invalid, non-binding, or
unenforceable, in whole or in part, then each Insurance Contributor shall (1) upon request by the
Asbestos PI Trust and at the reasonable expense of the Asbestos PI Trust, take all reasonable
actions to pursue any of the Asbestos Insurance Rights for the benefit of, and to the extent
requested by, the Asbestos PI Trust and (2) immediately transfer any amounts recovered under or
on account of any of the Asbestos Insurance Rights to the Asbestos PI Trust; provided, however,
that while any such amounts are held by or under the control of any Insurance Contributor, such
amounts shall be held in trust for the benefit of the Asbestos PI Trust.



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               (iv)   On the Effective Date, the Asbestos PI Trust shall be the successor to all
rights of the Debtors and Non-Debtor Affiliates under each Asbestos Insurance Reimbursement
Agreement. The Asbestos PI Trust’s payment of an Asbestos PI Claim under the PI TDP shall
be deemed to constitute settlement and payment of such claim by or on behalf of the Debtors or
Non-Debtor Affiliates within the meaning of, and in full compliance with, each Asbestos
Insurance Reimbursement Agreement.

         7.2.3   Transfer of Claims and Demands to the Asbestos PI Trust

        On the Effective Date, without any further action of any Entity, all liabilities, obligations,
and responsibilities of any Asbestos Protected Party with respect to all Asbestos PI Claims shall
be channeled to and assumed by the Asbestos PI Trust. This Section 7.2.3 is intended to further
effect the Asbestos PI Channeling Injunction described in Section 8.2 of this Plan, and the
discharge described in Section 8.1 of this Plan. This Section 7.2.3 is not intended to, and it shall
not, serve as a waiver of any defense to any claim the Debtors, the Asbestos PI Trust, or any
other Asbestos Protected Party would otherwise have.

         7.2.4   Assignment and Enforcement of Asbestos PI Trust Causes of Action

        On the Effective Date, by virtue of the confirmation of this Plan, without further notice,
action, or deed, the Asbestos PI Trust Causes of Action shall be automatically transferred and
assigned to, and indefeasibly vested in, the Asbestos PI Trust, and the Asbestos PI Trust shall
thereby become the estate representative pursuant to section 1123(b)(3)(B) of the Bankruptcy
Code with respect to the Asbestos PI Trust Causes of Action, with the exclusive right to enforce
the Asbestos PI Trust Causes of Action against any Entity, and the proceeds of the recoveries of
such Asbestos PI Trust Causes of Action shall be deposited in and shall become the property of
the Asbestos PI Trust; provided, however, that nothing herein shall alter, amend, or modify the
injunctions and/or releases provided under this Plan including the Asbestos PI Channeling
Injunction, the Asbestos PD Channeling Injunction, the Successor Claims Injunction, and the
Asbestos Insurance Entity Injunction.

         7.2.5   Appointment and Termination of Asbestos PI Trustees

        The three initial Asbestos PI Trustees of the Asbestos PI Trust shall be the persons
identified in the Asbestos PI Trust Agreement. All successor Asbestos PI Trustees shall be
appointed in accordance with the terms of the Asbestos PI Trust Agreement. Upon termination
of the Asbestos PI Trust, the Asbestos PI Trustees’ employment shall be deemed terminated and
the Asbestos PI Trustees shall be released and discharged of and from all further authority,
duties, responsibilities and obligations relating to or arising from or in connection with the
Chapter 11 Cases.

         7.2.6 Creation and Termination of the Asbestos PI TAC

       The Asbestos PI Trust Advisory Committee shall be established pursuant to the Asbestos
PI Trust Agreement. The Asbestos PI TAC shall have four members and shall have the
functions, duties and rights provided in the Asbestos PI Trust Agreement. On or before the
Confirmation Date, the initial members of the Asbestos PI TAC shall be selected by the Asbestos

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PI Committee. Upon termination of the Asbestos PI Trust, the Asbestos PI TAC shall be deemed
dissolved and the Asbestos PI TAC shall be released and discharged of and from all further
authority, duties, responsibilities and obligations relating to or arising from or in connection
with the Chapter 11 Cases.

        7.2.7   Cooperation Agreement

       On the Effective Date, the Reorganized Debtors and the Asbestos PI Trust shall enter into
a cooperation agreement substantially in the form included as Exhibit 10 in the Exhibit Book.

        7.2.8   Institution and Maintenance of Legal and other Proceedings

       As of the Effective Date, without any further action of the Court or any Entity, the
Asbestos PI Trust shall be empowered to initiate, prosecute, defend, and resolve all legal actions
and other proceedings related to any asset, liability, or responsibility of the Asbestos PI Trust,
including the Asbestos PI Trust Causes of Action.

7.3    THE ASBESTOS PD TRUST

        7.3.1   Creation of the Asbestos PD Trust

       Upon the entry of the Confirmation Order, effective as of the Effective Date, the
Asbestos PD Trust shall be created pursuant to section 524(g) of the Bankruptcy Code and in
accordance with the Plan Documents. The Asbestos PD Trust shall be a “qualified settlement
fund” for federal income tax purposes within the meaning of the treasury regulations issued
pursuant to section 468B of the IRC.

         The purpose of the Asbestos PD Trust shall be to, among other things, (i) assume the
liabilities of the Debtors with respect to all Asbestos PD Claims, (ii) pay and satisfy all Allowed
Asbestos PD Claims in Class 7A in accordance, as applicable, with this Plan, the Asbestos PD
Trust Agreement, the PD Settlement Agreements, the Class 7A CMO, and Final Orders
determining the Allowed Amount of such Asbestos PD Claims pursuant to the Class 7A CMO in
such a way that provides reasonable assurance that the Asbestos PD Trust will value, and be in a
financial position to pay, present and future Asbestos PD Claims in Class 7A (including
Demands, if any, that involve similar claims) in substantially the same manner and to otherwise
comply with Bankruptcy Code § 524(g)(2)(B)(i); (iii) pay and satisfy all US ZAI PD Claims in
Class 7B in accordance, as applicable, with this Plan, the Asbestos PD Trust Agreement and the
ZAI TDP in such a way that provides reasonable assurance that the Asbestos PD Trust will
value, and be in a financial position to pay, present and future US ZAI PD Claims in Class 7B
(including Demands, if any, that involve similar claims) in substantially the same manner and to
otherwise comply with Bankruptcy Code § 524(g)(2)(B)(i); (iv) preserve, hold, manage, and
maximize the assets of the Asbestos PD Trust for use in paying and satisfying Asbestos PD
Claims entitled to payment; (v) qualify at all times as a “qualified settlement fund” for federal
income tax purposes within the meaning of the treasury regulations issued pursuant to section
468B of the IRC; and (vi) otherwise carry out the provisions of the Asbestos PD Trust
Agreement, the ZAI TDP, and any other agreements into which the Asbestos PD Trustees have
entered or will enter in connection with this Plan.

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         7.3.2   Funding of the Asbestos PD Trust

        (a)     On the Effective Date, Cryovac, Inc. shall transfer directly to the Asbestos PD
Trust its share of the amount of the Class 7A Initial Payment and Fresenius shall transfer directly
to the Asbestos PD Trust its share of the amount of the Class 7A Initial Payment. The Class 7A
Initial Payment shall remain segregated from (i) the Class 7B Initial Payment pursuant to the
terms of the Asbestos PD Trust Agreement and (ii) any payments made to the Asbestos PD Trust
on account of CDN ZAI PD Claims.

       (b)     On the Effective Date, the Asbestos PD Trust shall assume, or shall be deemed to
have assumed, the PD Settlement Agreements and shall immediately reserve and segregate from
the Class 7A Initial Payment all amounts required to be paid upon the occurrence of the Effective
Date pursuant to PD Settlement Agreements that require such payment, and shall provide for the
payment of such amounts in the manner and at the time set forth in such PD Settlement
Agreements.

        (c)     On the Effective Date, Cryovac, Inc. shall transfer directly to the Asbestos PD
Trust its share of the amount of the Class 7B Initial Payment and Fresenius shall transfer directly
to the Asbestos PD Trust its share of the amount of the Class 7B Initial Payment. The Class 7B
Initial Payment shall remain segregated from (i) the Class 7A Initial Payment pursuant to the
terms of the Asbestos PD Trust Agreement and (ii) any payments made to the Asbestos PD Trust
on account of CDN ZAI PD Claims.

       (d)    On the Effective Date, Grace-Conn or Parent shall, on behalf of the Reorganized
Debtors and the Non-Debtor Affiliates, transfer to the Asbestos PD Trust all funds as set forth in
the CDN ZAI Minutes of Settlement. The Asbestos PD Trust shall immediately transfer the
amounts set forth in the CDN ZAI Minutes of Settlement to the CDN ZAI PD Claims Fund to be
used in the manner set forth in the CDN ZAI Minutes of Settlement. In no event shall the
Asbestos PD Initial Payment (or any portion thereof) be transferred to the CDN ZAI PD Claims
Fund.

       (e)     After the Effective Date, Grace-Conn or Parent shall, on behalf of the
Reorganized Debtors and the Non-Debtor Affiliates, transfer to the Asbestos PD Trust all funds
as set forth in the Class 7A Asbestos PD Deferred Payment Agreement and the Class 7B
Asbestos PD Deferred Payment Agreement. Funds transferred pursuant to the Class 7A
Asbestos PD Deferred Payment Agreement shall remain segregated from funds transferred
pursuant to the Class 7B Asbestos PD Deferred Payment Agreement pursuant to the terms of the
Asbestos PD Trust Agreement.

         7.3.3   Transfer of Claims and Demands to the Asbestos PD Trust

        On the Effective Date, without any further action of any Entity, all liabilities, obligations,
and responsibilities of any Asbestos Protected Party with respect to all Asbestos PD Claims shall
be channeled to and assumed by the Asbestos PD Trust. This Section 7.3.3 is intended to further
effect the Asbestos PD Channeling Injunction described in Section 8.3 of the Plan, and the


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discharge described in Section 8.1 of this Plan. This Section 7.3.3 is not intended to, and it shall
not, serve as a waiver of any defense to any claim the Debtors, the Asbestos PD Trust or any
other Asbestos Protected Party would otherwise have.

         7.3.4   Assignment and Enforcement of Asbestos PD Trust Causes of Action

        On the Effective Date, by virtue of the confirmation of this Plan, without further notice,
action, or deed, the Asbestos PD Trust Causes of Action shall be automatically transferred and
assigned to, and indefeasibly vested in, the Asbestos PD Trust, and the Asbestos PD Trust shall
thereby become the estate representative pursuant to § 1123(b)(3)(B) of the Bankruptcy Code
with respect to the Asbestos PD Trust Causes of Action, with the exclusive right to enforce the
Asbestos PD Trust Causes of Action, against any Entity, except those related to Claims and
Demands in Class 7A, which shall be enforced by the Reorganized Debtors on behalf of the
Asbestos PD Trust, and the proceeds of the recoveries of such Asbestos PD Trust Causes of
Action shall be deposited in and shall become the property of the Asbestos PD Trust; provided,
however, that nothing herein shall alter, amend or modify the injunctions and/or releases
provided under this Plan including the Asbestos PD Channeling Injunction, the Asbestos PI
Channeling Injunction, the Successor Claims Injunction, and the Asbestos Insurance Entity
Injunction.

         7.3.5   Appointment and Termination of Asbestos PD Trustees

        The initial Class 7A Trustee (as defined in the Asbestos PD Trust Agreement) of the
Asbestos PD Trust shall be the person identified in the Asbestos PD Trust Agreement, and the
initial Class 7B Trustee (as defined in the Asbestos PD Trust Agreement) of the Asbestos PD
Trust shall be the person identified in the Asbestos PD Trust Agreement. Their functions are set
forth more fully in the Asbestos PD Trust Agreement. All successor Asbestos PD Trustees shall
be appointed in accordance with the terms of the Asbestos PD Trust Agreement. Upon
termination of the Asbestos PD Trust, the Asbestos PD Trustees’ employment shall be deemed
terminated and the Asbestos PD Trustees shall be released and discharged of and from all further
authority, duties, responsibilities and obligations relating to or arising from or in connection with
the Chapter 11 Cases.

         7.3.6   Creation and Termination of the Zonolite Attic Insulation TAC

        The Zonolite Attic Insulation Trust Advisory Committee or ZTAC shall be established
pursuant to the Asbestos PD Trust Agreement. The ZTAC shall have three members that will
have the functions, duties and rights provided in the Asbestos PD Trust Agreement, and ZAI
TDP. Initial members of the ZTAC shall be those three individuals named in the Asbestos PD
Trust Agreement and the ZAI TDP. Upon termination of the Asbestos PD Trust, the ZTAC shall
be deemed dissolved and the ZTAC shall be released and discharged of and from all further
authority, duties, responsibilities and obligations relating to or arising from or in connection with
the Chapter 11 Cases.




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7.4    PAYMENTS AND DISTRIBUTIONS UNDER THIS PLAN

        7.4.1 Asbestos PI Trust Payments, Asbestos PD Trust Payments and Plan
        Distributions

        Payments to Holders of Asbestos PI Claims shall be made by the Asbestos PI Trust in
accordance with the Asbestos PI Trust Agreement and the Asbestos PI TDP. Payments to
Holders of Asbestos PD Claims shall be made by the Asbestos PD Trust as and when due in
accordance with the Asbestos PD Trust Agreement, PD Settlement Agreements, the Class 7A
CMO, any Final Orders of the Bankruptcy Court allowing Claims in Class 7A, and the ZAI TDP
for Claims in Class 7B. Payments to Holders of CDN ZAI PD Claims shall be made pursuant to
the CDN ZAI Minutes of Settlement by the CDN ZAI PD Claims Fund. All other Distributions
or payments required or permitted to be made under this Plan (other than to Professionals) shall
be made by the Reorganized Debtors or, in their discretion, a disbursing agent employed by the
Reorganized Debtors, in accordance with the treatment specified for each such Holder as
specified herein (unless otherwise ordered by the Bankruptcy Court). Distributions to be made
on the Effective Date, the Initial Tax Distribution Date or the Quarterly Tax Distribution Date
shall be deemed actually made on such distribution date if made either (i) on the Effective Date,
the Initial Tax Distribution Date or the Quarterly Tax Distribution Date or (ii) as soon as
practicable thereafter, but not more than 10 days thereafter; provided, however, that Distributions
and transfers to the Asbestos PI Trust of the Asbestos PI Trust Assets shall be made on the
Effective Date, and Distributions and transfers to the Asbestos PD Trust of the Asbestos PD
Trust Assets and the funds set forth in the CDN ZAI Minutes of Settlement payable to the CDN
ZAI PD Claims Fund shall be made on the Effective Date. Distributions to be made on the date
that a Plan Claim becomes an Allowed Claim, rather than on the Effective Date, shall be deemed
actually made on such date if made on or before the Post-Effective Distribution Date with
respect to such Claim. Notwithstanding that Distributions to Allowed Claims may be deemed
made on the date that a Plan Claim becomes an Allowed Claim as per the preceding sentence,
nothing in this Section shall modify the calculation of post-petition interest through the date of
payment for General Unsecured Claims that become Allowed General Unsecured Claims after
the Effective Date as set forth in Section 3.1.9(b) of the Plan. Except as otherwise provided
herein, Professionals shall be paid pursuant to orders of the Bankruptcy Court.

        Under no circumstances shall any fractional shares of Sealed Air Common Stock be
transferred pursuant to the Asbestos PI Trust Agreement such that any Entity shall be the
transferee of less than one thousand shares of Sealed Air Common Stock, provided, however,
that in no event shall the Asbestos PI Trust incur any costs or expenses associated with such one
thousand share limitation.

        7.4.2   Timing of Plan Distributions

        Whenever any Distribution to be made under this Plan shall be due on a day other than a
Business Day, such Distribution shall instead be made, without the accrual of any additional
interest (if interest is accruing pursuant to this Plan), on the immediately succeeding Business
Day, but shall be deemed to have been made on the date due.


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7.5    DELIVERY OF DISTRIBUTIONS AND UNDELIVERABLE OR UNCLAIMED
       DISTRIBUTIONS.

        7.5.1   Delivery by the Reorganized Debtors of Distributions in General

        Payments by the Asbestos PI Trust to Holders of Asbestos PI Claims shall be made in
accordance with the Asbestos PI Trust Agreement and the Asbestos PI TDP. Payments to
Holders of Asbestos PD Claims shall be made by the Asbestos PD Trust as and when due in
accordance with the Asbestos PD Trust Agreement, PD Settlement Agreements, any Final
Orders of the Bankruptcy Court allowing Claims in Class 7A, and the ZAI TDP for Claims in
Class 7B. Payments to Holders of CDN ZAI PD Claims shall be made by the CDN ZAI PD
Claims Fund in accordance with the procedures set forth in the CDN ZAI Minutes of Settlement.
All Distributions to Holders of Allowed Claims shall be made at the address of the Holder of
such Allowed Claim as set forth on the Schedules, unless superseded by a new address set forth
(i) on a proof of claim Filed by a Holder of an Allowed Claim, (ii) in another writing notifying
the Reorganized Debtors of a change of address prior to the date of Distribution, or (iii) in a
request for payment of an Administrative Expense Claim.

        7.5.2   Undeliverable Distributions by the Reorganized Debtors

        Any Cash, assets, and other properties to be distributed by the Reorganized Debtors
under this Plan to Holders of Plan Claims, other than Asbestos PI Claims and Asbestos PD
Claims, that remain unclaimed (including by an Entity’s failure to negotiate a check issued to
such Entity) or otherwise not deliverable to the Entity entitled thereto one year after Distribution
shall become vested in, and shall be transferred and delivered to, the Reorganized Debtors. In
such event, such Entity’s Plan Claim shall no longer be deemed to be Allowed or payable by the
Reorganized Debtors, and such Entity shall be deemed to have waived its rights to such
payments or Distributions under this Plan pursuant to Bankruptcy Code § 1143, shall have no
further Claim in respect of such Distribution, and shall not participate in any further
Distributions under this Plan with respect to such Claim.

7.6    PAYMENTS UNDER THIS PLAN

        7.6.1   Manner of Cash Payments under this Plan

       Unless the Entity receiving a Distribution or payment agrees otherwise, any such
Distribution or payment to be made by the Reorganized Debtors, the Asbestos PI Trust, or the
Asbestos PD Trust in Cash shall be made, at the election of the Reorganized Debtors, the
Asbestos PI Trust, or the Asbestos PD Trust as applicable, by check drawn on a domestic bank
or by wire transfer from a domestic bank; provided, however, that Distributions of Cash to the
Asbestos PI Trust and the Asbestos PD Trust shall be by wire transfer.

        7.6.2   Fractional Payments under this Plan

        Notwithstanding any other provision of this Plan, payments of fractions of dollars or of
fractional shares shall not be made. Whenever, under this Plan, any payment of a fraction of a
dollar or a fractional share of Parent Common Stock would otherwise be called for, the actual

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payment made shall reflect a rounding of such fraction to the nearest whole dollar or nearest
whole share of Parent Common Stock, as applicable, (up or down), with half dollars or half
shares being rounded up.

7.7    CONDITIONS TO OCCURRENCE OF THE CONFIRMATION DATE

       The Court shall have made the following findings of fact, conclusions of law, orders,
and/or decrees among others, substantially to the effect as follows, in connection with the
confirmation of this Plan, each of which shall be expressly set forth in the Confirmation Order:

              (a)     The Plan satisfies all applicable sections of the Bankruptcy Code,
                      including Bankruptcy Code § 524(g);

              (b)     Claimants in Classes 6, 7, and 8 have voted to accept the Plan in the
                      requisite numbers and amounts required by Bankruptcy Code §§ 524(g),
                      1126, and 1129;

              (c)     As of the Petition Date, the Debtors have been named as defendants in
                      personal injury, wrongful death, and property damage actions seeking
                      recovery for damages allegedly caused by the presence of, or exposure to,
                      asbestos or asbestos-containing products;

              (d)     Effective as of the Effective Date, the Asbestos PI Trust shall be created
                      and the Asbestos PD Trust shall be created pursuant to Bankruptcy Code
                      § 524(g) and in accordance with the Plan Documents;

              (e)     The Asbestos PI Trust and the Asbestos PD Trust shall be “qualified
                      settlement funds” for federal income tax purposes within the meaning of
                      the treasury regulations issued pursuant to section 468B of the IRC and
                      shall be subject to the continuing jurisdiction of the Bankruptcy Court;

              (f)     On the Effective Date, the Asbestos PI Trust shall assume the liabilities of
                      the Debtors with respect to all Asbestos PI Claims, the Asbestos PD Trust
                      shall assume the liabilities of the Debtors with respect to all Asbestos PD
                      Claims, and the CDN ZAI PD Claims Fund contemplated by the CDN
                      ZAI Minutes of Settlement shall assume the liabilities of the Debtors with
                      respect to all CDN ZAI PD Claims;

              (g)     The Asbestos PI Trust and the Asbestos PD Trust are to be funded in part
                      by securities of the Parent and by the obligations of the Reorganized
                      Parent to make future payments, including dividends;

              (h)     The Asbestos PI Trust and the Asbestos PD Trust are to own, or by the
                      exercise of rights granted under the Plan would be entitled to own if
                      specified contingencies occur, a majority of the voting shares of the
                      Reorganized Parent;



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    (i)   The Asbestos PI Trust is to use the Asbestos PI Trust Assets to pay
          Asbestos PI Claims (including Demands) and Asbestos PI Trust Expenses,
          and the Asbestos PD Trust is to use the Asbestos PD Trust Assets to pay
          Asbestos PD Claims (including Demands, if any) and Asbestos PD Trust
          Expenses, and the CDN ZAI PD Claims Fund is to use the funds identified
          in the CDN ZAI Minutes of Settlement to pay CDN ZAI PD Claims and
          the expenses outlined in the CDN ZAI Minutes of Settlement;

    (j)   The Debtors are likely to be subject to substantial future Demands for
          payment arising out of the same or similar conduct or events that gave rise
          to the Asbestos PI Claims, which Demands are addressed by the Asbestos
          PI Channeling Injunction, and the Debtors are likely to be subject to
          substantial future Demands for payment arising out of the same or similar
          conduct or events that gave rise to the Asbestos PD Claims, which
          Demands, if any, are addressed by the Asbestos PD Channeling
          Injunction;

    (k)   The actual amounts, numbers, and timing of such future Demands cannot
          be determined;

    (l)   Pursuit of such Demands outside the procedures prescribed by the Plan is
          likely to threaten the Plan’s purpose to deal equitably with the Asbestos PI
          Claims, the Asbestos PD Claims, and the CDN ZAI PD Claims;

    (m)   The terms of the Asbestos PI Channeling Injunction, the Asbestos PD
          Channeling Injunction, the Successor Claims Injunction, and the Asbestos
          Insurance Entity Injunction, and any provisions barring actions against
          third parties, are set out in the Plan and the Disclosure Statement, and each
          of the Plan and the Disclosure Statement adequately describe such
          injunctions and provisions (and the acts and entities to which they apply)
          in specific and conspicuous language in accordance with the requirements
          of Bankruptcy Rule 3016(c));

    (n)   Pursuant to Court orders or otherwise, the Asbestos PI Trust, the Asbestos
          PD Trust, and CDN ZAI PD Claims Fund shall operate through
          mechanisms such as structured, periodic, or supplemental payments, pro
          rata distributions, matrices, or periodic review of estimates of the numbers
          and values of (1) Asbestos PI Claims (including Demands) in the case of
          the Asbestos PI Trust, (2) Asbestos PD Claims (including Demands, if
          any) in the case of the Asbestos PD Trust, or (3) CDN ZAI PD Claims
          (including Demands, if any) in the case of the CDN ZAI PD Claims Fund,
          or other comparable mechanisms that provide reasonable assurance that
          the Asbestos PI Trust shall value, and be in a financial position to pay,
          Asbestos PI Claims (including Demands that involve similar claims) in
          substantially the same manner, that the Asbestos PD Trust shall value, and
          be in a financial position to pay Asbestos PD Claims (including Demands,
          if any, that involve similar claims) in substantially the same manner, and

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          that the CDN ZAI PD Claims Fund shall value, and be in a financial
          position to pay CDN ZAI PD Claims (including Demands, if any, that
          involve similar claims) in substantially the same manner;

    (o)   The Asbestos PI FCR has been appointed by the Bankruptcy Court as part
          of the proceedings leading to the issuance of the Asbestos PI Channeling
          Injunction for the purpose of, among other things, protecting the rights of
          Entities that might subsequently assert Demands of the kind that are
          addressed in the Asbestos PI Channeling Injunction and transferred to the
          Asbestos PI Trust;

    (p)   The Asbestos PD FCR has been appointed by the Bankruptcy Court as
          part of the proceedings leading to the issuance of the Asbestos PD
          Channeling Injunction for the purpose of, among other things, protecting
          the rights of Entities that might subsequently assert Demands, if any, of
          the kind that are addressed in the Asbestos PD Channeling Injunction and
          transferred to the Asbestos PD Trust;

    (q)   CCAA Representative Counsel has been appointed by the Canadian Court
          as part of proceedings leading to the issuance of the Asbestos PD
          Channeling Injunction for the purpose of, among other things, protecting
          the rights of Entities that might subsequently assert Demands, if any, of
          the kind that are addressed in the Asbestos PD Channeling Injunction and
          transferred to the CDN ZAI PD Claims Fund;

    (r)   The Court has jurisdiction over each of the Claims, SA Claims, Grace-
          Related Claims, and Demands that is subject to any of (i) the Asbestos PI
          Channeling Injunction described in Section 8.2 of the Plan, (ii) the
          Asbestos PD Channeling Injunction described in Section 8.3 of the Plan,
          (iii) the Successor Claims Injunction described in Section 8.5 of the Plan,
          and (iv) the releases described in the Plan;

    (s)   In light of the benefits provided, or to be provided, to the Asbestos PI
          Trust and the Asbestos PD Trust by, or on behalf of, each Asbestos
          Protected Party (including the Sealed Air Indemnified Parties and the
          Fresenius Indemnified Parties), (i) the Asbestos PI Channeling Injunction
          is fair and equitable (including with respect to the Entities that might
          subsequently assert Demands against any Asbestos Protected Party) and is
          supported by reasonable consideration, (ii) the Asbestos PD Channeling
          Injunction is fair and equitable (including with respect to the Entities that
          might subsequently assert Demands, if any, against any Asbestos
          Protected Party) and is supported by reasonable consideration, (iii) the
          Successor Claims Injunction is fair and equitable and is supported by
          reasonable consideration, and (iv) the releases in favor of the Asbestos
          Protected Parties described in the Plan are fair and equitable and are
          supported by reasonable consideration;



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    (t)   The Asbestos PI Channeling Injunction, the Asbestos PD Channeling
          Injunction, the Successor Claims Injunction, the Asbestos Insurance Entity
          Injunction, and the releases in favor of the Asbestos Protected Parties
          described in the Plan are to be implemented and granted in connection
          with the Plan and the Plan Documents;

    (u)   The Asbestos PI Channeling Injunction, the Asbestos PD Channeling
          Injunction, the Successor Claims Injunction, and the releases in favor of
          the Asbestos Protected Parties described in the Plan (i) are essential to the
          Debtors’ reorganization efforts and the feasibility of the Plan, (ii) provide
          necessary funding to the Plan that otherwise would be unavailable absent
          the injunctions and releases, (iii) are necessary to induce the Asbestos
          Protected Parties (including Sealed Air and Fresenius) to enter into the
          settlements and agreements described in the Plan and to otherwise settle
          their disputes, and (iv) are necessary to resolve finally all claims of the
          Debtors, the Non-Debtor Affiliates, and the Debtors’ creditors against the
          other Asbestos Protected Parties (including the Sealed Air Indemnified
          Parties and the Fresenius Indemnified Parties);

    (v)   An identity of interests exists among the Debtors and the Asbestos
          Protected Parties such that an Asbestos PI Claim (including a Successor
          Claim based upon an Asbestos PI Claim and/or a Successor Claim based
          on or arising from, in whole or in part, directly or indirectly, the Cryovac
          Transaction or the Fresenius Transaction) asserted against any of the
          Asbestos Protected Parties gives rise to a Claim against the Debtors,
          including by the operation of the law of indemnity (contractual or
          otherwise) and/or contribution; and an Asbestos PD Claim or CDN ZAI
          PD Claim (including a Successor Claim based upon an Asbestos PD
          Claim or CDN ZAI PD Claim and/or a Successor Claim based on or
          arising from, in whole or in part, directly or indirectly, the Cryovac
          Transaction or the Fresenius Transaction) asserted against any of the
          Asbestos Protected Parties gives rise to a Claim against the Debtors,
          including by the operation of the law of indemnity (contractual or
          otherwise) and/or contribution;

    (w)   The Sealed Air Settlement Agreement is essential and integral to the Plan,
          and the payment of the Cryovac Payment to the Asbestos PI Trust and the
          Asbestos PD Trust in accordance with the Sealed Air Settlement
          Agreement and the terms of the Plan, together with the other Asbestos PI
          Trust Assets and the Asbestos PD Trust Assets to be transferred to the
          Asbestos PI Trust and the Asbestos PD Trust, respectively, pursuant to the
          Plan, constitute both (i) substantial assets of the Plan and the
          reorganization, and (ii) a fair, reasonable, and equitable settlement of all
          claims, potential claims, and Demands against the Asbestos Protected
          Parties (including, with respect to the Sealed Air Indemnified Parties, all
          Asbestos-Related Claims and any other claims, potential claims, and
          Demands for which the Sealed Air Settlement Agreement contemplates a

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          release or injunction in favor of the Sealed Air Indemnified Parties) that
          are subject to the injunctions and releases described in the Plan, and the
          only unsatisfied conditions precedent to payment of the Cryovac Payment
          are the satisfaction or waiver of the conditions to the Effective Date in
          accordance with Section 7.8 of this Plan;

    (x)   The Fresenius Settlement Agreement is essential and integral to the Plan,
          and the payment of the Fresenius Payment to the Asbestos PI Trust and
          the Asbestos PD Trust in accordance with the Plan, together with the other
          Asbestos PI Trust Assets to be transferred to the Asbestos PI Trust
          pursuant to the Plan, constitute both (i) substantial assets of the Plan and
          the reorganization, and (ii) a fair, reasonable, and equitable settlement of
          all claims, potential claims, and Demands against the Asbestos Protected
          Parties (including, with respect to the Fresenius Indemnified Parties, the
          Grace-Related Claims, all Asbestos-Related Claims and Demands related
          thereto and any other claims, potential claims, and Demands for which the
          Fresenius Settlement Agreement contemplates a release or injunction in
          favor of the Fresenius Indemnified Parties) that are subject to the
          injunctions and releases described in the Plan, and the only unsatisfied
          conditions to payment of the Fresenius Payment are the satisfaction or
          waiver of the conditions to the Effective Date in accordance with Section
          7.8 of this Plan;

    (y)   The SA Debtors, the Plaintiffs, and the SA Non-Debtor Affiliates
          understand and agree, and the Court so finds, that Sealed Air has entered
          into the Sealed Air Settlement Agreement in order to settle, release,
          extinguish, and terminate fully, finally, and forever any and all further
          controversy respecting any and all Asbestos-Related Claims and any and
          all Demands related thereto against the Sealed Air Indemnified Parties.
          The SA Debtors, the Plaintiffs, and the SA Non-Debtor Affiliates have
          acknowledged and agreed that this provision is an essential and material
          term of the Sealed Air Settlement Agreement and the compromise
          settlement leading to the Sealed Air Settlement Agreement, and that,
          without such provision, neither Sealed Air Corporation nor Cryovac, Inc.
          would have executed the Sealed Air Settlement Agreement and the
          compromise settlement would not have been accomplished;

    (z)   The Debtors, the Plaintiffs, and the Non-Debtor Affiliates understand and
          agree, and the Court so finds, that Fresenius has entered into the Fresenius
          Settlement Agreement in order to settle, release, extinguish, and terminate
          fully, finally, and forever any and all further controversy respecting any
          and all Asbestos-Related Claims against the Fresenius Indemnified
          Parties. The Debtors, the Plaintiffs, and the Non-Debtor Affiliates have
          acknowledged and agreed that this provision is an essential and material
          term of the Fresenius Settlement Agreement, and that, without such
          provision, Fresenius would not have executed the Fresenius Settlement


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           Agreement and the compromise settlement would not have been
           accomplished;

    (aa)   The settlements, compromises, releases, and injunctions in favor of the
           Asbestos Protected Parties described in the Plan (including those
           described in the Sealed Air Settlement Agreement and the Fresenius
           Settlement Agreement) are approved in all respects;

    (bb)   In approving the settlements, compromises, releases, and injunctions with
           respect to the Asbestos Protected Parties (including the Sealed Air
           Settlement Agreement and the Fresenius Settlement Agreement, and the
           releases and injunctions in favor of the Sealed Air Indemnified Parties and
           the Fresenius Indemnified Parties), the Court has considered, among other
           things: (1) the nature of the claims asserted or potentially asserted by the
           Debtors, the Non-Debtor Affiliates, the Plaintiffs (on behalf of the
           Debtors’ creditors, stakeholders, and estates), and/or the Debtors’ creditors
           against the Asbestos Protected Parties, and the claims asserted or
           potentially assertable by the Asbestos Protected Parties against the
           Debtors and the Non-Debtor Affiliates, (ii) the balance of the likelihood of
           success of claims which might be asserted by the Debtors or other
           claimants against the Asbestos Protected Parties against the likelihood of
           success of the defenses or counterclaims possessed by the Asbestos
           Protected Parties, (iii) the complexity, cost, and delay of litigation that
           would result in the absence of these settlements, compromises, releases,
           and injunctions, (iv) the lack of objections by, or the overruling of
           objections of any creditor or party-in-interest to the settlements,
           compromises, releases and injunctions, (v) that the Asbestos PI Claims
           will be channeled to the Asbestos PI Trust rather than extinguished, (vi)
           that the Estate Parties and the Asbestos PI Trust will receive substantial
           consideration from the Asbestos Protected Parties described in the Plan,
           (vii) that the Asbestos PD Claims will be channeled to the Asbestos PD
           Trust rather than extinguished, and the CDN ZAI PD Claims will be
           channeled to the CDN ZAI PD Claims Fund rather than extinguished,
           (viii) that the Estate Parties and the Asbestos PD Trust will receive
           substantial consideration from the Asbestos Protected Parties described in
           the Plan, (ix) that the Asbestos Protected Parties that will benefit from the
           releases and injunctions share an identity of interest with the Debtors, (x)
           that the enjoined claims against the Asbestos Protected Parties would
           otherwise indirectly impact the Debtors’ reorganization by way of
           indemnity or contribution, and (xi) the Plan and the settlements,
           compromises, releases, and injunctions described in the Plan are the
           product of extensive arms’ length negotiations among the Debtors, the
           Asbestos PI Committee, the Asbestos PI FCR, the Asbestos PD FCR, and
           the Asbestos Protected Parties, among others;

    (cc)   As of the Effective Date, the Reorganized Debtors will have the ability to
           pay and satisfy in the ordinary course of business their respective

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           obligations and liabilities, including any and all indemnification
           obligations to the Sealed Air Indemnified Parties and the Fresenius
           Indemnified Parties with respect to present and future Asbestos-Related
           Claims and Demands related thereto, SA Indemnified Taxes, Fresenius
           Indemnified Taxes, and all other obligations set forth in the Fresenius
           Settlement Agreement and the Sealed Air Settlement Agreement;

    (dd)   Upon the transfer of the Sealed Air Common Stock to the Asbestos PI
           Trust, the Asbestos PI Trustees shall represent and warrant to and agree
           with (on behalf of the Asbestos PI Trust) Sealed Air, that the Asbestos PI
           Trust is acquiring the Sealed Air Common Stock for its own account for
           investment and not with a view toward distribution in a manner which
           would violate the Securities Act and the Asbestos PI Trust and its
           transferees will comply with all filing and other reporting obligations
           under all applicable laws which shall be applicable to such Asbestos PI
           Trust with respect to the Sealed Air Common Stock;

    (ee)   On or before the Effective Date, (i) the SA Debtors, the Asbestos PD
           Committee, and the Asbestos PI Committee shall have executed and
           delivered the “Release” (as defined in the Sealed Air Settlement
           Agreement), (ii) the “Government Plaintiff” (as defined in the Sealed Air
           Settlement Agreement) shall have executed and delivered the
           “Government Release” (as defined in the Sealed Air Settlement
           Agreement), and (iii) the Asbestos PI Committee and the Asbestos PD
           Committee shall have delivered the “Fresenius Release” (as defined in the
           Sealed Air Settlement Agreement), all as provided for in the Sealed Air
           Settlement Agreement. In addition, in consideration for the Cryovac
           Payment, (i) each of the SA Non-Debtor Affiliates shall irrevocably
           release, acquit, and forever discharge the Sealed Air Indemnified Parties
           from any and all (A) present and future Asbestos-Related Claims and
           Demands relating thereto and (B) present and future SA Claims, Canadian
           Claims, SA Debts, and SA Damages on the basis of, arising from, or
           attributable to (in whole or in part, directly or indirectly) the Fresenius
           Transaction that have accrued or been asserted or that hereafter might
           accrue or be asserted against the Sealed Air Indemnified Parties and (ii)
           each SA Non-Debtor Affiliate shall not institute, participate in, maintain,
           maintain a right to or assert against the Sealed Air Indemnified Parties,
           either directly or indirectly, on its own behalf, derivatively, or on behalf of
           any other Entity, any and all present and future Asbestos-Related Claims
           and/or Demands relating thereto, and any and all present and future SA
           Claims, Canadian Claims, SA Debts, and SA Damages on the basis of,
           arising from, or attributable to (in whole or in part, directly or indirectly)
           the Fresenius Transaction;

    (ff)   The Asbestos Protected Parties shall receive the full benefit of the
           Asbestos PI Channeling Injunction and the Asbestos PD Channeling
           Injunction under Bankruptcy Code § 524(g) and the Successor Claims

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           Injunction under Bankruptcy Code § 105(a), which Asbestos PI
           Channeling Injunction, Asbestos PD Channeling Injunction, and
           Successor Claims Injunction (1) shall be in form and substance reasonably
           acceptable to Sealed Air Corporation, Cryovac Inc., and Fresenius, and (2)
           as applicable, include provisions enjoining any and all Entities from taking
           any and all legal or other actions (including the continued prosecution of
           pending “Actions” or the commencement of future “Actions” as such term
           is used in paragraph II(c)(vi) of the Sealed Air Settlement Agreement) or
           making any Demand for the purpose of, directly or indirectly, claiming,
           collecting, recovering, or receiving any payment, recovery, or any other
           relief whatsoever from any and all of the Asbestos Protected Parties with
           respect to any and all Asbestos PI Claims, Asbestos PD Claims, CDN ZAI
           PD Claims, and/or Successor Claims based on or arising from, in whole or
           in part, directly or indirectly, the Cryovac Transaction or the Fresenius
           Transaction;

    (gg)   Each of the SA Debtors and the Plaintiffs have acknowledged and agreed
           that the Sealed Air Common Stock to be transferred to the Asbestos PI
           Trust has not been and, upon delivery of such Sealed Air Common Stock
           to the Asbestos PI Trust, shall not be registered under the Securities Act
           and that the certificates for such Sealed Air Common Stock shall bear a
           legend to that effect. Each of the SA Debtors and the Plaintiffs understand
           and have acknowledged that any transfer by Cryovac, Inc. of Sealed Air
           Common Stock to the Asbestos PI Trust is being made pursuant to an
           exemption from registration contained in the Securities Act based in part
           upon the foregoing representation and the representations contained in the
           Sealed Air Settlement Agreement;

    (hh)   The SA Debtors shall, jointly and severally, at their sole expense,
           indemnify, defend, and hold harmless the Sealed Air Indemnified Parties
           from and against (1) any and all present and future Asbestos-Related
           Claims and Demands related thereto and all SA Indemnified Taxes, (2)
           any and all losses costs, and expenses incurred as a result of any breach of
           any of the SA Debtors’ or SA Non-Debtor Affiliates’ obligations,
           covenants, and agreements set forth or referred to in the Sealed Air
           Settlement Agreement, including any such obligation, covenant, or
           agreement of any SA Debtors or SA Non-Debtor Affiliates set forth in the
           Plan or Confirmation Order, (3) if any SA Non-Debtor Affiliate has not
           executed and delivered a “Release” (as defined in the Sealed Air
           Settlement Agreement), any and all Asbestos-Related Claims and
           Demands related thereto based on, arising out of, or attributable to,
           directly or indirectly, in whole or in part, such SA Non-Debtor Affiliate
           and (4) any and all attorneys’ fees or costs and expenses attributable to
           any “SA Indemnity Claim” (as defined below), provided, however, that in
           each case such indemnification shall not apply to “Excluded Fees” (as
           defined in the Sealed Air Settlement Agreement) such indemnity
           obligations, collectively, the “SA Debtors’ Indemnity Obligation”; and

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           any and all SA Claims, SA Debts, or SA Damages that could be asserted
           by any of the Sealed Air Indemnified Parties under the SA Debtors’
           Indemnity Obligation, the “SA Indemnity Claims”), and provided, further,
           that nothing in the Sealed Air Settlement Agreement shall adversely affect
           any rights of any Entity to file and pursue, or object to, a proof of claim
           for “Excluded Fees” (as defined in the Sealed Air Settlement Agreement)
           in the Chapter 11 Cases;

    (ii)   Each SA Debtor shall execute and deliver an indemnity agreement in
           favor of the Sealed Air Indemnified Parties in the form annexed as Exhibit
           6 to the Sealed Air Settlement Agreement;

    (jj)   The SA Debtors’ Indemnity Obligation (and the obligations, covenants,
           and agreements of each of the SA Debtors and SA Non-Debtor Affiliates
           set forth or referred to in the Sealed Air Settlement Agreement, including
           any such obligation, covenant, or agreement of any SA Debtor or SA Non-
           Debtor Affiliate set forth in the Plan or Confirmation Order) shall not be
           discharged, expunged, estimated, or otherwise adversely affected in the
           Chapter 11 Cases or by the confirmation of the Plan;

    (kk)   The SA Debtors’ Indemnity Obligation (and the obligations, covenants,
           and agreements of each of the SA Debtors and SA Non-Debtor Affiliates
           set forth or referred to in the Sealed Air Settlement Agreement, including
           any such obligation, covenant, or agreement of any SA Debtor or SA Non-
           Debtor Affiliate set forth in the Plan or Confirmation Order) shall continue
           unaffected as a post-confirmation obligation of each of the Reorganized
           Debtors;

    (ll)   The Debtors, the Asbestos PI Committee, the Asbestos PI FCR, the
           Asbestos PI TAC, and the Asbestos PI Trustees have (i) promptly
           provided to Cryovac, Inc. and Fresenius all “Material Drafts” (as defined
           in the Sealed Air Settlement Agreement) of the Asbestos PI Trust
           Agreement and each related “Trust Document” (as defined in the Sealed
           Air Settlement Agreement) (but excluding or redacting drafts of the
           Asbestos PI TDP), and (ii) incorporated promptly (if it was the party
           drafting such document), or if otherwise, urged the party drafting such
           document promptly to incorporate, into any such document each provision
           with respect to the subject matter set forth or referred to in paragraphs
           II(c)(ix), (x), and (xi) paragraph VI(g), clauses (i)(A) through (D), and
           paragraph VI(c) of the Sealed Air Settlement Agreement that were
           reasonably requested by Cryovac, Inc. or Fresenius;

    (mm) The Debtors, the Asbestos PD Committee, and the Asbestos PD FCR have
         (i) promptly provided to Cryovac, Inc. and Fresenius all “Material Drafts”
         (as defined in the Sealed Air Settlement Agreement) of the Asbestos PD
         Trust Agreement and each related “Trust Document” (as defined in the
         Sealed Air Settlement Agreement) (but excluding or redacting drafts of the

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           ZAI TDP), and (ii) incorporated promptly (if it was the party drafting such
           document), or if otherwise, urged the party drafting such document
           promptly to incorporate, into any such document each provision with
           respect to the subject matter set forth or referred to in paragraphs II(c)(ix),
           (x), and (xi) paragraph VI(g), clauses (i)(A) through (D), and paragraph
           VI(c) of the Sealed Air Settlement Agreement that were reasonably
           requested by Cryovac, Inc. or Fresenius;

    (nn)   SA Debtors and SA Non-Debtor Affiliates shall take all actions required
           or requested by Sealed Air as contemplated in the Sealed Air Settlement
           Agreement and shall be prohibited from taking any actions prohibited by
           Sealed Air as provided by the Sealed Air Settlement Agreement with
           respect to tax matters, including those set forth in Annex I hereto and
           those set forth in paragraphs II(c)(x), IV, and VI of the Sealed Air
           Settlement Agreement and those provisions of the Sealed Air Settlement
           Agreement are incorporated herein as if fully set forth herein and shall
           likewise be incorporated into the Confirmation Order as if fully set forth
           therein;

    (oo)   The Plaintiffs, Asbestos PI Trust and Asbestos PD Trust shall take all
           actions required or requested by Sealed Air as provided by the Sealed Air
           Settlement Agreement and shall be prohibited from taking any actions
           prohibited by Sealed Air as contemplated in the Sealed Air Settlement
           Agreement with respect to tax matters, including those set forth in Annex
           II hereto and those set forth in paragraphs II(c)(ix), II(c)(x) and II(c)(xi) of
           the Sealed Air Settlement Agreement and those provisions of the Sealed
           Air Settlement Agreement are incorporated herein as if fully set forth and
           shall likewise be incorporated into the Confirmation Order as if fully set
           forth therein;

    (pp)   Each of the SA Debtors acknowledge and agree that (i) to the extent that
           any SA Debtor is required, pursuant to generally accepted accounting
           principles, to accrue a liability for asbestos which liabilities are satisfied
           by Cryovac, Inc. by a transfer made by Cryovac, Inc. directly to the
           Asbestos PI Trust or Asbestos PD Trust pursuant to this Plan or the
           Confirmation Order and such SA Debtor is required pursuant to generally
           accepted accounting principles to reverse such accrual, to the extent that
           there is more than one methodology under generally accepted accounting
           principles pursuant to which the SA Debtors are allowed to reverse any
           such accrual, such SA Debtor shall adopt the methodology, if any, not
           inconsistent with the provisions of paragraphs VI(b) and VI(g) of the
           Sealed Air Settlement Agreement, (ii) any payment or transfer by
           Cryovac, Inc. directly to the Asbestos PI Trust or Asbestos PD Trust shall
           not be treated, for financial accounting purposes, as resulting in an
           expense or deduction of any SA Debtor or SA Non-Debtor Affiliate and
           (iii) to the extent that any payment or transfer by Cryovac, Inc. directly to
           the Asbestos PI Trust or Asbestos PD Trust results, for financial

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           accounting purposes, in income to any SA Debtor, the SA Debtors shall
           treat such income as income from the cancellation of indebtedness or
           liabilities of the SA Debtors;

    (qq)   The Debtors and Estate Parties shall take all actions required or requested
           by Fresenius as contemplated in the Fresenius Settlement Agreement and
           be prohibited from taking any actions prohibited by Fresenius as
           contemplated in the Fresenius Settlement Agreement with respect to tax
           matters, including those outlined in Article III of the Fresenius Settlement
           Agreement and those provisions of the Fresenius Settlement Agreement
           are incorporated herein as if fully set forth and shall likewise be
           incorporated into the Confirmation Order as if fully set forth therein;

    (rr)   The 1998 Tax Sharing Agreement shall be an assumed agreement of each
           of the SA Debtors (including Grace New York and Grace-Conn) pursuant
           to section 365 of the Bankruptcy Code, and nothing contained in or
           contemplated by the Sealed Air Settlement Agreement, the Plan, or the
           Confirmation Order shall adversely affect the rights of the Debtors, Sealed
           Air Corporation or any of their Affiliates under the 1998 Tax Sharing
           Agreement;

    (ss)   Upon confirmation, each of the Sealed Air Settlement Agreement, the
           Sealed Air Settlement Order, the Fresenius Settlement Agreement and the
           Fresenius Settlement Order shall be in full force and effect;

    (tt)   Subject to Section 7.7(uu) below, the duties and obligations of the
           Asbestos Insurance Entities under the Asbestos Insurance Policies and
           Asbestos Insurance Settlement Agreements are not diminished, reduced or
           eliminated by (1) the discharge of the obligations and liabilities of the
           Debtors and the Reorganized Debtors for and in respect of all Asbestos PI
           Claims or (2) the assumption by the Asbestos PI Trust of responsibility
           and liability for all Asbestos PI Claims;

    (uu)   As of the Effective Date, the Asbestos Insurance Transfer Agreement shall
           be a valid and binding obligation of each the parties thereto, shall be in
           full force and effect and shall be valid and enforceable in accordance with
           its terms, in each case notwithstanding any anti-assignment provision in or
           incorporated into any Asbestos Insurance Policy, Asbestos Insurance
           Settlement Agreement, Asbestos In-Place Insurance Coverage, Asbestos
           Insurance Reimbursement Agreement, or under applicable non-bankruptcy
           law;

    (vv)   As of the Effective Date, each of the Asbestos PI Deferred Payment
           Agreement, the Class 7A Asbestos PD Deferred Payment Agreement, the
           Class 7B Asbestos PD Deferred Payment Agreement, the Share Issuance
           Agreement, the Grace PI Guaranty, the Grace PD Guarantee Agreement
           for Class 7A, the Grace PD Guarantee Agreement for Class 7B, the Plan


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                      Registration Rights Agreement, the Asbestos PI/PD Inter-Creditor
                      Agreement, the Warrant, and the Warrant Agreement shall be a valid and
                      binding obligation of each of the parties thereto and shall be in full force
                      and effect and enforceable in accordance with its terms;

               (ww) All Asbestos PI Claims shall be resolved by and channeled to the Asbestos
                    PI Trust, all Asbestos PD Claims shall be resolved by and channeled to the
                    Asbestos PD Trust, and all CDN ZAI PD Claims shall be resolved by and
                    channeled to the CDN ZAI PD Claims Fund in the manner set forth in the
                    CDN ZAI Minutes of Settlement;

               (xx)   The Court shall have entered a Final Order allowing claims for post-
                      petition interest on account of the General Unsecured Claims arising from
                      the Pre-petition Credit Facilities in amounts that are not in excess of the
                      rates set forth in Section 3.1.9(b) of this Plan; and

               (yy)   The Canadian Settlement Approval Order shall have been entered.

               (zz)   As of the Effective Date, pursuant to Section 3.1(a) of the Asbestos PD
                      Trust Agreement, the Class 7B Trustee (as defined in the Asbestos PD
                      Trust Agreement) shall keep segregated the ZAI Trust Assets (as defined
                      in the Asbestos PD Trust Agreement) from the other Asbestos PD Trust
                      Assets at all times, and no non-US ZAI PD Claim or liability of any kind
                      shall ever be satisfied, either voluntarily or involuntarily, with ZAI Trust
                      Assets.

        The Confirmation Order shall be in form and substance acceptable to (a) each of the Plan
Proponents, (b) with respect to any and all findings of fact, conclusions of law, orders, decrees,
provisions, and terms required to be included in the Confirmation Order by, or relating to, the
Sealed Air Settlement Agreement, Sealed Air (provided, however, that any specific findings,
conclusions, orders, decrees, provisions, and terms required to be included in the Confirmation
Order by the Sealed Air Settlement Agreement shall be included in the Confirmation Order as
they appear in the Sealed Air Settlement Agreement) and (c) with respect to any and all findings
of fact, conclusions of law, orders, decrees, provisions, and terms required to be included in the
Confirmation Order by, or relating to, the Fresenius Settlement Agreement, Fresenius (provided,
however, that any specific findings, conclusions, orders, decrees, provisions, and terms required
to be included in the Confirmation Order by the Fresenius Settlement Agreement shall be
included in the Confirmation Order as they appear in the Fresenius Settlement Agreement). This
Plan shall not be confirmed and the Confirmation Order shall not be entered until and unless
each of the foregoing conditions to confirmation is either satisfied or waived by each of the Plan
Proponents with the consent of each of Sealed Air Corporation, Cryovac, Inc., and Fresenius,
with the exception of the following: (1) Sections 7.7(w) and (nn) shall be waiveable by each of
the Plan Proponents with the consent of each of Sealed Air Corporation and Cryovac, Inc., and
without the consent of Fresenius; (2) Sections 7.7(x) and (qq) shall be waiveable by each of the
Plan Proponents with the consent of Fresenius and without the consent of Sealed Air; (3)
Sections 7.7(tt), (uu), and (vv) shall be waiveable by each of the Plan Proponents without the
consent of Sealed Air and Fresenius, and (4) Section 7.7(xx) shall be waiveable only by each of

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the Debtors and the Equity Committee without the consent of the other Plan Proponents, Sealed
Air, and Fresenius.

7.8    CONDITIONS TO OCCURRENCE OF THE EFFECTIVE DATE

        The “effective date of the plan,” as used in Bankruptcy Code § 1129, shall not occur, and
this Plan shall be of no force and effect, until the Effective Date. The occurrence of the Effective
Date is subject to satisfaction of the following conditions precedent:

               (a)     The Court shall have entered the Confirmation Order granting the
                       Asbestos PI Channeling Injunction, the Asbestos PD Channeling
                       Injunction, the Successor Claims Injunction, and the Asbestos Insurance
                       Entity Injunction to take effect as of the Effective Date, and the
                       Confirmation Order shall have become a Final Order and shall have been a
                       Final Order for a minimum of ten Business Days;

               (b)     The District Court shall have entered, issued, or affirmed an order(s)
                       approving each of the Asbestos PI Channeling Injunction, the Asbestos
                       Insurance Entity Injunction, the Successor Claims Injunction, the Asbestos
                       PD Channeling Injunction, and all releases in favor of the Asbestos
                       Protected Parties, in its entirety, and such order(s) shall have become Final
                       Orders;

               (c)     The District Court shall have entered, issued, or affirmed the Confirmation
                       Order, and such order shall have become a Final Order;

               (d)     The Asbestos PI Channeling Injunction, the Asbestos PD Channeling
                       Injunction, the Successor Claims Injunction, the Asbestos Insurance Entity
                       Injunction, and all releases in favor of the Asbestos Protected Parties shall
                       be in full force and effect;

               (e)     Each of the Plan Documents, including each of the exhibits and
                       attachments to the Sealed Air Settlement Agreement and the Fresenius
                       Settlement Agreement, shall have been (i) executed or otherwise finalized,
                       as the case may be, in a form acceptable to each of the Plan Proponents,
                       Sealed Air, and Fresenius, provided, however, that the exhibits and
                       attachments to the Sealed Air Settlement Agreement and the Fresenius
                       Settlement Agreement shall be executed or otherwise finalized in the form
                       attached to the Sealed Air Settlement Agreement and the Fresenius
                       Settlement Agreement (as the case may be), (ii) delivered to Sealed Air
                       and Fresenius, and (iii) where applicable, filed with the appropriate
                       governmental or supervisory authorities;

               (f)     On or before the Effective Date, (i) the SA Debtors, the Asbestos PD
                       Committee and the Asbestos PI Committee shall have executed and
                       delivered the “Release” (as defined in the Sealed Air Settlement
                       Agreement); (ii) the “Government Plaintiff” (as defined in the Sealed Air


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          Settlement Agreement) shall have executed and delivered the
          “Government Release” (as defined in the Sealed Air Settlement
          Agreement); and (iii) the Asbestos PI Committee and the Asbestos PD
          Committee shall have delivered the “Fresenius Release” (as defined in the
          Sealed Air Settlement Agreement), all as provided for in the Sealed Air
          Settlement Agreement. In addition, in consideration for the Cryovac
          Payment, (i) each of the SA Non-Debtor Affiliates shall irrevocably
          release, acquit, and forever discharge the Sealed Air Indemnified Parties
          from any and all (A) present and future Asbestos-Related Claims and/or
          Demands relating thereto and (B) present and future SA Claims, Canadian
          Claims, SA Debts, and SA Damages on the basis of, and arising from, or
          attributable to (in whole or in part, directly or indirectly) the Fresenius
          Transaction that have accrued or been asserted or that hereafter might
          accrue or be asserted against the Sealed Air Indemnified Parties, and (ii)
          each SA Non-Debtor Affiliate shall not institute, participate in, maintain,
          maintain a right to or assert against the Sealed Air Indemnified Parties,
          either directly or indirectly, on its own behalf, derivatively, or on behalf of
          any other Entity, any and all present and future Asbestos-Related Claims
          and/or Demands relating thereto, and any and all present and future SA
          Claims, Canadian Claims, SA Debts, and SA Damages on the basis of,
          arising from, or attributable to (in whole or in part, directly or indirectly)
          the Fresenius Transaction;

    (g)   The Certificate of Incorporation of each of the Debtors, as amended in
          accordance with this Plan, shall have been filed with the secretary of state
          or equivalent agency of its jurisdiction of incorporation;

    (h)   The Exit Financing, in an amount and on such terms satisfactory to the
          Debtors, shall be in full force and effect and available immediately upon
          the occurrence of the Effective Date and after all necessary parties have
          executed the documentation relating thereto;

    (i)   The Debtors shall have obtained either (i) private letter rulings
          establishing that the Asbestos PI Trust and the Asbestos PD Trust are
          “qualified settlement funds” pursuant to section 468B of the IRC, or (ii) an
          opinion of counsel regarding the tax classification of the Asbestos PI Trust
          satisfactory to the Debtors and the Asbestos PI Trust, and an opinion of
          counsel regarding the tax classification of the Asbestos PD Trust
          satisfactory to the Debtors and the Asbestos PD Trust;

    (j)   The Canadian Order shall have been issued by the Canadian Court and the
          time for any appeal with respect to the Canadian Order shall have expired
          and no appeal shall be pending or outstanding;

    (k)   Each of the Sealed Air Settlement Agreement, the Sealed Air Settlement
          Order, the Fresenius Settlement Agreement, and the Fresenius Settlement



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          Order shall be in full force and effect and all of the terms and conditions
          thereunder have been satisfied;

    (l)   The injunctions, releases, and indemnifications set forth in the Fresenius
          Settlement Agreement shall be approved and effected through one or more
          Final Orders subject only to the transfer of the Fresenius Payment;

    (m)   The Asbestos PI Trust Assets shall have been transferred to the Asbestos
          PI Trust and the Asbestos PD Trust Assets shall have been transferred to
          the Asbestos PD Trust;

    (n)   In addition to the Asbestos PI Trust Assets, the Asbestos PI Trust shall
          have received from the Parent or other Debtors: (A) an amount in Cash
          equal to the difference, if any, between (1) five hundred twelve million
          five hundred thousand dollars ($512,500,000), plus interest thereon from
          December 21, 2002 until the Effective Date at a rate of 5.5% per annum
          compounded annually (reduced by the total aggregate amount of Cryovac,
          Inc.’s transfers to the Asbestos PD Trust as part of the Class 7A Initial
          Payment and the Class 7B Initial Payment), and (2) the amount of Cash
          delivered to the Asbestos PI Trust as part of the Cryovac Payment, plus
          (B) the difference, if any, between (i) eighteen million (18,000,000) shares
          of Sealed Air Common Stock (as adjusted for a two-for-one stock split on
          March 16, 2007, and subject to further adjustment to the extent provided
          in the Sealed Air Settlement Agreement) and (ii) the number of such
          shares delivered to the Asbestos PI Trust as part of the Cryovac Payment.
          Upon transfer to the Asbestos PI Trust, such assets shall be treated as
          Asbestos PI Trust Assets for all purposes, and shall be indefeasibly vested
          in the Asbestos PI Trust free and clear of all claims, equity interests,
          Encumbrances, and other interests of any Entity.

    (o)   The Asbestos Insurance Transfer Agreement, the Asbestos PI Deferred
          Payment Agreement, the Class 7A Asbestos PD Deferred Payment
          Agreement, the Class 7B Asbestos PD Deferred Payment Agreement, the
          Grace PI Guaranty, the Grace PD Guarantee Agreement for Class 7A, the
          Grace PD Guarantee Agreement for Class 7B, the Plan Registration Rights
          Agreement, the Share Issuance Agreement, the Asbestos PD/PI Inter-
          Creditor Agreement, the Warrant, and the Warrant Agreement shall have
          been executed and delivered by each of the parties thereto and shall be
          binding, enforceable and in full force and effect;

    (p)   The Sealed Air Action and Fresenius Action shall be dismissed with
          prejudice;

    (q)   The following actions against Fresenius shall have been dismissed with
          prejudice: (1) Mesquita v. W. R. Grace & Co. et al., amended as Abner v.
          W. R. Grace & Co. et al., No. 315465, Superior Court of California,
          County of San Francisco (since transferred to the Bankruptcy Court as


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                      Adv. Pro. No. 01-08883); (2) Woodward v. Sealed Air Corporation (US)
                      et al., No. 01-10547 PBS, U.S. District Court, District of Massachusetts
                      (since transferred to the Bankruptcy Court as Case No. 01-CV-412); and
                      (3) Lewis v. W. R. Grace & Co. et al., U.S. Bankruptcy Court, District of
                      Delaware, Bankruptcy Case No. 01-1139/Adv. Case No. 01-08810; and

               (r)    All payments required under the CDN ZAI Minutes of Settlement (other
                      than any payments, if any, to be made by the Asbestos PI Trust) shall have
                      been made.

               (s)    The Court shall not have entered any order on or before the Effective
                      Date, including as part of the Confirmation Order, which holds that any
                      Claim or any right which may give rise to a Demand, which is included in
                      the definition of either Indirect PD Trust Claim or Indirect PI Trust Claim,
                      is not properly classified as an Asbestos PD Claim or Asbestos PI Claim
                      or is not subject to the Asbestos PD Channeling Injunction or the Asbestos
                      PI Channeling Injunction.

The Effective Date shall not occur unless and until each of the foregoing conditions is either
satisfied or waived by each of the Plan Proponents and expressly waived in writing by each of
the Sealed Air Corporation, Cryovac, Inc., and Fresenius (subject to the absolute discretion of
each). In no event shall the Effective Date occur nor shall Sealed Air Corporation or Cryovac,
Inc. have any obligation to make the Cryovac Payment (including the Asbestos PD Initial
Payment) at any time prior to the satisfaction of each and every one of the conditions specified in
this Section 7.8 without such express written consent by each of Sealed Air Corporation and
Cryovac, Inc. in its absolute discretion. In no event shall the Effective Date occur nor shall
Fresenius have any obligation to make the Fresenius Payment (including the Asbestos PD Initial
Payment) at any time prior to the satisfaction of each and every one of the conditions specified in
this Section 7.8 without such express written consent by Fresenius in its absolute discretion.
Notice of the occurrence of the Effective Date reflecting that the foregoing conditions have been
satisfied or waived shall: (i) be signed by each of the Plan Proponents and, in the case of a
waiver, by each of Sealed Air Corporation, Cryovac, Inc. and Fresenius, (ii) state the date of the
Effective Date, and (iii) be Filed with the Bankruptcy Court by counsel to the Debtors. No
waiver shall be effective unless it complies with the requirements of this provision.

7.9    MANAGEMENT OF THE REORGANIZED DEBTORS

        On and after the Effective Date, the business and affairs of the Reorganized Debtors will
be managed by their respective Boards of Directors or equivalent thereof. Upon the Effective
Date, the Board of Directors of the Reorganized Parent shall be composed of at least five (5)
directors. The members of the Board of Directors of the Reorganized Parent shall be persons
identified to the Court prior to the Confirmation Hearing.

7.10   CORPORATE ACTION

       On the Effective Date, the approval and effectiveness of matters provided under this Plan
involving the corporate structure of the Reorganized Debtors or corporate action by the

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Reorganized Debtors shall be deemed to have occurred and to have been authorized, and shall be
in effect from and after the Effective Date without requiring further action under applicable law,
regulation, order, or rule, including any action by the stockholders or directors of the Debtors,
the Debtors in Possession, or the Reorganized Debtors.

7.11   EFFECTUATING DOCUMENTS AND FURTHER TRANSACTIONS

        Each of the officers of the Debtors and the Reorganized Debtors is authorized and
directed to execute, deliver, file, or record such contracts, instruments, releases, indentures, and
other agreements or documents and to take such actions as may be necessary or appropriate, for
and on behalf of the Debtors and the Reorganized Debtors, to effectuate and further evidence the
terms and conditions of this Plan, the transactions contemplated by this Plan, and any securities
issued pursuant to this Plan.

7.12   ALLOCATION OF PLAN DISTRIBUTIONS BETWEEN PRINCIPAL AND
       INTEREST

        To the extent that any Allowed Plan Claim entitled to a Distribution under this Plan
consists of indebtedness and accrued but unpaid interest thereon, such Distribution shall, for
federal income tax purposes, be allocated first to the principal amount of the Plan Claim and
then, to the extent the Distribution exceeds the principal amount of the Plan Claim, to the
accrued but unpaid interest.

7.13   NO SUCCESSOR LIABILITY

        Except as otherwise expressly provided in this Plan, the Debtors, the Reorganized
Debtors, the Asbestos PI Committee, the Asbestos PD Committee, the Asbestos PI FCR, the
Asbestos PD FCR, the CCAA Representative Counsel, and the Asbestos Protected Parties will
not, pursuant to this Plan or otherwise, assume, agree to perform, pay, or indemnify creditors or
otherwise have any responsibilities for any liabilities or obligations of the Debtors or any of the
Debtors’ past or present Affiliates, as such liabilities or obligations may relate to or arise out of
the operations of or assets of the Debtors or any of the Debtors’ past or present Affiliates or any
of their respective successors, whether arising prior to, or resulting from actions, events, or
circumstances occurring or existing at any time prior to the Confirmation Date. Neither the
Asbestos Protected Parties, the Reorganized Debtors, the Asbestos PI Trust, the Asbestos PD
Trust, nor the CDN ZAI PD Claims Fund is, or shall be, a successor to the Debtors or any of the
Debtors’ past or present Affiliates by reason of any theory of law or equity, and none shall have
any successor or transferee liability of any kind or character, except that the Reorganized
Debtors, the Asbestos PI Trust, the Asbestos PD Trust, and the CDN ZAI PD Claims Fund shall
assume the obligations specified in this Plan and the Confirmation Order, or Asbestos Insurance
Reimbursement Agreement.

        Except as otherwise expressly provided in this Plan, effective automatically on the
Effective Date, the Asbestos Protected Parties shall be unconditionally, irrevocably and fully
released from (a) any and all Asbestos-Related Claims, including (i) any and all Successor
Claims based on or arising from, in whole or in part, directly or indirectly, or related to the
Cryovac Transaction and (ii) any and all Asbestos Claims, (b) any and all SA Claims, SA Debts,

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SA Damages, including Successor Claims, based on, arising from, or attributable to (in whole or
in part, directly or indirectly) the Fresenius Transaction, and (c) any other claims and causes of
action arising under Chapter 5 of the Bankruptcy Code or similar claims or causes of action
arising under state or any other law, including, if applicable, claims in the nature of fraudulent
transfer, successor liability, corporate veil piercing, or alter ego-type claims, as a consequence of
transactions, events, or circumstances involving or affecting the Debtors (or any of their
predecessors) or any of their respective businesses or operations that occurred or existed prior to
the Effective Date. Notwithstanding the foregoing, nothing herein shall release any Asbestos
Insurance Entity from its obligations under any Asbestos Insurance Settlement Agreement or
Asbestos In-Place Insurance Coverage.

7.14   DEEMED CONSOLIDATION OF THE DEBTORS FOR PLAN PURPOSES
       ONLY

       Subject to the occurrence of the Effective Date, the Debtors shall be deemed consolidated
under this Plan for Plan purposes only. Each and every Claim Filed or to be Filed against any of
the Debtors shall be deemed Filed against the deemed consolidated Debtors and shall be deemed
one Claim against and obligation of the deemed consolidated Debtors.

        Such deemed consolidation, however, shall not (other than for purposes related to
funding Distributions under this Plan and as set forth above in this Section 7.14) affect: (i) the
legal and organizational structure of the Debtors; (ii) any Encumbrances that are required to be
maintained under this Plan (A) in connection with executory contracts or unexpired leases that
were entered into during the Chapter 11 Cases or that have been or will be assumed, (B) pursuant
to this Plan, or (C) in connection with any Exit Financing; (iii) the Sealed Air Settlement
Agreement; and (iv) the Fresenius Settlement Agreement.

        Notwithstanding anything contained in this Plan to the contrary, the deemed
consolidation of the Debtors shall not have any effect on any of the Plan Claims being reinstated
and left unimpaired under this Plan, and the legal, equitable, and contractual rights to which the
Holders of any such Plan Claims are entitled shall be left unaltered by this Plan.

7.15   INSURANCE NEUTRALITY

        (a)    Except to the extent provided in this Section 7.15, notwithstanding anything to the
contrary in the Confirmation Order, the Plan or any of the Plan Documents, nothing in the
Confirmation Order, the Plan or any of the Plan Documents (including any other provision that
purports to be preemptory or supervening), shall in any way operate to, or have the effect of,
impairing any Asbestos Insurance Entity’s legal, equitable or contractual rights, if any, in any
respect.

       (b)    The Plan, the Plan Documents, and the Confirmation Order shall be binding on
the Debtors, the Reorganized Debtors, the Asbestos PI Trust and the beneficiaries of the
Asbestos PI Trust. The obligations, if any, of the Asbestos PI Trust to pay holders of Asbestos
PI Claims shall be determined pursuant to the Plan, the Plan Documents, and the Confirmation
Order.


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       (c)    Except as provided in this Section 7.15, the rights of Asbestos Insurance Entities
shall be determined under the Asbestos Insurance Policies, Asbestos In-Place Insurance
Coverage, Asbestos Insurance Reimbursement Agreements, or Asbestos Insurance Settlement
Agreements, as applicable.

        (d)     Nothing in the Plan or the Plan Documents shall affect or limit, or be construed as
affecting or limiting, the protection afforded to any Settled Asbestos Insurance Company by the
Asbestos PI Channeling Injunction.

       (e)    Nothing in this Section 7.15 is intended or shall be construed to preclude
otherwise applicable principles of res judicata or collateral estoppel from being applied against
any Asbestos Insurance Entity with respect to any issue that is actually litigated by such
Asbestos Insurance Entity as part of its objections, if any, to confirmation of the Plan or as part
of any contested matter or adversary proceeding filed in conjunction with or related to
confirmation of the Plan. Plan objections that are withdrawn prior to the beginning of the
Confirmation Hearing shall be deemed not to have been actually litigated.

        (f)   Except as otherwise provided in this Section 7.15, nothing in the Plan, the Plan
Documents, the Confirmation Order, or any finding of fact and/or conclusion of law with respect
to the confirmation or consummation of the Plan shall limit the right, if any, of any Asbestos
Insurance Entity, in any Asbestos Insurance Action, to assert any Asbestos Insurer Coverage
Defense.

        (g)    Notwithstanding the provisions of this Section 7.15, Asbestos Insurance Entities
shall be bound by the Court’s findings and conclusions that, under the Bankruptcy Code, the
transfer of rights under the Asbestos Insurance Transfer Agreement is valid and enforceable
against each Asbestos Insurance Entity notwithstanding any anti-assignment provision in or
incorporated into any Asbestos Insurance Policy, Asbestos In-Place Insurance Coverage,
Asbestos Insurance Reimbursement Agreement, Asbestos Insurance Settlement Agreement or
applicable non-bankruptcy law.

         (h)    The Asbestos Insurance Entities shall be subject to the releases and injunctions to
the extent described in this Plan, and this Section 7.15 is not intended nor shall it be construed to
limit the protections afforded to the Sealed Air Indemnified Parties or the Fresenius Indemnified
Parties by such releases and injunctions or to allow the Asbestos Insurance Entities to undertake
any action against any of the Sealed Air Indemnified Parties or the Fresenius Indemnified Parties
that is contrary to such releases and/or injunctions.

        (i)      If an Asbestos Insurance Entity that is not a Settled Asbestos Insurance Company
asserts that it has rights of contribution, indemnity, reimbursement, subrogation, or other similar
claims (collectively, for purposes of this Section 7.15(i), “Contribution Claims”) against a
Settled Asbestos Insurance Company, (a) such Contribution Claims may be asserted as a defense
or offset against the Asbestos PI Trust or the Reorganized Debtors (as applicable) in any
Asbestos Insurance Action including such Asbestos Insurance Entity that is not a Settled
Asbestos Insurance Company, and the Asbestos PI Trust or the Reorganized Debtors (as
applicable) may assert the legal or equitable rights, if any, of the Settled Asbestos Insurance


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Entity, and (b) to the extent such Contribution Claim is determined to be valid, pursuant to a
Final Order, the liability (if any) of such Asbestos Insurance Entity that is not a Settled Asbestos
Insurance Company to the Asbestos PI Trust or the Reorganized Debtors (as applicable) shall be
reduced by the amount of such Contribution Claim.

       (j)    Asbestos Insurance Entities that are parties to Asbestos Insurance Reimbursement
Agreements shall be bound by the provisions of Section 7.2.2(d)(iv) with respect to such
Asbestos Insurance Reimbursement Agreements.

                                     ARTICLE 8
                        INJUNCTIONS, RELEASES & DISCHARGE


8.1    DISCHARGE

        8.1.1   Discharge of the Debtors and Related Discharge Injunction

        The rights afforded in this Plan and the treatment of all Claims, Plan Claims, Demands
and Equity Interests herein shall be in exchange for and shall discharge all Claims, Plan Claims,
Demands and Equity Interests of any nature whatsoever, including any interest accrued thereon
from and after the Petition Date, against the Debtors and the Debtors in Possession, or their
assets, properties, or interests in property. Except as otherwise provided herein, on the Effective
Date, all Claims, Plan Claims, Demands against, and Equity Interests in the Debtors and the
Debtors in Possession shall be discharged. The Reorganized Debtors shall not be responsible for
any obligations of the Debtors or the Debtors in Possession except those expressly assumed by
the Reorganized Debtors pursuant to this Plan. All Entities shall be precluded and forever barred
from asserting against the Debtors and the Reorganized Debtors, or their assets, properties, or
interests in property any other or further Claims, Plan Claims, or Demands based upon any act or
omission, transaction, or other activity, event, or occurrence of any kind or nature that occurred
prior to the Effective Date, whether or not the facts of or legal bases therefor were known or
existed prior to the Effective Date, except as expressly provided in this Plan.

        With respect to any debts discharged by operation of law under Bankruptcy Code §§
524(a) and 1141, the discharge of the Debtors operates as an injunction against the
commencement or continuation of an action, the employment of process, or an act, to collect,
recover, or offset any such debt as a personal liability of the Debtors, whether or not the
discharge of such debt is waived; provided, however, that the obligations of the Reorganized
Debtors under this Plan and the other Plan Documents to be entered into on the Effective Date
are not so discharged.

        8.1.2   Discharge of Liabilities to Holders of Asbestos PI Claims

        The transfer to, vesting in, and assumption by the Asbestos PI Trust of the Asbestos PI
Trust Assets as contemplated by this Plan, among other things, shall discharge the Debtors, the
Reorganized Debtors and their Representatives for and in respect of all Asbestos PI Claims,
subject to the reservations listed in Section 8.2.2 herein. On the Effective Date, the Asbestos PI
Trust shall assume the liabilities of the Debtors with respect to all Asbestos PI Claims and shall

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pay Asbestos PI Claims entitled to payment in accordance with the Asbestos PI Trust Agreement
and the Asbestos PI TDP.

        8.1.3   Discharge of Liabilities to Holders of Asbestos PD Claims

        The transfer to, vesting in, and assumption by the Asbestos PD Trust of the Asbestos PD
Trust Assets as contemplated by this Plan, among other things, shall discharge the Debtors, the
Reorganized Debtors and their Representatives for and in respect of all Asbestos PD Claims,
subject to the reservations listed in Section 8.3.2 herein. On the Effective Date, the Asbestos PD
Trust shall assume the liabilities of the Debtors with respect to all Asbestos PD Claims and shall
pay Asbestos PD Claims entitled to payment in accordance with the Asbestos PD Trust
Agreement and any Final Orders of the Bankruptcy Court allowing such claims.

        8.1.4   Discharge of Liabilities to Holders of CDN ZAI PD Claims

        The transfer to, vesting in, and assumption by the CDN ZAI PD Claims Fund of the CDN
ZAI PD Claims as contemplated by the CDN ZAI Minutes of Settlement and this Plan, among
other things, shall discharge the Debtors, the Reorganized Debtors and their Representatives for
and in respect of all CDN ZAI PD Claims, subject to the reservations listed in Section 8.3.2
herein. On the Effective Date, the CDN ZAI PD Claims Fund shall assume the liabilities of the
Debtors with respect to all CDN ZAI PD Claims and shall pay CDN ZAI PD Claims entitled to
payment in accordance with the terms of the CDN ZAI Minutes of Settlement.

        8.1.5   Disallowed Claims and Disallowed Equity Interests

        On and after the Effective Date, the Debtors, the Reorganized Debtors and their
Representatives shall be fully and finally discharged of any liability or obligation on a
Disallowed Claim or Disallowed Equity Interest, and any order creating a Disallowed Claim that
is not a Final Order as of the Effective Date solely because of an Entity’s right to move for
reconsideration of such order pursuant to Bankruptcy Code § 502 or Bankruptcy Rule 3008 shall
nevertheless become and be deemed to be a Final Order on the Effective Date.

        8.1.6   Non-Dischargeable ERISA Liability

       The Parent is a controlled group member within the meaning of 29 U.S.C. § 1301(a)(14)
and may also be a contributing sponsor of one or more ongoing, defined benefit pension plans to
which Title IV of the ERISA applies (the “Pension Plans”). The Debtors intend that the
Reorganized Parent will continue to be the continuing sponsor of the Pension Plans. Each of the
Pension Plans is a defined benefit pension plan insured by the Pension Benefit Guaranty
Corporation (“PBGC”) under ERISA. The Pension Plans are subject to minimum funding
requirements of ERISA and section 412 of the IRC. Should the Pension Plans be underfunded
and should the Pension Plans terminate, the PBGC may assert claims for the underfunding, for
any unpaid minimum funding contributions owed the Pension Plan, and for any unpaid
premiums owed the PBGC.




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        Nothing contained in this Plan, the Confirmation Order, the Bankruptcy Code (including
Bankruptcy Code § 1141), or any other document Filed in the Chapter 11 Cases shall be
construed to discharge, release or relieve the Debtors, or any other party, in any capacity, from
any liability or responsibility to the PBGC with respect to the Pension Plans under any law,
governmental policy, or regulatory provision. The PBGC shall not be enjoined or precluded
from enforcing such liability or responsibility, as a result of any of the provisions of this Plan
(including those provisions providing for exculpation, satisfaction, release, and discharge of
Claims), the Confirmation Order, the Bankruptcy Code (including Bankruptcy Code § 1141), or
any other document Filed in the Chapter 11 Cases. Notwithstanding the foregoing, neither the
PBGC nor any other Entity shall assert any liability or responsibility with respect to the Pension
Plans under any law, governmental policy or regulatory provisions against, and such liability or
responsibility shall not attach to, the Asbestos PI Trust or any of the Asbestos PI Trust Assets or
the Asbestos PD Trust or any of the Asbestos PD Trust Assets.

8.2    THE ASBESTOS PI CHANNELING INJUNCTION

        In order to supplement, where necessary, the injunctive effect of the discharge provided
by Bankruptcy Code §§ 1141, 524(a), and 105 and as described in this Article 8, and pursuant
to the exercise of the equitable jurisdiction and power of the Court under Bankruptcy Code §
524(g), the Confirmation Order shall provide for issuance of the Asbestos PI Channeling
Injunction to take effect as of the Effective Date.

        8.2.1 Asbestos PI Channeling Injunction

        On and after the Effective Date, the sole recourse of the Holder of an Asbestos PI Claim
or a Successor Claim arising out of or based on any Asbestos PI Claim on account thereof shall
be to the Asbestos PI Trust pursuant to the provisions of the Asbestos PI Channeling Injunction
and the Asbestos PI TDP and such Holder shall have no right whatsoever at any time to assert its
Asbestos PI Claim or Successor Claim arising out of or based on any Asbestos PI Claim against
the Debtors, Reorganized Debtors, any other Asbestos Protected Party, or any property or
interest (including any Distributions made pursuant to this Plan) in property of the Debtors, the
Reorganized Debtors, or any other Asbestos Protected Party. Without limiting the foregoing,
from and after the Effective Date, the Asbestos PI Channeling Injunction shall apply to all
present and future Holders of Asbestos PI Claims or Successor Claims arising out of or based on
any Asbestos PI Claim, and all such Holders permanently and forever shall be stayed, restrained,
and enjoined from taking any and all legal or other actions or making any Demand against any
Asbestos Protected Party or any property or interest (including Distributions made pursuant to
this Plan) in property of any Asbestos Protected Party for the purpose of, directly or indirectly,
claiming, collecting, recovering, or receiving any payment, recovery, satisfaction, or any other
relief whatsoever on, of, or with respect to any Asbestos PI Claims or Successor Claims arising
out of or based on any Asbestos PI Claims other than from the Asbestos PI Trust in accordance
with the Asbestos PI Channeling Injunction and pursuant to the Asbestos PI Trust Agreement
and the Asbestos PI TDP, including:

               (a)    commencing, conducting, or continuing in any manner, directly or
                      indirectly, any suit, action, or other proceeding (including a judicial,
                      arbitration, administrative, or other proceeding) in any forum against or

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                     affecting any Asbestos Protected Party, or any property or interest in
                     property of any Asbestos Protected Party;

               (b)   enforcing, levying, attaching (including any prejudgment attachment),
                     collecting, or otherwise recovering by any means or in any manner,
                     whether directly or indirectly, any judgment, award, decree, or other order
                     against any Asbestos Protected Party, or any property or interest in
                     property of any Asbestos Protected Party;

               (c)   creating, perfecting, or otherwise enforcing in any manner, directly or
                     indirectly, any Encumbrance against any Asbestos Protected Party, or any
                     property or interest in property of any Asbestos Protected Party;

               (d)   setting off, seeking reimbursement of, indemnification or contribution
                     from, or subrogation against, or otherwise recouping in any manner,
                     directly or indirectly, any amount against any liability owed to any
                     Asbestos Protected Party, or any property or interest in property of any
                     Asbestos Protected Party; and

               (e)   proceeding in any other manner with regard to any matter that is subject to
                     resolution pursuant to the Asbestos PI Trust, except in conformity and
                     compliance with the Asbestos PI Trust Agreement and the Asbestos PI
                     TDP.

       8.2.2    Reservations from Asbestos PI Channeling Injunction

      Notwithstanding anything to the contrary in Section 8.2.1 above, the Asbestos PI
Channeling Injunction issued pursuant to Section 8.2.1 shall not enjoin:

               (a)   the rights of Entities to the treatment accorded them under this Plan,
                     including the rights of Entities with Asbestos PI Claims to assert such
                     Asbestos PI Claims in accordance with the Asbestos PI TDP;

               (b)   the rights of Entities to assert any claim, debt, obligation or liability for
                     payment of expenses of the Asbestos PI Trust solely against the Asbestos
                     PI Trust or the Asbestos PI Trust Assets;

               (c)   the rights of the Asbestos PI Trust and, to the extent permitted by the
                     Asbestos Insurance Transfer Agreement, the Insurance Contributors, to
                     prosecute any cause of action or to assert any Claim, Demand, debt,
                     obligation, or liability for payment against any Entity (but not the Sealed
                     Air Indemnified Parties or the Fresenius Indemnified Parties), including
                     any Asbestos Insurance Entity, based on or arising from the Asbestos
                     Insurance Rights; and




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               (d)    the rights of the Asbestos PI Trust and, to the extent permitted by the
                      Asbestos Insurance Transfer Agreement, the Insurance Contributors, to
                      receive any settlement, award, payment of cash or other property of any
                      kind whatsoever from any Entity (but not the Sealed Air Indemnified
                      Parties or the Fresenius Indemnified Parties) including any Asbestos
                      Insurance Entity in satisfaction of any Asbestos Insurance Rights.

        Except as otherwise expressly provided in this Plan, the Sealed Air Settlement
Agreement, or the Fresenius Settlement Agreement, nothing contained in this Plan shall
constitute or be deemed a waiver of any claim, right, or cause of action that the Debtors, the
Reorganized Debtors, or the Asbestos PI Trust may have against any Entity in connection with or
arising out of or based on any Asbestos PI Claim. Notwithstanding anything to the contrary in
this Section 8.2.2, in any other provision of this Plan, or in any Plan Document (including the
Asbestos PI Trust Agreement and the Asbestos PI TDP), and for the avoidance of any doubt,
following the transfer to the Asbestos PI Trust of the Cryovac Payment (reduced by the total
aggregate amount of transfers to the Asbestos PD Trust by or on behalf of Cryovac, Inc. as part
of the Class 7A Initial Payment and the Class 7B Initial Payment), (i) no Entity shall have any
right to enforce any provision of this Plan relating to the Cryovac Payment or the payment
thereof against any of the Sealed Air Indemnified Parties or any property or interest (including
any Distributions made pursuant to this Plan) in property of any of the Sealed Air Indemnified
Parties and (ii) the sole recourse of a Holder of an Asbestos PI Claim against any of the Sealed
Air Indemnified Parties or a Successor Claim arising out of or based on any Asbestos PI Claim
on account thereof, shall be to the Asbestos PI Trust, and such Holder shall have no right
whatsoever at any time to assert its Asbestos PI Claim or Successor Claim arising out of or based
on any Asbestos PI Claim against any of the Sealed Air Indemnified Parties or any property or
interest (including any Distributions made pursuant to this Plan) in property of any of the Sealed
Air Indemnified Parties. Notwithstanding anything to the contrary in this Section 8.2.2, in any
other provision of this Plan, or in any Plan Document (including the Asbestos PI Trust and the
Asbestos PI TDP), and for the avoidance of any doubt, following the transfer to the Asbestos PI
Trust of the Fresenius Payment (reduced by the total aggregate amount of transfers to the
Asbestos PD Trust by or on behalf of Fresenius as part of the Class 7A Initial Payment and the
Class 7B Initial Payment), (i) no Entity shall have any right to enforce any provision of this Plan
relating to the Fresenius Payment or the payment thereof against any of the Fresenius
Indemnified Parties or any property or interest (including any Distributions made pursuant to this
Plan) in property of any of the Fresenius Indemnified Parties and (ii) the sole recourse of a
Holder of an Asbestos PI Claim against any of the Fresenius Indemnified Parties or a Successor
Claim arising out of or based on any Asbestos PI Claim on account thereof, shall be to the
Asbestos PI Trust, and such Holder shall have no right whatsoever at any time to assert its
Asbestos PI Claim or Successor Claim arising out of or based on any Asbestos PI Claim against
any of the Fresenius Indemnified Parties or any property or interest (including any Distributions
made pursuant to this Plan) in property of any of the Fresenius Indemnified Parties.

8.3    THE ASBESTOS PD CHANNELING INJUNCTION

        In order to supplement, where necessary, the injunctive effect of the discharge provided
by Bankruptcy Code §§ 1141, 524(a), and 105 and as described in this Article 8, and pursuant
to the exercise of the equitable jurisdiction and power of the Court under Bankruptcy Code §

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524(g), the Confirmation Order shall provide for issuance of the Asbestos PD Channeling
Injunction to take effect as of the Effective Date.

        8.3.1 Asbestos PD Channeling Injunction

        On and after the Effective Date, (1) the sole recourse of the Holder of an Asbestos PD
Claim or a Successor Claim arising out of or based on any Asbestos PD Claim on account
thereof shall be to the Asbestos PD Trust; and (2) the sole recourse of a Holder of a CDN ZAI
PD Claim or a Successor Claim arising out of or based on any CDN ZAI PD Claim, shall be as
set forth in the CDN ZAI Minutes of Settlement, pursuant to the provisions of the Asbestos PD
Channeling Injunction and any Final Orders of the Bankruptcy Court allowing such claims, and
such Holders shall have no right whatsoever at any time to assert their Asbestos PD Claim,
Successor Claim arising out of or based on any Asbestos PD Claim, CDN ZAI PD Claim, or
Successor Claim arising out of or based on any CDN ZAI PD Claim against the Debtors,
Reorganized Debtors, any other Asbestos Protected Party, or any property or interest (including
any Distributions made pursuant to this Plan) in property of the Debtors, the Reorganized
Debtors, or any other Asbestos Protected Party. Without limiting the foregoing, from and after
the Effective Date, the Asbestos PD Channeling Injunction shall apply to all present and future
Holders of Asbestos PD Claims, Successor Claims arising out of or based on any Asbestos PD
Claim, CDN ZAI PD Claims, and Successor Claims arising out of or based on any CDN ZAI PD
Claims, and all such Holders permanently and forever shall be stayed, restrained, and enjoined
from taking any and all legal or other actions or making any Demand for the purpose of, directly
or indirectly, claiming, collecting, recovering, or receiving any payment, recovery, satisfaction,
or any other relief whatsoever on, of, or with respect to any Asbestos PD Claims, Successor
Claims arising out of or based on any Asbestos PD Claims, CDN ZAI PD Claims, or Successor
Claims arising out of or based on any CDN ZAI PD Claim other than from the Asbestos PD
Trust in accordance with the Asbestos PD Channeling Injunction and pursuant to the Asbestos
PD Trust Agreement in the case of Asbestos PD Claims or in accordance with the Asbestos PD
Channeling Injunction and pursuant to the CDN ZAI Minutes of Settlement in the case of CDN
ZAI PD Claims, including:

               (a)    commencing, conducting, or continuing in any manner, directly or
                      indirectly, any suit, action, or other proceeding (including a judicial,
                      arbitration, administrative, or other proceeding) in any forum against or
                      affecting any Asbestos Protected Party, or any property or interest in
                      property of any Asbestos Protected Party;

               (b)    enforcing, levying, attaching (including any prejudgment attachment),
                      collecting, or otherwise recovering by any means or in any manner,
                      whether directly or indirectly, any judgment, award, decree, or other order
                      against any Asbestos Protected Party, or any property or interest in
                      property of any Asbestos Protected Party;

               (c)    creating, perfecting, or otherwise enforcing in any manner, directly or
                      indirectly, any Encumbrance against any Asbestos Protected Party, or any
                      property or interest in property of any Asbestos Protected Party;


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                (d)   setting off, seeking reimbursement of, indemnification or contribution
                      from, or subrogation against, or otherwise recouping in any manner,
                      directly or indirectly, any amount against any liability owed to any
                      Asbestos Protected Party, or any property or interest in property of any
                      Asbestos Protected Party; and

                (e)   proceeding in any other manner with regard to any matter that is subject to
                      resolution pursuant to the Asbestos PD Trust, except in conformity and
                      compliance with the Asbestos PD Trust Agreement in the case of Asbestos
                      PD Claims, or proceeding in any other manner with regard to any matter
                      that is subject to resolution pursuant to the CDN ZAI Minutes of
                      Settlement in the case of CDN ZAI PD Claims.

        8.3.2    Reservations from Asbestos PD Channeling Injunction

      Notwithstanding anything to the contrary in Section 8.3.1 above, the Asbestos PD
Channeling Injunction issued pursuant to Section 8.3.1 shall not enjoin:

                (a)   the rights of Entities to the treatment accorded them under this Plan,
                      including the rights of Entities with Asbestos PD Claims to assert such
                      Asbestos PD Claims in accordance with the PD Settlement Agreements,
                      the Class 7A Case Management Order or the ZAI TDP, and the rights of
                      Entities with CDN ZAI PD Claims to assert such CDN ZAI PD Claims in
                      accordance with the provisions set forth in the CDN ZAI Minutes of
                      Settlement. For the avoidance of doubt, such rights shall include the rights
                      of an Entity holding an Allowed Asbestos PD Claim under a PD
                      Settlement Agreement to enforce the provisions of this Plan which
                      contemplate that on the Effective Date, the Asbestos PD Initial Payment
                      will be made to the Asbestos PD Trust in an amount sufficient to permit
                      the Asbestos PD Trust to make all payments, in full, on account of and as
                      required by PD Settlement Agreements as contemplated by this Plan; and

                (b)   the rights of Entities to assert any claim, debt, obligation or liability for
                      payment of expenses of the Asbestos PD Trust solely against the Asbestos
                      PD Trust or the Asbestos PD Trust Assets.

        Except as otherwise expressly provided in this Plan, the Sealed Air Settlement
Agreement, or the Fresenius Settlement Agreement, nothing contained in this Plan shall
constitute or be deemed a waiver of any claim, right, or cause of action that the Debtors, the
Reorganized Debtors, or the Asbestos PD Trust may have against any Entity in connection with
or arising out of or based on any Asbestos PD Claim or CDN ZAI PD Claim. Notwithstanding
anything to the contrary in this Section 8.3.2, in any other provision of this Plan, or in any Plan
Document (including the Asbestos PD Trust Agreement, the CDN ZAI Minutes of Settlement,
the ZAI TDP, and the Class 7A Case Management Order), and for the avoidance of any doubt,
following the transfer to the Asbestos PD Trust of Cryovac, Inc.’s share of the Asbestos PD


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Initial Payment by or on behalf of Cryovac, Inc., (i) no Entity shall have any right to enforce any
provision of this Plan relating to the Asbestos PD Initial Payment or the payment thereof against
any of the Sealed Air Indemnified Parties or any property or interest (including any Distributions
made pursuant to this Plan) in property of any of the Sealed Air Indemnified Parties and (ii) the
sole recourse of a Holder of an Asbestos PD Claim or CDN ZAI PD Claim against any of the
Sealed Air Indemnified Parties or a Successor Claim arising out of or based on any Asbestos PD
Claim or CDN ZAI PD Claim on account thereof, shall be to the Asbestos PD Trust or as set
forth in the CDN ZAI Minutes of Settlement (as applicable), and such Holder shall have no right
whatsoever at any time to assert its Asbestos PD Claim, CDN ZAI PD Claim, or Successor
Claim arising out of or based on any Asbestos PD Claim or CDN ZAI PD Claim against any of
the Sealed Air Indemnified Parties or any property or interest (including any Distributions made
pursuant to this Plan) in property of any of the Sealed Air Indemnified Parties. Notwithstanding
anything to the contrary in this Section 8.3.2, in any other provision of this Plan, or in any Plan
Document (including the Asbestos PD Trust Agreement, the CDN ZAI Minutes of Settlement,
the ZAI TDP, and the Class 7A Case Management Order), and for the avoidance of any doubt,
following the transfer to the Asbestos PD Trust of Fresenius’ share of the Asbestos PD Initial
Payment by or on behalf of Fresenius, (i) no Entity shall have any right to enforce any provision
of this Plan relating to the Asbestos PD Initial Payment or the payment thereof against any of the
Fresenius Indemnified Parties or any property or interest (including any Distributions made
pursuant to this Plan) in property of any of the Fresenius Indemnified Parties and (ii) the sole
recourse of a Holder of an Asbestos PD Claim or CDN ZAI PD Claim against any of the
Fresenius Indemnified Parties or a Successor Claim arising out of or based on any Asbestos PD
Claim or CDN ZAI PD Claim on account thereof, shall be to the Asbestos PD Trust or as set
forth in the CDN ZAI Minutes of Settlement (as applicable), and such Holder shall have no right
whatsoever at any time to assert its Asbestos PD Claim, CDN ZAI PD Claim, or Successor
Claim arising out of or based on any Asbestos PD Claim or CDN ZAI PD Claim against any of
the Fresenius Indemnified Parties or any property or interest (including any Distributions made
pursuant to this Plan) in property of any of the Fresenius Indemnified Parties.

8.4    ASBESTOS INSURANCE ENTITY INJUNCTION

       Pursuant to the exercise of the equitable jurisdiction and power of the Court under
Bankruptcy Code § 105(a), the Confirmation Order shall provide for issuance of the Asbestos
Insurance Entity Injunction to take effect as of the Effective Date.

        8.4.1   Asbestos Insurance Entity Injunction

           8.4.1.1    Injunction for the Benefit of the Asbestos PI Trust

                (a)    All Entities that have held or asserted, that hold or assert, or that may in
the future hold or assert, any claim or cause of action against any Asbestos Insurance Entity,
based upon, or arising out of, any Asbestos PI Claim against the Debtors or any Asbestos
Insurance Rights, whenever and wherever arisen or asserted (including all claims in the nature of
or sounding in tort, or under contract, warranty, or any other theory of law, equity, or admiralty)
shall be stayed, restrained, and enjoined from taking any action for the purpose of directly or
indirectly claiming, collecting, recovering, or receiving any payment, recovery, satisfaction, or


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any other relief whatsoever on, of, or with respect to any such claim or cause of action,
including:

                            (i)       commencing, conducting, or continuing, in any manner,
                      directly or indirectly, any suit, action, or other proceeding (including a
                      judicial, arbitration, administrative, or other proceeding in any forum)
                      against or affecting any Asbestos Insurance Entity, or any property or
                      interest in property of any Asbestos Insurance Entity;

                            (ii)      enforcing, levying, attaching (including any prejudgment
                      attachment), collecting, or otherwise recovering by any means or in any
                      manner, whether directly or indirectly, any judgment, award, decree, or
                      other order against any Asbestos Insurance Entity, or any property or
                      interest in property of any Asbestos Insurance Entity;

                           (iii)     creating, perfecting, or otherwise enforcing in any manner,
                      directly or indirectly, any Encumbrance against any Asbestos Insurance
                      Entity, or any property or interest in property of any Asbestos Insurance
                      Entity;

                           (iv)      setting off, seeking reimbursement of, indemnification or
                      contribution from, or subrogation against, or otherwise recouping in any
                      manner, directly or indirectly, any amount against any liability owed to
                      any Asbestos Insurance Entity, or any property or interest in property of
                      any Asbestos Insurance Entity; and

                            (v)       proceeding in any other manner with regard to any matter
                      that is subject to resolution pursuant to the Asbestos PI Trust, except in
                      conformity and compliance with the Asbestos PI Trust Agreement, the
                      Asbestos PI TDP, and the appropriate Asbestos Insurance Settlement
                      Agreements.

                (b)     The Asbestos PI Trust shall have the sole and exclusive authority at any
time to terminate, reduce or limit the scope of, the Asbestos Insurance Entity Injunction issued
pursuant to Section 8.4.1.1 as it may apply to any Asbestos Insurance Entity upon express
written notice to that Asbestos Insurance Entity; and

                (c)   The Asbestos Insurance Entity Injunction is not issued for the benefit of
any Asbestos Insurance Entity, and no Asbestos Insurance Entity is or may become a third-party
beneficiary of the Asbestos Insurance Entity Injunction.

           8.4.1.2    Reservations from the Injunction for the Benefit of the Asbestos PI
                      Trust

       Notwithstanding anything to the contrary in Section 8.4.1.1 above, the Asbestos
Insurance Entity Injunction issued pursuant to Section 8.4.1.1 shall not enjoin:


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                   (a) the rights of any Entity to the treatment accorded it under this Plan;

                   (b) the rights of the Asbestos PI Trust or, to the extent provided in the
                       Asbestos Insurance Transfer Agreement, any of the Insurance
                       Contributors, to prosecute any cause of action or to assert any claim,
                       demand, debt, obligation, or liability for payment against any Entity (but
                       not the Sealed Air Indemnified Parties or the Fresenius Indemnified
                       Parties), including any Asbestos Insurance Entity or any property or
                       interest in property of any Asbestos Insurance Entity, based on or arising
                       from the Asbestos Insurance Rights for the Asbestos PI Trust’s benefit;
                       and

                   (c) the rights of the Asbestos PI Trust or, to the extent provided in the
                       Asbestos Insurance Transfer Agreement, any of the Insurance
                       Contributors, to receive any settlement, award, payment of Cash or other
                       property of any kind whatsoever from any Entity (but not the Sealed Air
                       Indemnified Parties or the Fresenius Indemnified Parties), including any
                       Asbestos Insurance Entity or any property or interest in property of any
                       Asbestos Insurance Entity, in satisfaction of any Asbestos Insurance
                       Rights that the Asbestos PI Trust or any of the Insurance Contributors
                       may have against any of the foregoing.

8.5    SUCCESSOR CLAIMS INJUNCTION

       Pursuant to the exercise of the equitable jurisdiction and power of the Court under
Bankruptcy Code § 105(a), the Confirmation Order shall provide for issuance of the Successor
Claim Injunction to take effect as of the Effective Date.

         8.5.1 Injunction

        All Entities that have held or asserted, that hold or assert, or that may in the future hold or
assert, any Successor Claim based on or arising from, in whole or in part, directly or indirectly,
the Cryovac Transaction or Fresenius Transaction (other than Successor Claims arising out of or
based on any Asbestos PI Claim, Asbestos PD Claim, or CDN ZAI PD Claim) against any
Asbestos Protected Party shall be stayed, restrained, and enjoined from taking any and all legal
or other actions or making any demand for the purpose of directly or indirectly claiming,
collecting, recovering, or receiving any payment, recovery, satisfaction, or any other relief
whatsoever on, of, or with respect to any such Successor Claim, including:

                 (a)   commencing, conducting, or continuing in any manner, directly or
                       indirectly, any suit, action, or other proceeding (including a judicial,
                       arbitration, administrative, or other proceeding) in any forum against or
                       affecting any Asbestos Protected Party, or any property or interest in
                       property of any Asbestos Protected Party;



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                (b)    enforcing, levying, attaching (including any prejudgment attachment),
                       collecting, or otherwise recovering by any means or in any manner,
                       whether directly or indirectly, any judgment, award, decree, or other order
                       against any Asbestos Protected Party, or any property or interest in
                       property of any Asbestos Protected Party;

                (c)    creating, perfecting, or otherwise enforcing in any manner, directly or
                       indirectly, any Encumbrance against any Asbestos Protected Party, or any
                       property or interest in property of any Asbestos Protected Party;

                (d)    setting off, seeking reimbursement of, indemnification or contribution
                       from, or subrogation against, or otherwise recouping in any manner,
                       directly or indirectly, any amount against any liability owed to any
                       Asbestos Protected Party, or any property or interest in property of any
                       Asbestos Protected Party; and

                (e)    proceeding in any other manner with regard to any Successor Claim based
                       on or arising from, in whole or in part, directly or indirectly, the Cryovac
                       Transaction or Fresenius Transaction (other than Successor Claims arising
                       out of or based on any Asbestos PI Claim, Asbestos PD Claim, or CDN
                       ZAI PD Claim).

8.6    INJUNCTIONS AND RELEASES RELATED TO THE SEALED                                          AIR
       INDEMNIFIED PARTIES AND FRESENIUS INDEMNIFIED PARTIES

        As required by the Sealed Air Settlement Agreement, the Sealed Air Settlement Order,
the Fresenius Settlement Agreement, and the Fresenius Settlement Order, the injunctions and
releases outlined in this Plan, including the Asbestos PI Channeling Injunction and Asbestos PD
Channeling Injunction provided under Bankruptcy Code § 524(g) and the Successor Claims
Injunction provided under Bankruptcy Code § 105(a), shall absolutely and unequivocally extend
to and protect the Sealed Air Indemnified Parties and the Fresenius Indemnified Parties.

8.7    TERM OF CERTAIN INJUNCTIONS AND AUTOMATIC STAY

        8.7.1 Injunctions and/or Automatic Stays in Existence Immediately prior to
        Confirmation

       All of the injunctions and/or automatic stays provided for in or in connection with the
Chapter 11 Cases, whether pursuant to Bankruptcy Code §§ 105, 362, or any other provision of
the Bankruptcy Code or other applicable law, in existence immediately prior to the
Confirmation Date shall remain in full force and effect until the injunctions set forth in this Plan
become effective, and thereafter if so provided by this Plan, the Confirmation Order, or by their
own terms. In addition, on and after the Confirmation Date, the Reorganized Debtors or the
Plan Proponents, acting together, may seek such further orders as they may deem necessary or
appropriate to preserve the status quo during the time between the Confirmation Date and the
Effective Date.


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        8.7.2   Injunctions Provided for in this Plan

        Each of the injunctions provided for in this Plan shall become effective on the Effective
Date and shall continue in effect at all times thereafter unless otherwise provided by this Plan.
Notwithstanding anything to the contrary contained in this Plan, all actions in the nature of those
to be enjoined by such injunctions shall be enjoined during the period between the Confirmation
Date and the Effective Date.

8.8    ADDITIONAL RELEASES AND INDEMNIFICATION

        8.8.1   Release of Sealed Air Indemnified Parties

       On or prior to the Effective Date, (i) the SA Debtors, the Asbestos PD Committee, and the
Asbestos PI Committee shall execute and deliver the “Release” (as defined in the Sealed Air
Settlement Agreement); (ii) the “Government Plaintiff” (as defined in the Sealed Air Settlement
Agreement) shall execute and deliver the “Government Release” (as defined in the Sealed Air
Settlement Agreement); and (iii) the Asbestos PI Committee and the Asbestos PD Committee
shall deliver the “Fresenius Release” (as defined in the Sealed Air Settlement Agreement), all as
provided for in the Sealed Air Settlement Agreement. In addition, in consideration for the
Cryovac Payment, each of the SA Non-Debtor Affiliates shall irrevocably release, acquit, and
forever discharge the Sealed Air Indemnified Parties from any and all present and future
Asbestos-Related Claims and Demands related thereto and any and all present and future SA
Claims, Canadian Claims, SA Debts, and SA Damages on the basis of, and arising from, or
attributable to (in whole or in part, directly or indirectly) the Fresenius Transaction that have
accrued or been asserted or that hereafter might accrue or be asserted against the Sealed Air
Indemnified Parties, and that each Non-Debtor Affiliate shall not institute, participate in,
maintain, maintain a right to or assert against the Sealed Air Indemnified Parties, either directly
or indirectly, on its own behalf, derivatively, or on behalf of any other Entity any and all present
and future Asbestos-Related Claims and Demands related thereto, and any and all claims
present and future SA Claims, Canadian Claims, SA Debts, and SA Damages on the basis of,
arising from, or attributable to (in whole or in part, directly or indirectly) the Fresenius
Transaction.

      The SA Debtors and the Reorganized Debtors shall defend, indemnify, and hold harmless
each of the Sealed Air Indemnified Parties as provided in, and to the extent set forth, in the
Sealed Air Settlement Agreement.

        The SA Debtors shall, jointly and severally, at their sole expense, indemnify, defend, and
hold harmless the Sealed Air Indemnified Parties from and against (1) any and all present and
future Asbestos-Related Claims and Demands related thereto and all SA Indemnified Taxes, (2)
any and all losses, costs, and expenses incurred as a result of any breach of any of the SA
Debtors’ or SA Non-Debtor Affiliates’ obligations, covenants, and agreements set forth or
referred to in the Sealed Air Settlement Agreement, including any such obligation, covenant, or
agreement of any SA Debtor or SA Non-Debtor Affiliates set forth in the Plan or Confirmation
Order, (3) if any SA Non-Debtor Affiliate has not executed and delivered a “Release” (as defined
in the Sealed Air Settlement Agreement), any and all Asbestos-Related Claims and Demands


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related thereto based on, arising out of, or attributable to, directly or indirectly, in whole or in
part, such SA Non-Debtor Affiliate and (4) any and all attorneys’ fees or costs and expenses
attributable to any “SA Indemnity Claim” (as defined in Section 7.7(hh) above); provided,
however, that in each case such indemnification shall not apply to “Excluded Fees” (as defined in
the Sealed Air Settlement Agreement) and provided, further, that nothing in the Sealed Air
Settlement Agreement or this Plan, shall adversely affect any rights of any Entity to file and
pursue, or object to, a proof of claim for Excluded Fees in the Chapter 11 Cases.

       Each SA Debtor shall execute and deliver an indemnity agreement in favor of the
Released Parties in the form annexed as Exhibit 6 to the Sealed Air Settlement Agreement. The
SA Debtors’ Indemnity Obligation (and the obligations, covenants, and agreements of each of
the SA Debtors and SA Non-Debtor Affiliates set forth or referred to in the Sealed Air
Settlement Agreement, including any such obligation, covenant, or agreement of any SA Debtor
or SA Non-Debtor Affiliate set forth in the Plan or Confirmation Order) shall not be discharged,
expunged, estimated, or otherwise adversely affected in or by the Chapter 11 Cases or by the
confirmation of the Plan.

       The SA Debtors’ Indemnity Obligation (and the obligation, covenants, and agreements of
each of the SA Debtors and SA Non-Debtor Affiliates set forth or referred to in the Sealed Air
Settlement Agreement, including any such obligation, covenant, or agreement of any SA Debtor
or SA Non-Debtor Affiliate set forth in the Plan or Confirmation Order) shall continue
unaffected as a post-confirmation obligation of each of the Reorganized Debtors.

         8.8.2 Reservation of Rights With Respect to Cryovac Transaction Contractual
         Obligations

        Notwithstanding anything to the contrary in this Plan, any of the Plan Documents, or the
Confirmation Order, nothing in this Plan, any of the Plan Documents, or the Confirmation Order
(including any other provision that purports to be preemptory or supervening) shall in any way
operate to, or have the effect of, impairing or limiting the contractual rights, obligations, and
defenses of any of the Sealed Air Indemnified Parties or the Debtors and the Non-Debtor
Affiliates with respect to outstanding claims arising out of the interpretation or application of the
documents governing the Cryovac Transaction. All such contractual rights, obligations, and
defenses shall survive confirmation and the Debtors’ discharge and remain fully effective and
enforceable after the Effective Date.

         8.8.3   Release of Fresenius Indemnified Parties

        Upon receipt of the Fresenius Payment, the Debtors, the Reorganized Debtors, the
Asbestos PI Committee, and the Asbestos PD Committee will each fully, finally and forever
release, relinquish and discharge each and every Fresenius Indemnified Party from any and all
Grace-Related Claims, including, for the avoidance of doubt, claims and causes of action under
chapter 5 of the Bankruptcy Code or similar claims or causes of action under state or any other
law, that the Debtors, the Reorganized Debtors, the Asbestos PI Committee or the Asbestos PD
Committee have asserted or could have asserted in the Bankruptcy Court or any other forum
against any of the Fresenius Indemnified Parties and the release that is attached as Appendix B to


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the Fresenius Settlement Agreement shall become effective. Upon receipt of the Fresenius
Payment, in addition to the more limited duties of indemnification by the Debtors to the
Fresenius Indemnified Parties under Article III of the Fresenius Settlement Agreement, the
Debtors and the Reorganized Debtors shall indemnify, defend and hold harmless the Fresenius
Indemnified Parties as provided in and to the extent set forth in the Fresenius Settlement
Agreement. Without limiting the foregoing, pursuant to Section 3.05 of the Fresenius Settlement
Agreement, the Debtors and the Reorganized Debtors shall indemnify, defend and hold harmless
the Fresenius Indemnified Parties from Fresenius Indemnified Taxes and, to the extent provided
in the Fresenius Settlement Agreement, any and all losses, costs, and expenses incurred as a
result of any breach of the Estate Parties’ obligations, covenants, and agreements set forth or
referred to in the Fresenius Settlement Agreement.

         8.8.4   Assumption of 1998 Tax Sharing Agreement and Section 4.04 of the TSIA

        (a)    The Confirmation Order shall constitute an order authorizing the assumption by
each of the Debtors of the 1998 Tax Sharing Agreement. The 1998 Tax Sharing Agreement
shall be an assumed agreement of each of the Debtors (including Grace New York and Grace-
Conn) pursuant to 11 U.S.C. § 365 and nothing contained in, or contemplated by, this Plan, the
Confirmation Order, or the Sealed Air Settlement Agreement shall adversely affect the rights of
the Debtors, Sealed Air Corporation or any of their Affiliates under the 1998 Tax Sharing
Agreement.

        (b)    The Confirmation Order shall constitute an order authorizing the assumption by
each of the Debtors of Section 4.04 of the TSIA. Section 4.04 of the TSIA shall be an assumed
agreement of each of the Debtors (including Grace New York and Grace-Conn) pursuant to 11
U.S.C. § 365 and nothing contained in, or contemplated by, this Plan, the Confirmation Order, or
the Fresenius Settlement Agreement shall adversely affect the rights of the Debtors, Fresenius or
any of their Affiliates under Section 4.04 of the TSIA.

         8.8.5 Effect of the Fresenius Settlement Agreement, the Fresenius Settlement
         Order, and the Sealed Air Settlement Agreement.

        Notwithstanding anything to the contrary in this Plan, any of the Plan Documents, or the
Confirmation Order, nothing in this Plan, any of the Plan Documents, or the Confirmation Order
(including any other provision that purports to be preemptory or supervening) shall in any way
operate to, or have the effect of, impairing or limiting the legal, equitable, or contractual rights or
obligations of the Sealed Air Indemnified Parties, the Fresenius Indemnified Parties, or the
Debtors, the Reorganized Debtors, the other Estate Parties, and the Non-Debtor Affiliates,
respectively, pursuant to the Sealed Air Settlement Agreement, the Sealed Air Settlement Order,
the Fresenius Settlement Agreement or the Fresenius Settlement Order, as applicable, each of
which is expressly made a part of this Plan and incorporated in this Plan by reference.




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        8.8.6   Release of Avoidance Actions.

        Effective as of the Effective Date, the Debtors and the Reorganized Debtors fully, finally
and forever release, relinquish and discharge each and every claim, cause of action, or right of
the Debtors, the Reorganized Debtors or any of them, arising under the Bankruptcy Code,
including any avoidance or recovery actions under sections 544, 545, 547, 548, 549, 550, 551
and 553 of the Bankruptcy Code, or under any similar state statutes, which seek recovery of or
with respect to any payment by, or transfer of any interest in property of, any of the Debtors or
the Debtors in Possession on account of an Asbestos PI Claim, Asbestos PD Claim, or CDN ZAI
PD Claim, or any claim that would have constituted an Asbestos PI Claim, Asbestos PD Claim,
or CDN ZAI PD Claim had such payment or transfer not been made. Notwithstanding the
foregoing, the release provided in this Section 8.8.6 shall supplement the other releases and
injunctions provided by the Debtors and Reorganized Debtors to the Sealed Air Indemnified
Parties and the Fresenius Indemnified Parties pursuant to this Plan and nothing in this Section
8.8.6 in any way limits or modifies, nor shall be construed to in any way limit or modify, the
scope of such releases.

        8.8.7   Specific Releases by Holders of Claims or Equity Interests.

        Without limiting any other provisions of this Plan, each Holder of a Claim or Equity
Interest who votes in favor of this Plan shall be deemed to unconditionally have released the
Asbestos Protected Parties, the Unsecured Creditors’ Committee, the Asbestos PI Committee, the
Asbestos PD Committee, the Equity Committee, Asbestos PI FCR, and the Asbestos PD FCR,
and each such party’s Representatives, as of the Effective Date, from any and all claims, SA
Claims, SA Damages, obligations, rights, suits, judgments, damages, causes of action, remedies,
and liabilities of any nature whatsoever, whether known or unknown, foreseen or unforeseen,
matured or unmatured, existing or hereafter arising, in law, equity, or otherwise, that such Holder
would have been legally entitled to assert in its own right (whether individually or collectively),
based in whole or in part upon any act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date in any way relating or pertaining to, the
Debtors or the Reorganized Debtors, their operations on or before the Effective Date, their
respective property, the Chapter 11 Cases, or the negotiation, formulation, and preparation of this
Plan or any related agreements, instruments, or other documents. In addition to the foregoing,
each Holder of a Claim or Equity Interest who receives or retains any property under this Plan
shall also be deemed to unconditionally release the Fresenius Indemnified Parties to the same
extent as the release in the preceding sentence. This section is not intended to preclude a
Governmental Unit from enforcing its police and regulatory powers.

        8.8.8   Release by Debtors and Estate Parties.

        Effective as of the Confirmation Date, but subject to the occurrence of the Effective Date,
for good and valuable consideration, to the fullest extent permissible under applicable law, each
Debtor, in its individual capacity and as a debtor-in-possession for and on behalf of its estate and
its Affiliates, and the Reorganized Debtors on their own behalf and as representatives of their
respective estates and their Affiliates, and their respective successors, assigns and any and all


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Entities who may purport to claim by, through, for or because of them, are hereby deemed to
release and waive conclusively, absolutely, unconditionally, irrevocably, and forever each and all
of the Debtors’ and their Non-Debtor Affiliates’ Representatives and their respective properties
(the “Released Parties”), from any and all claims, obligations, rights, suits, damages, remedies,
liabilities, or causes of action in any manner arising from, based on, or relating to, in whole or in
part, the Debtors, the Debtors’ property, the Chapter 11 Cases, the purchase, sale, or rescission of
the purchase or sale of any security of the Debtors, the subject matter of, or the transactions or
events giving rise to, any Claim or Interest that is treated in this Plan, the restructuring of Claims
and Interests prior to or in the Chapter 11 Cases, the negotiation, formulation, or preparation of
the Plan and the Disclosure Statement, or related agreements, instruments, or other documents,
involving any act, omission, transaction, agreement, occurrence, or event taking place on or
before the Effective Date, other than any act or omission of a Released Party that constitutes
willful misconduct. Any act or omission taken with the approval of the Bankruptcy Court will
be conclusively deemed not to constitute willful misconduct.

         8.8.9 Indemnification of Representatives of the Debtors and Non-Debtor
         Affiliates.

        The Reorganized Debtors will defend, indemnify, and hold harmless to the fullest extent
permitted by applicable law, all Representatives of the Debtors, and all Representatives of the
Non-Debtor Affiliates, on and after the Effective Date for all claims, obligations, rights, suits,
damages, causes of action, remedies, and liabilities whatsoever that are purported to be released
pursuant to Sections 8.8.7 and 8.8.8 herein. Nothing herein is intended to, and shall not, alter in
any way the rights of the present and/or former officers and/or directors of the Debtors and the
Non-Debtor Affiliates, under the Debtors’ By-Laws and/or Certificate of Incorporation, and the
Non-Debtor Affiliates’ applicable bylaws and/or certificates of incorporation, whatever those
rights may be.

         8.8.10 Indemnification of Reorganized Debtors and Their Representatives by the
         Asbestos PI Trust.

        From and after the Effective Date, the Asbestos PI Trust shall protect, defend, indemnify
and hold harmless, to the fullest extent permitted by applicable law each of the Reorganized
Debtors and their Representatives from and against: (a) any and all Asbestos PI Claims or
Successor Claims arising out of or based on any Asbestos PI Claim to the extent they are subject
to the Asbestos PI Channeling Injunction, together with any and all related Damages, (b) any and
all Damages relating to Asbestos PI Claims or Successor Claims purported to be covered by the
Asbestos PI Channeling Injunction, to the extent that such Asbestos PI Claims or Successor
Claims are brought in jurisdictions outside of the United States of America or are not otherwise,
for any reason, subject to the Asbestos PI Channeling Injunction, (c) any and all claims or
Damages arising out of, resulting from, or attributable to, directly or indirectly, the assignment,
transfer or other provision to the Asbestos PI Trust of the Asbestos Insurance Rights, and (d) any
and all claims or Damages arising out of Asbestos PI Claims, to the extent such Claims or
Damages are based upon claims brought by, on behalf of or in the name of the Asbestos PI Trust
on account of or derived from the Asbestos PI Trust Assets; provided however, that
notwithstanding the foregoing, none of the Reorganized Debtors nor any of their Representatives


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shall be entitled to be protected, defended, indemnified or held harmless from any criminal
proceeding or any claims or Damages arising out of, resulting from, or attributable to, directly or
indirectly, the criminal proceeding styled United States v. W. R. Grace & Co., et al., Case No.
CR-05-07-M-DWM (D. Mont.) or any similar or related proceeding or any settlement thereof. If
there shall be pending any claim against the Asbestos PI Trust for indemnification under this
Section 8.8.10, the Asbestos PI Trust shall maintain sufficient assets (as determined in good faith
by the Asbestos PI Trustees of the Asbestos PI Trust) to fund any payments in respect of that
claim for indemnification. For purposes of this Section only, “Damages” to any Entity covered
by the indemnity in this Section 8.8.10 shall mean any cost, damage (including any
consequential, exemplary, punitive, or treble damage) or expense (including reasonable fees and
actual disbursements by attorneys, consultants, experts, or other Representatives and costs of
litigation) imposed upon that Entity. The Reorganized Debtors shall provide prompt notice to
the Asbestos PI Trust upon becoming aware of the basis for any claim for indemnification under
this Section 8.8.10.

        8.8.11 Indemnification of the Reorganized Debtors and Their Representatives by
        the Asbestos PD Trust.

        From and after the Effective Date, the Asbestos PD Trust shall protect, defend, indemnify
and hold harmless, to the fullest extent permitted by applicable law each of the Reorganized
Debtors and their Representatives from and against: (a) any and all Asbestos PD Claims or
Successor Claims arising out of or based on any Asbestos PD Claim to the extent they are
subject to the Asbestos PD Channeling Injunction, together with any and all related Damages, (b)
any and all Damages relating to Asbestos PD Claims or Successor Claims purported to be
covered by the Asbestos PD Channeling Injunction, to the extent that such Asbestos PD Claims
or Successor Claims are brought in jurisdictions outside of the United States of America (other
than Canada) or are not otherwise, for any reason, subject to the Asbestos PD Channeling
Injunction, and (c) any and all claims or Damages arising out of Asbestos PD Claims, to the
extent such Claims or Damages are based upon claims brought by, on behalf of or in the name of
the Asbestos PD Trust on account of or derived from the Asbestos PD Trust Assets; provided
however, that notwithstanding the foregoing, none of the Reorganized Debtors nor any of their
Representatives shall be entitled to be protected, defended, indemnified or held harmless from
any criminal proceeding or any claims or Damages arising out of, resulting from, or attributable
to, directly or indirectly, the criminal proceeding styled United States v. W. R. Grace & Co., et
al., Case No. CR-05-07-M-SWM (D. Mont.) or any similar or related proceeding or any
settlement thereof. If there shall be pending any claim against the Asbestos PD Trust for
indemnification under this Section 8.8.11, the Asbestos PD Trust shall maintain sufficient assets
(as determined in good faith by the Asbestos PD Trustees of the Asbestos PD Trust) to fund any
payments in respect of that claim for indemnification. For purposes of this Section only,
“Damages” to any Entity covered by the indemnity in this Section 8.8.11 shall mean any cost,
damage (including any consequential, exemplary, punitive, or treble damage) or expense
(including reasonable fees and actual disbursements by attorneys, consultants, experts, or other
Representatives and costs of litigation) imposed upon that Entity. The Reorganized Debtors
shall provide prompt notice to the Asbestos PD Trust upon becoming aware of the basis for any
claim for indemnification under this Section 8.8.11.



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                                  ARTICLE 9
                      EXECUTORY CONTRACTS, UNEXPIRED
                   LEASES, LETTERS OF CREDIT, SURETY BONDS,
                COMPENSATION, INDEMNITY AND BENEFIT PROGRAMS


9.1    ASSUMPTION OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        9.1.1    Assumption Generally.

        Except for (i) executory contracts and unexpired leases that the Debtors reject prior to the
Effective Date or designate (on a list set forth in Exhibit 18 in the Exhibit Book) as being subject
to rejection in connection with the Effective Date; (ii) the TSIA which shall be terminated
(except for Section 4.04) upon the effective date of the Fresenius Settlement Agreement; and (iii)
agreements, to the extent executory, that create an obligation of the Debtors to reimburse or
indemnify third parties with respect to Asbestos PI Claims, Asbestos PD Claims or CDN ZAI PD
Claims (other than all Asbestos Insurance Policies, Asbestos Insurance Settlement Agreements,
Asbestos In-Place Insurance Coverage, and Asbestos Insurance Reimbursement Agreements, to
the extent they are executory, and the 1998 Tax Sharing Agreement), all executory contracts and
unexpired leases (including all Asbestos Insurance Policies, Asbestos Insurance Settlement
Agreements, Asbestos In-Place Insurance Coverage, and Asbestos Insurance Reimbursement
Agreements, to the extent they are executory; the 1998 Tax Sharing Agreement; and the cost
sharing agreement between the Debtors, Unifirst Corporation, and Beatrice Company, dated
November 16, 1990 and described at Section 2.8.2 of the Disclosure Statement) not previously
assumed by the Debtors pursuant to Bankruptcy Code § 365 shall be deemed to have been
assumed by the Reorganized Debtors on the Effective Date, and this Plan shall constitute a
motion to assume such executory contracts and unexpired leases as of the Effective Date.

        9.1.2    Assumption Procedures.

        Subject to the occurrence of the Effective Date, entry of the Confirmation Order shall
constitute express approval of the assumption of the executory contracts and unexpired leases
described in Section 9.1.1 pursuant to Bankruptcy Code § 365(a) and a finding by the
Bankruptcy Court that each such assumption is in the best interests of the Debtors, their estates,
and all parties in interest in the Chapter 11 Cases.

        Not later than twenty (20) days after entry of the Confirmation Order, the Debtors will
File with the Bankruptcy Court an exhibit (the “Cure Exhibit”) setting forth those executory
contracts and unexpired leases which are being assumed by the Debtors and as to which the
Debtors believe that cure amounts are owing, together with the respective cure amounts due for
each such executory contract or assumed lease. The Debtors shall serve the Cure Exhibit on
each non-Debtor party to an executory contract or unexpired lease being assumed pursuant to the
Plan, including those listed on such exhibit. If there is a dispute regarding (i) the nature or
amount of any cure, (ii) the ability of a Reorganized Debtor or assignee to provide “adequate
assurance of future performance” (within the meaning of section 365 of the Bankruptcy Code)
under the contract or lease to be assumed or (iii) any other matter pertaining to assumption, cure
will occur following the entry of a Final Order resolving the dispute and approving the

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assumption. With respect to any executory contracts or unexpired leases which are being
assumed by the Debtors but as to which the Debtors contend that no cure amounts are due, such
executory contracts and unexpired leases will not be included on the Cure Exhibit.

       Not later than twenty (20) days after the Filing and service of the Cure Exhibit, the non-
Debtor party to any executory contract or unexpired lease that the Debtors propose to assume,
whether or not listed on the Cure Exhibit, may dispute the cure amount, if any, set forth by the
Debtors on the Cure Exhibit pursuant to Section 9.1.1 of the Plan, assert that a cure amount
should be owing with respect to any executory contract or unexpired lease that is being assumed,
or otherwise object to the assumption of the executory contract or unexpired lease indicated in
Section 9.1.1 of the Plan by Filing a written objection with the Bankruptcy Court and serving
such objection on counsel for the Debtors.

       If no objection to the cure amount or the proposed assumption is properly Filed and
served within twenty (20) days after the Filing and service of the Cure Exhibit then (i) the
proposed assumption of the executory contract or unexpired leases shall be deemed approved
without further action of the Bankruptcy Court in accordance with the Plan and the Confirmation
Order, effective as of the Effective Date, and (ii) the cure amount, if any, identified by the
Debtors in the Cure Exhibit shall be fixed and shall be paid in full in Cash on the Effective Date
or on such other terms as are agreed to by the parties to such executory contract or unexpired
lease.

        If an objection to the cure amount or the proposed assumption is properly Filed and
served within twenty (20) days after the Filing and service of the Cure Exhibit, then the Debtors
or Reorganized Debtors, as applicable, and the objecting party may resolve such objection by
stipulation, without further action of the Bankruptcy Court. If the parties are unable to resolve
such objection, then: (i) the Debtors or Reorganized Debtors may file a reply to such objection
no later than thirty (30) days after the Filing and service of such objection and ask the
Bankruptcy Court to schedule a hearing on the particular objection and the related reply at an
appropriate time; or (ii) the Debtors or Reorganized Debtors, as applicable, may designate the
executory contract or unexpired lease underlying such objection for rejection pursuant to Section
9.1.3 of the Plan.

       Executory contracts and unexpired leases previously assumed by the Debtors during the
case pursuant to Bankruptcy Code § 365 shall be governed by and subject to the provisions of
the order of the Court authorizing the assumption thereof.

        9.1.3   Rejection of Certain Executory Contracts and Unexpired Leases.

        On the Effective Date, each executory contract and unexpired lease listed on Exhibit 18
in the Exhibit Book shall be rejected pursuant to section 365 of the Bankruptcy Code. Each
contract and lease listed on Exhibit 18 shall be rejected only to the extent that such contract or
lease constitutes an executory contract or unexpired lease. Listing a contract or lease on Exhibit
18 shall not constitute an admission by the Debtors or Reorganized Debtors that such contract or
lease is an executory contract or unexpired lease or that the Debtors or Reorganized Debtors
have any liability thereunder. Subject to the occurrence of the Effective Date, entry of the


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Confirmation Order shall constitute an order of the Bankruptcy Court approving such rejection
pursuant to section 365 of the Bankruptcy Code and a finding by the Bankruptcy Court that each
such rejection is in the best interests of the Debtors, their estates, and all parties in interest in the
Chapter 11 Cases.

        The Debtors shall have the right until ten (10) days prior to the Effective Date to modify
the list of rejected contracts included in Exhibit 18 in the Exhibit Book to add executory
contracts or leases (but not the 1998 Tax Sharing Agreement or any Asbestos Insurance Policy,
Asbestos Insurance Settlement Agreement, Asbestos In-Place Insurance Coverage, or Asbestos
Insurance Reimbursement Agreements) or remove executory contracts or leases (but not
Section 4.04 of the TSIA addressed in Section 8.8.4(b) of this Plan), provided that the Debtors
shall file a notice with the Bankruptcy Court and serve each affected party with such notice.
Notwithstanding the foregoing, such affected parties shall not be entitled to any Administrative
Expense Claim for any executory contracts or leases added to the list of rejected contracts and
will only be entitled to a Claim for rejection damages.

        To the extent executory, all agreements that create an obligation of the Debtors to
reimburse or indemnify third parties (other than the Sealed Air Indemnified Parties or the
Fresenius Indemnified Parties) with respect to Asbestos PI Claims, Asbestos PD Claims or CDN
ZAI PD Claims (other than Asbestos Insurance Policies, Asbestos Insurance Settlement
Agreements, Asbestos In-Place Insurance Coverage, Asbestos Insurance Reimbursement
Agreements, or the 1998 Tax Sharing Agreement to the extent any are executory) shall be
deemed rejected by operation of entry of the Confirmation Order, subject to the occurrence of the
Effective Date, unless expressly identified and assumed pursuant to the Plan, a Plan Document,
or an order of the Bankruptcy Court.

        Pursuant to the terms of the March 2003 Bar Date Order and Bankruptcy Rule
3002(c)(4), and except as otherwise ordered by the Bankruptcy Court, a proof of claim for each
Claim arising from the rejection of an executory contract or unexpired lease pursuant to this Plan
shall be Filed with the Bankruptcy Court within thirty (30) days of the later of: (i) the date of
service of the Notice of Confirmation Date, or (ii) the Effective Date. Any Claims not Filed
within such applicable time period shall be forever barred from assertion. Except with respect to
Claims arising from the rejection of an executory contract or unexpired lease that creates an
obligation of the Debtors to reimburse or indemnify third parties with respect to Asbestos PI
Claims, Asbestos PD Claims or CDN ZAI PD Claims, all Claims for damages arising from the
rejection of an executory contract or unexpired lease shall be included in Class 9 and shall be
treated in accordance with Article 3 herein. All Claims for damages arising from the rejection of
an agreement that creates an obligation of the Debtors to reimburse or indemnify third parties
with respect to Asbestos PI Claims, Asbestos PD Claims or CDN ZAI PD Claims shall be
included in Class 6, Class 7 or Class 8, respectively, and shall be treated in accordance with
Article 3 herein.

9.2     LETTERS OF CREDIT AND SURETY BONDS

       Letters of credit related to the Debtors’ post-petition credit facilities will be refinanced
upon emergence from the Chapter 11 Cases. All other letters of credit and surety bonds on
account of non-asbestos claims will remain in place and become obligations of the Reorganized

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Debtors. Claims arising under letters of credit and surety bonds issued or provided on account of
Asbestos PI Claims will be treated as Indirect PI Trust Claims and will be channeled to the
Asbestos PI Trust. Claims arising under letters of credit and surety bonds issued or provided on
account of Asbestos PD Claims will be treated as Indirect PD Trust Claims and will be
channeled to the Asbestos PD Trust. Notwithstanding any other provision in this Plan, the
Disclosure Statement or any other document prepared in connection with the Chapter 11 Cases,
nothing shall affect the right of the plaintiffs in Sheldon H. Solow v. W. R. Grace & Co., No.
2453/88 (NY Sup. Ct.) to execute on and recover in satisfaction of the judgment in that case in
accordance with state law against any entity that issued a surety bond to secure payment of that
judgment, or any successor to such entity.

        Nothing in Article 9 shall (i) constitute a reinstatement, continuation, or assumption of
any warranty provision, guaranty, or any other contractual or other obligation, Demand, or Plan
Claim by the Reorganized Debtors to the extent that the Plan Claim, Demand, or obligation
constitutes an Asbestos PI Claim, or (ii) limit, restrict, or otherwise impair the releases afforded
to the Sealed Air Indemnified Parties and the Fresenius Indemnified Parties that are granted
elsewhere in this Plan or Plan Documents.

9.3    COMPENSATION, INDEMNITY AND BENEFIT PROGRAM

        9.3.1   Employee Benefits.

        From and after the Effective Date, the Reorganized Debtors intend to continue their
existing employee compensation, indemnity agreements, and benefit plans, programs, and
policies, and to cure any defaults that may exist under such agreements, plans, programs, and
policies, including payment of the Debtors’ voluntary supplemental pension payments which
were limited during the pendency of these Chapter 11 Cases, subject to any rights to amend,
modify, or terminate such benefits under the terms of the applicable compensation and benefit
plan, other agreement, or applicable nonbankruptcy law.

        It is also anticipated that after the Effective Date, the Reorganized Debtors may award
special cash bonuses of up to an aggregate of $6 million to a select group of key executives in
recognition of their contributions during the Chapter 11 Cases, including substantially
increasing the revenues and enterprise value of the Grace group and successfully leading the
Debtors’ reorganization efforts. The amount and allocation of such bonus awards will be
determined after the Effective Date by the Board of Directors of the Reorganized Parent.

       In addition, on the Effective Date, the Reorganized Parent’s Board of Directors will
have the authority to grant stock incentive awards to the management of the Reorganized
Debtors and to other key employees, and to the Board of Directors of the Reorganized Debtors
pursuant to the Stock Incentive Plan.

        9.3.2   Retiree Benefits.

        From and after the Effective Date, the Reorganized Debtors intend to continue to pay
retiree benefits (as defined in section 1114(a) of the Bankruptcy Code) and any similar health,
disability, or death benefits in accordance with the terms of the retiree benefit plans or other

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agreements governing the payment of such benefits, subject to any rights to amend, modify, or
terminate such benefits under the terms of the applicable retiree benefits plan, other agreement,
or applicable nonbankruptcy law.

         9.3.3   Workers’ Compensation Benefits.

        From and after the Effective Date, the Reorganized Debtors, in their sole discretion, may
continue to pay valid Workers’ Compensation Claims, subject to any rights to amend, modify,
or terminate such benefits pursuant to applicable nonbankruptcy law.

ARTICLE 10
RETENTION OF JURISDICTION

        Pursuant to Bankruptcy Code §§ 105(a), 524(a), 1141(d), and 1142, the Bankruptcy
Court shall retain and shall have exclusive jurisdiction over any matter (i) arising under the
Bankruptcy Code, (ii) arising in or related to the Chapter 11 Cases or this Plan, or (iii) that
relates to the following, provided that the District Court shall retain jurisdiction for such matters
to which the automatic reference to the Bankruptcy Court has been withdrawn or to the extent
required by law:

10.1    PLAN DOCUMENTS

       To interpret, enforce, and administer the terms of the Plan Documents and all annexes
and exhibits thereto.

10.2    EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        To hear and determine any and all motions or applications for the assumption and/or
assignment or rejection of (i) executory contracts, (ii) unexpired leases, (iii) letters of credit, (iv)
surety bonds, (v) guaranties (which for purposes of this Section include contingent liabilities
arising in connection with assigned executory contracts and unexpired leases), or (vi) written
indemnity agreements with respect to letters of credit, surety bonds or guaranties existing as of
the Effective Date to which the Debtors are parties or with respect to which the Debtors may be
liable that are: (A) pending on the Confirmation Date or (B) within the time period described in
Section 9.1 of this Plan, and to review and determine all Claims resulting from the expiration or
termination of any executory contract or unexpired lease prior to the Confirmation Date.

10.3    DISPUTED CLAIMS ALLOWANCE/DISALLOWANCE

        To hear and determine any objections to: (i) the allowance of Plan Claims (other than
Asbestos PI Claims and any Successor Claims arising out of or based on any Asbestos PI
Claims), including any objections to the classification of any Claim; and (ii) the allowance or
disallowance of any Disputed Claim in whole or in part, including Asbestos PD Claims pursuant
to the Class 7A Case Management Order contemplated by Section 3.1.7 of this Plan.




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10.4   ENFORCEMENT/MODIFICATION OF THIS PLAN AND THE RELEASES,
       INJUNCTIONS AND DISCHARGE PROVIDED UNDER THE PLAN

        (a)    To enforce the discharge, releases, and injunctions provided under the Plan,
including with respect to the assertion by any Entity after the Effective Date of claims or causes
of action that are discharged, released, or enjoined pursuant to the Plan and the Confirmation
Order;

        (b)    To make all determinations or rulings as to whether claims or causes of action
asserted after the Effective Date in any forum have been discharged, released, or enjoined
pursuant to the Plan and the Confirmation Order;

     (c)    To allow and disallow Asbestos PD Claims as contemplated by the Class 7A Case
Management Order;

      (d)     To issue such orders in aid of execution of this Plan to the extent authorized or
contemplated by Bankruptcy Code § 1142;

       (e)     To consider and approve any modifications of this Plan or Plan Documents,
remedy any defect or omission, or reconcile any inconsistency in any order of the Court,
including the Confirmation Order;

        (f)     To hear and determine all controversies, suits, and disputes that may relate to,
impact upon, or arise in connection with this Plan or any other Plan Documents or their
interpretation, implementation, enforcement, or consummation;

       (g)    To hear and determine all objections to the termination of the Asbestos PI Trust or
the Asbestos PD Trust;

        (h)    To determine such other matters that may be set forth in, or that may arise in
connection with, this Plan, the Confirmation Order, the Asbestos PI Channeling Injunction, the
Asbestos PD Channeling Injunction, the Successor Claims Injunction, the Asbestos Insurance
Entity Injunction, the Asbestos PI Trust Agreement, or the Asbestos PD Trust Agreement;

        (i)    To hear and determine any proceeding that involves the validity, application,
construction, enforceability, or request to modify the Asbestos PI Channeling Injunction, the
Asbestos PD Channeling Injunction, the Successor Claims Injunction, or the Asbestos Insurance
Entity Injunction;

       (j)     To enter an order or final decree closing the Chapter 11 Cases;

        (k)  To hear and determine any other matters related hereto, including matters related
to the implementation and enforcement of all orders entered by the Court in the Chapter 11
Cases;



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       (l)     To enter such orders as are necessary to implement and enforce the injunctions
described herein; and

       (m)     To enter orders authorizing immaterial modifications to this Plan and to hear and
determine any issue involving the Asbestos PI Trust or the Asbestos PD Trust in order to comply
with section 468B of the IRC.

10.5   COMPENSATION OF PROFESSIONALS

       To hear and determine all applications for allowance of compensation and reimbursement
of expenses of Professionals under Bankruptcy Code §§ 327, 328, 329, 330, 331, and 363 and
any other fees and expenses authorized to be paid or reimbursed under this Plan.

10.6   SETTLEMENTS

       To the extent that Court approval is required, to consider and act on the compromise and
settlement of any Plan Claim or cause of action by or against the Debtors’ or Reorganized
Debtors’ estates, the Asbestos PI Trust, or the Asbestos PD Trust.

10.7   TAXES

       To hear and determine matters concerning state, local, and federal taxes (including the
amount of net operating loss carryforwards), fines, penalties, or additions to taxes for which the
Debtors or Debtors in Possession may be liable, directly or indirectly, in accordance with
Bankruptcy Code §§ 346, 505, and 1146.

10.8   SPECIFIC PURPOSES

       To hear and determine such other matters and for such other purposes as may be
provided in the Confirmation Order.

10.9   INSURANCE MATTERS

        To hear and determine matters concerning the Asbestos Insurance Policies, Asbestos In-
Place Insurance Coverage, Asbestos Insurance Reimbursement Agreements, and Asbestos
Insurance Settlement Agreements; provided, however, that the Court shall have nonexclusive
jurisdiction over such matters.

ARTICLE 11
MISCELLANEOUS PROVISIONS


11.1   AUTHORITY OF THE DEBTORS

        On the Confirmation Date, the Debtors shall be directed and authorized to take or cause
to be taken, prior to the Effective Date, all actions necessary to enable them to implement
effectively the provisions of this Plan, the other Plan Documents (including the Sealed Air


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Settlement Agreement and the Fresenius Settlement Agreement), and the creation of the
Asbestos PI Trust and the Asbestos PD Trust, and to cooperate with the Plan Proponents as
provided herein and with respect to matters related to the Plan generally.

11.2   AUTHORITY OF THE REORGANIZED DEBTORS TO GRANT NEW STOCK
       INCENTIVE PLAN AND IMPOSE STOCK TRADING RESTRICTIONS

        On the Effective Date, the Reorganized Parent’s Board of Directors shall have the
authority to grant stock incentive awards to the management of the Reorganized Debtors and to
other key employees, and to the Board of Directors of the Reorganized Debtors pursuant to the
Stock Incentive Plan and as described more fully in the Disclosure Statement. Also on the
Effective Date, the Board of Directors of the Reorganized Parent shall be authorized, in certain
circumstances, to impose trading restrictions on Parent Common Stock pursuant to the Stock
Trading Restrictions Term Sheet, and as described more fully in the Disclosure Statement.

11.3   PAYMENT OF STATUTORY FEES

       All fees payable pursuant to section 1930 of title 28 of the United States Code, as
determined by the Court at the hearing on confirmation of this Plan, shall be paid by the Debtors
on or before the Effective Date.

11.4   RETAINED CAUSES OF ACTION

        11.4.1 Maintenance of Causes of Action

        Nothing in this Section 11.4 of this Plan shall be deemed to be a transfer by the Debtors
and the Reorganized Debtors of any claims, causes of action, or defenses relating to assumed
executory contracts or otherwise which are required by the Reorganized Debtors to conduct their
businesses in the ordinary course subsequent to the Effective Date. Moreover, except as
otherwise expressly contemplated by this Plan, the Sealed Air Settlement Agreement, the
Fresenius Settlement Agreement or other Plan Documents, and except for the Asbestos PI Trust
Causes of Action and the Asbestos PD Trust Causes of Action, from and after the Effective Date,
the Reorganized Debtors shall have and retain any and all rights to commence and pursue any
and all claims, causes of action, including the Retained Causes of Action, or defenses against any
parties, other Claimants and Holders of Equity Interests, whether such causes of action accrued
before or after the Petition Date.

        The Reorganized Debtors shall retain and may exclusively enforce any and all such
claims, rights, or causes of action, including Retained Causes of Action, and commence, pursue,
and settle the causes of action in accordance with this Plan. The Reorganized Debtors shall have
the exclusive right, authority, and discretion to institute, prosecute, abandon, settle, or
compromise any and all such claims, rights, and causes of action, including Retained Causes of
Action, without the consent or approval of any third party and without any further order of the
Court.




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        11.4.2 Preservation of All Causes of Action not Expressly Settled or Released

        Unless a claim or cause of action against a Claimant or other Entity is expressly waived,
relinquished, released, compromised, or settled in this Plan or any Final Order, the Debtors
expressly reserve such claim or Retained Cause of Action (including any unknown causes of
action) for later adjudication by the Reorganized Debtors, the Asbestos PD Trust Causes of
Action related to Claims in Class 7A for later adjudication by the Reorganized Debtors on behalf
of the Asbestos PD Trust pursuant to the Class 7A CMO, the Asbestos PD Trust Causes of
Action related to Claims in Class 7B for later adjudication by the Asbestos PD Trust, and the
Asbestos PI Trust Causes of Action for later adjudication by the Asbestos PI Trust. Therefore,
no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue
preclusion, claim preclusion, waiver, estoppel (judicial, equitable, or otherwise), or laches shall
apply to such claims, Retained Causes of Action, Asbestos PI Trust Causes of Action, or
Asbestos PD Trust Causes of Action upon or after the Confirmation Date or Effective Date of
this Plan based on the Disclosure Statement, this Plan or the Confirmation Order, except where
such claims or Retained Causes of Action have been released in this Plan or other Final Order.
In addition, the Debtors, the Reorganized Debtors, and the successor entities under this Plan
expressly reserve the right to pursue or adopt any claim alleged in any lawsuit in which the
Debtors are defendants or an interested party, against any Entity, including the plaintiffs or co-
defendants in such lawsuits.

        Any Entity to whom the Debtors have incurred an obligation (whether on account of
services, purchase or sale of goods or otherwise), or who has received services from the Debtors
or a transfer of money or property of the Debtors, or who has transacted business with the
Debtors, or leased equipment or property from the Debtors should assume that such obligation,
transfer, or transaction may be reviewed by the Debtors or the Reorganized Debtors, and may, if
appropriate, be the subject of an action after the Effective Date, whether or not (i) such Entity
has filed a proof of claim against the Debtors in the Chapter 11 Cases; (ii) such Claimant’s proof
of claim has been objected to; (iii) such Claimant’s Claim was included in the Debtors’
Schedules; or (iv) such Claimant’s scheduled Claim has been objected to by the Debtors or has
been identified by the Debtors as a Disputed Claim, a Contingent Claim, or an Unliquidated
Claim.

11.5   THIRD-PARTY AGREEMENTS

       The Distributions to the various Classes of Plan Claims hereunder will not affect the right
of any Entity to levy, garnish, attach, or employ any other legal process with respect to such
Distributions by reason of any claimed subordination rights or otherwise. All of such rights and
any agreements relating thereto will remain in full force and effect.

11.6   REQUIREMENTS OF THE FRESENIUS SETTLEMENT AGREEMENT

       Except as expressly waived in writing by Fresenius in its absolute discretion, each of the
provisions to be included in the Plan to satisfy the preconditions to the payment of the Fresenius
Payment set forth in the Fresenius Settlement Agreement and the other requirements of the
Fresenius Settlement Agreement, to the extent not already included herein or waived pursuant to

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the terms of the Fresenius Settlement Agreement, shall be included in Exhibit 13 in the Exhibit
Book and are hereby expressly incorporated herein by reference and made a part hereof as if the
same were fully set forth in this Plan.

11.7   REQUIREMENTS OF THE SEALED AIR SETTLEMENT AGREEMENT

        Except as expressly waived in writing by each of Sealed Air Corporation and Cryovac,
Inc. in its absolute discretion, each of the provisions to be included in the Plan to satisfy the
preconditions to the payment of the Cryovac Payment set forth in the Sealed Air Settlement
Agreement and the other requirements of the Sealed Air Settlement Agreement, to the extent not
already included herein or waived pursuant to the terms of the Sealed Air Settlement Agreement,
shall be included in Exhibit 22 in the Exhibit Book and are hereby expressly incorporated herein
by reference and made a part hereof as if the same were fully set forth in this Plan.

11.8   DISSOLUTION OF THE UNSECURED CREDITORS’ COMMITTEE, THE
       ASBESTOS PI COMMITTEE, THE ASBESTOS PD COMMITTEE AND THE
       EQUITY COMMITTEE; CONTINUED RETENTION OF THE ASBESTOS PI
       FUTURE CLAIMANTS’ REPRESENTATIVE AND THE ASBESTOS PD
       FUTURE CLAIMANTS’ REPRESENTATIVE

       The Debtors shall pay the reasonable fees and expenses incurred by the Asbestos PI
Committee, the Asbestos PD Committee, the Unsecured Creditors’ Committee, the Equity
Committee, the Asbestos PI Future Claimants’ Representative, and the Asbestos PD Future
Claimants’ Representative through the Effective Date in accordance with the fee and expense
procedures promulgated during the Chapter 11 Cases. On the Effective Date, except as set forth
below, the Asbestos PI Committee, the Asbestos PD Committee, the Unsecured Creditors’
Committee, and the Equity Committee shall thereupon be released and discharged of and from
all further authority, duties, responsibilities, and obligations relating to or arising from or in
connection with the Chapter 11 Cases, and those committees shall be deemed dissolved. After
the Effective Date, the rights, duties, and responsibilities of the Asbestos PI Future Claimants’
Representative shall be as set forth in the Asbestos PI Trust Agreement, and the rights, duties,
and responsibilities of the Asbestos PD Future Claimants’ Representative shall be as set forth in
the Asbestos PD Trust Agreement.

        Notwithstanding the foregoing, if the Effective Date occurs prior to the entry of a Final
Order with respect to final fee applications of Professionals retained by order of the Bankruptcy
Court during the Chapter 11 Cases, the Unsecured Creditors’ Committee, the Asbestos PI
Committee, the Asbestos PD Committee, and the Equity Committee may, at their option,
continue to serve until a Final Order is entered with respect to such proceedings. Further, after
the Effective Date, the Unsecured Creditors’ Committee, the Asbestos PI Committee, the Equity
Committee, the Asbestos PI Future Claimants’ Representative, and the Asbestos PD Future
Claimants’ Representative shall continue in existence and have standing and capacity to (i)
object to any proposed modification of the Plan, (ii) object to or defend the Administrative
Expense Claims of Professionals employed by or on behalf of the Debtors or their estates, (iii)
participate in any appeals of the Confirmation Order (if applicable), (iv) prepare and prosecute
applications for the payment of fees and reimbursement of expenses, and (v) continue any
adversary proceeding (but not the Sealed Air Action or the Fresenius Action, each of which shall

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be dismissed with prejudice as a condition to the Effective Date), claim objection, appeal, or
other proceeding that was in progress prior to the Effective Date. Nothing in section (v) of the
foregoing sentence shall be deemed to confer standing and capacity on the Unsecured Creditors'
Committee, the Asbestos PI Committee, the Equity Committee, the Asbestos PI Future
Claimants' Representative, or the Asbestos PD Future Claimants' Representative to provide
services or take action in connection with an adversary proceeding, claim objection, appeal or
other proceeding that was in progress prior to the Effective Date where such services are for the
benefit of an individual creditor or creditors and do not serve the direct interests of the creditor or
equity interest class which such Entity is appointed to represent. The Reorganized Debtors shall
pay the reasonable fees and expenses incurred by the Unsecured Creditors’ Committee, the
Asbestos PI Committee, Equity Committee, the Asbestos PI Future Claimants’ Representative,
and the Asbestos PD Future Claimants’ Representative relating to any post-Effective Date
activities authorized hereunder without further order of the Bankruptcy Court. Nothing in this
Section 11.8 shall purport to limit or otherwise affect the rights of the United States Trustee
under section 502 of the Bankruptcy Code or otherwise to object to Claims or requests for
allowances of Administrative Expense Claims.

11.9   EXCULPATION

        None of the Reorganized Debtors, the Debtors, the Non-Debtor Affiliates, the Sealed Air
Indemnified Parties, the Fresenius Indemnified Parties, the Asbestos PI Trustees of the Asbestos
PI Trust, the Asbestos PI Trust Advisory Committee, the Asbestos PD Trustees of the Asbestos
PD Trust, the Asbestos PD Trust Advisory Committee, Asbestos PI Committee, the Asbestos PD
Committee, the Unsecured Creditors’ Committee, the Equity Committee, the Asbestos PI FCR,
the Asbestos PD FCR, or any of their respective Representatives are to have or incur any liability
to any Entity for any act or omission in connection with or arising out of the Chapter 11 Cases,
including the negotiation of this Plan or the settlements provided in the Sealed Air Settlement
Agreement and the Fresenius Settlement Agreement, the pursuit of confirmation of this Plan, the
consummation of this Plan or the settlements provided in the Sealed Air Settlement Agreement
or Fresenius Settlement Agreement, or the administration of this Plan or the property to be
distributed under this Plan so long as, in each case such action, or failure to act, did not constitute
gross negligence or willful misconduct. In all respects, they will be entitled to rely upon the
advice of counsel with respect to their duties and responsibilities under this Plan. Any act or
omission taken with the approval of the Bankruptcy Court will be conclusively deemed not to
constitute gross negligence or willful misconduct. This section is not intended to preclude a
governmental entity from enforcing its police and regulatory powers.

11.10 TITLE TO ASSETS; DISCHARGE OF LIABILITIES

         Upon the transfer of the Asbestos PI Trust Assets into the Asbestos PI Trust, such
Asbestos PI Trust Assets shall be indefeasibly vested in the Asbestos PI Trust free and clear of
all claims, Equity Interests, Encumbrances, and other interests of any Entity. Notwithstanding
the foregoing, or anything else in this Plan to the contrary, the Asbestos PI Trust Assets shall
remain subject to any and all restrictions imposed by applicable securities laws and the Sealed
Air Common Stock transferred to the Asbestos PI Trust shall remain subject to any and all
restrictions imposed by the Sealed Air Settlement Agreement (including any rights of Sealed Air
under the Sealed Air Settlement Agreement) and applicable securities laws. Upon the transfer of

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the Asbestos PD Trust Assets into the Asbestos PD Trust, such Asbestos PD Trust Assets shall
be indefeasibly vested in the Asbestos PD Trust free and clear of all claims, equity interests,
Encumbrances, and other interests of any Entity. Except as otherwise provided in this Plan and
in accordance with Bankruptcy Code § 1123(b)(3), on the Effective Date, title to all of the
Debtors’ assets and properties and interests in property, including the Retained Causes of Action,
shall vest in the Reorganized Debtors free and clear of all claims, Equity Interests,
Encumbrances, and other interests, and the Confirmation Order shall be a judicial determination
of discharge of the liabilities of the Debtors.

11.11 ENTIRE AGREEMENT

       Except as otherwise indicated, the Plan and the Plan Documents supersede all prior
negotiations, promises, covenants, agreements, understandings, and representations on such
subjects, including all plans of reorganization previously filed by any party in interest with the
Court in these Chapter 11 Cases.

11.12 NOTICES

        Any notices, statements, requests, and demands required or permitted to be provided
under this Plan, in order to be effective, must be: (i) in writing (including by facsimile
transmission), and unless otherwise expressly provided herein, shall be deemed to have been
duly given or made (A) if personally delivered or if delivered by facsimile or courier service,
when actually received by the Entity to whom notice is sent, (B) if deposited with the United
States Postal Service (but only when actually received), at the close of business on the third
business day following the day when placed in the mail, postage prepaid, certified or registered
with return receipt requested, or (C) one (1) Business Day after being sent to the recipient by
reputable overnight courier service (charges prepaid) (but only when actually received) and (ii)
addressed to the appropriate Entity or Entities to whom such notice, statement, request or
demand is directed (and, if required, its counsel), at the address of such Entity or Entities set
forth below (or at such other address as such Entity may designate from time to time by written
notice to all other Entities listed below in accordance with this Section 11.12):

If to the Debtors:                                W. R. Grace & Co.
                                                  7500 Grace Drive
                                                  Columbia, MD 21044
                                                  Attn: General Counsel
                                                  Telephone:    (410) 531-4000
                                                  Facsimile:    (410) 531-4545

With a copy to:                                   Kirkland & Ellis LLP
                                                  Citigroup Center
                                                  153 East 53rd Street
                                                  New York, NY 10022
                                                  Attn: David M. Bernick, P.C./Theodore L.
                                                  Freedman
                                                  Telephone     (212) 446-4800
                                                  Facsimile:    (212) 446-4900

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                                                 and

                                                 The Law Offices of Janet S. Baer, P.C.
                                                 70 W. Madison St.
                                                 Suite 2100
                                                 Chicago, IL 60602
                                                 Attn: Janet S. Baer
                                                 Telephone: 312-641-2162

                                                 and

                                                 Pachulski, Stang, Ziehl, & Jones LLP
                                                 919 North Market Street, 17th Floor
                                                 P.O. Box 8705
                                                 Wilmington, Delaware 19899-8705 (Courier
                                                 19801)
                                                 Attn: Laura Davis Jones/James E. O’Neill
                                                 Telephone : (302) 652-4100
                                                 Facsimile:     (302) 652-4400

If to the Asbestos PI Committee:                 Caplin & Drysdale, Chartered
                                                 One Thomas Circle, NW, Suite 1100
                                                 Washington, DC 20005
                                                 Attn: Peter Lockwood/Ronald Reinsel
                                                 Telephone:    (202) 862-5000
                                                 Facsimile:    (202) 862-3301

                                                 and

                                                 Caplin & Drysdale, Chartered
                                                 375 Park Avenue, 35th Floor
                                                 New York, NY 10152
                                                 Attn: Elihu Inselbuch
                                                 Telephone: (212) 319-7125
                                                 Facsimile:    (212) 644-6755

If to the Asbestos PD Committee:                 Bilzin Sumberg Baena Price & Axelrod LLP
                                                 200 South Biscayne Blvd., Suite 2500
                                                 Miami, FL 33131-5340
                                                 Attn: Scott L. Baena/Jay M. Sakalo/Mindy A.
                                                 Mora
                                                 Telephone:    (305) 374-7580
                                                 Facsimile:    (305) 374-7593




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If to the Asbestos PI Future Claimants’ David T. Austern
Representative:                         3110 Fairview Park Drive
                                        Suite 200
                                        Falls Church VA 22042-0683
                                        Telephone:    (703) 205-0835
                                        Facsimile:    (703) 205-6249

With a copy to:                               Orrick, Herrington & Sutcliffe LLP
                                              1152 15th Street, N.W.
                                              Washington, D.C. 20005-1706
                                              Attention: Roger Frankel
                                              Telephone: (202) 339-8400
                                              Facsimile: (202) 339-8500

If to the Asbestos PD Future Claimants’ Alexander M. Sanders, Jr.
Representative:                         19 Water Street
                                        Charleston, South Carolina 29401
                                        Telephone: (843) 953-5755
                                        Facsimile: (843) 953-7570

With a copy to:                               Alan B. Rich
                                              Attorney and Counselor
                                              1401 Elm Street, Suite 4620
                                              Dallas, Texas 75202-3909
                                              Telephone: (214) 744-5100
                                              Facsimile: (214) 744-5101

If to the Unsecured Creditors’ Committee:     Stroock & Stroock & Lavan LLP
                                              180 Maiden Lane
                                              New York, NY 10038-4982
                                              Attn:    Lewis Kruger/Arlene Krieger/Kenneth
                                              Pasquale
                                              Telephone:    (212) 806-5400
                                              Facsimile:    (212) 806-6006

If to Sealed Air:                             Sealed Air Corporation
                                              200 Riverfront Boulevard
                                              Elmwood Park, NJ 07407
                                              Attn: General Counsel
                                              Telephone:    (201) 791-7600
                                              Facsimile:    (201) 703-4113

With a copy to:                               Skadden, Arps, Slate, Meagher & Flom LLP
                                              Four Times Square
                                              New York, NY 10036
                                              Attn: D. J. Baker


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                                            Telephone:   (212) 735-3000
                                            Facsimile:   (212) 735-2000

If to Fresenius:                            Fresenius Medical Care North America
                                            Corporate Headquarters
                                            Corporate Law Department
                                            95 Hayden Avenue
                                            Lexington, MA 02420-9192
                                            Attn: General Counsel
                                            Telephone:    (781) 402-9000
                                            Facsimile:    (781) 402-9700

With a copy to:                             McDermott, Will & Emery
                                            227 W. Monroe, Suite 4400
                                            Chicago, IL 60606
                                            Attn: David S. Rosenbloom
                                            Telephone:    (312) 372-2000
                                            Facsimile:    (312) 984-7700

If to the Equity Committee:                 Kramer Levin Naftalis & Frankel LLP
                                            1177 Avenue of the Americas
                                            New York, NY 10036
                                            Attn: Phillip Bentley
                                            Telephone:     (212) 715-9100
                                            Facsimile:     (212) 715-8000




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11.13 HEADINGS

       The headings used in this Plan are inserted for convenience only and neither constitute a
portion of this Plan nor in any manner affect the construction of the provisions of this Plan.

11.14 GOVERNING LAW

        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and Bankruptcy Rules), the laws of the State of Delaware, without giving effect to any
conflicts of law principles thereof that would result in the application of the laws of any other
jurisdiction, shall govern the construction of this Plan and any agreements, documents, and
instruments executed in connection with this Plan, except as otherwise expressly provided in
such instruments, agreements, or documents.

11.15 FILING OF ADDITIONAL DOCUMENTS

       On or before the Effective Date, the Plan Proponents shall File with the Court such
agreements and other documents, including the Plan Supplement, as may be necessary or
appropriate to effectuate and further evidence the terms and conditions of this Plan.

11.16 COMPLIANCE WITH TAX REQUIREMENTS

       In connection with this Plan, the Debtors, the Reorganized Debtors, the Asbestos PI
Trust, and the Asbestos PD Trust will comply with all applicable withholding and reporting
requirements imposed by federal, state, and local taxing authorities, and all Distributions
hereunder or under any Plan Document shall be subject to such withholding and reporting
requirements, if any. Notwithstanding any other provision of this Plan, each Entity receiving a
Distribution pursuant to this Plan, or any other Plan Document, will have sole and exclusive
responsibility for the satisfaction and payment of any tax obligations imposed by any
Governmental Unit, including income tax and other obligations, on account of that Distribution.

11.17 EXEMPTION FROM TRANSFER TAXES

        Pursuant to Bankruptcy Code § 1146(a), the issuance, transfer, or exchange of notes or
equity securities under this Plan, the creation of any mortgage, deed of trust, or other security
interest, the making or assignment of any lease or sublease, or the making or delivery of any
deed or other instrument of transfer under, in furtherance of, or in connection with this Plan shall
be exempt from all taxes as provided in Bankruptcy Code § 1146(a).

11.18 FURTHER ASSURANCES

        The Debtors, the Reorganized Debtors, the Non-Debtor Affiliates, the Asbestos Protected
Parties, the Asbestos Insurance Entities, the Asbestos PI Trust, the Asbestos PD Trust and all
Holders of Plan Claims receiving Distributions under this Plan and all other parties in interest
shall, and shall be authorized to, from time to time, prepare, execute, and deliver any agreements
or documents and take any other action consistent with the terms of this Plan as may be



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necessary to effectuate the provisions and intent of this Plan, with each such Entity to bear its
own costs incurred in connection therewith.

11.19 FURTHER AUTHORIZATIONS

        The Plan Proponents, and, after the Effective Date, the Reorganized Debtors, the
Asbestos PI Trust, and the Asbestos PD Trust if and to the extent necessary, may seek such
orders, judgments, injunctions, and rulings that any of them deem necessary to carry out further
the intentions and purposes of, and to give full effect to the provisions of, this Plan, with each
such Entity to bear its own costs in connection therewith.



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                Respectfully submitted,

                W. R. GRACE & CO. (on behalf of itself and the other Debtors
                and Debtors In Possession)


                By:    /s/ Mark A. Shelnitz
                Name: Mark A. Shelnitz
                Title: Vice President, General Counsel & Secretary



                OFFICIAL COMMITTEE              OF    ASBESTOS       PERSONAL
                INJURY CLAIMANTS



                By:    /s/ Elihu Inselbuch
                Name: Elihu Inselbuch
                Title: Counsel to the Asbestos PI Committee


                ASBESTOS PI FUTURE CLAIMANTS’ REPRESENTATIVE



                By:   /s/ Roger Frankel
                Name: David T. Austern by counsel

                OFFICIAL COMMITTEE OF EQUITY SECURITY HOLDERS



                By:    /s/ R. Ted Weschler
                Name: R. Ted Weschler
                Title: Chairman of the Equity Committee




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                                             Annex I

Pursuant to Section 7.7(nn) of the Plan, and not by way of limitation of the Sealed Air Settlement
Agreement, each of the SA Debtors and the SA Non-Debtors Affiliates shall:

   a. use its best efforts to cause each of the Asbestos PI Trust and the Asbestos PD Trust
      (each, for purposes of this Annex I, a "Trust" and, collectively, the "Trusts") to qualify,
      and to maintain its status, as a Qualified Settlement Fund (as defined in the Sealed Air
      Settlement Agreement), provided, however, that nothing herein shall in any way be
      construed as a representation, warranty, or covenant concerning the treatment for federal
      income tax purposes of the transfer by Cryovac, Inc. of the Cryovac Payment (reduced by
      the amount of the Asbestos PD Initial Payment) to the Asbestos PI Trust pursuant to
      Section 7.2.2 of the Plan and the Asbestos PD Initial Payment to the Asbestos PD Trust
      pursuant to Section 7.3.2 of the Plan and the Confirmation Order,

   b. use its best efforts to cause the constitutive document(s) (including the Asbestos PI Trust
      Agreement and the Asbestos PD Trust Agreement) of each of the Asbestos PI Trust and
      the Asbestos PD Trust to contain provisions, reasonably satisfactory to Cryovac, Inc.,
      qualifying and maintaining its status as a Qualified Settlement Fund (as defined in the
      Sealed Air Settlement Agreement) and providing that Cryovac, Inc. or its designee shall
      be a Transferor (as defined in the Sealed Air Settlement Agreement) to each Trust,

   c. promptly provide to Cryovac, Inc. all Material Drafts (as defined in the Sealed Air
      Settlement Agreement) of each Asbestos PI Trust Agreement, Asbestos PD Trust
      Agreement and each Trust Document (as defined in the Sealed Air Settlement
      Agreement) (but excluding or redacting the Asbestos PI TDP and ZAI TDP), provided,
      however, that Cryovac, Inc. shall keep any such Material Draft (as defined in the Sealed
      Air Settlement Agreement) confidential and shall disclose any such Material Draft (as
      defined in the Sealed Air Settlement Agreement) only to Sealed Air Corporation, and
      officers, employees, and advisors of Cryovac, Inc., Sealed Air Corporation, or its
      Affiliates, and only after such Entity agrees to keep such Material Draft (as defined in the
      Sealed Air Settlement Agreement) confidential but may disclose to any and all Entities,
      without limitation of any kind, the tax treatment and any facts that may be relevant to the
      tax structure of the transactions contemplated by the Sealed Air Settlement Agreement,

   d. incorporate promptly, if it is the party drafting such document, or if otherwise, urge the
      party drafting such document promptly to incorporate, into any such document each
      provision with respect to the subject matter set forth or referred to in paragraphs II(c)(ix),
      (x), and (xi), paragraph VI(g), clauses (i)(A) through (C) of paragraph VI(c) of the Sealed
      Air Settlement Agreement and clauses o. and p. and sub-clauses h(1) through (3) of this
      Annex I, as the case may be, that are reasonably requested by Cryovac, Inc.,

   e. take all Defined Actions (as defined in the Sealed Air Settlement Agreement) required to
      be taken pursuant to, or that are reasonably requested by Sealed Air Corporation and
      consistent with the provisions of, paragraphs II(c)(ix), (x), or (xi), or VI(g), of the Sealed
      Air Settlement Agreement and clauses o. and p. of this Annex I, as the case may be,
      provided, however, that it shall not be required to take a Defined Action (as defined in the




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   Sealed Air Settlement Agreement) as required pursuant to this clause e. if each of the
   following four requirements has been previously satisfied (1) it has fully performed all of
   its obligations set forth in paragraph VI(f) of the Sealed Air Settlement Agreement or
   clause n. of this Annex I, (2) it has received a Contrary Opinion (as defined in the Sealed
   Air Settlement Agreement) with respect to such Defined Action (as defined in the Sealed
   Air Settlement Agreement) required or prohibited pursuant to paragraph VI(b) of the
   Sealed Air Settlement Agreement or clauses e., f. and g. of this Annex I, as the case may
   be, (3) it has provided a copy of such Contrary Opinion (as defined in the Sealed Air
   Settlement Agreement) to Sealed Air Corporation, and (4) within forty-five days of the
   receipt by Sealed Air Corporation of such Contrary Opinion (as defined in the Sealed Air
   Settlement Agreement), Sealed Air Corporation has not provided it with a Sealed Air
   Opinion (as defined in the Sealed Air Settlement Agreement),

f. be prohibited from taking any Defined Action (as defined in the Sealed Air Settlement
   Agreement) prohibited from being taken pursuant to, or that is inconsistent with the
   provisions of, paragraphs II(c)(ix), (x), or (xi), or VI(g), of the Sealed Air Settlement
   Agreement and clauses o. and p. of this Annex I, provided, however, that it shall not be
   prohibited from taking a Defined Action (as defined in the Sealed Air Settlement
   Agreement) as required pursuant to this clause f. if each of the following four
   requirements has been previously satisfied (1) it has fully performed all of its obligations
   set forth in paragraph VI(f) of the Sealed Air Settlement Agreement or clause n. of this
   Annex I, (2) it has received a Contrary Opinion (as defined in the Sealed Air Settlement
   Agreement) with respect to such Defined Action (as defined in the Sealed Air Settlement
   Agreement) required or prohibited pursuant to paragraph VI(b) of the Sealed Air
   Settlement Agreement or clauses e., f. and g. of this Annex I, as the case may be, (3) it
   has provided a copy of such Contrary Opinion (as defined in the Sealed Air Settlement
   Agreement) to Sealed Air Corporation, and (4) within forty-five days of the receipt by
   Sealed Air Corporation of such Contrary Opinion (as defined in the Sealed Air
   Settlement Agreement), Sealed Air Corporation has not provided it with a Sealed Air
   Opinion (as defined in the Sealed Air Settlement Agreement),

g. use its best efforts not to make any statement in a court document filed in the SA Debtors'
   Chapter 11 Cases or in any oral statement to the court in the SA Debtors' Chapter 11
   Cases that is prohibited by, or inconsistent with the provisions of, paragraphs II(c)(ix),
   (x), or (xi), or VI(g), of the Sealed Air Settlement Agreement or clauses o. and p. of this
   Annex I, as the case may be, provided, however, that it shall not be required to take, or be
   prohibited from taking, as the case may be, a Defined Action (as defined in the Sealed
   Air Settlement Agreement) as required pursuant to this paragraph g. if each of the
   following four requirements has been previously satisfied (1) it has fully performed all of
   its obligations set forth in paragraph VI(f) of the Sealed Air Settlement or clause n. of this
   Annex I Agreement, as the case may be, (2) it has received a Contrary Opinion (as
   defined in the Sealed Air Settlement Agreement) with respect to such Defined Action (as
   defined in the Sealed Air Settlement Agreement) required or prohibited pursuant to this
   sentence, (3) it has provided a copy of such Contrary Opinion (as defined in the Sealed
   Air Settlement Agreement) to Sealed Air Corporation, and (4) within forty-five days of
   the receipt by Sealed Air Corporation of such Contrary Opinion (as defined in the Sealed


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   Air Settlement Agreement), Sealed Air Corporation has not provided it with a Sealed Air
   Opinion (as defined in the Sealed Air Settlement Agreement),

h. promptly notify Cryovac, Inc. and Sealed Air Corporation upon receipt by any of them or
   any of their Affiliates of any notice of any pending or threatened audit or assessment,
   suit, litigation, proposed adjustment, deficiency, dispute, administrative or judicial
   proceeding or other similar Claim (as defined in the Sealed Air Settlement Agreement)
   involving any of them or any of their Affiliates from any Tax authority or any other
   Entity challenging (1) the qualification of the Asbestos PI Trust or the Asbestos PD Trust
   as a Qualified Settlement Fund (as defined in the Sealed Air Settlement Agreement), (2)
   the qualification of Cryovac, Inc. as a Transferor (as defined in the Sealed Air Settlement
   Agreement) to the Asbestos PI Trust or the Asbestos PD Trust, (3) the transfer by
   Cryovac, Inc. of the Cryovac Payment (reduced by the amount of the Asbestos PD Initial
   Payment) to the Asbestos PI Trust pursuant to Section 7.2.2 of the Plan or the
   Confirmation Order and the Asbestos PD Initial Payment to the Asbestos PD Trust
   pursuant to Section 7.3.2 of the Plan or the Confirmation Order as a direct payment by
   Cryovac, Inc. to the Asbestos PI Trust or the Asbestos PD Trust for Asbestos Claims that
   constitutes an ordinary and necessary expense of Cryovac, Inc. (for purposes of this
   Annex I, any such audit or assessment, suit, litigation, proposed adjustment, deficiency,
   dispute, administrative or judicial proceeding or other similar Claim (as defined in the
   Sealed Air Settlement Agreement), for purposes of this Annex I a "Tax Claim"),

i. permit, and cause their respective Affiliates to permit, Cryovac, Inc. and Sealed Air
   Corporation to participate at their expense in the defense or prosecution of any Tax Claim
   (including to participate in all discussions with the Tax authorities regarding any Tax
   Claim and to be allowed to provide affirmative suggestions or comments with respect to
   any written submissions or communications to the Tax authorities regarding any Tax
   Claims, which comments and suggestions shall be incorporated into such written
   submissions or communications with the consent of the SA Debtors, such consent not to
   be unreasonably withheld),

j. consult with Cryovac, Inc. and Sealed Air Corporation in connection with the defense or
   prosecution of any Tax Claim and provide such cooperation and information as Cryovac,
   Inc. and Sealed Air Corporation shall reasonably request with respect to any Tax Claim,

k. agree to use its best efforts to attempt to sever any Tax Claim from other issues raised in
   any audit or assessment, suit, litigation, proposed adjustment, deficiency, dispute,
   administrative or judicial proceeding or other similar Claim (as defined in the Sealed Air
   Settlement Agreement) and shall instruct their, and their Affiliates’, respective Chief
   Executive Officer, Chief Financial Officer, and Director of Taxes to deliver, and shall
   cause each of their Affiliates, to deliver to Cryovac, Inc. and Sealed Air Corporation:

       1. promptly after the receipt of any document received from the IRS relating to a
          Tax Claim, a copy of such document;

       2. any document delivered to the IRS with respect to a Tax Claim promptly after
          such document is delivered to the IRS, provided, however, that, if such document


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           was prepared in response to a request by the IRS, then prior to the delivery of
           such document to the IRS, Cryovac, Inc. and Sealed Air Corporation shall be
           allowed to provide affirmative suggestions or comments with respect to any such
           document, as provided in paragraph VI(c)(ii) of the Sealed Air Settlement
           Agreement and clauses i. and j. of this Annex I;

       3. at least five days prior to any meeting or conference (whether in person or by
          teleconference) scheduled with the IRS during which a Tax Claim may be
          discussed, with written notice of such scheduled meeting or conference, and an
          opportunity to attend the portions of such meeting or conference during which any
          Tax Claim is discussed; and

       4. with cooperation and information reasonably requested by Cryovac, Inc. or Sealed
          Air Corporation in connection with any Tax Claim, including, at Cryovac, Inc.'s
          or Sealed Air Corporation's request, status updates with respect to all Tax Claims.

l. be entitled to redact any document to be provided to Cryovac, Inc. or Sealed Air
   Corporation in furtherance of the obligations set forth in clause k. of this Annex I to
   exclude information not pertinent to the Tax Claim,

m. settle or otherwise dispose of any Tax Claim unless otherwise required by a Final
   Determination (as defined in the Sealed Air Settlement Agreement),

n. if any of the SA Debtors or the SA Non-Debtor Affiliates has determined that an issue
   (for the purposes of this Annex I such issue, a "Paragraph VI(f) Issue") may exist with
   respect to its taking, or the failure to take, a Defined Action (as defined in the Sealed Air
   Settlement Agreement) as required pursuant to paragraph II(c)(ix), (x), or (xi), or VI(b) or
   VI(g), of the Sealed Air Settlement Agreement or clauses e., f., g., o., and p., of this
   Annex I, as the case may be, then, prior to delivering a Contrary Opinion (as defined in
   the Sealed Air Settlement Agreement) to Sealed Air Corporation with respect to such
   Defined Action (as defined in the Sealed Air Settlement Agreement) in accordance with
   the provisos set forth in paragraph II(c)(ix), (x), or (xi), VI(b) or VI(g) of the Sealed Air
   Settlement Agreement, or clauses e., f., g., o., and p., of this Annex I, as the case may be,
   (1) provide to Sealed Air Corporation, as promptly as practicable, a written notice
   identifying such Defined Action (as defined in the Sealed Air Settlement Agreement) and
   describing in detail the Paragraph VI(f) Issue and (2) consult and act (and cause its
   advisors to, consult and act) in good faith to determine and resolve (i) if such issue relates
   to a Tax issue, whether, as a result of a Change in Circumstances, there is no "reasonable
   basis", as defined in IRC section 6662 (or successor provision thereof), for the taking of,
   or the failure to take, such Defined Action (as defined in the Sealed Air Settlement
   Agreement) by such Entity or (ii) if such issue relates to an accounting issue, whether, as
   a result of a Change in Circumstances, the taking, or the failure to take, such Defined
   Action (as defined in the Sealed Air Settlement Agreement) is inconsistent with generally
   accepted accounting principles.           For purposes of this Annex I, "Change in
   Circumstances" shall mean (i) for U.S. federal income tax purposes, (x) any amendment
   to the IRC or the final or temporary regulations promulgated under the IRC, (y) a
   decision by any federal court, or (z) a Revenue Ruling, Notice, Revenue Procedure, or

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   Announcement, which amendment is enacted, promulgated, issued, or announced, or
   which decision, Revenue Ruling, Notice, Revenue Procedure, or Announcement is issued
   or announced, in each case, after the Effective Date, and (ii) for financial accounting
   purposes, any amendment to or change in generally accepted accounting principles,
   which amendment is issued or announced or, which change occurs, in each case, after the
   Effective Date.

o. unless otherwise required by a Final Determination (as defined in the Sealed Air
   Settlement Agreement), (1) file all Tax Returns required to be filed by such Entity, if any,
   consistent with the provisions of paragraph II(c)(ix) of the Sealed Air Settlement
   Agreement and take all other Defined Actions (as defined in the Sealed Air Settlement
   Agreement) that are reasonably requested by Sealed Air Corporation and consistent with
   the provisions of paragraph II(c)(ix) of the Sealed Air Settlement Agreement, and (2) be
   prohibited, from taking any Defined Action (as defined in the Sealed Air Settlement
   Agreement) that may result in the disqualification of the Asbestos PI Trust or the
   Asbestos PD Trust as a Qualified Settlement Fund (as such term is defined in the Sealed
   Air Settlement Agreement) or be inconsistent with Cryovac, Inc. being treated as a
   Transferor (as defined in the Sealed Air Settlement Agreement) of the Cryovac Payment
   (reduced by the amount of the Asbestos PD Initial Payment) directly to the Asbestos PI
   Trust pursuant to Section 7.2.2 of the Plan and the Confirmation Order and the Asbestos
   PD Initial Payment directly to the Asbestos PD Trust pursuant to Section 7.3.2 of the
   Plan and the Confirmation Order; provided, however, that it shall not be required to take,
   or be prohibited from taking, as the case may be, a Defined Action (as defined in the
   Sealed Air Settlement Agreement) as required pursuant to this clause o. if each of the
   following four requirements has been previously satisfied: (1) it has fully performed all
   of its obligations set forth in paragraph VI(f) of the Sealed Air Settlement Agreement and
   clause n. of this Annex I, as the case may be, (2) it has received a Contrary Opinion (as
   defined in the Sealed Air Settlement Agreement) with respect to such Defined Action (as
   defined in the Sealed Air Settlement Agreement) required or prohibited pursuant to this
   clause o., (3) it has provided a copy of such Contrary Opinion (as defined in the Sealed
   Air Settlement Agreement) to Sealed Air Corporation, and (4) within forty-five days of
   the receipt by Sealed Air Corporation of such Contrary Opinion (as defined in the Sealed
   Air Settlement Agreement), Sealed Air Corporation has not provided it with a Sealed Air
   Opinion (as defined in the Sealed Air Settlement Agreement),

p. treat for all Tax purposes any and all payments by Cryovac, Inc. of the Cryovac Payment
   (reduced by the amount of the Asbestos PD Initial Payment) to the Asbestos PI Trust
   pursuant to Section 7.2.2 of the Plan and the Confirmation Order and the Asbestos PD
   Initial Payment to the Asbestos PD Trust pursuant to Section 7.3.2 of the Plan and the
   Confirmation Order as a direct payment by Cryovac, Inc. to the Asbestos PI Trust or the
   Asbestos PD Trust for Asbestos Claims that constitutes an ordinary and necessary
   expense of Cryovac, Inc., and, unless otherwise required by a Final Determination (as
   defined in the Sealed Air Settlement Agreement):

       1. for financial accounting or any other regulatory purpose, be prohibited from
          treating any payment by Cryovac, Inc. to the Asbestos PI Trust or the Asbestos
          PD Trust pursuant to the Plan or the Confirmation Order as a payment by

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           Cryovac, Inc. to any of the SA Debtors or SA Non-Debtor Affiliates, or as a
           payment by any SA Debtor or SA Non-Debtor Affiliate to any Entity (including
           to the Asbestos PI Trust or the Asbestos PD Trust) (or treating such payment as,
           or resulting in, an expense or deduction of any Debtor or Non-Debtor Affiliate),

       2. for Tax purposes, be prohibited from claiming that any payment by Cryovac, Inc.
          to the Asbestos PI Trust or the Asbestos PD Trust pursuant to the Plan or the
          Confirmation Order results in or gives rise (directly or indirectly) to the accrual or
          allowance of a deduction or expense, or income to, or any other transfer of any
          type to, any SA Debtor or SA Non-Debtor Affiliate,

       3. take all Defined Actions (as defined in the Sealed Air Settlement Agreement) that
          are reasonably requested by Sealed Air Corporation and consistent with the
          provisions of this clause p.,

       4. not take any position inconsistent with the foregoing on any Tax Return or with
          any Tax authority, and

       5. not make any statement in any public or regulatory filing or release or otherwise,
          or take any other Defined Action (as defined in the Sealed Air Settlement
          Agreement), that is inconsistent with the obligations of such Entity pursuant to
          this clause p.,

   provided, however, that with respect to sub-clauses p.3 and p.5 above, it shall not be
   required to take, or be prohibited from taking, as the case may be, a Defined Action (as
   defined in the Sealed Air Settlement Agreement) as required pursuant to this clause p. if
   each of the following four requirements has been previously satisfied: (1) it has fully
   performed all of its obligations set forth in paragraph VI(f) of the Sealed Air Settlement
   Agreement and clause n. of this Annex 1, as the case may be, (2) it has received a
   Contrary Opinion (as defined in the Sealed Air Settlement Agreement) with respect to
   such Defined Action (as defined in the Sealed Air Settlement Agreement) required or
   prohibited pursuant to this clause p., (3) it has provided a copy of such Contrary Opinion
   (as defined in the Sealed Air Settlement Agreement) to Sealed Air Corporation, and (4)
   within forty-five days of the receipt by Sealed Air Corporation of such Contrary Opinion
   (as defined in the Sealed Air Settlement Agreement), Sealed Air Corporation has not
   provided it with a Sealed Air Opinion (as defined in the Sealed Air Settlement
   Agreement),

q. be entitled to prepare and execute (but not file) a Protective Claim (as defined in the
   Sealed Air Settlement Agreement and, for purposes of this Annex I, with respect to each
   of the SA Debtors and the SA Non-Debtors Affiliates, a "Grace Protective Claim"),
   (which filing shall be effected only by Cryovac, Inc. pursuant to, and in accordance with,
   the provisions of the Settlement Agreement) for the taxable year of the SA Debtors in
   which the transfers by Cryovac, Inc. of the Cryovac Payment (reduced by the amount of
   the Asbestos PD Initial Payment) to the Asbestos PI Trust pursuant to Section 7.2.2 of the
   Plan or the Confirmation Order and the Asbestos PD Initial Payment to the Asbestos PD
   Trust pursuant to Section 7.3.2 of the Plan or the Confirmation Order (for purposes of


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   this Annex I, the "Transfer") are made, or for any other prior (solely with respect to a
   carryback from the taxable year of the Transfer) or subsequent taxable year in which the
   Tax Benefits (as defined in the Sealed Air Settlement Agreement) realized as a result of
   such Transfer may be claimed by the SA Debtors (for purposes of this Annex I any such
   taxable year, a "Relevant Tax Year"), and require Cryovac, Inc. to file such Grace
   Protective Claim with the IRS or other governmental authority for and on behalf of the
   SA Debtors; provided, however, that a Grace Protective Claim shall not be required to be
   filed by Cryovac, Inc. at any time prior to 15 days before the expiration (taking into
   account all extensions thereof) of the applicable statute of limitations for the SA Debtors
   to file an amended return ("SOL") for the Relevant Tax Year, and provided further that
   notwithstanding anything to the contrary set forth in paragraph VI(h) of the Sealed Air
   Settlement Agreement and clauses q., r., s., t. and u. of this Annex I, the Debtors may
   prepare and execute a Grace Protective Claim, and require Cryovac, Inc. to file such
   Grace protective Claim with the IRS or other governmental authority for a Relevant Tax
   Year, only if each of the following requirements has been previously satisfied:

       1. the SA Debtors have granted each extension (and each further extension) to the
          applicable SOL for such Relevant Tax Year that has been requested by the IRS,

       2. at the time of each such request by the IRS referred to in sub-clause p.1, above, to
          extend (or further extend) the applicable SOL for such Relevant Tax Year, the SA
          Debtors shall have used their best efforts to extend (and cause the IRS to agree to
          extend) such SOL for a period of two (2) years or longer;

       3. in the event that the IRS has not requested the SA Debtors to extend (or further
          extend) the applicable SOL for such Relevant Tax Year prior to 180 days prior to
          the end of such SOL, the SA Debtors shall have used their best efforts to extend
          (and cause the IRS to agree to extend) such SOL for a period of two (2) years or
          longer;

       4. the SA Debtors shall have provided to Cryovac, Inc. a written statement by their
          Chief Financial Officer that each of the requirements set forth immediately above
          in sub- clauses p.1, 2, and 3 has been satisfied in all respects; and

r. at the request of Sealed Air Corporation, prepare and execute a Grace Protective Claim to
   be filed by Sealed Air Corporation pursuant to paragraph VI(h)(ii) of the Sealed Air
   Settlement Agreement or this clause r.

s. pay to Cryovac, Inc. in immediately available funds fifty (50) percent of the amount of
   any Tax Benefit (as defined in the Sealed Air Settlement Agreement) realized as a result
   of the Transfer no later than ten (10) days after such Tax Benefit (as defined in the Sealed
   Air Settlement Agreement) has been deemed to have been Actually Realized (as defined
   in and determined pursuant to the Sealed Air Settlement Agreement),

t. if requested by Sealed Air Corporation, use their best efforts to extend (and cause the IRS
   to agree to extend) the applicable SOL for any Relevant Tax Year,



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u. include in Part II of Form 1120X (or applicable section of any similar state or local tax
   form) of any Grace Protective Claim the language set forth on Exhibit 7 of the Sealed Air
   Settlement Agreement and only such other language as may be mutually agreed to by the
   SA Debtors and Cryovac, Inc. (or Sealed Air Corporation),

v. withdraw all Grace Protective Claims upon a Cryovac Final Determination (as defined in
   the Sealed Air Settlement Agreement) that the Transfer results in a Tax Benefit (as
   defined in the Sealed Air Settlement Agreement) to Cryovac, Inc. (or the affiliated group
   filing a consolidated Tax Return of which Sealed Air Corporation is the common parent),
   and provide a written statement to Cryovac, Inc. signed by the Chief Financial Officer of
   the SA Debtors stating that all Grace Protective Claims have been withdrawn,

w. upon notice by Cryovac, Inc. as provided in paragraph VI(i) of the Sealed Air Settlement
   Agreement, as the case may be, or if otherwise requested in writing by Cryovac, Inc., use
   reasonable best efforts to pursue all Grace Protective Claims and keep Cryovac, Inc. fully
   informed of, and permit Cryovac, Inc. to participate in, all developments with respect to
   all such Grace Protective Claims in a manner consistent with the provisions set forth in
   paragraphs VI(c)(ii) through (vi) of the Sealed Air Settlement Agreement and clauses i.,
   j., k., l., and m. of this Annex I, as the case may be,

x. no later than ten (10) days after the SA Debtors shall have Actually Realized (as defined
   in the Sealed Air Settlement Agreement) a Tax Benefit (as defined in the Sealed Air
   Settlement Agreement) as a result of the Transfer, provide Cryovac, Inc. with a detailed
   statement (for the purposes of this Annex I, the "Tax Benefit Statement") specifying (1)
   the amount of the Tax Benefit (as defined in the Sealed Air Settlement Agreement) that
   was Actually Realized (as defined in the Sealed Air Settlement Agreement) by the SA
   Debtors and any information relevant to the computation thereof (including full access to
   any applicable Tax Return, non-proprietary work papers and other materials and
   information of the SA Debtors and their accountants), (2) the date that such Tax Benefit
   (as defined in the Sealed Air Settlement Agreement) was Actually Realized (as defined in
   the Sealed Air Settlement Agreement), (3) the amount of deduction, loss, credit or
   exclusion initially claimed by the SA Debtors as a result of the Transfer (for purposes of
   this Annex I, the "Initial Tax Benefit Item"), (4) the amount of the Initial Tax Benefit
   Item that is utilized by the SA Debtors to create such Tax Benefit (as defined in the
   Sealed Air Settlement Agreement) Actually Realized (as defined in the Sealed Air
   Settlement Agreement) (including as a result of all or a portion of the Initial Tax Benefit
   Item being carried back or forward), and (5) the amount of the Initial Tax Benefit Item
   not yet utilized by the SA Debtors (to create a Tax Benefit (as defined in the Sealed Air
   Settlement Agreement) Actually Realized (as defined in the Sealed Air Settlement
   Agreement)) that will be carried forward,

y. no later than 30 days after the SA Debtors have filed their U.S. federal consolidated
   income Tax Return for each year beginning the year that includes the Tax Benefit Start
   Date (as defined in the Sealed Air Settlement Agreement), deliver to Cryovac, Inc. an
   annual statement (for purposes of this Annex I, the "CFO Annual Statement"), signed by
   their Chief Financial Officer under penalties of perjury, that sets forth (1) the amount of
   the Tax Benefits (as defined in the Sealed Air Settlement Agreement) Actually Realized

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   (as defined in the Sealed Air Settlement Agreement), if any, by the SA Debtors as a result
   of the Transfer during the preceding taxable year (including, without limitation, as a
   result of an amended return for any taxable year, a loss or deduction being utilized for
   such preceding taxable year, a loss or credit carryback from such preceding taxable year,
   or a loss or credit carryforward to such preceding taxable year), (2) the date (or dates)
   such Tax Benefits were Actually Realized (as defined in the Sealed Air Settlement
   Agreement) during such taxable year, (3) the amount of the Initial Tax Benefit Item, (4)
   the amount of the Initial Tax Benefit Item that is utilized by the SA Debtors to create
   such Tax Benefit (as defined in the Sealed Air Settlement Agreement) Actually Realized
   (as defined in the Sealed Air Settlement Agreement), and (5) the amount of the Initial
   Tax Benefit Item not yet utilized by the SA Debtors (to create a Tax Benefit (as defined
   in the Sealed Air Settlement Agreement) Actually Realized (as defined in the Sealed Air
   Settlement Agreement)) that will be carried forward,

z. provide Cryovac, Inc. with all information relevant to the computation of such Tax
   Benefits (as defined in the Sealed Air Settlement Agreement) Actually Realized (as
   defined in the Sealed Air Settlement Agreement) by the SA Debtors set forth in clause
   y.1 of this Annex 1 (including full access to any applicable Tax Return, the non-
   proprietary work papers, and other materials and information of the SA Debtors and their
   accountants),

aa. within fifteen (15) days after the SA Debtors' receipt of a Tax Benefit Dispute Notice (as
    defined in the Sealed Air Settlement Agreement), unless the matters in the Tax Benefit
    Dispute Notice (as defined in the Sealed Air Settlement Agreement) have otherwise been
    resolved by mutual agreement of the parties, select, jointly with Cryovac, Inc., a
    nationally-recognized independent certified public accountant (for purposes of this
    Annex I, the "Tax Benefit Accountant"); provided, however, if the SA Debtors and
    Cryovac, Inc. are unable to agree upon the Tax Benefit Accountant within such fifteen
    (15) day period, then the SA Debtors and Cryovac, Inc. shall each select a nationally-
    recognized independent certified public accountant which shall then jointly choose the
    Tax Benefit Accountant within fifteen (15) days thereafter, and the terms of the
    engagement of such Tax Benefit Accountant shall require the Tax Benefit Accountant to
    comply with paragraph VI(j)(iv) of the Sealed Air Settlement Agreement,

bb. pay to Cryovac, Inc. in immediately available funds no later than five (5) days after
    delivery of the Tax Benefit Report (as defined in the Sealed Air Settlement Agreement)
    to the SA Debtors and Cryovac, Inc. the sum of (x) the excess, if any, of fifty (50) percent
    of the amount of the Tax Benefit (as defined in the Sealed Air Settlement Agreement)
    Actually Realized (as defined in the Sealed Air Settlement Agreement) set forth in the
    Tax Benefit Report (as defined in the Sealed Air Settlement Agreement) over the amount
    previously paid, if any, by the SA Debtors to Cryovac, Inc. with respect thereto and (y)
    interest with respect to any such excess, as provided for in paragraph VI(k) of the Sealed
    Air Settlement Agreement,

cc. if a loss, deduction, credit or exclusion that resulted in Tax Benefit that was Actually
    Realized (as defined in the Sealed Air Settlement Agreement) by the SA Debtors is later
    denied by a Taxing authority by (x) a decision, decree or other order by a court of

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   competent jurisdiction, which has become final and unappealable or (y) any other means
   (including a closing agreement or accepted offer in compromise under section 7121 or
   7122 of the Internal Revenue Code) if Cryovac, Inc. has consented to such other means,
   which consent shall not be unreasonably withheld or delayed, provide (1) a written
   statement, signed under penalties of perjury by the Chief Financial Officer of the SA
   Debtors, that states (i) the amount of such loss, deduction, credit or exclusion that was
   denied, (ii) the amount of the Tax Benefits (as defined in the Sealed Air Settlement
   Agreement) Actually Realized (as defined in the Sealed Air Settlement Agreement) that
   was initially determined and paid by the SA Debtors to Cryovac, Inc. for such taxable
   period, and (iii) the revised amount of the Tax Benefit (as defined in the Sealed Air
   Settlement Agreement) Actually Realized (as defined in the Sealed Air Settlement
   Agreement) for such taxable period taking into account the denial of such loss, deduction,
   credit or exclusion, and (2) provide to Cryovac, Inc. any information relevant to the
   computation of such initial and revised amount of the Tax Benefits (as defined in the
   Sealed Air Settlement Agreement) Actually Realized (as defined in the Sealed Air
   Settlement Agreement) by the SA Debtors (including full access to any applicable Tax
   Return, the non-proprietary work papers, and other materials and information of the SA
   Debtors and their accountants), and

dd. perform all other actions required, and refrain from taking any other activities precluded,
    by the Sealed Air Settlement Agreement.




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                                       Annex II

Pursuant to Section 7.7(oo) of the Plan, and not by way of limitation of the Sealed Air
Settlement Agreement, unless indicated otherwise:

   a.     each of the Plaintiffs, the Asbestos PI Trust and the Asbestos PD Trust shall,
          unless otherwise required by a Final Determination, (1) file all Tax Returns
          required to be filed by it, if any, consistent with the provisions of this clause a.
          and shall take all other Defined Actions (as defined in the Sealed Air Settlement
          Agreement) that are reasonably requested by Sealed Air Corporation and
          consistent with the provisions of this clause a., and (2) be prohibited from taking
          any Defined Action (as defined in the Sealed Air Settlement Agreement) that may
          result in the disqualification of the Asbestos PI Trust or the Asbestos PD Trust as
          a Qualified Settlement Fund (as defined in the Sealed Air Settlement Agreement)
          or be inconsistent with Cryovac, Inc. being treated as a "transferor" (as defined
          under Treasury Regulations section 1.468B-1(d)) (for purposes of this Annex II
          the "Transferor") of the Cryovac Payment (reduced by the amount of the Asbestos
          PD Initial Payment) directly to the Asbestos PI Trust pursuant to Section 7.2.2 of
          the Plan and the Confirmation Order and the Asbestos PD Initial Payment directly
          to the Asbestos PD Trust pursuant to Section 7.3.2 of the Plan and the
          Confirmation Order, provided, however, that it shall not be required to take, or be
          prohibited from taking, as the case may be, a Defined Action (as defined in the
          Sealed Air Settlement Agreement) as required pursuant to this clause a. if each of
          the following four requirements has been previously satisfied (i) it has fully
          performed all of its obligations set forth in paragraph VI(f) of the Sealed Air
          Settlement Agreement, (ii) it has received a Contrary Opinion (as defined in the
          Sealed Air Settlement Agreement) with respect to such Defined Action (as
          defined in the Sealed Air Settlement Agreement) required or prohibited pursuant
          to this clause a., (iii) it has provided a copy of such Contrary Opinion (as defined
          in the Sealed Air Settlement Agreement) to Sealed Air Corporation, and (iv)
          within forty-five days of the receipt by Sealed Air Corporation of such Contrary
          Opinion (as defined in the Sealed Air Settlement Agreement), Sealed Air
          Corporation has not provided it with a Sealed Air Opinion (as defined in the
          Sealed Air Settlement Agreement),

   b.     the Asbestos PI Trust and the Asbestos PD Trust shall, unless otherwise required
          by a Final Determination (as defined in the Sealed Air Settlement Agreement),
          treat for all Tax purposes any and all payments by Cryovac Inc. pursuant to
          Sections 7.2.2 and 7.2.3 of the Plan and the Confirmation Order, as a direct
          payment by Cryovac, Inc. to the Asbestos PI Trust or the Asbestos PD Trust, as
          applicable, for Asbestos Claims that constitutes an ordinary and necessary
          expense of Cryovac, Inc, and each of the Plaintiffs, the Asbestos PI Trust and the
          Asbestos PD Trust shall, unless otherwise required by a Final Determination (as
          defined in the Sealed Air Settlement Agreement): (1) be prohibited from taking
          any Defined Action (as defined in the Sealed Air Settlement Agreement) that is
          inconsistent with the foregoing provisions of this clause b., and (2) take all
          Defined Actions (as defined in the Sealed Air Settlement Agreement) that are




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     reasonably requested by Sealed Air Corporation and consistent with the
     provisions of this clause b.; provided, however, that it shall not be required to
     take, or be prohibited from taking, as the case may be, a Defined Action (as
     defined in the Sealed Air Settlement Agreement) as required pursuant to sub-
     clauses (1) and (2) of this clause b. if each of the following four requirements has
     been previously satisfied (i) it has fully performed all of its obligations set forth in
     paragraph VI(f) of the Sealed Air Settlement Agreement, (ii) it has received a
     Contrary Opinion (as defined in the Sealed Air Settlement Agreement) with
     respect to such Defined Action (as defined in the Sealed Air Settlement
     Agreement) required or prohibited pursuant to this clause b., (iii) it has provided a
     copy of such Contrary Opinion (as defined in the Sealed Air Settlement
     Agreement) to Sealed Air Corporation, and (iv) within forty-five days of the
     receipt by Sealed Air Corporation of such Contrary Opinion (as defined in the
     Sealed Air Settlement Agreement), Sealed Air Corporation has not provided it
     with a Sealed Air Opinion (as defined in the Sealed Air Settlement Agreement),

c.   if it has determined that an issue (for the purposes of this Annex II such issue, a
     "Paragraph VI(f) Issue") may exist with respect to its taking, or the failure to take,
     a Defined Action (as defined in the Sealed Air Settlement Agreement) as required
     pursuant to paragraph II(c)(ix) or (x), of the Sealed Air Settlement Agreement or
     clauses a. and b., of this Annex II, as the case may be, then, prior to delivering a
     Contrary Opinion (as defined in the Sealed Air Settlement Agreement) to Sealed
     Air Corporation with respect to such Defined Action (as defined in the Sealed Air
     Settlement Agreement) in accordance with the provisos set forth in paragraph
     II(c)(ix) or (x) of the Sealed Air Settlement Agreement, or clauses a. and b., of
     this Annex II, as the case may be, each of the Plaintiffs, the Asbestos PI Trust and
     the Asbestos PD Trust, as the case may be, shall (1) provide to Sealed Air
     Corporation, as promptly as practicable, a written notice identifying such Defined
     Action (as defined in the Sealed Air Settlement Agreement) and describing in
     detail the Paragraph VI(f) Issue and (2) consult and act (and cause its advisors
     (including accountants and tax attorneys, as the case may be) to, consult and act)
     in good faith to determine and resolve (i) if such issue relates to a Tax issue,
     whether, as a result of a Change in Circumstances (as defined in the Sealed Air
     Settlement Agreement), there is no "reasonable basis", as defined in IRC section
     6662 (or successor provision thereof), for the taking of, or the failure to take, such
     Defined Action (as defined in the Sealed Air Settlement Agreement) by such
     Entity or (ii) if such issue relates to an accounting issue, whether, as a result of a
     Change in Circumstances, the taking, or the failure to take, such Defined Action
     (as defined in the Sealed Air Settlement Agreement) is inconsistent with generally
     accepted accounting principles, and

d.   perform all other actions required, and refrain from taking any other activities
     precluded, by the Sealed Air Settlement Agreement.




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               )        Chapter 11
                                                     )
W. R. GRACE & CO., et al.1                           )        Case No. 01-01139 (JKF)
                                                     )        Jointly Administered
                         Debtors.                    )
                                                     )
                                                     )
                                                     )


                                 EXHIBIT 2 TO EXHIBIT BOOK
                               ASBESTOS PI TRUST AGREEMENT

                                                                                                  EXHIBIT 2

         Attached.




1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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                                 WRG ASBESTOS PI TRUST AGREEMENT

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                         WRG ASBESTOS PI TRUST AGREEMENT



       This WRG Asbestos PI Trust Agreement (this “PI Trust Agreement”), dated the date set

forth on the signature page hereof and effective as of the Effective Date, is entered into, pursuant

to the First Amended Joint Plan of Reorganization Under Chapter 11 of the Bankruptcy Code of

W. R. Grace & Co., et al., the Official Committee of Asbestos Personal Injury Claimants, the

Asbestos PI Future Claimants’ Representative, and the Official Committee of Equity Security

Holders dated as of February 27, 2009 (as it may be amended or supplemented, the “Plan”),1 by

W. R. Grace & Co. and the other Debtors (collectively referred to as the “Debtors,” “Grace,” or

the “Settlors”), the debtors and debtors-in-possession whose chapter 11 cases are jointly

administered under Case No. 01-1139-JKF in the United States Bankruptcy Court for the District

of Delaware; the Asbestos PI Future Claimants’ Representative (the “Futures Representative”);

the Official Committee of Asbestos Personal Injury Claimants (the “ACC”); the Asbestos PI

Trustees (the “Trustees”); Wilmington Trust Company (the “Delaware Trustee”); and the

members of the Trust Advisory Committee (the “TAC”) identified on the signature page hereof;

and

       WHEREAS, the Debtors have reorganized under the provisions of chapter 11 of the

Bankruptcy Code in cases filed in the United States Bankruptcy Court for the District of




1
  All capitalized terms not otherwise defined herein shall have their respective meanings as set
forth in the Plan, and such definitions are incorporated herein by reference; provided, however,
that “Asbestos PI Claims” as defined in the Plan shall be referred to herein as “PI Trust
Claims.” All capitalized terms not defined herein or defined in the Plan, but defined in the
Bankruptcy Code or Rules, shall have the meanings ascribed to them by the Bankruptcy Code
and Rules, and such definitions are incorporated herein by reference.




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Delaware, jointly administered and known as In re W. R. Grace & Co., et al., Case No. 01-1139-

JKF; and

       WHEREAS, the Confirmation Order has been entered by the Bankruptcy Court and

affirmed by the District Court; and

       WHEREAS, the Plan provides, inter alia, for the creation of the WRG Asbestos PI Trust

(the “PI Trust”); and

       WHEREAS, pursuant to the Plan, the PI Trust is to use its assets and income to satisfy

all PI Trust Claims; and

       WHEREAS, it is the intent of Grace, the Trustees, the ACC, the TAC, and the Futures

Representative that the PI Trust be administered, maintained, and operated at all times through

mechanisms that provide reasonable assurance that the PI Trust will satisfy all PI Trust Claims

pursuant to the WRG Asbestos PI Trust Distribution Procedures (the “TDP”) that are attached

hereto as Exhibit 1 in substantially the same manner, and in strict compliance with the terms of

this PI Trust Agreement; and

       WHEREAS, all rights of the holders of PI Trust Claims arising under this PI Trust

Agreement and the TDP shall vest upon the Effective Date; and

       WHEREAS, pursuant to the Plan, the PI Trust is intended to qualify as a “qualified

settlement fund” within the meaning of section 1.468B-1 et seq. of the Treasury Regulations

promulgated under section 468B of the Internal Revenue Code (the “QSF Regulations”); and

       WHEREAS, the Bankruptcy Court has determined that the PI Trust and the Plan satisfy

all the prerequisites for an injunction pursuant to section 524(g) of the Bankruptcy Code with

respect to any and all PI Trust Claims, and such injunction has been entered in connection with

the Confirmation Order;



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       NOW, THEREFORE, it is hereby agreed as follows:

                                            SECTION I

                                     AGREEMENT OF TRUST

       1.1     Creation and Name. The Debtors as Settlors hereby create a trust known as the

“WRG Asbestos PI Trust,” which is the Asbestos PI Trust provided for and referred to in the

Plan. The Trustees of the PI Trust may transact the business and affairs of the PI Trust in the

name of the PI Trust, and references herein to the PI Trust shall include a Trustee or Trustees

acting on behalf of the Trust. It is the intention of the parties hereto that the trust created hereby

constitute a statutory trust under Chapter 38 of title 12 of the Delaware Code, 12 Del. C. § 3801

et seq. (the “Act”) and that this document, together with the by-laws described herein, constitute

the governing instruments of the PI Trust. The Trustees and the Delaware Trustee are hereby

authorized and directed to execute and file a Certificate of Trust with the Delaware Secretary of

State in the form attached hereto.

       1.2     Purpose. The purpose of the PI Trust is to assume all liabilities and

responsibility for all PI Trust Claims, and, among other things to: (a) direct the processing,

liquidation and payment of all PI Trust Claims in accordance with the Plan, the TDP, and the

Confirmation Order; (b) preserve, hold, manage, and maximize the assets of the PI Trust for use

in paying and satisfying PI Trust Claims; and (c) qualify at all times as a qualified settlement

fund. The PI Trust is to use the PI Trust’s assets and income to pay the holders of all PI Trust

Claims in accordance with this PI Trust Agreement and the TDP in such a way that such holders

of PI Trust Claims are treated fairly, equitably, and reasonably in light of the finite assets

available to satisfy such claims, and to otherwise comply in all respects with the requirements of

a trust set forth in section 524(g)(2)(B) of the Bankruptcy Code.



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       1.3     Transfer of Assets. Pursuant to, and in accordance with, Sections 7.2.2 and 7.2.4

of the Plan, the PI Trust has received the Asbestos PI Trust Assets (collectively, the “PI Trust

Assets”) to fund the PI Trust and settle, discharge or channel all PI Trust Claims. As part of

such transfer, Cryovac, Inc. has directly transferred to the PI Trust the Cryovac Payment

(reduced by the amount of Cryovac, Inc.’s transfer to the Asbestos PD Trust as part of the

Asbestos PD Initial Payment), and Fresenius has transferred to the PI Trust the Fresenius

Payment (reduced by the amount of Fresenius’ transfer to the PD Trust as part of the Asbestos

PD Initial Payment). In all events, the PI Trust Assets or any other assets to be transferred to the

PI Trust under the Plan will be transferred to the PI Trust free and clear of any liens or other

claims by the Debtors, Reorganized Debtors, any creditor, or other entity except as otherwise

provided in the Plan. The Debtors, the Reorganized Debtors, and the other Insurance

Contributors shall also execute and deliver such documents to the PI Trust as the Trustees

reasonably request to transfer and assign any PI Trust Assets to the PI Trust.

       1.4     Acceptance of Assets and Assumption of Liabilities.

               (a)     In furtherance of the purposes of the PI Trust, the PI Trust hereby

expressly accepts the transfer to the PI Trust of the PI Trust Assets or any other transfers

contemplated by the Plan in the time and manner as, and subject to the terms, contemplated in

the Plan.

               (b)     In furtherance of the purposes of the PI Trust, the PI Trust expressly

assumes all liabilities and responsibility for all PI Trust Claims, and the Reorganized Debtors,

the Sealed Air Indemnified Parties, and the Fresenius Indemnified Parties shall have no further

financial or other responsibility or liability therefor. Except as otherwise provided in this PI

Trust Agreement and the TDP, the PI Trust shall have all defenses, cross-claims, offsets, and



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recoupments, as well as rights of indemnification, contribution, subrogation, and similar rights,

regarding such claims that Grace or the Reorganized Debtors have or would have had under

applicable law. Regardless of the foregoing, however, a claimant must meet otherwise

applicable federal, state and foreign statutes of limitations and repose, except as otherwise

provided in Section 5.1(a)(2) of the TDP.

                (c)     No provision herein or in the TDP shall be construed or implemented in a

manner that would cause the PI Trust to fail to qualify as a “qualified settlement fund” under the

QSF Regulations.

                (d)     Nothing in this PI Trust Agreement shall be construed in any way to limit

(i) the scope, enforceability, or effectiveness of the Asbestos PI Channeling Injunction, the

Successor Claims Injunction, or any other injunction or release issued or granted in favor of any

(or all) of the Sealed Air Indemnified Parties or the Fresenius Indemnified Parties in connection

with the Plan or (ii) subject to the provisions of Section 1.4(b) above, the PI Trust’s assumption

of all liability for PI Trust Claims.

                                             SECTION II

                          POWERS AND TRUST ADMINISTRATION

        2.1     Powers.

                (a)     The Trustees are and shall act as the fiduciaries to the PI Trust in

accordance with the provisions of this PI Trust Agreement and the Plan. The Trustees shall, at

all times, administer the PI Trust and the PI Trust Assets in accordance with the purposes set

forth in Section 1.2 above. Subject to the limitations set forth in this PI Trust Agreement, the

Trustees shall have the power to take any and all actions that, in the judgment of the Trustees, are

necessary or proper to fulfill the purposes of the PI Trust, including, without limitation, each



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power expressly granted in this Section 2.1, any power reasonably incidental thereto, and any

trust power now or hereafter permitted under the laws of the State of Delaware.

               (b)     Except as required by applicable law or otherwise specified herein, the

Trustees need not obtain the order or approval of any court in the exercise of any power or

discretion conferred hereunder.

               (c)     Without limiting the generality of Section 2.1(a) above, and except as

limited below, the Trustees shall have the power to:

                       (i)      receive and hold the PI Trust Assets and exercise all rights with

respect thereto, including the right to vote and sell any securities that are included in the PI Trust

Assets;

                       (ii)     invest the monies held from time to time by the PI Trust;

                       (iii)    sell, transfer, or exchange any or all of the PI Trust Assets at such

prices and upon such terms as the Trustees may consider proper, consistent with the other terms

of this PI Trust Agreement;

                       (iv)     enter into leasing and financing agreements with third parties to the

extent such agreements are reasonably necessary to permit the PI Trust to operate;

                       (v)      pay liabilities and expenses of the PI Trust;

                       (vi)     establish such funds, reserves, and accounts within the PI Trust

estate, as deemed by the Trustees to be useful in carrying out the purposes of the PI Trust;

                       (vii)    sue and be sued and participate, as a party or otherwise, in any

judicial, administrative, arbitrative, or other proceeding;

                       (viii)   establish, supervise, and administer the PI Trust in accordance with

this PI Trust Agreement and the TDP and the terms thereof;



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                       (ix)     appoint such officers and hire such employees and engage such

legal, financial, accounting, investment, auditing, and forecasting, and other consultants and

agents as the business of the PI Trust requires, and delegate to such persons such powers and

authorities as the fiduciary duties of the Trustees permit and as the Trustees, in their discretion,

deem advisable or necessary in order to carry out the terms of this PI Trust;

                       (x)      pay employees, legal, financial, accounting, investment, auditing,

and forecasting, and other consultants, advisors, and agents, including those engaged by the PI

Trust in connection with its alternative dispute resolution activities, reasonable compensation;

                       (xi)     compensate the Trustees, the Delaware Trustee, the TAC

members, and the Futures Representative as provided below, and their employees, legal,

financial, accounting, investment, and other advisors, consultants, independent contractors, and

agents, and reimburse the Trustees, the Delaware Trustee, the TAC members, and the Futures

Representatives all reasonable out-of-pocket costs and expenses incurred by such persons in

connection with the performance of their duties hereunder;

                       (xii)    execute and deliver such instruments as the Trustees consider

proper in administering the PI Trust;

                       (xiii)   enter into such other arrangements with third parties as are deemed

by the Trustees to be useful in carrying out the purposes of the PI Trust, provided such

arrangements do not conflict with any other provision of this PI Trust Agreement;

                       (xiv)    indemnify the Reorganized Debtors and their Representatives as

provided in Section 8.6.9 of the Plan and, in accordance with Section 4.6 below, defend,

indemnify, and hold harmless (and purchase insurance indemnifying) (A) the Trustees, the

Delaware Trustee, the members of the TAC, and the Futures Representative, and (B) the officers



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and employees of the PI Trust, and any agents, advisors and consultants of the PI Trust, the

TAC, or the Futures Representative (the “Additional Indemnitees”), to the fullest extent that a

statutory trust organized under the laws of the State of Delaware is from time to time entitled to

indemnify and/or insure its directors, trustees, officers, employees, agents, advisors, and

representatives;

                       (xv)    delegate any or all of the authority herein conferred with respect to

the investment of all or any portion of the PI Trust Assets to any one or more reputable

individuals or recognized institutional investment advisors or investment managers without

liability for any action taken or omission made because of any such delegation, except as

provided in Section 4.4 below;

                       (xvi)   consult with the TAC and the Futures Representative at such times

and with respect to such issues relating to the conduct of the PI Trust as the Trustees consider

desirable; and

                       (xvii) make, pursue (by litigation or otherwise), collect, compromise or

settle, in the name of the PI Trust, any claim, right, action, or cause of action included in the PI

Trust Assets, including, but not limited to, insurance recoveries, before any court of competent

jurisdiction.

                 (d)   The Trustees shall not have the power to guarantee any debt of other

persons.

                 (e)   The Trustees agree to take the actions of the PI Trust required hereunder.

                 (f)   The Trustees shall give the TAC and the Futures Representative prompt

notice of any act performed or taken pursuant to Sections 2.1(c)(i), (iii), (vii), or (xv) above, and

any act proposed to be performed or taken pursuant to Section 2.2(f) below.



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       2.2     General Administration.

               (a)     The Trustees shall act in accordance with the PI Trust Agreement. The

Trustees shall adopt and act in accordance with PI Trust Bylaws. To the extent not inconsistent

with the terms of this PI Trust Agreement, the PI Trust Bylaws shall govern the affairs of the PI

Trust. In the event of an inconsistency between the PI Trust Bylaws and this PI Trust

Agreement, this PI Trust Agreement shall govern.

               (b)     The Trustees shall (i) timely file such income tax and other returns and

statements and shall timely pay all taxes required to be paid by the PI Trust, (ii) comply with all

applicable reporting and withholding obligations, (iii) satisfy all requirements necessary to

qualify and maintain qualification of the PI Trust as a qualified settlement fund within the

meaning of the QSF Regulations, and (iv) take no action that could cause the PI Trust to fail to

qualify as a qualified settlement fund within the meaning of the QSF Regulations.

               (c)     The Trustees shall timely account to the Bankruptcy Court as follows:

                       (i)     The Trustees shall cause to be prepared and filed with the

Bankruptcy Court, as soon as available, and in any event within one hundred and twenty (120)

days following the end of each fiscal year, an annual report (the “Annual Report”) containing

financial statements of the PI Trust (including, without limitation, a balance sheet of the PI Trust

as of the end of such fiscal year and a statement of operations for such fiscal year) audited by a

firm of independent certified public accountants selected by the Trustees and accompanied by an

opinion of such firm as to the fairness of the financial statements’ presentation of the cash and

investments available for the payment of claims and as to the conformity of the financial

statements with generally accepted accounting principles. The Trustees shall provide a copy of




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such Annual Report to the TAC and the Futures Representative when such reports are filed with

the Bankruptcy Court.

                        (ii)    Simultaneously with the filing of the Annual Report, the Trustees

shall cause to be prepared and filed with the Bankruptcy Court a report containing a summary

regarding the number and type of claims disposed of during the period covered by the financial

statements. The Trustees shall provide a copy of such report to the TAC and the Futures

Representatives when such report is filed.

                        (iii)   All materials required to be filed with the Bankruptcy Court by this

Section 2.2(c) shall be available for inspection by the public in accordance with procedures

established by the Bankruptcy Court and shall be filed with the Office of the United States

Trustee for the District of Delaware (the “U.S. Trustee”).

               (d)      The Trustees shall cause to be prepared as soon as practicable prior to the

commencement of each fiscal year a budget and cash flow projections covering such fiscal year

and the succeeding four fiscal years. The budget and cash flow projections shall include a

determination of the Maximum Annual Payment pursuant to Section 2.4 of the TDP, and the

Claims Payment Ratio pursuant to Section 2.5 of the TDP. The Trustees shall provide a copy of

the budget and cash flow projections to the TAC and the Futures Representative.

               (e)      The Trustees shall consult with the TAC and the Futures Representative

(i) on the general implementation and administration of the PI Trust; (ii) on the general

implementation and administration of the TDP; and (iii) on such other matters as may be

required under this PI Trust Agreement and the TDP.




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               (f)     The Trustees shall be required to obtain the consent of the TAC and the

Futures Representative pursuant to the Consent Process set forth in Section 5.7(b) and 6.6(b)

below, in addition to any other instances elsewhere enumerated, in order:

                       (i)      to redetermine the Payment Percentage described in Section 2.3 of

the TDP as provided in Section 4.2 of the TDP;

                       (ii)     to change the Claims Payment Ratio described in Section 2.5 of the

TDP in the event that the requirements for such a change as set forth in said provision have been

met;

                       (iii)    to change the Disease Levels, Scheduled Values and/or

Medical/Exposure Criteria set forth in Section 5.3(a)(3) of the TDP, and/or the Average Values

and/or Maximum Values set forth in Section 5.3(b)(3) and Section 5.4(a) of the TDP;

                       (iv)     to establish and/or to change the Claims Materials to be provided

to holders of PI Trust Claims under Section 6.1 of the TDP;

                       (v)      to require that claimants provide additional kinds of medical

evidence pursuant to Section 7.1 of the TDP;

                       (vi)     to change the form of release to be provided pursuant to Section

7.8 of the TDP;

                       (vii)    to terminate the PI Trust pursuant to Section 7.2 below;

                       (viii)   to settle the liability of any insurer under any insurance policy or

legal action related thereto;

                       (ix)     to change the compensation and/or per diem of the members of the

TAC, the Futures Representative, the Delaware Trustee or the Trustees, other than to reflect cost-

of-living increases or changes approved by the Bankruptcy Court as otherwise provided herein;



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                       (x)      to take actions to minimize any tax on the PI Trust Assets;

provided that no such action prevents the PI Trust from qualifying as a qualified settlement fund

within the meaning of the QSF Regulations or requires an election for the PI Trust to be treated

as a grantor trust for tax purposes;

                       (xi)     to adopt the PI Trust Bylaws in accordance with Section 2.2(a)

above or thereafter to amend the PI Trust Bylaws in accordance with the terms thereof;

                       (xii)    to amend any provision of this PI Trust Agreement or the TDP in

accordance with the terms thereof;

                       (xiii)   to vote the stock of a Reorganized Debtor for purposes of

appointing members of the Board of Directors of a Reorganized Debtor;

                       (xiv)    to acquire an interest in or to merge any claims resolution

organization formed by the PI Trust with another claims resolution organization that is not

specifically created by this PI Trust Agreement or the TDP, or to contract with another claims

resolution organization or other entity that is not specifically created by this PI Trust Agreement

or the TDP, or permit any other party to join in any claims resolution organization that is formed

by the PI Trust pursuant to the PI Trust Agreement or the TDP; provided that such merger,

acquisition, contract or joinder shall not (a) subject the Reorganized Debtors or any Asbestos

Protected Party, or any successors in interest thereto, to any risk of having any PI Trust Claim

asserted against it or them, or (b) otherwise jeopardize the validity or enforceability of the

Asbestos PI Channeling Injunction, the Successor Claims Injunction, or any other injunction or

release issued or granted in favor of any (or all) of the Sealed Air Indemnified Parties or the

Fresenius Indemnified Parties in connection with the Plan; and provided further that the terms of

such merger will require the surviving organization to make decisions about the allowability and



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value of claims in accordance with Section 2.1 of the TDP which requires that such decisions be

based on the provisions of the TDP; or

                       (xv)    if and to the extent required by Section 6.5 of the TDP, to disclose

any information, documents, or other materials to preserve, litigate, resolve, or settle coverage,

or to comply with an applicable obligation under an insurance policy or settlement agreement

pursuant to Section 6.5 of the TDP.

               (g)     The Trustees shall meet with the TAC and the Futures Representative no

less often than quarterly. The Trustees shall meet in the interim with the TAC and the Futures

Representative when so requested by either.

               (h)     The Trustees, upon notice from either the TAC or the Futures

Representative, if practicable in view of pending business, shall at their next meeting with the

TAC or the Futures Representative consider issues submitted by the TAC or the Futures

Representative.

       2.3     Claims Administration. The Trustees shall promptly proceed to implement the

TDP.

       2.4     Sealed Air Settlement Agreement. Notwithstanding anything in this PI Trust

Agreement, and not by way of limitation of the Sealed Air Settlement Agreement or the Plan, the

PI Trust, the Trustees, the Delaware Trustee, and any of their successors shall (unless otherwise

agreed to in writing by each of Sealed Air Corporation and Cryovac, Inc. in its absolute

discretion):

               (a)     unless otherwise required by a Final Determination (as defined in the

Sealed Air Settlement Agreement), (1) file all Tax Returns required to be filed by the PI Trust, if

any, consistent with the provisions of this Section 2.4(a) and shall take all other Defined Actions



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(as defined in the Sealed Air Settlement Agreement) that are reasonably requested by Sealed Air

Corporation and consistent with the provisions of this Section 2.4(a), and (2) be prohibited from

taking any Defined Action (as defined in the Sealed Air Settlement Agreement) that may result

in the disqualification of the PI Trust as a Qualified Settlement Fund (as defined in the Sealed

Air Settlement Agreement) or be inconsistent with Cryovac, Inc. being treated as a “transferor”

(as defined under Treasury Regulations section 1.468B-1(d)) (for purposes of this Section 2.4 the

“Transferor”) of the Cryovac Payment (reduced by the amount of the Asbestos PD Initial

Payment) directly to the PI Trust pursuant to Section 7.2.2 of the Plan and the Confirmation

Order, provided, however, that it shall not be required to take, or be prohibited from taking, as

the case may be, a Defined Action (as defined in the Sealed Air Settlement Agreement) as

required pursuant to this Section 2.4(a) if each of the following four requirements has been

previously satisfied (i) it has fully performed all of its obligations set forth in paragraph VI(f) of

the Sealed Air Settlement Agreement, (ii) it has received a Contrary Opinion (as defined in the

Sealed Air Settlement Agreement) with respect to such Defined Action (as defined in the Sealed

Air Settlement Agreement) required or prohibited pursuant to this Section 2.4(a), (iii) it has

provided a copy of such Contrary Opinion (as defined in the Sealed Air Settlement Agreement)

to Sealed Air Corporation, and (iv) within forty-five days of the receipt by Sealed Air

Corporation of such Contrary Opinion (as defined in the Sealed Air Settlement Agreement),

Sealed Air Corporation has not provided it with a Sealed Air Opinion (as defined in the Sealed

Air Settlement Agreement);

               (b)     unless otherwise required by a Final Determination (as defined in the

Sealed Air Settlement Agreement), treat for all Tax purposes any and all payments by Cryovac,

Inc. pursuant to Section 7.2.2 of the Plan and the Confirmation Order, as a direct payment by



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Cryovac, Inc. to the PI Trust, for Asbestos PI Claims that constitutes an ordinary and necessary

expense of Cryovac, Inc.; and shall, unless otherwise required by a Final Determination (as

defined in the Sealed Air Settlement Agreement): (1) be prohibited from taking any Defined

Action (as defined in the Sealed Air Settlement Agreement) that is inconsistent with the

foregoing provisions of this Section 2.4(b), and (2) take all Defined Actions (as defined in the

Sealed Air Settlement Agreement) that are reasonably requested by Sealed Air Corporation and

consistent with the provisions of this Section 2.4(b); provided, however, that it shall not be

required to take, or be prohibited from taking, as the case may be, a Defined Action (as defined

in the Sealed Air Settlement Agreement) as required pursuant to sub-clauses (1) and (2) of this

Section 2.4(b) if each of the following four requirements has been previously satisfied (i) it has

fully performed all of its obligations set forth in paragraph VI(f) of the Sealed Air Settlement

Agreement, (ii) it has received a Contrary Opinion (as defined in the Sealed Air Settlement

Agreement) with respect to such Defined Action (as defined in the Sealed Air Settlement

Agreement) required or prohibited pursuant to this Section 2.4(b), (iii) it has provided a copy of

such Contrary Opinion (as defined in the Sealed Air Settlement Agreement) to Sealed Air

Corporation, and (iv) within forty-five days of the receipt by Sealed Air Corporation of such

Contrary Opinion (as defined in the Sealed Air Settlement Agreement), Sealed Air Corporation

has not provided it with a Sealed Air Opinion (as defined in the Sealed Air Settlement

Agreement);

               (c)     if it has determined that an issue (for the purposes of this Section 2.4 such

issue, a “Paragraph VI(f) Issue”) may exist with respect to its taking, or the failure to take, a

Defined Action (as defined in the Sealed Air Settlement Agreement) as required pursuant to

paragraph II(c)(ix) or (x), of the Sealed Air Settlement Agreement or Sections 2.4(a) and 2.4(b),



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of this PI Trust Agreement, as the case may be, then, prior to delivering a Contrary Opinion (as

defined in the Sealed Air Settlement Agreement) to Sealed Air Corporation with respect to such

Defined Action (as defined in the Sealed Air Settlement Agreement) in accordance with the

provisos set forth in paragraph II(c)(ix) or (x) of the Sealed Air Settlement Agreement, or

Sections 2.4(a) and 2.4(b), of this PI Trust Agreement, as the case may be, each of the Trustees,

the Delaware Trustee, and any of their successors, as the case may be, shall (1) provide to Sealed

Air Corporation, as promptly as practicable, a written notice identifying such Defined Action (as

defined in the Sealed Air Settlement Agreement) and describing in detail the Paragraph VI(f)

Issue and (2) without limiting any obligation of Sealed Air Corporation to consult and act in

good faith set forth in paragraph VI(f)(ii) of the Sealed Air Settlement Agreement, consult and

act (and cause its advisors (including accountants and tax attorneys, as the case may be) to,

consult and act) in good faith to determine and resolve (i) if such issue relates to a Tax issue,

whether, as a result of a Change in Circumstances (as defined in the Sealed Air Settlement

Agreement), there is no “reasonable basis”, as defined in IRC section 6662 (or successor

provision thereof), for the taking of, or the failure to take, such Defined Action (as defined in the

Sealed Air Settlement Agreement) or (ii) if such issue relates to an accounting issue, whether, as

a result of a Change in Circumstances (as defined in the Sealed Air Settlement Agreement), the

taking, or the failure to take, such Defined Action (as defined in the Sealed Air Settlement

Agreement) is inconsistent with generally accepted accounting principles;

               (d)     cause the PI Trust to acquire the Sealed Air Common Stock for the PI

Trust’s own account for investment and not with a view toward distribution in a manner which

would violate the Securities Act;




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               (e)     comply with all filing and other reporting obligations under all applicable

laws which shall be applicable to the PI Trust with respect to the Sealed Air Common Stock;

               (f)     without limiting any obligation of Sealed Air Corporation to comply fully

with the Registration Rights Agreement (as defined in the Sealed Air Settlement Agreement),

comply fully with the Registration Rights Agreement (as defined in the Sealed Air Settlement

Agreement) including, without limitation, by not registering under the Securities Act the Sealed

Air Common Stock that is transferred to the PI Trust except to the extent permitted under (and

subject to the requirements of) the Registration Rights Agreement (as defined in the Sealed Air

Settlement Agreement);

               (g)     not, under any circumstances, transfer any fractional shares of the Sealed

Air Common Stock such that any Entity shall be the transferee of less than one thousand shares

of Sealed Air Common Stock, provided, however, that in no event shall the Asbestos PI Trust

incur any costs or expenses associated with such one thousand share limitation; and

               (h)     without limiting any obligation of Sealed Air Corporation or Cryovac, Inc.

to comply fully with the Sealed Air Settlement Agreement, comply fully with the Sealed Air

Settlement Agreement, including, without limitation, by performing all other actions required,

and refraining from taking any other actions precluded, by the Sealed Air Settlement Agreement.

       The TAC and the Futures Representative shall not cause or advise the PI Trust, the

Trustees, the Delaware Trustee, or any of their successors to (i) take any action that is contrary to

Section 2.4(a) through (h) of this PI Trust Agreement or (ii) refrain from taking any action that is

required to comply with Section 2.4(a) through (h) of this PI Trust Agreement.




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                                            SECTION III

                      ACCOUNTS, INVESTMENTS, AND PAYMENTS

       3.1     Accounts.

               (a)     The Trustees may, from time to time, create such accounts and reserves

within the PI Trust estate as they may deem necessary, prudent, or useful in order to provide for

the payment of expenses and payment of PI Trust Claims and may, with respect to any such

account or reserve, restrict the use of monies therein.

               (b)     The Trustees shall include a reasonably detailed description of the creation

of any account or reserve in accordance with this Section 3.1 and, with respect to any such

account, the transfers made to such account, the proceeds of or earnings on the assets held in

each such account and the payments from each such account in the accounts to be filed with the

Bankruptcy Court and provided to the TAC and the Futures Representative pursuant to Section

2.2(c)(i) above.

       3.2     Investments. Investment of monies held in the PI Trust shall be administered in

the manner consistent with the standards set forth in the Uniform Prudent Investor Act, subject to

the following limitations and provisions:

               (a)     The PI Trust may invest only in diversified equity portfolios whose

benchmark is a broad equity market index such as, but not limited to, the S&P 500 Index, Russell

1000 Index, S&P ADR Index or MSCI EAFE Index. The PI Trust shall not acquire, directly or

indirectly, equity in any entity (other than a Reorganized Debtor or any successor to a

Reorganized Debtor) or business enterprise if, immediately following such acquisition, the PI

Trust would hold more than 5% of the equity in such entity or business enterprise. The PI Trust

shall not hold, directly or indirectly, more than 5% of the equity in any entity (other than Sealed



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Air Corporation (by virtue of the Sealed Air Common Stock that is transferred directly to the PI

Trust by Cryovac, Inc.), a Reorganized Debtor, or any successor to a Reorganized Debtor) or

business enterprise.

                (b)     The PI Trust shall not acquire or hold any long-term debt securities unless

(i) such securities are PI Trust Assets under the Plan, (ii) such securities are rated “Baa” or

higher by Moody’s, “BBB” or higher by Standard & Poor’s (“S&P’s”), or have been given an

equivalent investment grade rating by another nationally recognized statistical rating agency, or

(iii) have been issued or fully guaranteed as to principal and interest by the United States of

America or any agency or instrumentality thereof. This restriction does not apply to any pooled

investment vehicles where pooled assets receive an investment grade rating (i.e., “BBB” rating

or above) by a nationally recognized rating agency.

                (c)     The PI Trust shall not acquire or hold for longer than ninety (90) days any

commercial paper unless such commercial paper is rated “Prime-1” or higher by Moody’s or

“A-1” or higher by S&P’s, or has been given an equivalent rating by another nationally

recognized statistical rating agency.

                (d)     The PI Trust shall not acquire any debt securities or other debt instruments

issued by any entity if, following such acquisition, the aggregate market value of all such debt

securities and/or other debt instruments issued by such entity held by the PI Trust would exceed

5% of the then current aggregate value of the PI Trust’s assets. There is no limitation on holding

debt securities or other debt instruments issued or fully guaranteed as to principal and interest by

the United States of America or any agency or instrumentality thereof.

                (e)     The PI Trust shall not acquire or hold any certificates of deposit unless all

publicly held, long-term debt securities, if any, of the financial institution issuing the certificate



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of deposit and the holding company, if any, of which such financial institution is a subsidiary,

meet the standards set forth in Section 3.2(b) above.

               (f)     The PI Trust may acquire and hold any securities or instruments issued by

a Reorganized Debtor or any successor to a Reorganized Debtor or obtained as proceeds of

litigation or otherwise to resolve disputes, without regard to the limitations set forth in

Subsections (a)-(e) above.

               (g)     The PI Trust shall not acquire or hold any repurchase obligations unless,

in the opinion of the Trustees, they are adequately collateralized.

               (h)     The PI Trust may allow its investment managers to acquire prudently or

hold derivative instruments, including, without limitation, options, futures and swaps in the

normal course of portfolio management. Specifically, the PI Trust may acquire or hold

derivatives to help manage or mitigate portfolio risk, including, without limitation, interest rate

risk and equity market risk. Using derivative instruments to leverage a portfolio to enhance

returns (at a much greater risk to the portfolio) is prohibited.

               (i)     The PI Trust may lend securities on a short-term basis, subject to

adequate, normal and customary collateral arrangements.

               (j)     Notwithstanding (a) above, the PI Trust may acquire and hold an equity

interest in a claims resolution organization without limitation as to the size of the equity interest

acquired and held if prior to such acquisition, the PI Trust complies with the provisions of

Section 2.2(f)(xiv) hereof with respect to the acquisition.

       3.3     Source of Payments.

               (a)     All PI Trust expenses and payments and all liabilities with respect to

claims shall be payable solely by the Trustees out of the PI Trust Assets. Neither the Debtors,



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the Reorganized Debtors, the Sealed Air Indemnified Parties, the Fresenius Indemnified Parties,

their subsidiaries, any successor in interest, the present or former directors, officers, employees

or agents of the Debtors, the Reorganized Debtors, the Sealed Air Indemnified Parties, or the

Fresenius Indemnified Parties, nor the Trustees, the TAC or Futures Representative, or any of

their officers, agents, advisors, or employees shall be liable for the payment of any PI Trust

expense or any other liability of the PI Trust, except to the extent provided in the Plan or Plan

Documents.

                (b)     The Trustees shall include a reasonably detailed description of any

payments made in accordance with this Section 3.3 in the Annual Report.

                                             SECTION IV

                              TRUSTEES; DELAWARE TRUSTEE

        4.1     Number. In addition to the Delaware Trustee appointed pursuant to Section 4.11,

there shall be three (3) Trustees who shall be those persons named on the signature page hereof.

        4.2     Term of Service.

                (a)     The initial Trustees named pursuant to Article 4.1 above shall serve

staggered terms of three (3), four (4) and five (5) years shown on the signature pages hereof.

Thereafter each term of service shall be five (5) years. The initial Trustees shall serve from the

Effective Date until the earlier of (i) the end of his or her term, (ii) his or her death, (iii) his or her

resignation pursuant to Section 4.2(b) below, (iv) his or her removal pursuant to Section 4.2(c)

below, or (v) the termination of the PI Trust pursuant to Section 7.2 below.

                (b)     A Trustee may resign at any time by written notice to the remaining

Trustees, the TAC, and the Futures Representative. Such notice shall specify a date when such




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resignation shall take effect, which shall not be less than ninety (90) days after the date such

notice is given, where practicable.

               (c)     A Trustee may be removed (i) by unanimous vote of the remaining

Trustees or (ii) at the recommendation of the TAC and the Futures Representative with the

approval of the Bankruptcy Court, in the event that he or she becomes unable to discharge his or

her duties hereunder due to accident or physical or mental deterioration, or for other good cause.

Good cause shall be deemed to include, without limitation, any substantial failure to comply with

the general administration provisions of Section 2.2 above, a consistent pattern of neglect and

failure to perform or participate in performing the duties of the Trustees hereunder, or repeated

non-attendance at scheduled meetings. Such removal shall require the approval of the

Bankruptcy Court and shall take effect at such time as the Bankruptcy Court shall determine.

       4.3     Appointment of Successor Trustees.

               (a)     In the event of a vacancy in the position of a Trustee, whether by death,

term expiration, resignation, or removal, the remaining Trustees shall consult with the TAC and

the Futures Representative concerning appointment of a successor Trustee. The vacancy shall be

filled by the unanimous vote of the remaining Trustees unless a majority of the TAC or the

Futures Representative vetoes the appointment. In the event that the remaining Trustees cannot

agree on a successor Trustee, or a majority of the TAC or the Futures Representative vetoes the

appointment of a successor Trustee, the Bankruptcy Court shall make the appointment. Nothing

shall prevent the reappointment of a Trustee for an additional term or terms, and there shall be no

limit on the number of terms that a Trustee may serve.

               (b)     Immediately upon the appointment of any successor Trustee, all rights,

titles, duties, powers and authority of the predecessor Trustee hereunder shall be vested in, and



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undertaken by, the successor Trustee without any further act. No successor Trustee shall be

liable personally for any act or omission of his or her predecessor Trustees.

               (c)     Each successor Trustee shall serve until the earlier of (i) the end of a full

term of five (5) years if the predecessor Trustee completed his or her term, (ii) the end of the

remainder of the term of the Trustee whom he or she is replacing if said predecessor Trustee did

not complete said term, (iii) his or her death, (iv) his or her resignation pursuant to Section 4.2(b)

above, (v) his or her removal pursuant to Section 4.2(c) above, or (vi) the termination of the PI

Trust pursuant to Section 7.2 below.

       4.4     Liability of Trustees, Members of the TAC and the Futures Representative.

The Trustees, the Members of the TAC and the Futures Representative shall not be liable to the

PI Trust, to any individual holding an asbestos claim, or to any other person, except for such

individual’s own breach of trust committed in bad faith or willful misappropriation.

       4.5     Compensation and Expenses of Trustees.

               (a)     Each Trustee shall receive a retainer from the PI Trust for his or her

service as a Trustee in the amount of $60,000.00 per annum, which amount shall be payable in

quarterly installments. In addition, for all time expended attending Trustee meetings, preparing

for such meetings, and working on authorized special projects, the Trustees shall receive the sum

of $500 per hour, and the sum of $250 per hour for non-working travel time, in both cases

computed on a quarter-hour basis. The Trustees shall record all hourly time to be charged to the

Trust on a daily basis. The per annum retainer and hourly compensation payable to the Trustees

hereunder shall be reviewed every year by the Trustees and, after consultation with the members

of the TAC and the Futures Representative, appropriately adjusted by the Trustees for changes in




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the cost of living. The Delaware Trustee shall be paid such compensation as agreed to pursuant

to a separate fee agreement.

               (b)     The PI Trust will promptly reimburse the Trustees and the Delaware

Trustee for all reasonable out-of-pocket costs and expenses incurred by the Trustees or the

Delaware Trustee in connection with the performance of their duties hereunder.

               (c)     The PI Trust shall include a description of the amounts paid under this

Section 4.5 in the Annual Report.

       4.6     Indemnification.

               (a)     The PI Trust shall indemnify and defend the Trustees, the members of the

TAC and the Futures Representative in the performance of their duties hereunder to the fullest

extent that a statutory trust organized under the laws of the State of Delaware is from time to

time entitled to indemnify and defend such persons against any and all liabilities, expenses,

claims, damages, or losses incurred by them in the performance of their duties hereunder or in

connection with activities undertaken by them prior to the Effective Date in connection with the

formation, establishment, or funding of the PI Trust. The PI Trust may indemnify any of the

Additional Indemnitees in the performance of their duties hereunder to the fullest extent that a

statutory trust organized under the laws of the State of Delaware is from time to time entitled to

indemnify and defend such persons against any and all liabilities, expenses, claims, damages, or

losses incurred by them in the performance of their duties hereunder or in connection with

activities undertaken by them prior to the Effective Date in connection with the formation,

establishment or funding of the PI Trust. Notwithstanding the foregoing, no individual shall be

indemnified or defended in any way for any liability, expense, claim, damage, or loss for which

he or she is ultimately liable under Section 4.4 above.



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               (b)     Reasonable expenses, costs and fees (including attorneys’ fees and costs)

incurred by or on behalf of a Trustee, a member of the TAC, the Futures Representative or

Additional Indemnitee in connection with any action, suit, or proceeding, whether civil,

administrative or arbitrative, from which they are indemnified by the PI Trust pursuant to

Section 4.6(a) above, shall be paid by the PI Trust in advance of the final disposition thereof

upon receipt of an undertaking, by or on behalf of the Trustees, the members of the TAC, the

Futures Representative or Additional Indemnitee, to repay such amount in the event that it shall

be determined ultimately by final order that such Trustee, member of the TAC, the Futures

Representative or Additional Indemnitee is not entitled to be indemnified by the PI Trust.

               (c)     The Trustees may purchase and maintain reasonable amounts and types of

insurance on behalf of an individual who is or was a Trustee, member of the TAC, the Futures

Representative or Additional Indemnitee, including against liability asserted against or incurred

by such individual in that capacity or arising from his or her status as a Trustee, TAC member,

Futures Representative, an officer or an employee of the PI Trust, or an advisor, consultant or

agent of the PI Trust, the TAC or the Futures Representative.

       4.7     Lien. The Trustees, members of the TAC, the Futures Representative and the

Additional Indemnitees shall have a first priority lien upon the PI Trust Assets to secure the

payment of any amounts payable to them pursuant to Section 4.6 above.

       4.8     Trustees’ Employment of Experts; Delaware Trustee’s Employment of

Counsel.

               (a)     The Trustees may, but shall not be required to, retain and/or consult with

counsel, accountants, appraisers, auditors, forecasters, experts, financial and investment advisors

and such other parties deemed by the Trustees to be qualified as experts on the matters submitted



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to them (the “Trust Professionals”), and in the absence of gross negligence, the written opinion

of or information provided by any such party deemed by the Trustees to be an expert on the

particular matter submitted to such party shall be full and complete authorization and protection

in respect of any action taken or not taken by the Trustees hereunder in good faith and in

accordance with the written opinion of or information provided by any such party.

               (b)     The Delaware Trustee shall be permitted to retain counsel only in such

circumstances as required in the exercise of its obligations hereunder and compliance with the

advice of such counsel shall be full and complete authorization and protection for actions taken

or not taken by the Delaware Trustee in good faith in compliance with such advice.

       4.9     Trustees’ Independence. The Trustees shall not, during the term of their service,

hold a financial interest in, act as attorney or agent for, or serve as any other professional for a

Reorganized Debtor. Notwithstanding the foregoing, any Trustee may serve, without any

additional compensation other than the per diem compensation to be paid by the PI Trust

pursuant to Section 4.5(a) above, as a director of the Reorganized Parent. No Trustee shall act as

an attorney for any person who holds an asbestos claim. For the avoidance of doubt, this Section

shall not be applicable to the Delaware Trustee.

       4.10    Bond. The Trustees and the Delaware Trustee shall not be required to post any

bond or other form of surety or security unless otherwise ordered by the Bankruptcy Court.

       4.11    Delaware Trustee.

               (a)     There shall at all times be a Delaware Trustee. The Delaware Trustee

shall either be (i) a natural person who is at least 21 years of age and a resident of the State of

Delaware or (ii) a legal entity that has its principal place of business in the State of Delaware,

otherwise meets the requirements of applicable Delaware law and shall act through one or more



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persons authorized to bind such entity. If at any time the Delaware Trustee shall cease to be

eligible in accordance with the provisions of this Section 4.11, it shall resign immediately in the

manner and with the effect hereinafter specified in Section 4.11(c) below. For the avoidance of

doubt, the Delaware Trustee will only have such rights and obligations as expressly provided by

reference to the Delaware Trustee hereunder.

               (b)     The Delaware Trustee shall not be entitled to exercise any powers, nor

shall the Delaware Trustee have any of the duties and responsibilities, of the Trustees set forth

herein. The Delaware Trustee shall be one of the trustees of the PI Trust for the sole and limited

purpose of fulfilling the requirements of Section 3807 of the Act and for taking such actions as

are required to be taken by a Delaware Trustee under the Act. The duties (including fiduciary

duties), liabilities and obligations of the Delaware Trustee shall be limited to (i) accepting legal

process served on the PI Trust in the State of Delaware and (ii) the execution of any certificates

required to be filed with the Secretary of State of the State of Delaware that the Delaware

Trustee is required to execute under Section 3811 of the Act and there shall be no other duties

(including fiduciary duties) or obligations, express or implied, at law or in equity, of the

Delaware Trustee.

               (c)     The Delaware Trustee shall serve until such time as the Trustees remove

the Delaware Trustee or the Delaware Trustee resigns and a successor Delaware Trustee is

appointed by the Trustees in accordance with the terms of Section 4.11(d) below. The Delaware

Trustee may resign at any time upon the giving of at least sixty (60) days’ advance written notice

to the Trustees; provided, that such resignation shall not become effective unless and until a

successor Delaware Trustee shall have been appointed by the Trustees in accordance with

Section 4.11(d) below. If the Trustees do not act within such 60-day period, the Delaware



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Trustee may apply to the Court of Chancery of the State of Delaware for the appointment of a

successor Delaware Trustee.

               (d)    Upon the resignation or removal of the Delaware Trustee, the Trustees

shall appoint a successor Delaware Trustee by delivering a written instrument to the outgoing

Delaware Trustee. Any successor Delaware Trustee must satisfy the requirements of Section

3807 of the Act. Any resignation or removal of the Delaware Trustee and appointment of a

successor Delaware Trustee shall not become effective until a written acceptance of appointment

is delivered by the successor Delaware Trustee to the outgoing Delaware Trustee and the

Trustees and any fees and expenses due to the outgoing Delaware Trustee are paid. Following

compliance with the preceding sentence, the successor Delaware Trustee shall become fully

vested with all of the rights, powers, duties and obligations of the outgoing Delaware Trustee

under this PI Trust Agreement, with like effect as if originally named as Delaware Trustee, and

the outgoing Delaware Trustee shall be discharged of its duties and obligations under this PI

Trust Agreement.

                                          SECTION V

                              TRUST ADVISORY COMMITTEE

       5.1     Members. The TAC shall consist of four (4) members, who shall initially be the

persons named on the signature page hereof.

       5.2     Duties. The members of the TAC shall serve in a fiduciary capacity representing

all holders of present PI Trust Claims. The Trustees must consult with the TAC on matters

identified in Section 2.2(e) above and in other provisions herein, and must obtain the consent of

the TAC on matters identified in Section 2.2(f) above. Where provided in the TDP, certain other

actions by the Trustees are also subject to the consent of the TAC.



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        5.3     Term of Office.

                (a)     The initial members of the TAC appointed in accordance with Section 5.1

above shall serve the staggered three-, four-, or five-year terms shown on the signature pages

hereof. Thereafter, each term of office shall be five (5) years. Each member of the TAC shall

serve until the earlier of (i) his or her death, (ii) his or her resignation pursuant to Section 5.3(b)

below, (iii) his or her removal pursuant to Section 5.3(c) below, (iv) the end of his or her term as

provided above, or (v) the termination of the PI Trust pursuant to Section 7.2 below.

                (b)     A member of the TAC may resign at any time by written notice to the

other members of the TAC, the Trustees and the Futures Representative. Such notice shall

specify a date when such resignation shall take effect, which shall not be less than ninety (90)

days after the date such notice is given, where practicable.

                (c)     A member of the TAC may be removed in the event that he or she

becomes unable to discharge his or her duties hereunder due to accident, physical deterioration,

mental incompetence, or a consistent pattern of neglect and failure to perform or to participate in

performing the duties of such member hereunder, such as repeated non-attendance at scheduled

meetings, or for other good cause. Such removal shall be made at the recommendation of the

remaining members of the TAC with the approval of the Bankruptcy Court.

        5.4     Appointment of Successor.

                (a)     If, prior to the termination of service of a member of the TAC other than

as a result of removal, he or she has designated in writing an individual to succeed him or her as

a member of the TAC, such individual shall be his or her successor. If such member of the TAC

did not designate an individual to succeed him or her prior to the termination of his or her service

as contemplated above, such member’s law firm may designate his or her successor. If (i) a



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member of the TAC did not designate an individual to succeed him or her prior to the

termination of his or her service and such member’s law firm does not designate his or her

successor as contemplated above or (ii) he or she is removed pursuant to Section 5.3(c) above,

his or her successor shall be appointed by a majority of the remaining members of the TAC or, if

such members cannot agree on a successor, the Bankruptcy Court. Nothing in this Agreement

shall prevent the reappointment of an individual serving as a member of the TAC for an

additional term or terms, and there shall be no limit on the number of terms that a TAC member

may serve.

               (b)     Each successor TAC member shall serve until the earlier of (i) the end of

the full term of five (5) years for which he or she was appointed if his or her immediate

predecessor member of the TAC completed his or her term, (ii) the end of the term of the

member of the TAC whom he or she replaced if his or her predecessor member did not complete

such term (iii) his or her death, (iv) his or her resignation pursuant to Section 5.3(b) above,

(v) his or her removal pursuant to Section 5.3(c) above, or (vi) the termination of the PI Trust

pursuant to Section 7.2 below.

       5.5     TAC’s Employment of Professionals.

               (a)     The TAC may but is not required to retain and/or consult counsel,

accountants, appraisers, auditors, forecasters, experts, and financial and investment advisors, and

such other parties deemed by the TAC to be qualified as experts on matters submitted to the

TAC (the “TAC Professionals”). The TAC and the TAC Professionals shall at all times have

complete access to the PI Trust’s officers, employees and agents, as well as to the Trust

Professionals, and shall also have complete access to all information generated by them or

otherwise available to the PI Trust or the Trustees provided that any information provided by the



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Trust Professionals shall not constitute a waiver of any applicable privilege. In the absence of

gross negligence, the written opinion of or information provided by any TAC Professional or

Trust Professional deemed by the TAC to be qualified as an expert on the particular matter

submitted to the TAC shall be full and complete authorization and protection in support of any

action taken or not taken by the TAC in good faith and in accordance with the written opinion of

or information provided by the TAC Professional or Trust Professional.

               (b)     The PI Trust shall promptly reimburse, or pay directly if so instructed, the

TAC for all reasonable fees and costs associated with the TAC’s employment of legal counsel

pursuant to this provision in connection with the TAC’s performance of its duties hereunder.

The PI Trust shall also promptly reimburse, or pay directly if so instructed, the TAC for all

reasonable fees and costs associated with the TAC’s employment of any other TAC Professional

pursuant to this provision in connection with the TAC’s performance of its duties hereunder;

provided, however, that (i) the TAC has first submitted to the PI Trust a written request for such

reimbursement setting forth the reasons (A) why the TAC desires to employ such TAC

Professional, and (B) why the TAC cannot rely on Trust Professionals to meet the need of the

TAC for such expertise or advice, and (ii) the PI Trust has approved the TAC’s request for

reimbursement in writing. If the PI Trust agrees to pay for the TAC Professional, such

reimbursement shall be treated as a PI Trust expense. If the PI Trust declines to pay for the TAC

Professional, it must set forth its reasons in writing. If the TAC still desires to employ the TAC

Professional at the PI Trust’s expense, the TAC and/or the Trustees shall resolve their dispute

pursuant to Section 7.13 below.




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       5.6     Compensation and Expenses of the TAC.

       The members of the TAC shall receive compensation from the PI Trust for their services

as TAC members in the form of a reasonable hourly rate set by the Trustees for attendance at

meetings or other conduct of PI Trust business. The members of the TAC shall also be

reimbursed promptly for all reasonable out-of-pocket costs and expenses incurred in connection

with the performance of their duties hereunder. Such reimbursement or direct payment shall be

deemed a PI Trust expense. The PI Trust shall include a description of the amounts paid under

this Section 5.6 in the Annual Report to be filed with the Bankruptcy Court and provided to the

Futures Representative and the TAC pursuant to Section 2.2(c)(i).

       5.7     Procedures for Consultation With and Obtaining the Consent of the TAC.

               (a)     Consultation Process.

                       (i)     In the event the Trustees are required to consult with the TAC

pursuant to Section 2.2(e) above or on other matters as provided herein, the Trustees shall

provide the TAC with written advance notice of the matter under consideration, and with all

relevant information concerning the matter as is reasonably practicable under the circumstances.

The Trustees shall also provide the TAC with such reasonable access to the Trust Professionals

and other experts retained by the PI Trust and its staff (if any) as the TAC may reasonably

request during the time that the Trustees are considering such matter, and shall also provide the

TAC the opportunity, at reasonable times and for reasonable periods of time, to discuss and

comment on such matter with the Trustees.

                       (ii)    In determining when to take definitive action on any matter subject

to the consultation procedures set forth in this Section 5.7(a), the Trustees shall take into

consideration the time required for the TAC, if its members so wish, to engage and consult with



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its own independent financial or investment advisors as to such matter. In any event, the

Trustees shall not take definitive action on any such matter until at least thirty (30) days after

providing the TAC with the initial written notice that such matter is under consideration by the

Trustees, unless such time period is waived by the TAC.

               (b)     Consent Process.

                       (i)     In the event the Trustees are required to obtain the consent of the

TAC pursuant to Section 2.2(f) above, the Trustees shall provide the TAC with a written notice

stating that their consent is being sought pursuant to that provision, describing in detail the nature

and scope of the action the Trustees propose to take, and explaining in detail the reasons why the

Trustees desire to take such action. The Trustees shall provide the TAC as much relevant

additional information concerning the proposed action as is reasonably practicable under the

circumstances. The Trustees shall also provide the TAC with such reasonable access to the Trust

Professionals and other experts retained by the PI Trust and its staff (if any) as the TAC may

reasonably request during the time that the Trustees are considering such action, and shall also

provide the TAC the opportunity, at reasonable times and for reasonable periods of time, to

discuss and comment on such action with the Trustees.

                       (ii)    The TAC must consider in good faith and in a timely fashion any

request for its consent by the Trustees, and must in any event advise the Trustees in writing of its

consent or its objection to the proposed action within thirty (30) days of receiving the original

request for consent from the Trustees. The TAC may not withhold its consent unreasonably. If

the TAC decides to withhold its consent, it must explain in detail its objections to the proposed

action. If the TAC does not advise the Trustees in writing of its consent or its objections to the




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action within thirty (30) days of receiving notice regarding such request, the TAC’s consent to

the proposed actions shall be deemed to have been affirmatively granted.

                       (iii)    If, after following the procedures specified in this Section 5.7(b),

the TAC continues to object to the proposed action and to withhold its consent to the proposed

action, the Trustees and/or the TAC shall resolve their dispute pursuant to Section 7.13.

However, the burden of proof with respect to the validity of the TAC’s objection and

withholding of its consent shall be on the TAC.

                                           SECTION VI

                               THE FUTURES REPRESENTATIVE

         6.1   Duties. The initial Futures Representative shall be the individual identified on the

signature pages hereto. He shall serve in a fiduciary capacity, representing the interests of the

holders of future PI Trust Claims for the purpose of protecting the rights of such persons. The

Trustees must consult with the Futures Representative on matters identified in Section 2.2(e)

above and on certain other matters provided herein, and must obtain the consent of the Futures

Representative on matters identified in Section 2.2(f) above. Where provided in the TDP, certain

other actions by the Trustees are also subject to the consent of the Futures Representative.

         6.2   Term of Office.

               (a)     The Futures Representative shall serve until the earlier of (i) his or her

death, (ii) his or her resignation pursuant to Section 6.2(b) below, (iii) his or her removal

pursuant to Section 6.2(c) below, or (iv) the termination of the PI Trust pursuant to Section 7.2

below.




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                (b)     The Futures Representative may resign at any time by written notice to the

Trustees. Such notice shall specify a date when such resignation shall take effect, which shall

not be less than ninety (90) days after the date such notice is given, where practicable.

                (c)     The Futures Representative may be removed by the Bankruptcy Court in

the event he or she becomes unable to discharge his or her duties hereunder due to accident,

physical deterioration, mental incompetence, or a consistent pattern of neglect and failure to

perform or to participate in performing the duties hereunder, such as repeated non-attendance at

scheduled meetings, or for other good cause.

        6.3     Appointment of Successor. A vacancy caused by death or resignation shall be

filled with an individual nominated prior to the effective date of the resignation or the death by

the resigning or deceased Futures Representative, and a vacancy caused by removal of the

Futures Representative shall be filled with an individual nominated by the Trustees in

consultation with the TAC, subject, in each case, to the approval of the Bankruptcy Court. In the

event a majority of the Trustees cannot agree, or a nominee has not been pre-selected, the

successor shall be chosen by the Bankruptcy Court.

        6.4     Futures Representative’s Employment of Professionals.

                (a)     The Futures Representative may, but is not required to, retain and/or

consult counsel, accountants, appraisers, auditors, forecasters, experts, and financial and

investment advisors, and such other parties deemed by the Futures Representative to be qualified

as experts on matters submitted to the Futures Representative (the “Futures Representative

Professionals”). The Futures Representative and the Futures Representative Professionals shall

at all times have complete access to the PI Trust’s officers, employees and agents, as well as to

the Trust Professionals, and shall also have complete access to all information generated by them



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or otherwise available to the PI Trust or the Trustees provided that any information provided by

the Trust Professionals shall not constitute a waiver of any applicable privilege. In the absence of

gross negligence, the written opinion of or information provided by any Futures Representative

Professional or Trust Professional deemed by the Futures Representative to be qualified as an

expert on the particular matter submitted to the Futures Representative shall be full and complete

authorization and protection in support of any action taken, or not taken, by the Futures

Representative in good faith and in accordance with the written opinion of or information

provided by the Futures Representative Professional or Trust Professional.

                (b)    The PI Trust shall promptly reimburse, or pay directly if so instructed, the

Futures Representative for all reasonable fees and costs associated with the Futures

Representative’s employment of legal counsel pursuant to this provision in connection with the

Futures Representative’s performance of his or her duties hereunder. The PI Trust shall also

promptly reimburse, or pay directly if so instructed, the Futures Representative for all reasonable

fees and costs associated with the Futures Representative’s employment of any other Futures

Representative Professionals pursuant to this provision in connection with the Futures

Representative’s performance of his or her duties hereunder; provided, however, that (i) the

Futures Representative has first submitted to the PI Trust a written request for such

reimbursement setting forth the reasons (A) why the Futures Representative desires to employ

the Futures Representative Professional, and (B) why the Futures Representative cannot rely on

Trust Professionals to meet the need of the Futures Representative for such expertise or advice,

and (ii) the PI Trust has approved the Futures Representative’s request for reimbursement in

writing. If the PI Trust agrees to pay for the Futures Representative Professional, such

reimbursement shall be treated as a PI Trust expense. If the PI Trust declines to pay for the



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Futures Representative Professional, it must set forth its reasons in writing. If the Futures

Representative still desires to employ the Futures Representative Professional at the PI Trust’s

expense, the Futures Representative and/or the Trustees shall resolve their dispute pursuant to

Section 7.13 below.

       6.5     Compensation and Expenses of the Futures Representative. The Futures

Representative shall receive compensation from the PI Trust in the form of payment at the

Futures Representative’s normal hourly rate for services performed. The PI Trust will promptly

reimburse the Futures Representative for all reasonable out-of-pocket costs and expenses

incurred by the Futures Representative in connection with the performance of his or her duties

hereunder. Such reimbursement or direct payment shall be deemed a PI Trust expense. The PI

Trust shall include a description of the amounts paid under this Section 6.5 in the Annual Report

to be filed with the Bankruptcy Court and provided to the Futures Representative and the TAC

pursuant to Section 2.2(c)(i).

       6.6     Procedures for Consultation with and Obtaining the Consent of the Futures
               Representative.

               (a)     Consultation Process.

                       (i)       In the event the Trustees are required to consult with the Futures

Representative pursuant to Section 2.2(e) above or on any other matters specified herein, the

Trustees shall provide the Futures Representative with written advance notice of the matter under

consideration, and with all relevant information concerning the matter as is reasonably

practicable under the circumstances. The Trustees shall also provide the Futures Representative

with such reasonable access to the Trust Professionals and other experts retained by the PI Trust

and its staff (if any) as the Futures Representative may reasonably request during the time that

the Trustees are considering such matter, and shall also provide the Futures Representative the


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opportunity, at reasonable times and for reasonable periods of time, to discuss and comment on

such matter with the Trustees.

                       (ii)    In determining when to take definitive action on any matter subject

to the consultation process set forth in this Section 6.6(a), the Trustees shall take into

consideration the time required for the Futures Representative, if he or she so wishes, to engage

and consult with his or her own independent financial or investment advisors as to such matter.

In any event, the Trustees shall not take definitive action on any such matter until at least thirty

(30) days after providing the Futures Representative with the initial written notice that such

matter is under consideration by the Trustees, unless such period is waived by the Futures

Representative.

               (b)     Consent Process.

                       (i)     In the event the Trustees are required to obtain the consent of the

Futures Representative pursuant to Section 2.2(f) above, the Trustees shall provide the Futures

Representative with a written notice stating that his or her consent is being sought pursuant to

that provision, describing in detail the nature and scope of the action the Trustees propose to

take, and explaining in detail the reasons why the Trustees desire to take such action. The

Trustees shall provide the Futures Representative as much relevant additional information

concerning the proposed action as is reasonably practicable under the circumstances. The

Trustees shall also provide the Futures Representative with such reasonable access to the Trust

Professionals and other experts retained by the PI Trust and its staff (if any) as the Futures

Representative may reasonably request during the time that the Trustees are considering such

action, and shall also provide the Futures Representative the opportunity, at reasonable times and

for reasonable periods of time, to discuss and comment on such action with the Trustees.



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                         (ii)    The Futures Representative must consider in good faith and in a

timely fashion any request for his or her consent by the Trustees, and must in any event advise

the Trustees in writing of his or her consent or objection to the proposed action within thirty (30)

days of receiving the original request for consent from the Trustees. The Futures Representative

may not withhold his or her consent unreasonably. If the Futures Representative decides to

withhold consent, he or she must explain in detail his or her objections to the proposed action. If

the Futures Representative does not advise the Trustees in writing of his or her consent or

objections to the proposed action within thirty (30) days of receiving the notice from the Trustees

regarding such consent, the Futures Representative’s consent shall be deemed to have been

affirmatively granted.

                         (iii)   If, after following the procedures specified in this Section 6.6(b),

the Futures Representative continues to object to the proposed action and to withhold its consent

to the proposed action, the Trustees and/or the Futures Representative shall resolve their dispute

pursuant to Section 7.13. However, the burden of proof with respect to the validity of the

Futures Representative’s objection and withholding of his or her consent shall be on the Futures

Representative.

                                            SECTION VII

                                     GENERAL PROVISIONS

       7.1     Irrevocability. To the fullest extent permitted by applicable law, the PI Trust is

irrevocable.




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         7.2    Term; Termination.

               (a)     The term for which the PI Trust is to exist shall commence on the date of

the filing of the Certificate of Trust and shall terminate pursuant to the provisions of Section 7.2

below.

               (b)     The PI Trust shall automatically dissolve on the date (the “Dissolution

Date”) ninety (90) days after the first to occur of the following events:

                       (i)     the date on which the Trustees decide to dissolve the PI Trust

because (A) they deem it unlikely that new asbestos claims will be filed against the PI Trust,

(B) all PI Trust Claims duly filed with the PI Trust have been liquidated and paid to the extent

provided in this PI Trust Agreement and the TDP or have been disallowed by a final non-

appealable order, to the extent possible based upon the funds available through the Plan, and

(C) twelve (12) consecutive months have elapsed during which no new asbestos claim has been

filed with the PI Trust; or

                       (ii)    if the Trustees have procured and have in place irrevocable

insurance policies and have established claims handling agreements and other necessary

arrangements with suitable third parties adequate to discharge all expected remaining obligations

and expenses of the PI Trust in a manner consistent with this PI Trust Agreement and the TDP,

the date on which the Bankruptcy Court enters an order approving such insurance and other

arrangements and such order becomes a final order; or

                       (iii)   to the extent that any rule against perpetuities shall be deemed

applicable to the PI Trust, the date on which twenty-one (21) years less ninety-one (91) days pass

after the death of the last survivor of all of the descendants of the late Joseph P. Kennedy, Sr.,

father of the late President John F. Kennedy, living on the date hereof.



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               (c)     On the Dissolution Date or as soon as reasonably practicable, after the

wind-up of the PI Trust’s affairs by the Trustees and payment of all the PI Trust’s liabilities have

been provided for as required by applicable law including Section 3808 of the Act, all monies

remaining in the PI Trust estate shall be given to such organization(s) exempt from federal

income tax under section 501(c)(3) of the Internal Revenue Code, which tax-exempt

organization(s) shall be selected by the Trustees using their reasonable discretion; provided,

however, that (i) if practicable, the activities of the selected tax-exempt organization(s) shall be

related to the treatment of, research on, or the relief of suffering of individuals suffering from

asbestos related lung disease or disorders, and (ii) the tax-exempt organization(s) shall not bear

any relationship to the Reorganized Debtors within the meaning of section 468B(d)(3) of the

Internal Revenue Code. Notwithstanding any contrary provision of the Plan and related

documents, this Section 7.2(c) cannot be modified or amended.

               (d)     Following the dissolution and distribution of the assets of the PI Trust, the

PI Trust shall terminate and the Trustees, or any one of them, shall execute and cause a

Certificate of Cancellation of the Certificate of Trust of the PI Trust to be filed in accordance

with the Act. Notwithstanding anything to the contrary contained in this PI Trust Agreement, the

existence of the PI Trust as a separate legal entity shall continue until the filing of such

Certificate of Cancellation.

       7.3     Amendments. The Trustees, after consultation with the TAC and the Futures

Representative, and subject to the unanimous consent of the TAC and the Futures

Representative, may modify or amend this PI Trust Agreement and the PI Trust By-laws. The

Trustees, after consultation with the TAC and the Futures Representative, and subject to the

consent of the TAC and the Futures Representative, may modify or amend the TDP; provided,



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however, that no amendment to the TDP shall be inconsistent with the provisions limiting

amendments to that document provided therein, and in particular the provisions limiting

amendment of the Claims Payment Ratio set forth in Section 2.5 of the TDP and of the Payment

Percentage set forth in Section 4.2 of the TDP. Any modification or amendment made pursuant

to this Article must be done in writing. Notwithstanding anything contained in this PI Trust

Agreement or the TDP to the contrary, neither this PI Trust Agreement, the PI Trust Bylaws, the

TDP, nor any document annexed to the foregoing shall be modified or amended in any way that

could jeopardize, impair, or modify (i) Section 2.4 of this PI Trust Agreement unless expressly

consented to in writing by each of Sealed Air Corporation and Cryovac, Inc. in its absolute

discretion, (ii) the applicability of section 524(g) of the Bankruptcy Code to the Plan and the

Confirmation Order, (iii) the efficacy or enforceability of the Asbestos PI Channeling Injunction,

the Successor Claims Injunction, or any other injunction or release issued or granted in favor of

any (or all) of the Sealed Air Indemnified Parties or the Fresenius Indemnified Parties in

connection with the Plan, (iv) the PI Trust’s qualified settlement fund status under the QSF

Regulations, or (v) any provision, condition, or restriction relating to or with respect to the

Sealed Air Common Stock in the Plan, the Confirmation Order, the Sealed Air Settlement

Agreement, or in this PI Trust Agreement (unless expressly consented to in writing by each of

Sealed Air Corporation and Cryovac, Inc. in its absolute discretion).

       7.4     Meetings. The Delaware Trustee shall not be required nor permitted to attend

meetings relating to the PI Trust.

       7.5     Severability. Should any provision in this PI Trust Agreement be determined to

be unenforceable, such determination shall in no way limit or affect the enforceability and

operative effect of any and all other provisions of this PI Trust Agreement.



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       7.6     Notices. Notices to persons asserting claims shall be given by first class mail,

postage prepaid, at the address of such person, or, where applicable, such person’s legal

representative, in each case as provided on such person’s claim form submitted to the PI Trust

with respect to his or her PI Trust Claim.

               (a)     Any notices or other communications required or permitted hereunder to

the following parties shall be in writing and delivered at the addresses designated below, or sent

by e-mail or facsimile pursuant to the instructions listed below, or mailed by registered or

certified mail, return receipt requested, postage prepaid, addressed as follows, or to such other

address or addresses as may hereafter be furnished in writing to each of the other parties listed

below in compliance with the terms hereof.

To the PI Trust through the Trustees:

       [TO COME]


To the Delaware Trustee:

       Wilmington Trust Company
       1100 N. Market Street
       Wilmington, DE 19890-1625
       Attention: Corporate Custody


To the TAC:

       Russell Budd, Esq.
       Baron & Budd, PC
       3102 Oak Lawn Avenue, Suite 1100
       Dallas, TX 75219
       Facsimile: (214) 520-1181
       E-mail: rbudd@baronbudd.com




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       John D. Cooney, Esq.
       Cooney & Conway
       120 N. LaSalle Street, 30th Floor
       Chicago, IL 60602
       Facsimile: (312) 236-3029
       E-mail: jcooney@cooneyconway.com

       Joseph F. Rice, Esq.
       Motley Rice LLC
       28 Bridgeside Boulevard
       Mount Pleasant, NC 29464
       Facsimile: (843) 216-9450
       E-mail: jrice@motleyrice.com

       Perry Weitz, Esq.
       Weitz & Luxenberg
       180 Maiden Lane
       New York, NY 10038
       Facsimile: (212) 344-5461
       E-mail: pweitz@weitzlux.com


To the Futures Representative:

       David T. Austern, Esq.
       Futures Representative
       3110 Fairview Park Drive, Suite 200
       P.O. Box 12003
       Falls Church, VA 22042
       Facsimile: (703) 205-6249
       E-mail: daustern@claimsres.com

To the Reorganized Debtors:

       W.R. Grace & Co.
       Attn:




       (b)     All such notices and communications if mailed shall be effective when physically

delivered at the designated addresses or, if electronically transmitted, when the communication is

received at the designated addresses and confirmed by the recipient by return transmission.


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       7.7     Successors and Assigns. The provisions of this PI Trust Agreement shall be

binding upon and inure to the benefit of the Debtors, the PI Trust, the Trustees, and the

Reorganized Debtors, and their respective successors and assigns, except that neither the

Debtors, the PI Trust, the Trustees, nor the Reorganized Debtors may assign or otherwise

transfer any of its, or their, rights or obligations, if any, under this PI Trust Agreement except, in

the case of the PI Trust and the Trustees, as contemplated by Section 2.1 above.

       7.8     Limitation on Claim Interests for Securities Laws Purposes. PI Trust Claims,

and any interests therein (a) shall not be assigned, conveyed, hypothecated, pledged, or otherwise

transferred, voluntarily or involuntarily, directly or indirectly, except by will or under the laws of

descent and distribution; (b) shall not be evidenced by a certificate or other instrument; (c) shall

not possess any voting rights; and (d) shall not be entitled to receive any dividends or interest;

provided, however, that clause (a) of this Section 7.8 shall not apply to the holder of a claim that

is subrogated to a PI Trust Claim as a result of its satisfaction of such PI Trust Claim.

       7.9     Entire Agreement; No Waiver. The entire agreement of the parties relating to

the subject matter of this PI Trust Agreement is contained herein and in the documents referred

to herein, and this PI Trust Agreement and such documents supersede any prior oral or written

agreements concerning the subject matter hereof. No failure to exercise or delay in exercising

any right, power or privilege hereunder shall operate as a waiver thereof, nor shall any single or

partial exercise of any right, power or privilege hereunder preclude any further exercise thereof

or of any other right, power or privilege. The rights and remedies herein provided are

cumulative and are not exclusive of rights under law or in equity.




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       7.10    Headings. The headings used in this PI Trust Agreement are inserted for

convenience only and do not constitute a portion of this PI Trust Agreement, nor in any manner

affect the construction of the provisions of this PI Trust Agreement.

       7.11    Governing Law. This PI Trust Agreement shall be governed by, and construed

in accordance with, the laws of the State of Delaware, without regard to Delaware conflict of law

principles.

       7.12    Settlors’ Representative and Cooperation. The Debtors are hereby irrevocably

designated as the Settlors, and they are hereby authorized to take any action required of the

Settlors by the Trustees in connection with the PI Trust Agreement. The Reorganized Debtors

agree to cooperate in implementing the goals and objectives of this PI Trust Agreement.

       7.13    Dispute Resolution. Any disputes that arise under this PI Trust Agreement or

under the TDP among the parties hereto shall be resolved by submission of the matter to an

alternative dispute resolution (“ADR”) process mutually agreeable to the parties involved.

Should any party to the ADR process be dissatisfied with the decision of the arbitrator(s), that

party may apply to the Bankruptcy Court for a judicial determination of the matter. Any review

conducted by the Bankruptcy Court shall be de novo. In any case, if the dispute arose pursuant

to the consent provision set forth in Section 5.7(b) (in the case of the TAC) or Section 6.6(b) (in

the case of the Futures Representative), the burden of proof shall be on the party or parties who

withheld consent to show that the objection was valid. Should the dispute not be resolved by the

ADR process within thirty (30) days after submission, the parties are relieved of the requirement

to pursue ADR prior to application to the Bankruptcy Court. If the Trustees determine that the

matter in dispute is exigent and cannot await the completion of the ADR process, the Trustees




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shall have the discretion to elect out of the ADR process altogether or at any stage of the process

and seek resolution of the dispute in the Bankruptcy Court.

       7.14    Enforcement and Administration. The provisions of this PI Trust Agreement

and the TDP attached hereto shall be enforced by the Bankruptcy Court pursuant to the Plan.

The parties hereby further acknowledge and agree that the Bankruptcy Court shall have

exclusive jurisdiction over the settlement of the accounts of the Trustees and over any disputes

hereunder not resolved by alternative dispute resolution in accordance with Section 7.13 above.

       7.15    Effectiveness. This PI Trust Agreement shall not become effective until it has

been executed and delivered by all the parties hereto.

       7.16    Counterpart Signatures. This PI Trust Agreement may be executed in any

number of counterparts, each of which shall constitute an original, but such counterparts shall

together constitute but one and the same instrument.




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         IN WITNESS WHEREOF, the parties have executed this PI Trust Agreement this

_____ day of ________________________, 2009.


W.R. GRACE & CO.



By:


Title:



[ADD NAMES OF OTHER DEBTORS]



By:


Title:




                                [Signature Pages to PI Trust Agreement]



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TRUSTEES                                                    ASBESTOS CLAIMANTS’ COMMITTEE



                                                            By:
Name: Harry Huge
Expiration Date of Initial Term: _________
Anniversary of the date of this PI Trust Agreement          DELAWARE TRUSTEE



                                                            By:
Name: Lewis Sifford
Expiration Date of Initial Term: _________
Anniversary of the date of this PI Trust Agreement




Name: Dean Trafelet
Expiration Date of Initial Term: _________
Anniversary of the date of this PI Trust Agreement




                                       [Signature Pages to PI Trust Agreement]



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                                         TRUST ADVISORY COMMITTEE




                                         Name: Russell W. Budd
                                         Expiration Date of Initial Term: _____ Anniversary of
                                         the date of this PI Trust Agreement




                                         Name: John D. Cooney
                                         Expiration Date of Initial Term: _____ Anniversary of
                                         the date of this PI Trust Agreement




                                         Name: Joseph F. Rice
                                         Expiration Date of Initial Term: _____ Anniversary of
                                         the date of this PI Trust Agreement




                                         Name: Perry Weitz
                                         Expiration Date of Initial Term: _____ Anniversary of
                                         the date of this PI Trust Agreement



                                         FUTURES REPRESENTATIVE



                                         _____________________________________
                                         David T. Austern




                    [Signature Pages to PI Trust Agreement]



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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               )        Chapter 11
                                                     )
W. R. GRACE & CO., et al.1                           )        Case No. 01-01139 (JKF)
                                                     )        Jointly Administered
                         Debtors.                    )
                                                     )
                                                     )
                                                     )


                                 EXHIBIT 3 TO EXHIBIT BOOK
                               ASBESTOS PD TRUST AGREEMENT

                                                                                                  EXHIBIT 3

         Attached.




1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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    WRG ASBESTOS PROPERTY DAMAGE SETTLEMENT TRUST AGREEMENT

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    WRG ASBESTOS PROPERTY DAMAGE SETTLEMENT TRUST AGREEMENT



        This WRG Asbestos Property Damage Settlement Trust Agreement (this “PD Trust

Agreement”), dated the date set forth on the signature page hereof and effective as of the

Effective Date, is entered into, pursuant to the Joint Plan of Reorganization Under Chapter 11 of

the Bankruptcy Code of W. R. Grace & Co., et al., the Official Committee of Asbestos Personal

Injury Claimants, the Asbestos PI Future Claimants’ Representative, and the Official Committee

of Equity Security Holders dated as of February 27, 2009 (as it may be amended or modified, the

“Plan”),1 by W. R. Grace & Co. and the other Debtors (collectively referred to as the “Debtors,”

“Grace,” or the “Settlors”), the debtors and debtors-in-possession whose chapter 11 cases are

jointly administered under Case No. 01-1139-JKF in the United States Bankruptcy Court for the

District of Delaware; the Asbestos PD Future Claimants’ Representative (the “PD FCR”); the

Official Committee of Asbestos Property Damage Claimants (the “PD Committee”); the

Asbestos PD Trustees (the “Trustees”); Wilmington Trust Company (the “Delaware Trustee”);

and the members of the Zonolite Attic Insulation Trust Advisory Committee (the “ZTAC” or

“ZTAC Members”) identified on the signature page hereof; and

        WHEREAS, the Debtors have reorganized under the provisions of chapter 11 of the

Bankruptcy Code in cases filed in the United States Bankruptcy Court for the District of

Delaware, jointly administered and known as In re W.R. Grace & Co., et al., Case No. 01-1139-

JKF; and



1   All capitalized terms not otherwise defined herein shall have their respective meanings as set forth in the Plan,
    and such definitions are incorporated herein by reference; provided, however, that “Asbestos PD Claims” as
    defined in the Plan shall be referred to herein as “PD Trust Claims.” All capitalized terms not defined herein
    or defined in the Plan, but defined in the Bankruptcy Code or Rules, shall have the meanings ascribed to them
    by the Bankruptcy Code and Rules, and such definitions are incorporated herein by reference.




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        WHEREAS, the Confirmation Order has been entered by the Bankruptcy Court and

affirmed by the District Court; and

        WHEREAS, the Plan provides, inter alia, for the creation of the WRG Asbestos PD

Trust (the “PD Trust”); and

        WHEREAS, pursuant to the Plan, the PD Trust is to use its assets and income to satisfy

all PD Trust Claims and all costs and expenses incurred in relation thereto; and

        WHEREAS, it is the intent of Grace, the Trustees, the PD Committee, the ZTAC, and

the PD FCR that the PD Trust be administered, maintained, and operated at all times through

mechanisms that provide reasonable assurance that the PD Trust will satisfy all PD Trust Claims

pursuant to either (1) in the case of PD Trust Claims in Class 7A under the Plan (“Class 7A

Claims”), the Case Management Order for Class 7A Asbestos PD Claims (the “Class 7A

CMO”)2 to be entered by the Bankruptcy Court, PD Settlement Agreements, or Final Orders of

the Court determining the Allowed Amount of the Unresolved Asbestos PD Claims in Class 7A;

or (2) in the case of PD Trust Claims in Class 7B (“Class 7B Claims”), the WRG United States

Zonolite Attic Insulation (“US ZAI”) Property Damage Settlement Trust Distribution

Procedures, incorporating the ZAI Class Settlement Agreement (the “ZAI TDP”);3 and

        WHEREAS, all rights of the holders of PD Trust Claims arising under this PD Trust

Agreement and the ZAI TDP shall vest upon the Effective Date; and

        WHEREAS, pursuant to the Plan, the PD Trust is intended to qualify as a “qualified

settlement fund” within the meaning of section 1.468B-1 et seq. of the Treasury Regulations

promulgated under section 468B of the Internal Revenue Code (the “QSF Regulations”); and


2   On the Effective Date, the Class 7A CMO, in its final form, will be attached hereto at Exhibit 1.

3   On the Effective Date, the ZAI TDP, in its final form, will be attached hereto at Exhibit 2.


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       WHEREAS, the Bankruptcy Court has determined that the PD Trust and the Plan satisfy

all the prerequisites for an injunction pursuant to section 524(g) of the Bankruptcy Code with

respect to any and all PD Trust Claims, and such injunction has been entered in connection with

the Confirmation Order;

       NOW, THEREFORE, it is hereby agreed as follows:

                                          SECTION I

                                  AGREEMENT OF TRUST

       1.1     Creation and Name. The Debtors as Settlors hereby create a trust known as the

“WRG Asbestos PD Trust,” which is the PD Trust provided for and referred to in the Plan. The

Trustees of the PD Trust shall transact the business and affairs of the PD Trust in the name of the

PD Trust, and references herein to the PD Trust shall include a Trustee or Trustees acting on

behalf of the PD Trust. The PD Trust will have a separate ZAI Trustee who will administer all

funds paid pursuant to the ZAI Term Sheet as incorporated in the Deferred Payment Agreement

(Class 7B ZAI) and all earnings thereof (the “ZAI Trust Assets”), the ZAI Claims Process, the

ZAI educational program and all related ZAI matters. The ZAI Trust Assets will not be co-

mingled with any other assets in the PD Trust. The ZAI Trustee and any successor will be

chosen by the ZTAC and the PD FCR. It is the intention of the parties hereto that the trust

created hereby constitute a statutory trust under Chapter 38 of title 12 of the Delaware Code, 12

Del. C. § 3801 et seq. (the “Act”) and that this document, together with the by-laws described

herein, constitute the governing instruments of the PD Trust. The Trustees and the Delaware

Trustee are hereby authorized and directed to execute and file a Certificate of Trust with the

Delaware Secretary of State in the form attached hereto.




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       1.2     Purpose.     The purpose of the PD Trust is to assume all liabilities and

responsibility for all PD Trust Claims, and, among other things to: (a) assume, and direct and

perform the processing, liquidation and payment of all Class 7A Claims in accordance with the

Plan, this PD Trust Agreement, the Class 7A CMO, any judgments pursuant to the Class 7A

CMO, PD Settlement Agreements, and the Final Orders by the Court determining the Allowed

Amount of the Unresolved Asbestos PD Claims in Class 7A; (b) direct the processing,

liquidation and payment of all Class 7B Claims in accordance with the Plan, this PD Trust

Agreement, and the ZAI TDP; (c) preserve, hold, manage, and maximize the assets of the PD

Trust for use in paying and satisfying PD Trust Claims and all costs and expenses incurred in

relation thereto; (d) qualify at all times as a qualified settlement fund for federal income tax

purposes within the meaning of the treasury regulations issued pursuant to Section 468B of the

IRC; and (e) otherwise carry out the provisions of this PD Trust Agreement, the ZAI TDP, and

any other agreements into which the Trustees have entered or will enter in connection with the

Plan. The PD Trust is to use the PD Trust’s assets and income to pay the holders of all PD Trust

Claims in accordance with this PD Trust Agreement, the Class 7A CMO and the ZAI TDP in

such a way that such holders of PD Trust Claims are treated fairly, equitably, and reasonably in

light of the assets available to satisfy such claims, and to otherwise comply in all respects with

the requirements of a trust set forth in section 524(g)(2)(B) of the Bankruptcy Code.


       1.3     Transfer of Assets.

       (a)     Pursuant to, and in accordance with, Section 7.3.2 of the Plan, on the Effective

Date, Cryovac, Inc. shall transfer directly to the Asbestos PD Trust its share of the amount of the

Class 7A Initial Payment and Fresenius shall transfer directly to the Asbestos PD Trust its share

of the amount of the Class 7A Initial Payment. The Class 7A Initial Payment shall remain


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segregated from (i) the Class 7B Initial Payment and (ii) any payments made to the Asbestos PD

Trust on account of CDN ZAI PD Claims.

       (b)     Pursuant to, and in accordance with, Section 7.3.2 of the Plan, on the Effective

Date, the Asbestos PD Trust shall assume, or shall be deemed to have assumed, the PD

Settlement Agreements and shall immediately reserve and segregate from the Class 7A Initial

Payment all amounts required to be paid upon the occurrence of the Effective Date pursuant to

PD Settlement Agreements that require such payment, and shall provide for the payment of such

amounts in the manner and at the time set forth in such PD Settlement Agreements.

       (c)     Pursuant to, and in accordance with, Section 7.3.2 of the Plan, on the Effective

Date, Cryovac, Inc. shall transfer directly to the Asbestos PD Trust its share of the amount of the

Class 7B Initial Payment and Fresenius shall transfer directly to the Asbestos PD Trust its share

of the amount of the Class 7B Initial Payment. The Class 7B Initial Payment shall remain

segregated from (i) the Class 7A Initial Payment and (ii) any payments made to the Asbestos PD

Trust on account of CDN ZAI PD Claims.

       (d)     Pursuant to, and in accordance with, Section 7.3.2 of the Plan, on the Effective

Date, Grace-Conn or Parent shall, on behalf of the Reorganized Debtors and the Non-Debtor

Affiliates, transfer to the Asbestos PD Trust all funds as set forth in the CDN ZAI Minutes of

Settlement. The Asbestos PD Trust shall immediately transfer the amounts set forth in the CDN

ZAI Minutes of Settlement to the CDN ZAI PD Claims Fund to be used in the manner set forth

in the CDN ZAI Minutes of Settlement. In no event shall the Asbestos PD Initial Payment (or

any portion thereof) be transferred to the CDN ZAI PD Claims Fund.

       (e)     Pursuant to, and in accordance with, Section 7.3.2 of the Plan, after the Effective

Date, Grace-Conn or Parent shall, on behalf of the Reorganized Debtors and the Non-Debtor



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Affiliates, transfer to the Asbestos PD Trust all funds as set forth in the Class 7A Asbestos PD

Deferred Payment Agreement and the Class 7B Asbestos PD Deferred Payment Agreement.

Funds transferred pursuant to the Class 7A Asbestos PD Deferred Payment Agreement shall

remain segregated from funds transferred pursuant to the Class 7B Asbestos PD Deferred

Payment Agreement.

       (f)    In addition, on the Effective Date, by virtue of the confirmation of the Plan,

without further notice, action, or deed, the Asbestos PD Trust Causes of Action shall be

automatically transferred and assigned to, and indefeasibly vested in, the Asbestos PD Trust, and

the Asbestos PD Trust shall thereby become the estate representative pursuant to section

1123(b)(3)(B) of the Bankruptcy Code with respect to the Asbestos PD Trust Causes of Action,

with the exclusive right to enforce the Asbestos PD Trust Causes of Action, against any Entity,

except those related to Claims and Demands in Class 7A, which shall be enforced by the

Reorganized Debtors on behalf of the Asbestos PD Trust, and the proceeds of the recoveries of

such Asbestos PD Trust Causes of Action shall be deposited in and shall become the property of

the Asbestos PD Trust; provided, however, that nothing herein shall alter, amend or modify the

injunctions and/or releases provided under the Plan including the Asbestos PD Channeling

Injunction, the Asbestos PI Channeling Injunction, the Successor Claims Injunction, and the

Asbestos Insurance Entity Injunction.

       (g)    In all events, the transfers on account of Class 7A Claims (the “Non-ZAI Trust

Assets”) and the transfers of ZAI Trust Assets (collectively the “PD Trust Assets”), along with

the CDN Assets, or any other assets to be transferred to the PD Trust under the Plan will be

transferred to the PD Trust free and clear of any liens or other claims by the Debtors,

Reorganized Debtors, any creditor, or other entity except as otherwise provided in the Plan. The



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Debtors and the Reorganized Debtors shall also execute and deliver such documents to the PD

Trust as the Trustees reasonably request to transfer and assign any PD Trust Assets to the PD

Trust.

         1.4   Acceptance of Assets and Assumption of Liabilities.

               (a)     In furtherance of the purposes of the PD Trust, the PD Trust hereby

expressly accepts the transfer to the PD Trust of the PD Trust Assets and any other transfers

contemplated by the Plan in the time and manner as, and subject to the terms, contemplated in

the Plan.


               (b)     In furtherance of the purposes of the PD Trust and in accordance with the

Plan, the PD Trust expressly assumes all liabilities and responsibility for all PD Trust Claims,

and the Reorganized Debtors, the Sealed Air Indemnified Parties, the Fresenius Indemnified

Parties, and all other Asbestos Protected Parties shall have no further financial or other

responsibility or liability therefor, except, in the case of the Reorganized Debtors, as provided for

in the Class 7A Deferred Payment Agreement, the Class 7B Deferred Payment Agreement, the

W. R. Grace & Co. Guarantee Agreement (Class 7A PD), the W. R.. Grace & Co. Guarantee

Agreement (Class 7B ZAI) and the Share Issuance Agreement. In addition, the PD Trust

assumes the obligations of the PD Settlement Agreements. Except as otherwise provided in this

PD Trust Agreement, the Class 7A CMO, and the ZAI TDP, the PD Trust shall have, with

respect to all Asbestos PD Claims other than Asbestos PD Claims that have been allowed

pursuant to PD Settlement Agreements, all defenses, cross-claims, offsets, and recoupments, as

well as rights of indemnification, contribution, subrogation, and similar rights, regarding such

claims that Grace or the Reorganized Debtors have or would have had under applicable law.

Regardless of the foregoing, however, a claimant must meet otherwise applicable federal, state


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and foreign statutes of limitations and repose, except as otherwise provided in Section 5.1.2 of

the ZAI TDP.


               (c)     No provision herein or in the Class 7A CMO or ZAI TDP shall be

construed or implemented in a manner that would cause the PD Trust to fail to qualify as a

“qualified settlement fund” under the QSF Regulations.


               (d)     Nothing in this PD Trust Agreement shall be construed to be inconsistent

with any material provision of the Plan, the ZAI TDP, or the PD CMO, or in any way to limit (i)

the scope, enforceability, or effectiveness of the Asbestos PD Channeling Injunction or the

Successor Claims Injunction, or any other injunction or release issued or granted in favor of any

(or all) of the Sealed Air Indemnified Parties or the Fresenius Indemnified Parties in connection

with the Plan, or (ii) subject to the provisions of Section 1.3(f) above and Section 2.1(d) below,

the PD Trust’s assumption of all liability for PD Trust Claims.


                                          SECTION II

                         POWERS AND TRUST ADMINISTRATION

       2.1     Powers.

               (a)     The Trustees are and shall act as the fiduciaries to the PD Trust in

accordance with the provisions of this PD Trust Agreement and the Plan. The Trustees shall, at

all times, administer the PD Trust and the PD Trust Assets in accordance with the purposes set

forth in Section 1.2 above. Subject to the limitations set forth in this PD Trust Agreement, the

Trustees shall have the power to take any and all actions that, in the judgment of the Trustees, are

necessary or proper to fulfill the purposes of the PD Trust, including, without limitation, each




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power expressly granted in this Section 2.1, any power reasonably incidental thereto, and any

trust power now or hereafter permitted under the laws of the State of Delaware.


               (b)    Except as required by applicable law or otherwise specified herein, the

Trustees need not obtain the order or approval of any court in the exercise of any power or

discretion conferred hereunder.


               (c)    Without limiting the generality of Section 2.1(a) above, and except as

limited below, the respective Trustees shall have the power with regard to the assets under their

control to:


                      (i)     receive and hold the PD Trust Assets and exercise all rights with

respect thereto (except that, notwithstanding any other provision of this Section 2.1, the PD Trust

shall assume, as of the Effective Date, and shall pay, as and when due, without any deduction,

proration, reduction, setoff or discount, the obligations owed to the holder of any Allowed

Asbestos PD Claim under any PD Settlement Agreement), including the right to vote and sell

any securities that are included in the PD Trust Assets;


                      (ii)    prudently invest the monies held from time to time by the PD

Trust;


                      (iii)   sell, transfer, or exchange any or all of the PD Trust Assets at such

prices and upon such terms as the Trustees may consider proper, consistent with the other terms

of this PD Trust Agreement;


                      (iv)    enter into leasing and financing agreements with third parties to the

extent such agreements are reasonably necessary to permit the PD Trust to operate;


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                       (v)      pay liabilities and expenses of the PD Trust;


                       (vi)     establish such funds, reserves, and accounts within the PD Trust

estate, as deemed by the Trustees to be useful in carrying out the purposes of the PD Trust;


                       (vii)    sue and be sued and participate, as a party or otherwise, in any

judicial, administrative, arbitrative, or other proceeding;


                       (viii)   establish, supervise, and administer the PD Trust in accordance

with (1) this PD Trust Agreement, the Class 7A CMO, and the terms hereof for PD Trust Claims

in Class 7A and (2) this PD Trust Agreement, the ZAI TDP, and the terms hereof for PD Trust

Claims in Class 7B;


                       (ix)     appoint such officers and hire such employees and engage such

legal, financial, accounting, investment, auditing, forecasting, and other consultants and agents

as the business of the PD Trust requires, and delegate to such persons such powers and

authorities as the fiduciary duties of the Trustees permit and as the Trustees, in their discretion,

deem advisable or necessary in order to carry out the terms of this PD Trust;


                       (x)      pay reasonable compensation to employees, legal, financial,

accounting, investment, auditing, and forecasting, and other consultants, advisors, and agents,

including those engaged by the PD Trust in connection with its alternative dispute resolution

activities;


                       (xi)     compensate the Trustees, the Delaware Trustee, the ZTAC

Members, and the PD FCR as provided below, and their employees, legal, financial, accounting,

investment, and other advisors, consultants, independent contractors, and agents, and reimburse


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the Trustees, the Delaware Trustee, the ZTAC Members, and the PD FCR all reasonable out-of-

pocket costs and expenses incurred by such persons in connection with the performance of their

duties hereunder;


                       (xii)    execute and deliver such instruments as the Trustees consider

proper in administering the PD Trust;


                       (xiii)   enter into such other arrangements with third parties as are deemed

by the Trustees to be useful in carrying out the purposes of the PD Trust, provided such

arrangements do not conflict with any other provision of this PD Trust Agreement;


                       (xiv)    delegate any or all of the authority herein conferred with respect to

the investment of all or any portion of the PD Trust Assets to any one or more reputable

individuals or recognized institutional investment advisors or investment managers without

liability for any action taken or omission made because of any such delegation, except as

provided in Section 4.4 below;


                       (xv)     consult with the ZTAC in the case of Class 7B issues and the PD

FCR at such times and with respect to such issues relating to the conduct of the PD Trust as the

respective Trustees consider desirable;


                       (xvi)    make, pursue (by litigation or otherwise), collect, compromise or

settle, in the name of the PD Trust, any claim, right, action, or cause of action included in the PD

Trust Assets before any court of competent jurisdiction; and


                       (xvii) provide books, records, and other materials to Grace pursuant to

Section 7.13 herein and the provisions of the ZAI TDP governing Grace’s audit rights.


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               (d)     Notwithstanding the foregoing, the Reorganized Debtors shall, in their

sole discretion, and on behalf of the PD Trust, prosecute and defend all proceedings initiated

under the PD CMO or a complaint filed in the federal district courts pursuant to the PD CMO for

the allowance of any Class 7A Claims.


               (e)     The Trustees shall not have the power to guarantee any debt of other

persons.


               (f)     The Trustees agree to take the actions of the PD Trust required hereunder.


               (g)     The Trustee for the PD Trust Claims in Class 7A (the “Class 7A

Trustee”) shall give the PD FCR prompt notice of any act performed or taken pursuant to any

section of this agreement which requires such notice, including, without limitation, Sections

2.1(c)(i), (iii), (vii), or (xv) above, and any act proposed to be performed or taken pursuant to

Section 2.2(f) below, and the Trustee for the PD Trust Claims in Class 7B (the “Class 7B

Trustee” or the “ZAI Trustee”) shall give the PD FCR and the ZTAC prompt notice of any act

performed or taken pursuant to any section of this agreement which requires such notice,

including, without limitation, Sections 2.1(c)(i), (iii), (vii), or (xv) above, and any act proposed

to be performed or taken pursuant to Section 2.2(f) below.


       2.2     General Administration.

               (a) The Trustees shall act in accordance with the PD Trust Agreement.             In

addition, the Class 7B Trustee shall act in accordance with the ZAI TDP. The Trustees shall

adopt and act in accordance with PD Trust Bylaws. To the extent not inconsistent with the terms

of this PD Trust Agreement, the PD Trust Bylaws shall govern the affairs of the PD Trust. In the




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event of an inconsistency between the PD Trust Bylaws and this PD Trust Agreement, this PD

Trust Agreement shall govern.


               (b)    The Trustees shall (i) timely file such income tax and other returns and

statements and shall timely pay all taxes required to be paid by the PD Trust, (ii) comply with all

applicable reporting and withholding obligations, (iii) satisfy all requirements necessary to

qualify and maintain qualification of the PD Trust as a qualified settlement fund within the

meaning of the QSF Regulations, and (iv) take no action that could cause the PD Trust to fail to

qualify as a qualified settlement fund within the meaning of the QSF Regulations.


               (c)    The respective Trustees for Class 7A and Class 7B shall timely account to

the Bankruptcy Court as follows:


                      (i)     The Trustees shall cause to be prepared and filed with the

Bankruptcy Court, as soon as available, and in any event within one hundred and twenty (120)

days following the end of each fiscal year, annual reports (the “Annual Report”) for the claims

and assets under their control containing financial statements of the PD Trust (including, without

limitation, a balance sheet of the PD Trust as of the end of such fiscal year and a statement of

operations for such fiscal year) audited by a firm of independent certified public accountants

selected by the Trustees and accompanied by an opinion of such firm as to the fairness of the

financial statements’ presentation of the cash and investments available for the payment of

claims and as to the conformity of the financial statements with generally accepted accounting

principles. The Class 7A Trustee shall provide a copy of such Annual Report to the PD FCR and

Grace, and the Class 7B Trustee shall provide a copy of such Annual Report to the PD FCR, and

the ZTAC Members, and Grace when such reports are filed with the Bankruptcy Court.


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                      (ii)    Simultaneously with the filing of the Annual Report, the respective

Trustees shall cause to be prepared and filed with the Bankruptcy Court, for the claims in their

Class, a report containing a summary regarding the number and type of claims disposed of

during the period covered by the financial statements. The Class 7A Trustee shall provide a

copy of such report to the PD FCR, and the Class 7B Trustee shall provide a copy of such report

to the PD FCR and the ZTAC Members when such report is filed.


                      (iii)   All materials required to be filed with the Bankruptcy Court by this

Section 2.2(c) shall be available for inspection by the public in accordance with procedures

established by the Bankruptcy Court and shall be filed with the Office of the United States

Trustee for the District of Delaware (the “U.S. Trustee”).


               (d)    The respective Trustees shall cause to be prepared as soon as practicable

prior to the commencement of each fiscal year budgets and cash flow projections covering such

fiscal year and the succeeding four fiscal years for Class 7A Claims and Class 7B Claims. The

budgets and cash flow projections shall include a determination of the Maximum Annual

Payment pursuant to Section 2.4 of the ZAI TDP, and the Percentage Payment pursuant to

Sections 2.3 and 4.2 of the ZAI TDP. The Class 7A Trustee shall provide a copy of the budget

and cash flow projections for Class 7A Claims to the PD FCR and Grace, and the Class 7B

Trustee shall provide a copy of the budget and cash flow projections for Class 7B Claims to the

PD FCR, the ZTAC Members, and Grace.


               (e)    The Class 7A Trustee shall consult with the PD FCR (i) on the general

implementation and administration of the PD Trust; and (ii) on such other matters as may be

required under this PD Trust Agreement. The Class 7B Trustee shall consult with the PD FCR


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and the ZTAC Members (i) on the general implementation and administration of the PD Trust;

(ii) on the general implementation and administration of the ZAI TDP; and (iii) on such other

matters as may be required under this PD Trust Agreement and the ZAI TDP.


               (f)     The Class 7B Trustee shall be required to obtain the consent of Grace as

required by the ZAI TDP. The Trustees shall be required to obtain the consent of the PD FCR

and the ZTAC Members for matters involving Class 7B Claims and the ZAI TDP, pursuant to

the Consent Process set forth in Section 5.7(b) and 6.6(b) below, in addition to any other

instances elsewhere enumerated, in order:


                       (i)     to establish and/or to change the Claims Materials to be provided

to holders of PD Trust Claims under Sections 6.1 and 6.2 of the ZAI TDP;

                       (ii)    to require that claimants provide additional kinds of evidence

pursuant to Section 5.4 of the ZAI TDP;

                       (iii)   to change the form of release to be provided pursuant to Section

7.4 of the ZAI TDP;

                       (iv)    to terminate the PD Trust pursuant to Section 7.2 below;

                       (v)     to change the compensation and/or per diem of the ZTAC

Members, the PD FCR, the Delaware Trustee or the Trustees, other than to reflect cost-of-living

increases or changes approved by the Bankruptcy Court as otherwise provided herein;

                       (vi)    to take actions to minimize any tax on the PD Trust Assets;

provided that no such action prevents the PD Trust from qualifying as a qualified settlement fund

within the meaning of the QSF Regulations or requires an election for the PD Trust to be treated

as a grantor trust for tax purposes;



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                      (vii)    to adopt the PD Trust Bylaws in accordance with Section 2.2(a)

above or thereafter to amend the PD Trust Bylaws in accordance with the terms thereof;

                      (viii)   to amend any provision of this PD Trust Agreement or the ZAI

TDP in accordance with the terms thereof;

                      (ix)     to acquire an interest in or to merge any claims resolution

organization formed by the PD Trust with another claims resolution organization that is not

specifically created by this PD Trust Agreement or the ZAI TDP, or to contract with another

claims resolution organization or other entity that is not specifically created by this PD Trust

Agreement or the ZAI TDP, or permit any other party to join in any claims resolution

organization that is formed by the PD Trust pursuant to the PD Trust Agreement or the ZAI

TDP; provided that such merger, acquisition, contract or joinder shall not (a) subject the

Reorganized Debtors or any Asbestos Protected Party, or any successors in interest thereto, to

any risk of having any PD Trust Claim asserted against it or them, (b) increase the costs of

administering, maintaining and operating the PD Trust above the costs that would have been

incurred by the PD Trust in the absence of such merger, acquisition, contract, or joinder, or (c)

otherwise jeopardize the validity or enforceability of the Asbestos PD Channeling Injunction, the

Successor Claims Injunction, or any other injunction or release issued or granted in favor of any

(or all) of Sealed Air Indemnified Parties or the Fresenius Indemnified Parties in connection with

the Plan; and provided further that the terms of such merger will require the surviving

organization to make decisions about the allowability and value of claims in accordance with

Section 1.1 of the ZAI TDP which requires that such decisions be based on the provisions of the

ZAI TDP; or

                      (x)      to fund an educational program related to Class 7B Claims.



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               (g)    The Class 7A Trustee shall meet with the PD FCR no less often than

quarterly, and shall meet in the interim with the PD FCR when so requested. The Class 7B

Trustee shall meet with the PD FCR and ZTAC Members no less often than quarterly, and shall

meet in the interim with the PD FCR and the ZTAC Members when so requested by either.

               (h)    The Class 7A Trustee, upon notice from the PD FCR, if practicable in

view of pending business, shall at the next meeting with the PD FCR consider issues submitted

by the PD FCR. The Class 7B Trustee, upon notice from the PD FCR or the ZTAC Members, if

practicable in view of pending business, shall at the next meeting with the PD FCR or the ZTAC

Members consider issues submitted by the PD FCR or the ZTAC Members.

       2.3     Claims Administration.       The Class 7B Trustee shall promptly proceed to

implement the ZAI TDP. Class 7A Trustee shall promptly coordinate adjudication of the Class

7A Claims with the Reorganized Debtors.

       2.4     Sealed Air Settlement Agreement. Notwithstanding anything in this PD Trust

Agreement, and not by way of limitation of the Sealed Air Settlement Agreement or the Plan, the

PD Trust, the Trustees, (including, without limitation, the Class 7A Trustee and the Class 7B

Trustee), the Delaware Trustee, and any of their successors shall (unless otherwise agreed to in

writing by each of Sealed Air Corporation and Cryovac, Inc. in its absolute discretion)

               (a)    unless otherwise required by a Final Determination (as defined in the

Sealed Air Settlement Agreement) (1) file all Tax Returns required to be filed by the PD Trust, if

any, consistent with the provisions of this Section 2.4(a) and shall take all other Defined Actions

(as defined in the Sealed Air Settlement Agreement) that are reasonably requested by Sealed Air

Corporation and consistent with the provisions of this Section 2.4(a), and (2) be prohibited from

taking any Defined Action (as defined in the Sealed Air Settlement Agreement) that may result



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in the disqualification of the PD Trust as a Qualified Settlement Fund (as defined in the Sealed

Air Settlement Agreement) or be inconsistent with Cryovac, Inc. being treated as a “transferor”

(as defined under Treasury Regulations section 1.468B-1(d)) (for purposes of this Section 2.4,

the “Transferor”) of the Asbestos PD Initial Payment directly to the PD Trust pursuant to Section

7.3.2 of the Plan and the Confirmation Order; provided, however, that it shall not be required to

take, or be prohibited from taking, as the case may be, a Defined Action (as defined in the Sealed

Air Settlement Agreement) as required pursuant to this Section 2.4(a) if each of the following

four requirements has been previously satisfied: (i) it has fully performed all of its obligations set

forth in paragraph VI(f) of the Sealed Air Settlement Agreement, (ii) it has received a Contrary

Opinion (as defined in the Sealed Air Settlement Agreement) with respect to such Defined

Action (as defined in the Sealed Air Settlement Agreement) required or prohibited pursuant to

this Section 2.4(a), (iii) it has provided a copy of such Contrary Opinion (as defined in the Sealed

Air Settlement Agreement) to Sealed Air Corporation, and (iv) within forty-five days of the

receipt by Sealed Air Corporation of such Contrary Opinion (as defined in the Sealed Air

Settlement Agreement), Sealed Air Corporation has not provided it with a Sealed Air Opinion

(as defined in the Sealed Air Settlement Agreement);

               (b)     unless otherwise required by a Final Determination (as defined in the

Sealed Air Settlement Agreement), treat for all Tax purposes any and all payments by Cryovac,

Inc. pursuant to Section 7.3.2 of the Plan and the Confirmation Order, as a direct payment by

Cryovac, Inc. to the PD Trust, for Asbestos PD Claims that constitutes an ordinary and necessary

expense of Cryovac, Inc.; and shall, unless otherwise required by a Final Determination (as

defined in the Sealed Air Settlement Agreement): (1) be prohibited from taking any Defined

Action (as defined in the Sealed Air Settlement Agreement) that is inconsistent with the



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foregoing provisions of this Section 2.4(b), and (2) take all Defined Actions (as defined in the

Sealed Air Settlement Agreement) that are reasonably requested by Sealed Air Corporation and

consistent with the provisions of this Section 2.4(b); provided, however, that it shall not be

required to take, or be prohibited from taking, as the case may be, a Defined Action (as defined

in the Sealed Air Settlement Agreement) as required pursuant to sub-clauses (1) and (2) of this

Section 2.4(b) if each of the following four requirements has been previously satisfied (i) it has

fully performed all of its obligations set forth in paragraph VI(f) of the Sealed Air Settlement

Agreement, (ii) it has received a Contrary Opinion (as defined in the Sealed Air Settlement

Agreement) with respect to such Defined Action (as defined in the Sealed Air Settlement

Agreement) required or prohibited pursuant to this Section 2.4(b), (iii) it has provided a copy of

such Contrary Opinion (as defined in the Sealed Air Settlement Agreement) to Sealed Air

Corporation, and (iv) within forty-five days of the receipt by Sealed Air Corporation of such

Contrary Opinion (as defined in the Sealed Air Settlement Agreement), Sealed Air Corporation

has not provided it with a Sealed Air Opinion (as defined in the Sealed Air Settlement

Agreement);

               (c)    if it has determined that an issue (for the purposes of this Section 2.4 such

issue, a “Paragraph VI(f) Issue”) may exist with respect to its taking, or the failure to take, a

Defined Action (as defined in the Sealed Air Settlement Agreement) as required pursuant to

paragraph II(c)(ix) or (x), of the Sealed Air Settlement Agreement or Sections 2.4(a) and 2.4(b),

of this PD Trust Agreement, as the case may be, then, prior to delivering a Contrary Opinion (as

defined in the Sealed Air Settlement Agreement) to Sealed Air Corporation with respect to such

Defined Action (as defined in the Sealed Air Settlement Agreement) in accordance with the

provisos set forth in paragraph II(c)(ix) or (x) of the Sealed Air Settlement Agreement, or



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Sections 2.4(a) and 2.4(b), of this PD Trust Agreement, as the case may be, each of the Trustees

(including, without limitation, the Class 7A Trustee and the Class 7B Trustee), the Delaware

Trustee and any of their successors, as the case may be, shall (1) provide to Sealed Air

Corporation, as promptly as practicable, a written notice identifying such Defined Action (as

defined in the Sealed Air Settlement Agreement) and describing in detail the Paragraph VI(f)

Issue and (2) without limiting any obligation of Sealed Air Corporation to consult and act in

good faith set forth in paragraph VI(f)(ii) of the Sealed Air Settlement Agreement, consult and

act (and cause its advisors (including accountants and tax attorneys, as the case may be) to,

consult and act) in good faith to determine and resolve (i) if such issue relates to a Tax issue,

whether, as a result of a Change in Circumstances (as defined in the Sealed Air Settlement

Agreement), there is no “reasonable basis”, as defined in IRC section 6662 (or successor

provision thereof), for the taking of, or the failure to take, such Defined Action (as defined in the

Sealed Air Settlement Agreement) or (ii) if such issue relates to an accounting issue, whether, as

a result of a Change in Circumstances (as defined in the Sealed Air Settlement Agreement), the

taking, or the failure to take, such Defined Action (as defined in the Sealed Air Settlement

Agreement) is inconsistent with generally accepted accounting principles; and

               (d)     without limiting any obligation of Sealed Air Corporation or Cryovac, Inc.

to comply fully with the Sealed Air Settlement Agreement, comply fully with the Sealed Air

Settlement Agreement, including, without limitation, by performing all other actions required,

and refraining from taking any other actions precluded, by the Sealed Air Settlement Agreement.

       The PD FCR and the ZTAC Members shall not cause or advise the PD Trust, the

Trustees (whether the Class 7A Trustee, the Class 7B Trustee, or any other Trustee), the

Delaware Trustee, or any of their successors to (i) take any action that is contrary to Section



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2.4(a) through (d) of this PD Trust Agreement or (ii) refrain from taking any action that is

required to comply with Section 2.4(a) through (d) of this PD Trust Agreement.

       2.5     Class 7B Claims -- Educational Program.             The Class 7B Trustee, after

consultation with the PD FCR and the ZTAC Members as described in Section 5.7 below and

Section 2.2(e)(xv) above, may in his discretion pay up to $2 million over the first three years

after the Effective Date, and up to $500,000 for each three-year period thereafter, to fund an

educational program about Zonolite Attic Insulation. Initially, the content of the educational

program must be consistent with published Environmental Protection Agency guidance

concerning Zonolite Attic Insulation and with the Debtors’ bar date program for ZAI claims;

provided, however, that the educational program’s content shall reflect any material scientific or

regulatory changes or developments that pertain to ZAI, in terms and in manner of publication

acceptable to the Reorganized Debtors. In the event that the PD Trust and the Reorganized

Debtors disagree on any matter set forth in this Section 2.5, the parties shall submit such

disagreement to an alternative dispute resolution procedure for resolution as set forth in the ZAI

TDP.


                                         SECTION III

                     ACCOUNTS, INVESTMENTS, AND PAYMENTS

       3.1     Accounts.

               (a)    The Trustees may, from time to time, create such accounts and reserves

within the PD Trust estate as they may deem necessary, prudent, or useful in order to provide for

the payment of expenses and payment of PD Trust Claims and may, with respect to any such

account or reserve, restrict the use of monies therein. Notwithstanding the foregoing, (i) the

Class 7B Trustee shall keep segregated the ZAI Trust Assets from the other PD Trust Assets at


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all times; (ii) on the Effective Date, the PD Trust shall immediately reserve and segregate from

the Class 7A Initial Payment, all amounts required to be paid upon and after the occurrence of

the Effective Date pursuant to PD Settlement Agreements that require such payment, and shall

provide for the payment of such amounts in the manner and at the time set forth in such PD

Settlement Agreements; and (iii) the PD Trust shall perform and pay, as and when due, without

any deduction, proration, reduction, setoff or discount, the obligations owed to the holder of any

Allowed Asbestos PD Claim under any PD Settlement Agreement.

               (b)    The Trustees shall include a reasonably detailed description of any

account or reserve created in accordance with this Section 3.1 and, with respect to any such

account, the transfers made to such account, the proceeds of or earnings on the assets held in

each such account and the payments from each such account in the accounts to be filed with the

Bankruptcy Court and provided to PD FCR, the ZTAC Members, and Grace, if applicable,

pursuant to Section 2.2(c)(i) above.

       3.2     Investments. Investment of monies held in the PD Trust shall be administered in

the manner consistent with the standards set forth in the Uniform Prudent Investor Act, subject to

the following limitations and provisions:

               (a)    To the extent the Trust Assets are invested in equities, the PD Trust may

invest only in diversified equity portfolios whose benchmark is a broad equity market index such

as, but not limited to, the S&P 500 Index, Russell 1000 Index, S&P ADR Index or MSCI EAFE

Index. The PD Trust shall not acquire, directly or indirectly, equity in any entity (other than a

Reorganized Debtor or any successor to a Reorganized Debtor) or business enterprise if,

immediately following such acquisition, the PD Trust would hold more than 5% of the equity in

such entity or business enterprise. The PD Trust shall not hold, directly or indirectly, more than



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5% of the equity in any entity, a Reorganized Debtor, or any successor to a Reorganized Debtor)

or business enterprise.

               (b)        The PD Trust shall not acquire or hold any long-term debt securities

unless (i) such securities are PD Trust Assets under the Plan, (ii) such securities are rated “Baa”

or higher by Moody’s, “BBB” or higher by Standard & Poor’s (“S&P’s”), or have been given an

equivalent investment grade rating by another nationally recognized statistical rating agency, or

(iii) have been issued or fully guaranteed as to principal and interest by the United States of

America or any agency or instrumentality thereof. This restriction does not apply to any pooled

investment vehicles where pooled assets receive an investment grade rating (i.e., “BBB” rating

or above) by a nationally recognized rating agency.

               (c)        The PD Trust shall not acquire or hold for longer than ninety (90) days

any commercial paper unless such commercial paper is rated “Prime-1” or higher by Moody’s or

“A-1” or higher by S&P’s, or has been given an equivalent rating by another nationally

recognized statistical rating agency.

               (d)        The PD Trust shall not acquire any debt securities or other debt

instruments issued by any entity if, following such acquisition, the aggregate market value of all

such debt securities and/or other debt instruments issued by such entity held by the PD Trust

would exceed 5% of the then current aggregate value of the PD Trust’s assets. There is no

limitation on holding debt securities or other debt instruments issued or fully guaranteed as to

principal and interest by the United States of America or any agency or instrumentality thereof.

               (e)        The PD Trust shall not acquire or hold any certificates of deposit unless all

publicly held, long-term debt securities, if any, of the financial institution issuing the certificate




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of deposit and the holding company, if any, of which such financial institution is a subsidiary,

meet the standards set forth in Section 3.2(b) above.

               (f)     The PD Trust may acquire and hold any securities or instruments issued

by a Reorganized Debtor or any successor to a Reorganized Debtor or obtained as proceeds of

litigation or otherwise to resolve disputes, without regard to the limitations set forth in

Subsections (a)-(e) above.

               (g)     The PD Trust shall not acquire or hold any repurchase obligations unless,

in the opinion of the Trustees, they are adequately collateralized.

               (h)     The PD Trust may allow its investment managers to acquire prudently or

hold derivative instruments, including, without limitation, options, futures and swaps in the

normal course of portfolio management.          Specifically, the PD Trust may acquire or hold

derivatives to help manage or mitigate portfolio risk, including, without limitation, interest rate

risk and equity market risk. Using derivative instruments to leverage a portfolio to enhance

returns (at a much greater risk to the portfolio) is prohibited.

               (i)     The PD Trust may lend securities on a short-term basis, subject to

adequate, normal and customary collateral arrangements.

               (j)     Notwithstanding (a) above, the PD Trust may acquire and hold an equity

interest in a claims resolution organization without limitation as to the size of the equity interest

acquired and held if prior to such acquisition, the PD Trust complies with the provisions of

Section 2.2(f)(xiv) hereof with respect to the acquisition.

       3.3     Source of Payments.

               (a)     All PD Trust expenses and payments and all liabilities with respect to

claims shall be payable solely by the Trustees out of the PD Trust Assets. Notwithstanding the

foregoing, ZAI Trust Assets shall be used only for ZAI-related expenses and payments. Neither

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the Debtors, the Reorganized Debtors, the Sealed Air Indemnified Parties, the Fresenius

Indemnified Parties, their subsidiaries and affiliates, any successor in interest, the present or

former directors, officers, employees or agents of the Debtors, the Reorganized Debtors, the

Sealed Air Indemnified Parties, or the Fresenius Indemnified Parties, nor the Trustees, the ZTAC

or PD FCR, or any of their officers, agents, advisors, or employees shall be liable for the

payment of any PD Trust expense or any other liability of the PD Trust, except to the extent

provided in the Plan or Plan Documents.

               (b)     The Trustees shall include a reasonably detailed description of any

payments made in accordance with this Section 3.3 in the Annual Report.

                                           SECTION IV

                             TRUSTEES; DELAWARE TRUSTEE

       4.1     Number. In addition to the Delaware Trustee appointed pursuant to Section 4.11,

there shall be two (2) Trustees who shall be those persons named on the signature page hereof --

the Class 7A Trustee and the Class 7B Trustee. The Class 7A Trustee shall be appointed to

administer the Class 7A Claims, and the Class 7B Trustee shall be appointed to administer the

Class 7B Claims.

       4.2     Term of Service.

               (a)     The initial Trustees named pursuant to Article 4.1 above shall serve an

initial five (5) year term. Thereafter each term of service shall be five (5) years. The initial

Trustees shall serve from the Effective Date until the earlier of (i) the end of his or her term, (ii)

his or her death, (iii) his or her resignation pursuant to Section 4.2(b) below, (iv) his or her

removal pursuant to Section 4.2(c) below, or (v) the termination of the PD Trust pursuant to

Section 7.2 below.



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               (b)     A Class 7A Trustee may resign at any time by written notice to the PD

FCR, and a Class 7B Trustee may resign at any time by written notice to the PD FCR and the

ZTAC Members. Such notice shall specify a date when such resignation shall take effect, which

shall not be less than ninety (90) days after the date such notice is given, where practicable.

               (c)     A Class 7A Trustee may be removed at the recommendation of the PD

FCR with the approval of the Bankruptcy Court and a Class 7B Trustee may be removed at the

recommendation of the PD FCR, the ZTAC Members, and the approval of the Bankruptcy Court,

in the event that he or she becomes unable to discharge his or her duties hereunder due to

accident or physical or mental deterioration, or for other good cause. Good cause shall be

deemed to include, without limitation, any substantial failure to comply with the general

administration provisions of Section 2.2 above, a consistent pattern of neglect and failure to

perform or participate in performing the duties of the Trustees hereunder, or repeated non-

attendance at scheduled meetings. Such removal shall require the approval of the Bankruptcy

Court and shall take effect at such time as the Bankruptcy Court shall determine.

       4.3     Appointment of Successor Trustees.

               (a)     In the event of a vacancy in the position of a Class 7A Trustee, whether by

death, term expiration, resignation, or removal, the PD FCR shall appoint a successor Class 7A

Trustee. In the event of a vacancy in the position of a Class 7B Trustee, whether by death, term

expiration, resignation, or removal, the PD FCR and the ZTAC Members shall appoint a

successor Class 7B Trustee. If the ZTAC and the PD FCR cannot agree on the appointment of a

successor Class 7B Trustee, the Bankruptcy Court shall make the appointment. Nothing shall

prevent the reappointment of a Trustee for an additional term or terms, and there shall be no limit

on the number of terms that a Trustee may serve.



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               (b)     Immediately upon the appointment of any successor Trustee, all rights,

titles, duties, powers and authority of the predecessor Trustee hereunder shall be vested in, and

undertaken by, the successor Trustee without any further act. No successor Trustee shall be

liable personally for any act or omission of his or her predecessor Trustees.

               (c)     Each successor Trustee shall serve until the earlier of (i) the end of a full

term of five (5) years if the predecessor Trustee completed his or her term, (ii) the end of the

remainder of the term of the Trustee whom he or she is replacing if said predecessor Trustee did

not complete said term, (iii) his or her death, (iv) his or her resignation pursuant to Section 4.2(b)

above, (v) his or her removal pursuant to Section 4.2(c) above, or (vi) the termination of the PD

Trust pursuant to Section 7.2 below.

       4.4     Liability of Trustees, ZTAC Members, and the PD FCR. The Trustees, the

PD FCR, the ZTAC Members, and professionals employed by the foregoing shall not be liable to

the PD Trust, to any individual holding a PD Trust Claim, or to any other person, except for such

individual’s own breach of trust committed in bad faith or willful misappropriation.

       4.5     Compensation and Expenses of Trustees.

               (a)     The Class 7A Trustee shall receive a retainer from the PD Trust for his or

her service as a Trustee in the amount of $______ per annum, and the Class 7B Trustee shall

receive a retainer from the ZAI Trust Assets in the PD Trust for his or her service as a Trustee in

the amount of $______ per annum. These retainers shall be payable in quarterly installments. In

addition, for all time expended attending Trustee meetings, traveling to meetings, preparing for

such meetings, and working on authorized special projects, the Trustees shall receive the sum of

$____ per hour, computed on a quarter-hour basis. The Trustees shall record all hourly time to

be charged to the Trust on a daily basis. The per annum retainer and hourly compensation

payable to the Class 7A Trustee hereunder shall be reviewed every year by the PD FCR, and the

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per annum retainer and hourly compensation payable to the Class 7B Trustee hereunder shall be

reviewed every year by the PD FCR and the ZTAC Members. The per annum retainer and

hourly compensation for the Trustees shall be appropriately adjusted for changes in the cost of

living. The Delaware Trustee shall be paid such compensation as agreed to pursuant to a

separate fee agreement.

               (b)     The PD Trust will promptly reimburse the Trustees and the Delaware

Trustee for all reasonable out-of-pocket costs and expenses incurred by the Trustees or the

Delaware Trustee in connection with the performance of their duties hereunder, provided,

however, that ZAI Trust Assets will be used to reimburse the Class 7B Trust and for the share of

the Delaware Trustee’s costs and expenses allocable to Class 7B.

               (c)     The PD Trust shall include a description of the amounts paid under this

Section 4.5 in the Annual Report.

       4.6     Indemnification.

               (a)     The PD Trust shall indemnify and defend the Trustees, the ZTAC

Members, the PD FCR and professionals employed by the foregoing in the performance of their

duties hereunder to the fullest extent that a statutory trust organized under the laws of the State of

Delaware is from time to time entitled to indemnify and defend such persons against any and all

liabilities, expenses, claims, damages, or losses incurred by them in the performance of their

duties hereunder or in connection with activities undertaken by them prior to the Effective Date

in connection with the formation, establishment, or funding of the PD Trust. Notwithstanding

the foregoing, no individual shall be indemnified or defended in any way for any liability,

expense, claim, damage, or loss for which he or she is ultimately liable under Section 4.4 above.

               (b)     Reasonable expenses, costs and fees (including attorneys’ fees and costs)

incurred by or on behalf of a Trustee, a ZTAC Member, or the PD FCR in connection with any

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action, suit, or proceeding, whether civil, administrative or arbitrative, from which they are

indemnified by the PD Trust pursuant to Section 4.6(a) above, shall be paid by the PD Trust in

advance of the final disposition thereof upon receipt of an undertaking, by or on behalf of the

Trustees, the ZTAC Members, or the PD FCR, to repay such amount in the event that it shall be

determined ultimately by final order that such Trustee, ZTAC Member, or the PD FCR is not

entitled to be indemnified by the PD Trust.

               (c)    The Trustees may purchase and maintain reasonable amounts and types of

insurance on behalf of an individual who is or was a Trustee, ZTAC Member, the PD FCR, an

officer or an employee of the PD Trust, or an advisor, consultant or agent of the PD Trust, the

ZTAC, or the PD FCR, including for liability asserted against or incurred by such individual in

that capacity or arising from his or her status as a Trustee, ZTAC Member, PD FCR, an officer

or an employee of the PD Trust, or an advisor, consultant or agent of the PD Trust, the ZTAC, or

the PD FCR.

       4.7     Trustees’ Lien. The Trustees, ZTAC Members, and the PD FCR shall have a

first priority lien upon the PD Trust Assets to secure the payment of any amounts payable to

them pursuant to Section 4.6 above.

      4.8      Trustees’ Employment of Experts; Delaware Trustee’s Employment of
Counsel.

               (a)    The Trustees may, but shall not be required to, retain and/or consult with

counsel, accountants, appraisers, auditors, forecasters, experts, financial and investment advisors

and such other parties deemed by the Trustees to be qualified as experts on the matters submitted

to them (the “Trust Professionals”), and in the absence of gross negligence, the written opinion

of or information provided by any such party deemed by the Trustees to be an expert on the

particular matter submitted to such party shall be full and complete authorization and protection


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in respect of any action taken or not taken by the Trustees hereunder in good faith and in

accordance with the written opinion of or information provided by any such party.

               (b)     The Delaware Trustee shall be permitted to retain counsel only in such

circumstances as required in the exercise of its obligations hereunder and compliance with the

advice of such counsel shall be full and complete authorization and protection for actions taken

or not taken by the Delaware Trustee in good faith in compliance with such advice.

       4.9     Trustees’ Independence. The Trustees shall not, during the term of their service,

hold a financial interest in, act as attorney or agent for, or serve as any other professional for a

Reorganized Debtor.     Notwithstanding the foregoing, any Trustee may serve, without any

additional compensation other than the per diem compensation to be paid by the PD Trust

pursuant to Section 4.5(a) above, as a director of the Reorganized Parent. No Trustee shall act as

an attorney for any person who holds a PD Trust Claim. For the avoidance of doubt, this Section

shall not be applicable to the Delaware Trustee.

       4.10    Bond. The Trustees and the Delaware Trustee shall not be required to post any

bond or other form of surety or security unless otherwise ordered by the Bankruptcy Court.

       4.11    Delaware Trustee.

               (a)     There shall at all times be a Delaware Trustee. The Delaware Trustee

shall either be (i) a natural person who is at least 21 years of age and a resident of the State of

Delaware or (ii) a legal entity that has its principal place of business in the State of Delaware,

otherwise meets the requirements of applicable Delaware law and shall act through one or more

persons authorized to bind such entity. If at any time the Delaware Trustee shall cease to be

eligible in accordance with the provisions of this Section 4.11, it shall resign immediately in the

manner and with the effect hereinafter specified in Section 4.11(c) below. For the avoidance of



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doubt, the Delaware Trustee will only have such rights and obligations as expressly provided by

reference to the Delaware Trustee hereunder.

               (b)     The Delaware Trustee shall not be entitled to exercise any powers, nor

shall the Delaware Trustee have any of the duties and responsibilities, of the Trustees set forth

herein. The Delaware Trustee shall be one of the trustees of the PD Trust for the sole and limited

purpose of fulfilling the requirements of Section 3807 of the Act and for taking such actions as

are required to be taken by a Delaware Trustee under the Act. The duties (including fiduciary

duties), liabilities and obligations of the Delaware Trustee shall be limited to (i) accepting legal

process served on the PD Trust in the State of Delaware and (ii) the execution of any certificates

required to be filed with the Secretary of State of the State of Delaware that the Delaware

Trustee is required to execute under Section 3811 of the Act and there shall be no other duties

(including fiduciary duties) or obligations, express or implied, at law or in equity, of the

Delaware Trustee.

               (c)     The Delaware Trustee shall serve until such time as the Trustees remove

the Delaware Trustee or the Delaware Trustee resigns and a successor Delaware Trustee is

appointed by the Trustees in accordance with the terms of Section 4.11(d) below. The Delaware

Trustee may resign at any time upon the giving of at least sixty (60) days’ advance written notice

to the Trustees; provided, that such resignation shall not become effective unless and until a

successor Delaware Trustee shall have been appointed by the Trustees in accordance with

Section 4.11(d) below. If the Trustees do not act within such 60-day period, the Delaware

Trustee may apply to the Court of Chancery of the State of Delaware for the appointment of a

successor Delaware Trustee.




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               (d)    Upon the resignation or removal of the Delaware Trustee, the Trustees

shall appoint a successor Delaware Trustee by delivering a written instrument to the outgoing

Delaware Trustee. Any successor Delaware Trustee must satisfy the requirements of Section

3807 of the Act. Any resignation or removal of the Delaware Trustee and appointment of a

successor Delaware Trustee shall not become effective until a written acceptance of appointment

is delivered by the successor Delaware Trustee to the outgoing Delaware Trustee and the

Trustees and any fees and expenses due to the outgoing Delaware Trustee are paid. Following

compliance with the preceding sentence, the successor Delaware Trustee shall become fully

vested with all of the rights, powers, duties and obligations of the outgoing Delaware Trustee

under this PD Trust Agreement, with like effect as if originally named as Delaware Trustee, and

the outgoing Delaware Trustee shall be discharged of its duties and obligations under this PD

Trust Agreement.

                                          SECTION V

                 TRUST ADVISORY COMMITTEE --CLASS 7B CLAIMS

       5.1     Members. The ZTAC shall consist of two (2) regular ZTAC Members, who shall

initially be the persons named on the signature page hereof. In addition, to the ZTAC Members,

the PD FCR shall sit on the ZTAC on an ex officio basis as set forth in Section 6.1 below.

       5.2     Duties. The ZTAC Members shall serve in a fiduciary capacity representing all

holders of present PD Trust Claims in Class 7B. The Class 7B Trustee must consult with the

ZTAC and the PD FCR on matters identified in Section 2.2(e) above and in other provisions

herein, and must obtain the consent of the ZTAC and the PD FCR on matters identified in

Section 2.2(f) above. Where provided in the ZAI TDP, certain other actions by the Class 7B

Trustee are also subject to the consent of the ZTAC and the PD FCR.



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       5.3     Term of Office.

               (a)     The initial ZTAC Members appointed in accordance with Section 5.1

above shall serve the staggered four- or five-year terms shown on the signature pages hereof.

Thereafter, each term of office shall be five (5) years. Each ZTAC Member shall serve until the

earlier of (i) his or her death, (ii) his or her resignation pursuant to Section 5.3(b) below, (iii) his

or her removal pursuant to Section 5.3(c) below, (iv) the end of his or her term as provided

above, or (v) the termination of the PD Trust pursuant to Section 7.2 below.

               (b)      A ZTAC Member may resign at any time by written notice to the other

ZTAC Member, the Class 7B Trustee, and the PD FCR. Such notice shall specify a date when

such resignation shall take effect, which shall not be less than ninety (90) days after the date such

notice is given, where practicable.

               (c)      A ZTAC Member may be removed in the event that he or she becomes

unable to discharge his or her duties hereunder due to accident, physical deterioration, mental

incompetence, or a consistent pattern of neglect and failure to perform or to participate in

performing the duties of such member hereunder, such as repeated non-attendance at scheduled

meetings, or for other good cause. Such removal shall be made at the recommendation of the

remaining ZTAC Member and the PD FCR with the approval of the Bankruptcy Court.

       5.4     Appointment of Successor.

               (a)     If, prior to the termination of service of a ZTAC Member other than as a

result of removal, he or she has designated in writing an individual to succeed him or her as a

ZTAC Member, such individual shall be his or her successor. If (i) such ZTAC Member did not

designate an individual to succeed him or her prior to the termination of his or her service as

contemplated above, or (ii) he or she is removed pursuant to Section 5.3(c) above, his or her

successor shall be appointed by the remaining ZTAC Member and the PD FCR, or, if they

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cannot agree on a successor, the Bankruptcy Court. Nothing in this Agreement shall prevent the

reappointment of an individual serving as a ZTAC Member for an additional term or terms, and

there shall be no limit on the number of terms that a ZTAC Member may serve.

               (b)     Each successor ZTAC Member shall serve until the earlier of (i) the end of

the full term of five (5) years for which he or she was appointed if his or her immediate

predecessor ZTAC Member completed his or her term, (ii) the end of the term of the ZTAC

Member whom he or she replaced if his or her predecessor member did not complete such term

(iii) his or her death, (iv) his or her resignation pursuant to Section 5.3(b) above, (v) his or her

removal pursuant to Section 5.3(c) above, or (vi) the termination of the PD Trust pursuant to

Section 7.2 below.

       5.5     TAC’s Employment of Professionals.

               (a)     The ZTAC may, but is not required to, retain and/or consult counsel,

accountants, appraisers, auditors, forecasters, experts, and financial and investment advisors, and

such other parties deemed by the ZTAC to be qualified as experts on matters submitted to the

ZTAC (the “ZTAC Professionals”). The ZTAC and the ZTAC Professionals shall at all times

have complete access to the PD Trust’s officers, employees and agents, as well as to the Trust

Professionals, and shall also have complete access to all information generated by them or

otherwise available to the PD Trust or the Class 7B Trustee provided that any information

provided by the Trust Professionals shall not constitute a waiver of any applicable privilege. In

the absence of gross negligence, the written opinion of or information provided by any ZTAC

Professional or Trust Professional deemed by the ZTAC to be qualified as an expert on the

particular matter submitted to the ZTAC shall be full and complete authorization and protection

in support of any action taken or not taken by the ZTAC in good faith and in accordance with the

written opinion of or information provided by the ZTAC Professional or Trust Professional.

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               (b)    The PD Trust through the ZAI Trustee shall promptly reimburse from ZAI

Trust Assets, or pay directly if so instructed, the ZTAC for all reasonable fees and costs

associated with the ZTAC’s employment of legal counsel pursuant to this provision in

connection with the ZTAC’s performance of its duties hereunder. The PD Trust through the ZAI

Trustee shall similarly promptly reimburse, or pay directly if so instructed, the ZTAC for all

reasonable fees and costs associated with the ZTAC’s employment of any other ZTAC

Professional pursuant to this provision in connection with the ZTAC’s performance of its duties

hereunder; provided, however, that (i) the ZTAC has first submitted to the PD Trust through the

ZAI Trustee a written request for such reimbursement setting forth the reasons (A) why the

ZTAC desires to employ such ZTAC Professional, and (B) why the ZTAC cannot rely on Trust

Professionals to meet the need of the ZTAC for such expertise or advice, and (ii) the ZAI Trustee

has approved the ZTAC’s request for reimbursement in writing. If the ZAI Trustee agrees to pay

for the ZTAC Professional, such reimbursement shall be treated as an expense against ZAI Trust

Assets. If the ZAI Trustee declines to pay for the ZTAC Professional, he must set forth his

reasons in writing. If the ZTAC still desires to employ the ZTAC Professional at the PD Trust’s

expense, the ZTAC and/or the Trustees shall resolve their dispute pursuant to Section 7.14

below.

         5.6   Compensation and Expenses of the ZTAC. The ZTAC Members shall receive

compensation from the PD Trust for their services as ZTAC Members in the form of a

reasonable hourly rate set by the Class 7B Trustee for attendance at meetings or other conduct of

PD Trust business except that the original ZTAC Members have waived their entitlement to such

compensation for the initial year of the PD Trust’s operations; provided, that for the avoidance of

doubt, the waiver of compensation is not applicable to the PD FCR. The ZTAC Members shall



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also be reimbursed promptly for all reasonable out-of-pocket costs and expenses incurred in

connection with the performance of their duties hereunder.          Such reimbursement or direct

payment shall be deemed a PD Trust expense from ZAI Trust Assets. The PD Trust shall

include a description of the amounts paid under this Section 5.6 in the Annual Report to be filed

with the Bankruptcy Court and provided to the ZTAC pursuant to Section 2.2(c)(i).

       5.7     Procedures for Consultation With and Obtaining the Consent of the ZTAC.

               (a)     Consultation Process.

                       (i)     In the event the Class 7B Trustee is required to consult with the

ZTAC or Grace pursuant to Section 2.2(e) above or on other matters as provided herein or by

the ZAI TDP, the Class 7B Trustee shall provide the ZTAC and Grace with written advance

notice of the matter under consideration, and with all relevant information concerning the matter

as is reasonably practicable under the circumstances. The Class 7B Trustee shall also provide

the ZTAC and Grace with such reasonable access to the Trust Professionals and other experts

retained by the PD Trust and its staff (if any) as the ZTAC and Grace may reasonably request

during the time that the Class 7B Trustee is considering such matter, and shall also provide the

ZTAC and Grace the opportunity, at reasonable times and for reasonable periods of time, to

discuss and comment on such matter with the Class 7B Trustee.

                       (ii)    In determining when to take definitive action on any matter subject

to the consultation procedures set forth in this Section 5.7(a), the Class 7B Trustee shall take into

consideration the time required for the ZTAC and Grace to engage and consult with their own

independent financial or investment advisors as to such matter. In any event, the Class 7B

Trustee shall not take definitive action on any such matter until at least thirty (30) days after

providing the ZTAC and Grace with the initial written notice that such matter is under



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consideration by the Class 7B Trustee, unless such time period is waived by the ZTAC and

Grace.

                 (b)    Consent Process.

                        (i)    In the event the Class 7B Trustee is required to obtain the consent

of the ZTAC or Grace pursuant to Section 2.2(f) above or the ZAI TDP, the Class 7B Trustee

shall provide the ZTAC or Grace with a written notice stating that their consent is being sought

pursuant to that provision, describing in detail the nature and scope of the action the Class 7B

Trustee proposes to take, and explaining in detail the reasons why the Class 7B Trustee desires to

take such action. The Class 7B Trustee shall provide the ZTAC or Grace with as much relevant

additional information concerning the proposed action as is reasonably practicable under the

circumstances.     The Class 7B Trustee shall also provide the ZTAC or Grace with such

reasonable access to the Trust Professionals and other experts retained by the PD Trust and its

staff (if any) as the ZTAC or Grace may reasonably request during the time that the Class 7B

Trustee is considering such action, and shall also provide the ZTAC or Grace the opportunity, at

reasonable times and for reasonable periods of time, to discuss and comment on such action with

the Class 7B Trustee.

                        (ii)   The ZTAC or Grace must consider in good faith and in a timely

fashion any request for its consent by the Class 7B Trustee, and must in any event advise the

Class 7B Trustee in writing of its consent or its objection to the proposed action within thirty

(30) days of receiving the original request for consent from the Class 7B Trustee. The ZTAC or

Grace may not withhold its consent unreasonably. If the ZTAC or Grace decides to withhold its

consent, it must explain in detail its objections to the proposed action. If the ZTAC or Grace

does not advise the Class 7B Trustee in writing of its consent or its objections to the action



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within thirty (30) days of receiving notice regarding such request, the ZTAC’s or Grace’s

consent to the proposed actions shall be deemed to have been affirmatively granted.

               (iii)   If, after following the procedures specified in this Section 5.7(b), the

ZTAC or Grace continues to object to the proposed action and to withhold its consent to the

proposed action, the Class 7B Trustee and/or the ZTAC or Grace shall resolve their dispute

pursuant to Section 7.14 or as set forth in the ZAI TDP. However, the burden of proof with

respect to the validity of the ZTAC’s or Grace’s objection and withholding of its consent shall be

on the ZTAC or Grace.

                                          SECTION VI

                                          THE PD FCR

       6.1     Duties. The initial PD FCR shall be the individual identified on the signature

pages hereto. In accordance with the Plan, he shall serve in a fiduciary capacity, representing the

interests of the holders of future PD Trust Claims in Class 7A and 7B for the purpose of

protecting the rights of such persons. The PD FCR shall also be an ex officio member of the

ZTAC for Class 7B Claims as provided in the ZAI TDP. The PD FCR shall be entitled to all of

the rights of a ZTAC Member; provided, that the PD FCR shall not vote on matters put to the

ZTAC unless the matter voted upon is tied. The Trustees must consult with the PD FCR on

matters identified in Section 2.2(e) above and on certain other matters provided herein, and must

obtain the consent of the PD FCR on matters identified in Section 2.2(f) above.


       6.2     Term of Office.


               (a)     The PD FCR shall serve until the earlier of (i) his or her death, (ii) his or

her resignation pursuant to Section 6.2(b) below, (iii) his or her removal pursuant to Section

6.2(c) below, or (iv) the termination of the PD Trust pursuant to Section 7.2 below.

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               (b)     The PD FCR may resign at any time by written notice to the Trustees.

Such notice shall specify a date when such resignation shall take effect, which shall not be less

than ninety (90) days after the date such notice is given, where practicable.

               (c)     The PD FCR may be removed by the Bankruptcy Court in the event he or

she becomes unable to discharge his or her duties hereunder due to accident, physical

deterioration, mental incompetence, or a consistent pattern of neglect and failure to perform or to

participate in performing the duties hereunder, such as repeated non-attendance at scheduled

meetings, or for other good cause.

        6.3    Appointment of Successor. A vacancy caused by death or resignation shall be

filled with an individual nominated prior to the effective date of the resignation or the death by

the resigning or deceased PD FCR, and a vacancy caused by removal of the PD FCR shall be

filled with an individual nominated by the Class 7B Trustee in consultation with the ZTAC

Members, subject, in each case, to the approval of the Bankruptcy Court. In the event the Class

7B Trustee and ZTAC cannot agree, or a nominee has not been pre-selected, the successor shall

be chosen by the Bankruptcy Court. A successor PD FCR shall also serve as an ex officio ZTAC

Member.

        6.4    PD FCR’s Employment of Professionals.

               (a)     The PD FCR may, but is not required to, retain and/or consult counsel,

accountants, appraisers, auditors, forecasters, experts, and financial and investment advisors, and

such other parties deemed by the PD FCR to be qualified as experts on matters submitted to the

PD FCR (the “PD FCR Professionals”). The PD FCR and the PD FCR Professionals shall at all

times have complete access to the PD Trust’s officers, employees and agents, as well as to the

Trust Professionals, and shall also have complete access to all information generated by them or

otherwise available to the PD Trust or the Trustees provided that any information provided by the

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Trust Professionals shall not constitute a waiver of any applicable privilege. In the absence of

gross negligence, the written opinion of or information provided by any PD FCR Professional or

Trust Professional deemed by the PD FCR to be qualified as an expert on the particular matter

submitted to the PD FCR shall be full and complete authorization and protection in support of any

action taken, or not taken, by the PD FCR in good faith and in accordance with the written

opinion of or information provided by the PD FCR Professional or Trust Professional.

               (b)     The PD Trust shall promptly reimburse, or pay directly if so instructed, the

PD FCR for all reasonable fees and costs associated with the PD FCR’s employment of legal

counsel pursuant to this provision in connection with the PD FCR’s performance of his or her

duties hereunder. The PD Trust shall also promptly reimburse, or pay directly if so instructed,

the PD FCR for all reasonable fees and costs associated with the PD FCR’s employment of any

other PD FCR Professionals pursuant to this provision in connection with the PD FCR’s

performance of his or her duties hereunder; provided, however, that (i) the PD FCR has first

submitted to the PD Trust a written request for such reimbursement setting forth the reasons (A)

why the PD FCR desires to employ the PD FCR Professional, and (B) why the PD FCR cannot

rely on Trust Professionals to meet the need of the PD FCR for such expertise or advice, and (ii)

the PD Trust has approved the PD FCR’s request for reimbursement in writing. If the PD Trust

agrees to pay for the PD FCR Professional, such reimbursement shall be treated as a PD Trust

expense. If the PD Trust declines to pay for the PD FCR Professional, it must set forth its

reasons in writing. If the PD FCR still desires to employ the PD FCR Professional at the PD

Trust’s expense, the PD FCR and/or the Trustees shall resolve their dispute pursuant to Section

7.13 below.




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       6.5    Compensation and Expenses of the PD FCR. The PD FCR shall receive

compensation from the PD Trust in the form of payment at the PD FCR’s normal hourly rate for

services performed. The PD Trust will promptly reimburse the PD FCR for all reasonable out-

of-pocket costs and expenses incurred by the PD FCR in connection with the performance of his

or her duties hereunder. Such reimbursement or direct payment shall be deemed a PD Trust

expense. The PD Trust shall include a description of the amounts paid under this Section 6.5 in

the Annual Report to be filed with the Bankruptcy Court and provided to the PD FCR and the

ZTAC pursuant to Section 2.2(c)(i).


       6.6    Procedures for Consultation with and Obtaining the Consent of the PD FCR.

              (a)     Consultation Process.

                      (i)    In the event the Trustees are required to consult with the PD FCR

pursuant to Section 2.2(e) above or on any other matters specified herein, the Trustees shall

provide the PD FCR with written advance notice of the matter under consideration, and with all

relevant information concerning the matter as is reasonably practicable under the circumstances.

The Trustees shall also provide the PD FCR with such reasonable access to the Trust

Professionals and other experts retained by the PD Trust and its staff (if any) as the PD FCR may

reasonably request during the time that the Trustees are considering such matter, and shall also

provide the PD FCR the opportunity, at reasonable times and for reasonable periods of time, to

discuss and comment on such matter with the Trustees.

                      (ii)   In determining when to take definitive action on any matter subject

to the consultation process set forth in this Section 6.6(a), the Trustees shall take into

consideration the time required for the PD FCR, if he or she so wishes, to engage and consult

with his or her own independent financial or investment advisors as to such matter. In any event,


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the Trustees shall not take definitive action on any such matter until at least thirty (30) days after

providing the PD FCR with the initial written notice that such matter is under consideration by

the Trustees, unless such period is waived by the PD FCR.

               (b)     Consent Process.

                       (i)     In the event the Trustees are required to obtain the consent of the

PD FCR pursuant to Section 2.2(f) above, the Trustees shall provide the PD FCR with a written

notice stating that his or her consent is being sought pursuant to that provision, describing in

detail the nature and scope of the action the Trustees propose to take, and explaining in detail the

reasons why the Trustees desire to take such action. The Trustees shall provide the PD FCR as

much relevant additional information concerning the proposed action as is reasonably practicable

under the circumstances. The Trustees shall also provide the PD FCR with such reasonable

access to the Trust Professionals and other experts retained by the PD Trust and its staff (if any)

as the PD FCR may reasonably request during the time that the Trustees are considering such

action, and shall also provide the PD FCR the opportunity, at reasonable times and for

reasonable periods of time, to discuss and comment on such action with the Trustees.

                       (ii)    The PD FCR must consider in good faith and in a timely fashion

any request for his or her consent by the Trustees, and must in any event advise the Trustees in

writing of his or her consent or objection to the proposed action within thirty (30) days of

receiving the original request for consent from the Trustees. The PD FCR may not withhold his

or her consent unreasonably. If the PD FCR decides to withhold consent, he or she must explain

in detail his or her objections to the proposed action. If the PD FCR does not advise the Trustees

in writing of his or her consent or objections to the proposed action within thirty (30) days of




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receiving the notice from the Trustees regarding such consent, the PD FCR’s consent shall be

deemed to have been affirmatively granted.

                       (iii)   If, after following the procedures specified in this Section 6.6(b),

the PD FCR continues to object to the proposed action and to withhold its consent to the

proposed action, the Trustees and/or the PD FCR shall resolve their dispute pursuant to Section

7.14.

                                          SECTION VII

                                   GENERAL PROVISIONS

       7.1      Irrevocability. To the fullest extent permitted by applicable law, the PD Trust is
irrevocable.

         7.2    Term; Termination.

               (a)     The term for which the PD Trust is to exist shall commence on the date of

the filing of the Certificate of Trust and shall terminate pursuant to the provisions of Section 7.2

below.

                       (b)     The PD Trust shall automatically dissolve on the date (the

“Dissolution Date”) ninety (90) days after the first to occur of the following events:

                       (i)     the later of (A) 25 years following the Effective Date of the Plan,

or (B) when the PD Trust has paid out all of the PD Trust Assets following the final deferred

contingent payment for Class 7B Claims; or

                       (ii)    to the extent that any rule against perpetuities shall be deemed

applicable to the PD Trust, the date on which twenty-one (21) years less ninety-one (91) days

pass after the death of the last survivor of all of the descendants of the late Joseph P. Kennedy,

Sr., father of the late President John F. Kennedy, living on the date hereof.




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               (c)     On the Dissolution Date or as soon as reasonably practicable, after the

wind-up of the PD Trust’s affairs by the Trustees and payment of all the PD Trust’s liabilities

have been provided for as required by applicable law including Section 3808 of the Act, all

monies remaining in the PD Trust estate for Class 7B Claims shall be paid over to the Asbestos

PI Trust, which shall be treated as an offset against the amount owed by the Reorganized Debtors

to the Asbestos PI Trust if paid during the first 25 years after the Effective Date.

Notwithstanding any contrary provision of the Plan and related documents, this Section 7.2(c)

cannot be modified or amended.

               (d)     Following the dissolution and distribution of the assets of the PD Trust,

the PD Trust shall terminate and the Trustees, or any one of them, shall execute and cause a

Certificate of Cancellation of the Certificate of Trust of the PD Trust to be filed in accordance

with the Act. Notwithstanding anything to the contrary contained in this PD Trust Agreement,

the existence of the PD Trust as a separate legal entity shall continue until the filing of such

Certificate of Cancellation.

       7.3     Amendments. The Class 7B Trustee, after consultation with the ZTAC, the PD

FCR, and Grace, and subject to the unanimous consent of the ZTAC and the PD FCR, may

modify or amend this PD Trust Agreement and the PD Trust By-laws to the extent the

amendment affects the ZAI Trust Assets or ZAI Claims or administration. The Class 7B

Trustee, after consultation with the ZTAC, the PD FCR, and Grace, and subject to the consent of

the ZTAC and the PD FCR, may modify or amend the ZAI TDP; provided, however, that no

amendment to the ZAI TDP shall be inconsistent with the provisions of the Plan relating to PD

Trust Claims or the ZAI TDP limiting amendments to that document as provided therein. Any

modification or amendment made pursuant to this Article must be done in writing.



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Notwithstanding anything contained in this PD Trust Agreement or the ZAI TDP to the contrary,

neither this PD Trust Agreement, the PD Trust Bylaws, the ZAI TDP, nor any document annexed

to the foregoing shall be modified or amended in any way that could jeopardize, impair, be

inconsistent with, or modify (i) Section 2.4 of this PD Trust Agreement unless expressly

consented to in writing by each of Sealed Air Corporation and Cryovac, Inc. in its absolute

discretion, (ii) the applicability of section 524(g) of the Bankruptcy Code to the Plan and the

Confirmation Order, (iii) the efficacy or enforceability of the Asbestos PD Channeling Injunction

or the Successor Claims Injunction, or any other injunction or release issued or granted in favor

of any (or all) of the Sealed Air Indemnified Parties or the Fresenius Indemnified Parties in

connection with the Plan, (iv) any other material provision of the Plan, or (v) the PD Trust’s

qualified settlement fund status under the QSF Regulations.


       7.4     Meetings. The Delaware Trustee shall not be required nor permitted to attend

meetings relating to the PD Trust.


       7.5     Severability. Should any provision in this PD Trust Agreement be determined to

be unenforceable, such determination shall in no way limit or affect the enforceability and

operative effect of any and all other provisions of this PD Trust Agreement.


       7.6     Notices. Notices to persons asserting claims shall be given by first class mail,

postage prepaid, at the address of such person, or, where applicable, such person’s legal

representative, in each case as provided on such person’s claim form submitted to the PD Trust

with respect to his or her PD Trust Claim.


               (a)    Any notices or other communications required or permitted hereunder to

the following parties shall be in writing and delivered at the addresses designated below, or sent

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by e-mail or facsimile pursuant to the instructions listed below, or mailed by registered or

certified mail, return receipt requested, postage prepaid, addressed as follows, or to such other

address or addresses as may hereafter be furnished in writing to each of the other parties listed

below in compliance with the terms hereof.

To the PD Trust through the Trustees:

       [TO COME]

To the Delaware Trustee:

       Wilmington Trust Company
       1100 N. Market Street
       Wilmington, DE 19890-1625
       Attention: Corporate Custody


To the ZTAC:

       Edward J. Westbrook
       Richardson Patrick Westbrook & Brickman LLC
       1037 Chuck Dawley Blvd, Building A
       Mount Pleasant, SC 29464
       Telephone: (843) 727-6500
       Facsimile: (843) 727-6688

       -and-

       Darrell W. Scott
       The Scott Law Group, P.S.
       926 W. Sprague Avenue, Suite 680
       Spokane, WA 99201
       Telephone: (509) 455-3966
       Toll Free: 1-888-955-3966
       Facsimile: (509) 455-3906

To the PD FCR:

       Hon. Alexander M. Sanders, Jr.
       19 Water Street
       Charleston, South Carolina 29401
       Telephone: (843) 953-5755
       Facsimile: (843) 953-7570


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       with a copy to:

       Alan B. Rich
       Attorney and Counselor
       1401 Elm Street, Suite 4620
       Dallas, Texas 75202
       Telephone: (214) 744-5100
       Facsimile: (214) 744-5101

To the Reorganized Debtors:

       W. R. Grace & Co.
       7500 Grace Drive
       Columbia, MD 21044
       Telephone: (410) 531-4000
       Facsimile: (410) 531-4367

       Attn: Richard Finke

       with a copy to:

       Theodore L. Freedman
       Kirkland & Ellis LLP
       153 East 53rd Street
       New York, NY 10022
       Telephone: (212) 446-4800
       Facsimile: (212) 446-4900

       (b)     All such notices and communications if mailed shall be effective when physically

delivered at the designated addresses or, if electronically transmitted, when the communication is

received at the designated addresses and confirmed by the recipient by return transmission.

       7.7     Successors and Assigns. The provisions of this PD Trust Agreement shall be

binding upon and inure to the benefit of the Debtors, the PD Trust, the Trustees, the ZTAC, and

the Reorganized Debtors, and their respective successors and assigns, except that neither the

Debtors, the PD Trust, the Trustees, the ZTAC, nor the Reorganized Debtors may assign or

otherwise transfer any of its, or their, rights or obligations, if any, under this PD Trust Agreement

except, in the case of the PD Trust and the Trustees, as contemplated by Section 2.1 above.


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       7.8     Limitation on Claim Interests for Securities Laws Purposes.               PD Trust

Claims, and any interests therein (a) shall not be assigned, conveyed, hypothecated, pledged, or

otherwise transferred, voluntarily or involuntarily, directly or indirectly, except by will or under

the laws of descent and distribution; (b) shall not be evidenced by a certificate or other

instrument; (c) shall not possess any voting rights; and (d) shall not be entitled to receive any

dividends or interest; provided, however, that clause (a) of this Section 7.8 shall not apply to the

holder of a claim that is subrogated to a PD Trust Claim as a result of its satisfaction of such PD

Trust Claim.


       7.9     Entire Agreement; No Waiver. The entire agreement of the parties relating to

the subject matter of this PD Trust Agreement is contained herein and in the documents referred

to herein, and this PD Trust Agreement and such documents supersede any prior oral or written

agreements concerning the subject matter hereof. No failure to exercise or delay in exercising

any right, power or privilege hereunder shall operate as a waiver thereof, nor shall any single or

partial exercise of any right, power or privilege hereunder preclude any further exercise thereof

or of any other right, power or privilege.       The rights and remedies herein provided are

cumulative and are not exclusive of rights under law or in equity.


       7.10    Headings.    The headings used in this PD Trust Agreement are inserted for

convenience only and do not constitute a portion of this PD Trust Agreement, nor in any manner

affect the construction of the provisions of this PD Trust Agreement.


       7.11    Governing Law. This PD Trust Agreement shall be governed by, and construed

in accordance with, the laws of the State of Delaware, without regard to Delaware conflict of law

principles.


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       7.12    Settlors’ Representative and Cooperation.          The Debtors and Reorganized

Debtors are hereby irrevocably designated as the Settlors, and they are hereby authorized to take

any action required of the Settlors by the Trustees in connection with the PD Trust Agreement.

The Settlors agree to cooperate in implementing the goals and objectives of this PD Trust

Agreement.


       7.13    Audit Rights. The Settlors shall have the right to conduct annual audits of the

books, records, and claims processing procedures of the PD Trust as set forth more fully in the

ZAI TDP and to confirm that the Asbestos PD Trust expenditures have complied with the terms

of the Plan, the PD Settlement Agreements, the Final Orders of the Court determining the

Allowed Amount of Unresolved Asbestos PD Claims in Class 7A, the Class 7A CMO, the ZAI

TDP, and this PD Trust Agreement.


       7.14    Dispute Resolution. Any disputes that arise under this PD Trust Agreement or

under the ZAI TDP among the parties hereto shall be resolved by submission of the matter to an

alternative dispute resolution (“ADR”) process mutually agreeable to the parties involved.

Should any party to the ADR process be dissatisfied with the decision of the arbitrator(s), that

party may apply to the Bankruptcy Court for a judicial determination of the matter. Any review

conducted by the Bankruptcy Court shall be de novo. Should the dispute not be resolved by the

ADR process within ninety (90) days after submission, the parties are relieved of the requirement

to pursue ADR prior to application to the Bankruptcy Court. If the Trustees determine that the

matter in dispute is exigent and cannot await the completion of the ADR process, the Trustees

shall have the discretion to elect out of the ADR process altogether or at any stage of the process

and seek resolution of the dispute in the Bankruptcy Court.



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       7.15    Enforcement and Administration. The provisions of this PD Trust Agreement,

the portions of the Class 7A CMO at Exhibit 1 hereto which empower the Bankruptcy Court to

take an action, and only to the extent that said action is at issue, and the ZAI TDP at Exhibit 2

hereto shall be enforced by the Bankruptcy Court pursuant to the Plan. The parties hereby

further acknowledge and agree that the Bankruptcy Court shall have exclusive jurisdiction over

the settlement of the accounts of the Trustees and over any disputes hereunder not resolved by

alternative dispute resolution in accordance with Section 7.14 above.


       7.16    Effectiveness. This PD Trust Agreement shall not become effective until it has

been executed and delivered by all the parties hereto.


       7.17    Counterpart Signatures. This PD Trust Agreement may be executed in any

number of counterparts, each of which shall constitute an original, but such counterparts shall

together constitute but one and the same instrument.




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      IN WITNESS WHEREOF, the parties have executed this PD Trust Agreement this _____ day of

      ________________________, 2009.


      W. R. GRACE & CO.
      on behalf of itself and the other Debtors



      By:


      Title:

       TRUSTEES                                            PD COMMITTEE



                                                           By:
Name: ________
Expiration Date of Initial Term: _________
Anniversary of the date of this PD Trust Agreement         DELAWARE TRUSTEE



                                                           By:
Name: ________
Expiration Date of Initial Term: _________
Anniversary of the date of this PD Trust Agreement




                                      [Signature Pages to PD Trust Agreement]



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                                         TRUST ADVISORY COMMITTEE




                                         Name: Edward J. Westbrook
                                         Expiration Date of Initial Term: _____ Anniversary of
                                         the date of this PD Trust Agreement




                                         Name: Darrell W. Scott
                                         Expiration Date of Initial Term: _____ Anniversary of
                                         the date of this PD Trust Agreement




                                         PD FCR



                                         _____________________________________
                                         Hon. Alexander M. Sanders, Jr.




                    [Signature Pages to PD Trust Agreement]



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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               )        Chapter 11
                                                     )
W. R. GRACE & CO., et al.1                           )        Case No. 01-01139 (JKF)
                                                     )        Jointly Administered
                         Debtors.                    )
                                                     )
                                                     )
                                                     )


                                EXHIBIT 4 TO EXHIBIT BOOK
                              TRUST DISTRIBUTION PROCEDURES

                                                                                                  EXHIBIT 4

         Attached.




1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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                   WRG ASBESTOS PI TRUST DISTRIBUTION PROCEDURES


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              WRG ASBESTOS PI TRUST DISTRIBUTION PROCEDURES


       The WRG Asbestos PI Trust Distribution Procedures (the “TDP”) contained herein

provide for resolving all “Asbestos PI Claims” as defined in the First Amended Joint Plan of

Reorganization Under Chapter 11 of the Bankruptcy Code of W.R. Grace & Co., et al., the

Official Committee of Asbestos Personal Injury Claimants, the Asbestos PI Future Claimants’

Representative, and the Official Committee of Equity Security Holders, dated as of February 27,

2009 (as it may be amended or modified, the “Plan”),1 including, without limitation, all

asbestos-related personal injury and death claims caused by conduct of, and/or exposure to

products for which, W.R. Grace & Co. and/or the other Debtors (collectively referred to as

“Grace”), and their predecessors, successors, and assigns, have legal responsibility as provided

in and required by the Plan and the WRG Asbestos PI Trust Agreement (the “PI Trust

Agreement”). The Plan and PI Trust Agreement establish the WRG Asbestos PI Trust (the “PI

Trust”). The Trustees of the PI Trust (the “Trustees”) shall implement and administer this TDP

in accordance with the PI Trust Agreement.

                                           SECTION I

                                           Introduction

       1.1     Purpose. This TDP has been adopted pursuant to the PI Trust Agreement. It is

designed to provide fair, equitable and substantially similar treatment for all PI Trust Claims that

may presently exist or may arise in the future.




1
  Capitalized terms used herein and not otherwise defined shall have the meanings assigned to
them in the Plan and the PI Trust Agreement; provided, however, that “Asbestos PI Claims” as
defined in the Plan shall be referred to herein as “PI Trust Claims.”




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       1.2     Interpretation. Except as may otherwise be provided below, nothing in this TDP

shall be deemed to create a substantive right for any claimant. The rights and benefits provided

herein to holders of PI Trust Claims shall vest in such holders as of the Effective Date.

                                           SECTION II

                                             Overview

       2.1     PI Trust Goals. The goal of the PI Trust is to treat all claimants equitably. This

TDP furthers that goal by setting forth procedures for processing and paying Grace’s several

share of the unpaid portion of the value of asbestos personal injury claims generally on an

impartial, first-in-first-out (“FIFO”) basis, with the intention of paying all claimants over time as

equivalent a share as possible of the value of their claims based on historical values for

substantially similar claims in the tort system.2 To this end, the TDP establishes a schedule of

eight asbestos-related diseases (“Disease Levels”), seven of which have presumptive medical

and exposure requirements (“Medical/Exposure Criteria”) and specific liquidated values

(“Scheduled Values”), and seven of which have anticipated average values (“Average Values”)

and caps on their liquidated values (“Maximum Values”). The Disease Levels,

Medical/Exposure Criteria, Scheduled Values, Average Values and Maximum Values, which are

set forth in Sections 5.3 and 5.4 below, have all been selected and derived with the intention of

achieving a fair allocation of the PI Trust funds as among claimants suffering from different

disease processes in light of the best available information considering the settlement histories of

Grace and the rights claimants would have in the tort system absent the bankruptcy.




2
        As used in this TDP, the phrase “in the tort system” shall not include claims asserted
against a trust established for the benefit of asbestos personal injury claimants pursuant to section
524(g) and/or section 105 of the Bankruptcy Code or any other applicable law.


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       2.2     Claims Liquidation Procedures. PI Trust Claims shall be processed based on

their place in the FIFO Processing Queue to be established pursuant to Section 5.1(a) below.

The PI Trust shall take all reasonable steps to resolve PI Trust Claims as efficiently and

expeditiously as possible at each stage of claims processing and arbitration, which steps may

include, in the PI Trust’s sole discretion, conducting settlement discussions with claimants’

representatives with respect to more than one claim at a time, provided that the claimants’

respective positions in the FIFO Processing Queue are maintained and each claim is individually

evaluated pursuant to the valuation factors set forth in Section 5.3(b)(2) below. The PI Trust

shall also make every effort to resolve each year at least that number of PI Trust Claims required

to exhaust the Maximum Annual Payment and the Maximum Available Payment for Category A

and Category B claims, as those terms are defined below.

       The PI Trust shall liquidate all PI Trust Claims except Foreign Claims (as defined below)

that meet the presumptive Medical/Exposure Criteria of Disease Levels I–V, VII and VIII under

the Expedited Review Process described in Section 5.3(a) below. Claims involving Disease

Levels I–V, VII and VIII that do not meet the presumptive Medical/Exposure Criteria for the

relevant Disease Level may undergo the PI Trust’s Individual Review Process described in

Section 5.3(b) below. In such a case, notwithstanding that the claim does not meet the

presumptive Medical/Exposure Criteria for the relevant Disease Level, the PI Trust can offer the

claimant an amount up to the Scheduled Value of that Disease Level if the PI Trust is satisfied

that the claimant has presented a claim that would be cognizable and valid in the tort system.

       Claimants holding claims involving Disease Levels II-VIII may alternatively seek to

establish a liquidated value for the claim that is greater than its Scheduled Value by electing the

PI Trust’s Individual Review Process. However, the liquidated value of a claim that undergoes



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the Individual Review Process for valuation purposes may be determined to be less than the

Scheduled Value for the applicable Disease Level, and in any event shall not exceed the

Maximum Value for the relevant Disease Level set forth in Section 5.3(b)(3) below, unless the

claim qualifies as an Extraordinary Claim as defined in Section 5.4(a) below, in which case its

liquidated value cannot exceed the maximum extraordinary value specified in Section 5.4(a) for

such claims. Level VI (Lung Cancer 2) claims and all Foreign Claims may be liquidated only

pursuant to the PI Trust’s Individual Review Process.

       Based upon Grace’s claims settlement histories in light of applicable tort law, and current

projections of present and future unliquidated claims, the Scheduled Values and Maximum

Values set forth in Section 5.3(b)(3) have been established for each of the Disease Levels that are

eligible for Individual Review of their liquidated values, with the expectation that the

combination of settlements at the Scheduled Values and those resulting from the Individual

Review Process should result in the Average Values also set forth in that provision.

       All unresolved disputes over a claimant’s medical condition, exposure history and/or the

liquidated value of the claim shall be subject to binding or non-binding arbitration as set forth in

Section 5.10 below, at the election of the claimant, under the ADR Procedures that are provided

in Attachment A hereto. PI Trust Claims that are the subject of a dispute with the PI Trust that

cannot be resolved by non-binding arbitration may enter the tort system as provided in Sections

5.11 and 7.6 below. However, if and when a claimant obtains a judgment in the tort system, the

judgment shall be payable (subject to the Payment Percentage, Maximum Available Payment,

and Claims Payment Ratio provisions set forth below) as provided in Section 7.7 below.

       2.3     Application of the Payment Percentage. After the liquidated value of a PI Trust

Claim other than a claim involving Other Asbestos Disease (Disease Level I – Cash Discount



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Payment), as defined in Section 5.3(a)(3) below, is determined pursuant to the procedures set

forth herein for Expedited Review, Individual Review, arbitration, or litigation in the tort system,

the claimant shall ultimately receive a pro-rata share of that value based on a Payment

Percentage described in Section 4.2 below. The Payment Percentage shall also apply to all Pre-

Petition Liquidated Claims as provided in Section 5.2 below and to all sequencing adjustments

paid pursuant to Section 7.5 below.

       An Initial Payment Percentage shall be set pursuant to Section 4.2 below promptly after

the PI Trust is established by the Trustees after consultation with the PI Trust Advisory

Committee (the “TAC”) and the Legal Representative for Future Claimants (the “Futures

Representative”) (who are described in Section 3.1 below). The Initial Payment Percentage

shall apply to all PI Trust Voting Claims accepted as valid by the PI Trust, unless adjusted by the

PI Trust with the consent of the TAC and the Futures Representative pursuant to Section 4.2

below, and except as provided in Section 4.3 below with respect to supplemental payments in the

event the Initial Payment Percentage is changed. The term “PI Trust Voting Claims” includes

(i) Pre-Petition Liquidated Claims as defined in Section 5.2(a) below; (ii) claims filed against

Grace in the tort system or actually submitted to Grace pursuant to an administrative settlement

agreement prior to the Petition Date of April 2, 2001; and (iii) all asbestos claims filed against

another defendant in the tort system prior to February 27, 2009, the date the Plan was filed with

the Bankruptcy Court (the “Plan Filing Date”); provided, however, that (1) the holder of a claim

described in subsection (i), (ii) or (iii) above, or his or her authorized agent, actually voted to

accept or reject the Plan pursuant to the voting procedures established by the Bankruptcy Court,

unless such holder certifies to the satisfaction of the Trustees that he or she was prevented from

voting in this proceeding as a result of circumstances resulting in a state of emergency affecting,



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as the case may be, the holder’s residence, principal place of business or legal representative’s

place of business at which the holder or his or her legal representative receives notice and/or

maintains material records relating to his or her PI Trust Voting Claim; and provided further that

(2) the claim was subsequently filed with the PI Trust pursuant to Section 6.1 below by the Initial

Claims Filing Date defined in Section 5.1(a) below. The Initial Payment Percentage shall be

calculated on the assumption that the Average Values set forth in Section 5.3(b)(3) below shall

be achieved with respect to existing present claims and projected future claims involving Disease

Levels II–VIII.

         The Payment Percentage may thereafter be adjusted upwards or downwards from time to

time by the PI Trust with the consent of the TAC and the Futures Representative to reflect then-

current estimates of the PI Trust’s assets and its liabilities, as well as then-estimated value of

then-pending and future claims. Any adjustment to the Initial Payment Percentage shall be made

only pursuant to Section 4.2 below. If the Payment Percentage is increased over time, claimants

whose claims were liquidated and paid in prior periods under the TDP shall receive additional

payments only as provided in Section 4.2 below. Because there is uncertainty in the prediction

of both the number and severity of future PI Trust Claims, and the amount of the PI Trust’s

assets, no guarantee can be made of any Payment Percentage of a PI Trust Claim’s liquidated

value.

         2.4   PI Trust’s Determination of the Maximum Annual Payment and Maximum

Available Payment. The PI Trust shall estimate or model the amount of cash flow anticipated

to be necessary over its entire life to ensure that funds shall be available to treat all present and

future holders of PI Trust Claims as similarly as possible. In each year, the PI Trust shall be

empowered to pay out all of the income earned during the year (net of taxes payable with respect



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thereto), together with a portion of its principal, calculated so that the application of PI Trust

funds over its life shall correspond with the needs created by the estimated initial backlog of

claims and the estimated anticipated future flow of claims (the “Maximum Annual Payment”),

taking into account the Payment Percentage provisions set forth in Section 2.3 above and

Sections 4.2 and 4.3 below. The PI Trust’s distributions to all claimants for that year shall not

exceed the Maximum Annual Payment determined for that year.

       In distributing the Maximum Annual Payment, the PI Trust shall first allocate the amount

in question to (a) outstanding Pre-Petition Liquidated Claims; (b) PI Trust Claims involving

Disease Level I (Cash Discount Payment) which have been liquidated by the PI Trust; (c) any PI

Trust Claims based on a diagnosis dated prior to the Effective Date (“Existing Claims”); and (d)

Exigent Hardship Claims (as defined in Section 5.4(b) below). Should the Maximum Annual

Payment be insufficient to pay all such claims in full, they shall be paid in proportion to the

aggregate value of each group of claims and the available funds allocated to each group of claims

shall be paid to the maximum extent to claimants in the particular group based on their place in

their respective FIFO Payment Queue. Claims in any group for which there are insufficient

funds shall be carried over to the next year, and placed at the head of their FIFO Payment Queue.

The remaining portion of the Maximum Annual Payment (the “Maximum Available

Payment”), if any, shall then be allocated and used to satisfy all other liquidated PI Trust

Claims, subject to the Claims Payment Ratio set forth in Section 2.5 below. Claims in the groups

described in (a), (b), (c) and (d) above shall not be subject to the Claims Payment Ratio.

       2.5     Claims Payment Ratio. Based upon Grace’s claims settlement histories and

analysis of present and future claims, a Claims Payment Ratio has been determined which, as of

the Effective Date, has been set at 88% for Category A claims, which consist of PI Trust Claims



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involving severe asbestosis, severe disabling pleural disease and malignancies (Disease Levels

IV–VIII) and at 12% for Category B claims, which are PI Trust Claims involving non-malignant

Asbestosis or Pleural Disease (Disease Levels II and III).

       In each year, after the determination of the Maximum Available Payment described in

Section 2.4 above, 88% of that amount shall be available to pay Category A claims and 12%

shall be available to pay Category B claims that have been liquidated since the Petition Date

except for claims which, pursuant to Section 2.4 above, are not subject to the Claims Payment

Ratio; provided, however, that the amount available to pay each Category of claims in each year

shall be proportionately reduced by the amounts required to pay any Insurance-Related TDP

Claims (as defined in Section 5.12 below) and any Indemnified Insurer TDP Claims (as defined

in Section 5.13 below). In the event there are insufficient funds in any year to pay the liquidated

claims within either or both of the Categories, the available funds allocated to the particular

Category shall be paid to the maximum extent to claimants in that Category based on their place

in the FIFO Payment Queue described in Section 5.1(c) below, which shall be based upon the

date of claim liquidation. Claims for which there are insufficient funds allocated to the relevant

Category shall be carried over to the next year where they shall be placed at the head of the FIFO

Payment Queue. If there are excess funds in either or both Categories, because there is an

insufficient amount of liquidated claims to exhaust the respective Maximum Available Payment

amount for that Category, then the excess funds for either or both Categories shall be rolled over

and remain dedicated to the respective Category to which they were originally allocated.

       The 88%/12% Claims Payment Ratio and its rollover provision shall apply to all PI Trust

Voting Claims as defined in Section 2.3 above (except Pre-Petition Liquidated Claims, Other

Asbestos Disease claims (Disease Level I – Cash Discount Payment), Existing Claims and



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Exigent Hardship Claims), and shall not be amended until the third anniversary of the date the PI

Trust first accepts for processing proof of claim forms and other materials required to file a claim

with the PI Trust. Thereafter, both the Claims Payment Ratio and its rollover provision shall be

continued absent circumstances, such as a significant change in law or medicine, necessitating

amendment to avoid a manifest injustice. However, the accumulation, rollover and subsequent

delay of claims resulting from the application of the Claims Payment Ratio shall not, in and of

itself, constitute such circumstances. In addition, an increase in the numbers of Category B

claims beyond those predicted or expected shall not be considered as a factor in deciding

whether to reduce the percentage allocated to Category A claims.

       In considering whether to make any amendments to the Claims Payment Ratio and/or its

rollover provisions, the Trustees shall consider the reasons for which the Claims Payment Ratio

and its rollover provisions were adopted, the settlement histories that gave rise to its calculation,

and the foreseeability or lack of foreseeability of the reasons why there would be any need to

make an amendment. In that regard, the Trustees should keep in mind the interplay between the

Payment Percentage and the Claims Payment Ratio as it affects the net cash actually paid to

claimants.

        In any event, no amendment to the Claims Payment Ratio to reduce the percentage

allocated to Category A claims may be made without the unanimous consent of the TAC

members and the consent of the Futures Representative, and the percentage allocated to Category

A claims may not be increased without the consent of the TAC and the Futures Representative.

The consent process set forth in Sections 5.7(b) and 6.6(b) of the PI Trust Agreement shall apply

in the event of any amendments to the Claims Payment Ratio. The Trustees, with the consent of

the TAC and the Futures Representative, may offer the option of a reduced Payment Percentage



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to holders of claims in either Category A or Category B in return for prompter payment (the

“Reduced Payment Option”).

       2.6     Indirect PI Trust Claims. As set forth in Section 5.6 below, Indirect PI Trust

Claims, if any, shall be subject to the same categorization, evaluation, and payment provisions of

this TDP as all other PI Trust Claims.

                                           SECTION III

                                         TDP Administration

       3.1     Trust Advisory Committee and Futures Representative. Pursuant to the Plan

and the PI Trust Agreement, the PI Trust and this TDP shall be administered by the Trustees in

consultation with the TAC, which represents the interests of holders of present PI Trust Claims,

and the Futures Representative, who represents the interests of holders of PI Trust Claims that

shall be asserted in the future. The Trustees shall obtain the consent of the TAC and the Futures

Representative on any amendments to this TDP pursuant to Section 8.1 below, and on such other

matters as are otherwise required below and in Section 2.2(f) of the PI Trust Agreement. The

Trustees shall also consult with the TAC and the Futures Representative on such matters as are

provided below and in Section 2.2(e) of the PI Trust Agreement. The initial Trustees, the initial

members of the TAC and the initial Futures Representative are identified in the PI Trust

Agreement.

       3.2     Consent and Consultation Procedures. In those circumstances in which

consultation or consent is required, the Trustees shall provide written notice to the TAC and the

Futures Representative of the specific amendment or other action that is proposed. The Trustees

shall not implement such amendment nor take such action unless and until the parties have




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engaged in the Consultation Process described in Sections 5.7(a) and 6.6(a), or the Consent

Process described in Sections 5.7(b) and 6.6(b), of the PI Trust Agreement, respectively.

                                           SECTION IV

                            Payment Percentage; Periodic Estimates

       4.1     Uncertainty of Grace’s Personal Injury Asbestos Liabilities. As discussed

above, there is inherent uncertainty regarding Grace’s total asbestos-related tort liabilities, as

well as the total value of the assets available to the PI Trust to pay PI Trust Claims.

Consequently, there is inherent uncertainty regarding the amounts that holders of PI Trust Claims

shall receive. To seek to ensure substantially equivalent treatment of all present and future PI

Trust Claims, the Trustees must determine from time to time the percentage of full liquidated

value that holders of present and future PI Trust Claims shall be likely to receive, i.e., the

“Payment Percentage” described in Section 2.3 above and Section 4.2 below.

       4.2      Computation of Payment Percentage. As provided in Section 2.3 above, the

Initial Payment Percentage shall be set by the Trustees after consultation with the TAC and the

Futures Representative promptly after the date the PI Trust is established. The Initial Payment

Percentage shall be between 25% and 35% and shall apply to all PI Trust Voting Claims as

defined in Section 2.3 above, unless the Trustees, with the consent of the TAC and the Futures

Representative, determine that the Initial Payment Percentage should be changed to assure that

the PI Trust shall be in a financial position to pay holders of unliquidated and/or unpaid PI Trust

Voting Claims and present and future PI Trust Claims in substantially the same manner.

        In making any such adjustment, the Trustees, the TAC and the Futures Representative

shall take into account the fact that the holders of PI Trust Voting Claims voted on the Plan

relying on the findings of experts that the Initial Payment Percentage range represented a



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reasonably reliable estimate of the PI Trust’s total assets and liabilities over its life based on the

best information available at the time, and shall thus give due consideration to the expectations

of PI Trust Voting Claimants that the Initial Payment Percentage would be applied to their PI

Trust Claims.

       Except with respect to PI Trust Voting Claims to which the Initial Payment Percentage

applies, the Payment Percentage shall be subject to change pursuant to the terms of this TDP and

the PI Trust Agreement if the Trustees with the consent of the TAC and Futures Representative

determine that an adjustment is required. No less frequently than once every three (3) years,

commencing with the first day of January occurring after the Effective Date, the Trustees shall

reconsider the then applicable Payment Percentage to assure that it is based on accurate, current

information and may, after such reconsideration, change the Payment Percentage if necessary

with the consent of the TAC and the Futures Representative. The Trustees shall also reconsider

the then applicable Payment Percentage at shorter intervals if they deem such reconsideration to

be appropriate or if requested to do so by the TAC or the Futures Representative.

       The Trustees must base their determination of the Payment Percentage on current

estimates of the number, types, and values of present and future PI Trust Claims, the value of the

assets then available to the PI Trust for their payment, all anticipated administrative and legal

expenses, and any other material matters that are reasonably likely to affect the sufficiency of

funds to pay a comparable percentage of full value to all holders of PI Trust Claims. When

making these determinations, the Trustees shall exercise common sense and flexibly evaluate all

relevant factors. The Payment Percentage applicable to Category A or Category B claims may

not be reduced to alleviate delays in payments of claims in the other Category; both Categories




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of claims shall receive the same Payment Percentage, but the payment may be deferred as

needed, and a Reduced Payment Option may be instituted as described in Section 2.5 above.

       4.3     Applicability of the Payment Percentage. Except as set forth below in this

Section 4.3 with respect to supplemental payments, no holder of a PI Trust Voting Claim, other

than a PI Trust Voting Claim for Other Asbestos Disease (Disease Level I – Cash Discount

Payment) as defined in Section 5.3(a)(3) below, shall receive a payment that exceeds the Initial

Payment Percentage times the liquidated value of the claim. Except as otherwise provided in

Section 5.1(c) below for PI Trust Claims involving deceased or incompetent claimants for which

approval of the PI Trust’s offer by a court or through a probate process is required, no holder of

any other PI Trust Claim, other than a PI Trust Claim for Other Asbestos Disease (Disease Level

I – Cash Discount Payment), shall receive a payment that exceeds the liquidated value of the

claim times the Payment Percentage in effect at the time of payment. PI Trust Claims involving

Other Asbestos Disease (Disease Level I – Cash Discount Payment) shall not be subject to the

Payment Percentage, but shall instead be paid the full amount of their Scheduled Value as set

forth in Section 5.3(a)(3) below.

       If a redetermination of the Payment Percentage has been proposed in writing by the

Trustees to the TAC and the Futures Representative but has not yet been adopted, the claimant

shall receive the lower of the current Payment Percentage or the proposed Payment Percentage.

However, if the proposed Payment Percentage was the lower amount but was not subsequently

adopted, the claimant shall thereafter receive the difference between the lower proposed amount

and the higher current amount. Conversely, if the proposed Payment Percentage was the higher

amount and was subsequently adopted, the claimant shall thereafter receive the difference

between the lower current amount and the higher adopted amount.



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       There is uncertainty surrounding the amount of the PI Trust’s future assets. There is also

uncertainty surrounding the totality of the PI Trust Claims to be paid over time, as well as the

extent to which changes in existing federal and state law could affect the PI Trust’s liabilities

under this TDP. If the value of the PI Trust’s future assets increases significantly and/or if the

value or volume of PI Trust Claims actually filed with the PI Trust is significantly lower than

originally estimated, the PI Trust shall use those proceeds and/or claims savings, as the case may

be, first to maintain the Payment Percentage then in effect.

       If the Trustees, with the consent of the TAC and the Futures Representative, make a

determination to increase the Payment Percentage due to a material change in the estimates of

the PI Trust’s future assets and/or liabilities, the Trustees shall also make supplemental payments

to all claimants who previously liquidated their claims against the PI Trust and received

payments based on a lower Payment Percentage. The amount of any such supplemental payment

shall be the liquidated value of the claim in question times the newly adjusted Payment

Percentage, less all amounts previously paid to the claimant with respect to the claim (excluding

the portion of such previously paid amounts that was attributable to any sequencing adjustment

paid pursuant to Section 7.5 below).

       The Trustees’ obligation to make a supplemental payment to a claimant shall be

suspended in the event the payment in question would be less than $100.00, and the amount of

the suspended payment shall be added to the amount of any prior supplemental

payment/payments that was/were also suspended because it/they would have been less than

$100.00. However, the Trustees’ obligation shall resume and the Trustees shall pay any such

aggregate supplemental payments due the claimant at such time that the total exceeds $100.00.




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                                            SECTION V

                                  Resolution of PI Trust Claims.

       5.1     Ordering, Processing and Payment of Claims.

               5.1(a) Ordering of Claims.

                       5.1(a)(1) Establishment of the FIFO Processing Queue. The PI Trust

shall order claims that are sufficiently complete to be reviewed for processing purposes on a

FIFO basis except as otherwise provided herein (the “FIFO Processing Queue”). For all claims

filed on or before the date six (6) months after the date that the PI Trust first makes available the

proof of claim forms and other claims materials required to file a claim with the PI Trust (such

six month anniversary being referred to herein as the “Initial Claims Filing Date”), a claimant’s

position in the FIFO Processing Queue shall be determined as of the earliest of (i) the date prior

to April 2, 2001 (the “Petition Date”) that the specific claim was either filed against Grace in the

tort system or was actually submitted to Grace pursuant to an administrative settlement

agreement; (ii) the date before the Petition Date that the asbestos claim was filed against another

defendant in the tort system if at the time the claim was subject to a tolling agreement with

Grace; provided, however, that if a claimant was barred from pursuing other defendants in the

tort system by the terms of a preliminary injunction or other stay entered by the Court in the

Grace bankruptcy proceedings and such claimant files an asbestos claim against another

defendant in the tort system within one year after such preliminary injunction or other stay is

lifted, the claimant shall be deemed to have filed the asbestos claim against the other defendant

on the date the preliminary injunction or other stay was first entered; (iii) the date after the

Petition Date but before the date that the PI Trust first makes available the proof of claim forms

and other claims materials required to file a claim with the PI Trust that the asbestos claim was



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filed against another defendant in the tort system; (iv) the date after the Petition Date but before

the Effective Date that a proof of claim was filed by the claimant against Grace in the Chapter 11

Cases; or (v) the date a ballot was submitted on behalf of the claimant for purposes of voting to

accept or reject the Plan pursuant to the voting procedures approved by the Bankruptcy Court.

        Following the Initial Claims Filing Date, the claimant’s position in the FIFO Processing

Queue shall be determined by the date the claim is filed with the PI Trust. If any claims are filed

on the same date, the claimant’s position in the FIFO Processing Queue shall be determined by

the date of the diagnosis of the asbestos-related disease. If any claims are filed and diagnosed on

the same date, the claimant’s position in the FIFO Processing Queue shall be determined by the

claimant’s date of birth, with older claimants given priority over younger claimants.

                        5.1(a)(2) Effect of Statutes of Limitation and Repose. All unliquidated

PI Trust Claims must meet either (i) for claims first filed in the tort system against Grace prior to

the Petition Date, the applicable federal, state and foreign statute of limitation and repose that

was in effect at the time of the filing of the claim in the tort system, or (ii) for claims not filed

against Grace in the tort system prior to the Petition Date, the applicable federal, state or foreign

statute of limitation that was in effect at the time of the filing with the PI Trust. However, the

running of the relevant statute of limitation shall be tolled as of the earliest of (A) the actual

filing of the claim against Grace prior to the Petition Date, whether in the tort system or by

submission of the claim to Grace pursuant to an administrative settlement agreement; (B) the

tolling of the claim against Grace prior to the Petition Date by an agreement or otherwise,

provided such tolling is still in effect on the Petition Date; or (C) the Petition Date.

        If a PI Trust Claim meets any of the tolling provisions described in the preceding

sentence and the claim was not barred by the applicable federal, state or foreign statute of



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limitation at the time of the tolling event, it shall be treated as timely filed if it is actually filed

with the PI Trust within three (3) years after the Initial Claims Filing Date. In addition, any

claims that were first diagnosed after the Petition Date, irrespective of the application of any

relevant federal, state or foreign statute of limitation or repose, may be filed with the PI Trust

within three (3) years after the date of diagnosis or within three (3) years after the Initial Claims

Filing Date, whichever occurs later. However, the processing of any PI Trust Claim by the PI

Trust may be deferred at the election of the claimant pursuant to Section 6.3 below.

                5.1(b) Processing of Claims. As a general practice, the PI Trust shall review its

claims files on a regular basis and notify all claimants whose claims are likely to come up in the

FIFO Processing Queue in the near future.

                5.1(c) Payment of Claims. PI Trust Claims that have been liquidated by the

Expedited Review Process as provided in Section 5.3(a) below, by the Individual Review

Process as provided in Section 5.3(b) below, by arbitration as provided in Section 5.10 below, or

by litigation in the tort system provided in Section 5.11 below, shall be paid in FIFO order based

on the date their liquidation became final (the “FIFO Payment Queue”), all such payments

being subject to the applicable Payment Percentage, the Maximum Available Payment, the

Claims Payment Ratio, and the sequencing adjustment provided for in Section 7.5 below, except

as otherwise provided herein. Pre-Petition Liquidated Claims, as defined in Section 5.2 below,

shall be subject to the Maximum Annual Payment and Payment Percentage limitations, but not to

the Maximum Available Payment and Claims Payment Ratio provisions set forth above.

        Where the claimant is deceased or incompetent, and the settlement and payment of his or

her claim must be approved by a court of competent jurisdiction or through a probate process

prior to acceptance of the claim by the claimant’s representative, an offer made by the PI Trust



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on the claim shall remain open so long as proceedings before that court or in that probate process

remain pending, provided that the PI Trust has been furnished with evidence that the settlement

offer has been submitted to such court or in the probate process for approval. If the offer is

ultimately approved by the court or through the probate process and accepted by the claimant’s

representative, the PI Trust shall pay the claim in the amount so offered, multiplied by the

Payment Percentage in effect at the time the offer was first made.

       If any claims are liquidated on the same date, the claimant’s position in the FIFO

Payment Queue shall be determined by the date of the diagnosis of the claimant’s asbestos-

related disease. If any claims are liquidated on the same date and the respective holders’

asbestos-related diseases were diagnosed on the same date, the position of those claims in the

FIFO Payment Queue shall be determined by the PI Trust based on the dates of the claimants’

birth, with older claimants given priority over younger claimants.

       5.2     Resolution of Pre-Petition Liquidated PI Trust Claims.

               5.2(a) Processing and Payment. As soon as practicable after the Effective Date,

the PI Trust shall pay, upon submission by the claimant of the appropriate documentation, all PI

Trust Claims that were liquidated (i) by a binding settlement agreement for the particular claim

entered into prior to the Petition Date that is judicially enforceable by the claimant, (ii) by a jury

verdict or non-final judgment in the tort system obtained prior to the Petition Date, provided

there is no supersedeas bond associated with such verdict or judgment, (iii) by a judgment that

became final and non-appealable prior to the Petition Date, or (iv) as a result of being allowed by

the Bankruptcy Court (collectively “Pre-Petition Liquidated Claims”). In order to receive

payment from the PI Trust, the holder of a Pre-Petition Liquidated Claim must submit all

documentation necessary to demonstrate to the PI Trust that the claim was liquidated in the



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manner described in the preceding sentence, which documentation shall include (A) a court

authenticated copy of the jury verdict (if applicable), a non-final judgment (if applicable), a final

judgment (if applicable), or the Bankruptcy Court’s order allowing the claim (if applicable) and

(B) except in the case of a Pre-Petition Liquidated Claim arising from the Bankruptcy Court’s

order allowing the claim, the name, social security number and date of birth of the claimant and

the name and address of the claimant’s lawyer. Indirect PI Trust Claims that are Pre-Petition

Liquidated Claims are not subject to the provisions of Section 5.6 of this TDP.

        The liquidated value of a Pre-Petition Liquidated Claim shall be the unpaid portion of the

amount agreed to in the binding settlement agreement, the unpaid portion of the amount awarded

by the jury verdict or non-final judgment, the unpaid portion of the amount of the final judgment,

or the unpaid portion of the amount allowed by the Bankruptcy Court, as the case may be, plus

interest, if any, that has accrued on that amount in accordance with the terms of the agreement, if

any, or under applicable state law for settlements or judgments as of the Petition Date; however,

except as otherwise provided in Section 7.4 below, the liquidated value of a Pre-Petition

Liquidated Claim shall not include any punitive or exemplary damages. In addition, the amounts

payable with respect to such claims shall not be subject to or taken into account in consideration

of the Claims Payment Ratio and the Maximum Available Payment limitations, but shall be

subject to the Maximum Annual Payment and Payment Percentage provisions. In the absence of

a Final Order of the Bankruptcy Court determining whether a settlement agreement is binding

and judicially enforceable, a dispute between the claimant and the PI Trust over this issue shall

be resolved pursuant to the same procedures in this TDP that are provided for resolving the

validity and/or liquidated value of a PI Trust Claim (i.e., arbitration and litigation in the tort

system as set forth in Sections 5.10 and 5.11 below).



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       Pre-Petition Liquidated Claims shall be processed and paid in accordance with their order

in a separate FIFO queue to be established by the PI Trust based on the date the PI Trust received

all required documentation for the particular claim. If any Pre-Petition Liquidated Claims were

filed on the same date, the claimants’ position in the FIFO queue for such claims shall be

determined by the date on which the claim was liquidated. If any Pre-Petition Liquidated Claims

were both filed and liquidated on the same dates, the position of the claimants in the FIFO queue

shall be determined by the dates of the claimants’ birth, with older claimants given priority over

younger claimants.

               5.2(b) Marshalling of Security. Holders of Pre-Petition Liquidated Claims that

are secured by letters of credit, appeal bonds, or other security or sureties shall first exhaust their

rights against any applicable security or surety before making a claim against the PI Trust. Only

in the event that such security or surety is insufficient to pay the Pre-Petition Liquidated Claim in

full shall the deficiency be processed and paid as a Pre-Petition Liquidated Claim.

       5.3     Resolution of Unliquidated PI Trust Claims. Within six (6) months after the

establishment of the PI Trust, the Trustees, with the consent of the TAC and the Futures

Representative, shall adopt procedures for reviewing and liquidating all unliquidated PI Trust

Claims, which shall include deadlines for processing such claims. Such procedures shall also

require that claimants seeking resolution of unliquidated PI Trust Claims must first file a proof of

claim form, together with the required supporting documentation, in accordance with the

provisions of Sections 6.1 and 6.2 below. It is anticipated that the PI Trust shall provide an

initial response to the claimant within six (6) months of receiving the proof of claim form.

       The proof of claim form shall require the claimant to assert his or her claim for the

highest Disease Level for which the claim qualifies at the time of filing. Irrespective of the



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Disease Level alleged on the proof of claim form, all claims shall be deemed to be a claim for the

highest Disease Level for which the claim qualifies at the time of filing, and all lower Disease

Levels for which the claim may also qualify at the time of filing or in the future shall be treated

as subsumed into the higher Disease Level for both processing and payment purposes. A

claimant who has received payment for a Disease Level IV-A claim or a Disease Level IV-B

claim may not assert or receive payment for another Disease Level IV claim.

       Upon filing of a valid proof of claim form with the required supporting documentation,

the claimant shall be placed in the FIFO Processing Queue in accordance with the ordering

criteria described in Section 5.1(a) above. The PI Trust shall provide the claimant with six (6)

months notice of the date by which it expects to reach the claim in the FIFO Processing Queue,

following which the claimant shall promptly (i) advise the PI Trust whether the claim should be

liquidated under the PI Trust’s Expedited Review Process described in Section 5.3(a) below or,

in certain circumstances, under the PI Trust’s Individual Review Process described in Section

5.3(b) below; (ii) provide the PI Trust with any additional medical and/or exposure evidence that

was not provided with the original claim submission; and (iii) advise the PI Trust of any change

in the claimant’s Disease Level. If a claimant fails to respond to the PI Trust’s notice prior to the

reaching of the claim in the FIFO Processing Queue, the PI Trust shall process and liquidate the

claim under the Expedited Review Process based upon the medical/exposure evidence previously

submitted by the claimant, although the claimant shall retain the right to request Individual

Review as described in Section 5.3(b) below.

               5.3(a) Expedited Review Process.

                       5.3(a)(1) In General. The PI Trust’s Expedited Review Process is

designed primarily to provide an expeditious, efficient and inexpensive method for liquidating all



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PI Trust Claims (except those involving Lung Cancer 2 – Disease Level VI and all Foreign

Claims (as defined below), which shall only be liquidated pursuant to the PI Trust’s Individual

Review Process), where the claim can easily be verified by the PI Trust as meeting the

presumptive Medical/Exposure Criteria for the relevant Disease Level. Expedited Review thus

provides claimants with a substantially less burdensome process for pursuing PI Trust Claims

than does the Individual Review Process described in Section 5.3(b) below. Expedited Review is

also intended to provide qualifying claimants a fixed and certain claims payment.

       Thus, claims that undergo Expedited Review and meet the presumptive

Medical/Exposure Criteria for the relevant Disease Level shall be paid the Scheduled Value for

such Disease Level set forth in Section 5.3(a)(3) below. However, except for claims involving

Other Asbestos Disease (Disease Level I), all claims liquidated by Expedited Review shall be

subject to the applicable Payment Percentage, the Maximum Available Payment, and the Claims

Payment Ratio limitations set forth above; provided, however, that Existing Claims shall not be

subject to the Maximum Available Payment or the Claims Payment Ratio. Claimants holding

claims that cannot be liquidated by Expedited Review because they do not meet the presumptive

Medical/Exposure Criteria for the relevant Disease Level may elect the PI Trust’s Individual

Review Process set forth in Section 5.3(b) below.

       Subject to the provisions of Section 5.8, the claimant’s eligibility to receive the

Scheduled Value for his or her PI Trust Claim pursuant to the Expedited Review Process shall be

determined solely by reference to the Medical/Exposure Criteria set forth below for each of the

Disease Levels eligible for Expedited Review.

                      5.3(a)(2) Claims Processing Under Expedited Review. All claimants

seeking liquidation of their claims pursuant to Expedited Review shall file the PI Trust’s proof of



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claim form. As a proof of claim form is reached in the FIFO Processing Queue, the PI Trust

shall determine whether the claim described therein meets the Medical/Exposure Criteria for one

of the seven Disease Levels eligible for Expedited Review, and shall advise the claimant of its

determination. If a Disease Level is determined, the PI Trust shall tender to the claimant an offer

of payment of the Scheduled Value for the relevant Disease Level multiplied by the applicable

Payment Percentage, together with a form of release approved by the PI Trust. If the claimant

accepts the Scheduled Value and returns the release properly executed, the claim shall be placed

in the FIFO Payment Queue, following which the PI Trust shall disburse payment subject to the

limitations of the Maximum Available Payment and Claims Payment Ratio, if any.

                       5.3(a)(3) Disease Levels, Scheduled Values and Medical/Exposure

Criteria. The eight Disease Levels covered by this TDP, together with the Medical/Exposure

Criteria for each and the Scheduled Values for the seven Disease Levels eligible for Expedited

Review, are set forth below. These Disease Levels, Scheduled Values, and Medical/Exposure

Criteria shall apply to all PI Trust Voting Claims filed with the PI Trust (except Pre-Petition

Liquidated Claims) on or before the Initial Claims Filing Date provided in Section 5.1 above for

which the claimant elects the Expedited Review Process. Thereafter, for purposes of

administering the Expedited Review Process and with the consent of the TAC and the Futures

Representative, the Trustees may add to, change, or eliminate Disease Levels, Scheduled Values,

or Medical/Exposure Criteria; develop subcategories of Disease Levels, Scheduled Values or

Medical/Exposure Criteria; or determine that a novel or exceptional asbestos personal injury

claim is compensable even though it does not meet the Medical/Exposure Criteria for any of the

then current Disease Levels.




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Disease Level              Scheduled Value        Medical/Exposure Criteria
Mesothelioma                   $180,000           (1) Diagnosis3 of mesothelioma; and (2) Grace
(Level VIII)                                      Exposure as defined in Section 5.7(b)(3).

Lung Cancer 1                    $42,000          (1) Diagnosis of a primary lung cancer plus
(Level VII)                                       evidence of an underlying Bilateral Asbestos-
                                                  Related Nonmalignant Disease4, (2) six months
                                                  Grace Exposure, (3) for claimants whose Grace
                                                  Exposure is not described in clause (ii) of the
                                                  definition of Grace Exposure, Significant
                                                  Occupational Exposure5 to asbestos, and (4)
                                                  supporting medical documentation establishing
                                                  asbestos exposure as a contributing factor in
                                                  causing the lung cancer in question.

Lung Cancer 2                      None           (1) Diagnosis of a primary lung cancer; (2)

3
       The requirements for a diagnosis of an asbestos-related disease that may be compensated
under the provisions of this TDP are set forth in Section 5.7 below.
4
         Evidence of “Bilateral Asbestos-Related Nonmalignant Disease,” for purposes of meeting
the criteria for establishing Disease Levels I, II, III, V, and VII, means either (i) a chest X-ray
read by a qualified B reader of 1/0 or higher on the ILO scale or (ii)(x) a chest X-ray read by a
qualified B reader or other Qualified Physician, (y) a CT scan read by a Qualified Physician, or
(z) pathology, in each case showing either bilateral interstitial fibrosis, bilateral pleural plaques,
bilateral pleural thickening, or bilateral pleural calcification. Evidence submitted to demonstrate
(i) or (ii) above must be in the form of a written report stating the results (e.g., an ILO report, a
written radiology report or a pathology report). Solely for asbestos claims filed against Grace or
another defendant in the tort system prior to the Petition Date, if an ILO reading is not available,
either (i) a chest X-ray or a CT scan read by a Qualified Physician, or (ii) pathology, in each case
showing bilateral interstitial fibrosis, bilateral pleural plaques, bilateral pleural thickening, or
bilateral pleural calcification consistent with or compatible with a diagnosis of asbestos-related
disease, shall be evidence of a Bilateral Asbestos-Related Nonmalignant Disease for purposes of
meeting the presumptive medical requirements of Disease Levels I, II, III, V and VII.
Pathological proof of asbestosis may be based on the pathological grading system for asbestosis
described in the Special Issue of the Archives of Pathology and Laboratory Medicine, “Asbestos-
associated Diseases,” Vol. 106, No. 11, App. 3 (October 8, 1982). For all purposes of this TDP,
a “Qualified Physician” is a physician who is board-certified (or in the case of Canadian Claims
or Foreign Claims, a physician who is certified or qualified under comparable medical standards
or criteria of the jurisdiction in question) in one or more relevant specialized fields of medicine
such as pulmonology, radiology, internal medicine or occupational medicine; provided, however,
subject to the provisions of Section 5.8, that the requirement for board certification in this
provision shall not apply to otherwise qualified physicians whose X-ray and/or CT scan readings
are submitted for deceased holders of PI Trust Claims.
5
       The term “Significant Occupational Exposure” is defined in Section 5.7(b)(2) below.


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Disease Level             Scheduled Value       Medical/Exposure Criteria
(Level VI)                                      Grace Exposure, and (3) supporting medical
                                                documentation establishing asbestos exposure as
                                                a contributing factor in causing the lung cancer
                                                in question.

                                                Lung Cancer 2 (Level VI) claims are claims that
                                                do not meet the more stringent medical and/or
                                                exposure requirements of Lung Cancer 1 (Level
                                                VII) claims. All claims in this Disease Level
                                                shall be individually evaluated. The estimated
                                                likely average of the individual evaluation
                                                awards for this category is $14,000, with such
                                                awards capped at $33,000 unless the claim
                                                qualifies for Extraordinary Claim treatment.

                                                Level VI claims that show no evidence of either
                                                an underlying Bilateral Asbestos-Related
                                                Nonmalignant Disease or Significant
                                                Occupational Exposure may be individually
                                                evaluated, although it is not expected that such
                                                claims shall be treated as having any significant
                                                value, especially if the claimant is also a
                                                Smoker.6 In any event, no presumption of
                                                validity shall be available for any claims in this
                                                category.

Other Cancer                    $20,000         (1) Diagnosis of a primary colo-rectal,
(Level V)                                       laryngeal, esophageal, pharyngeal, or stomach
                                                cancer, plus evidence of an underlying Bilateral
                                                Asbestos-Related Nonmalignant Disease, (2) six
                                                months Grace Exposure, (3) for claimants
                                                whose Grace Exposure is not described in clause
                                                (ii) of the definition of Grace Exposure,
                                                Significant Occupational Exposure to asbestos,

6
        There is no distinction between Non-Smokers and Smokers for either Lung Cancer 1
(Level VII) or Lung Cancer 2 (Level VI), although a claimant who meets the more stringent
requirements of Lung Cancer 1 (Level VII) (evidence of an underlying Bilateral Asbestos-
Related Nonmalignant Disease plus Significant Occupational Exposure), and who is also a Non-
Smoker, may wish to have his or her claim individually evaluated by the PI Trust. In such a
case, absent circumstances that would otherwise reduce the value of the claim, it is anticipated
that the liquidated value of the claim might well exceed the $42,000 Scheduled Value for Lung
Cancer 1 (Level VII) shown above. “Non-Smoker” means a claimant who either (a) never
smoked or (b) has not smoked during any portion of the twelve (12) years immediately prior to
the diagnosis of the lung cancer.


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Disease Level              Scheduled Value       Medical/Exposure Criteria
                                                 and (4) supporting medical documentation
                                                 establishing asbestos exposure as a contributing
                                                 factor in causing the other cancer in question.

Severe Asbestosis               $50,000          (1) Diagnosis of asbestosis with ILO of 2/1 or
(Level IV-A)                                     greater, or asbestosis determined by pathological
                                                 evidence of asbestos, plus (a) TLC less than
                                                 65%, or (b) FVC less than 65% and FEV1/FVC
                                                 ratio greater than 65%, (2) six months Grace
                                                 Exposure, (3) for claimants whose Grace
                                                 Exposure is not described in clause (ii) of the
                                                 definition of Grace Exposure, Significant
                                                 Occupational Exposure to asbestos, and (4)
                                                 supporting medical documentation establishing
                                                 asbestos exposure as a contributing factor in
                                                 causing the pulmonary disease in question.

Severe Disabling                $50,000          (1) Diagnosis of diffuse pleural thickening of at
Pleural Disease                                  least extent “2” and at least width “a” as one
(Level IV-B)                                     component of a bilateral non-malignant asbestos
                                                 related disease based on definitions as set forth
                                                 in the 2000 revision of the ILO classification7,
                                                 plus (a) TLC less than 65%, or (b) FVC less
                                                 than 65% and FEV1/FVC ratio greater than
                                                 65%, (2) six months Grace Exposure, (3) for
                                                 claimants whose Grace Exposure is not
                                                 described in clause (ii) of the definition of Grace
                                                 Exposure, Significant Occupational Exposure to
                                                 asbestos and (4) supporting medical
                                                 documentation establishing asbestos exposure as
                                                 a contributing factor in causing the pulmonary
                                                 disease in question.

Asbestosis/Pleural               $7,500          (1) Diagnosis of Bilateral Asbestos-Related
Disease (Level III)                              Nonmalignant Disease, plus (a) TLC less than
                                                 80%, or (b) FVC less than 80% and FEV1/FVC
                                                 ratio greater than or equal to 65%, and (2) six

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  The definitions of diffuse pleural thickening, extent and width must come from the 2000 ILO
Classification for Pneumoconiosis. The 2000 ILO classification restricts diffuse pleural
thickening to cases where there is associated blunting of the costophrenic angle; this is a change
from the prior versions of the ILO classification. Use of this category must require adherence to
the 2000 classification: International Labour Office (ILO). Guidelines for the Use of the ILO
International Classification of Radiographs of Pneumoconioses, Revised Edition 2000
(Occupational Safety and Health Series, No. 22). International Labour Office: Geneva, 2002.


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Disease Level             Scheduled Value        Medical/Exposure Criteria
                                                 months Grace Exposure, (3) for claimants
                                                 whose Grace Exposure is not described in clause
                                                 (ii) of the definition of Grace Exposure,
                                                 Significant Occupational Exposure to asbestos,
                                                 and (4) supporting medical documentation
                                                 establishing asbestos exposure as a contributing
                                                 factor in causing the pulmonary disease in
                                                 question.

Asbestosis/Pleural               $2,500          (1) Diagnosis of a Bilateral Asbestos-Related
Disease (Level II)                               Nonmalignant Disease, and (2) six months
                                                 Grace Exposure, and (3) for claimants whose
                                                 Grace Exposure is not described in clause (ii) of
                                                 the definition of Grace Exposure, five years
                                                 cumulative occupational exposure to asbestos.

Other Asbestos Disease            $300           (1) Diagnosis of a Bilateral Asbestos-Related
(Level I – Cash                                  Nonmalignant Disease or an asbestos-related
Discount Payment)                                malignancy other than mesothelioma, and (2)
                                                 Grace Exposure.

                5.3(b) Individual Review Process.

                      5.3(b)(1) In General. Subject to the provisions set forth below, a

claimant may elect to have his or her PI Trust Claim reviewed for purposes of determining

whether the claim would be compensable in the tort system even though it does not meet the

presumptive Medical/Exposure Criteria for any of the Disease Levels set forth in Section

5.3(a)(3) above. In addition or alternatively, a claimant may elect to have a claim undergo the

Individual Review Process for purposes of determining whether the liquidated value of claim

involving Disease Levels II, III, IV-A, IV-B, V, VII or VIII exceeds the Scheduled Value for the

relevant Disease Level also set forth in said provision. However, until such time as the PI Trust

has made an offer on a claim pursuant to Individual Review, the claimant may change his or her

Individual Review election and have the claim liquidated pursuant to the PI Trust’s Expedited




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Review Process. In the event of such a change in the processing election, the claimant shall

nevertheless retain his or her place in the FIFO Processing Queue.

       The liquidated value of all Foreign Claims payable under this TDP shall be established

only under the PI Trust’s Individual Review process. PI Trust Claims of individuals exposed in

Canada who were resident in Canada when such claims were filed (“Canadian Claims”) shall

not be considered Foreign Claims hereunder and shall be eligible for liquidation under the

Expedited Review Process. Accordingly, a “Foreign Claim” is a PI Trust Claim with respect to

which the claimant’s exposure to an asbestos-containing product or conduct for which Grace has

legal responsibility occurred outside of the United States and its Territories and Possessions, and

outside of the Provinces and Territories of Canada.

       In reviewing Foreign Claims, the PI Trust shall take into account all relevant procedural

and substantive legal rules to which the claims would be subject in the Claimant’s Jurisdiction as

defined in Section 5.3(b)(2) below. The PI Trust shall determine the liquidated value of Foreign

Claims based on historical settlements and verdicts in the Claimant’s Jurisdiction as well as the

other valuation factors set forth in Section 5.3(b)(2) below.

       For purposes of the Individual Review process for Foreign Claims, the Trustees, with the

consent of the TAC and the Futures Representative, may develop separate Medical/Exposure

Criteria and standards, as well as separate requirements for physician and other professional

qualifications, which shall be applicable to all Foreign Claims channeled to the PI Trust;

provided however, that such criteria, standards or requirements shall not effectuate substantive

changes to the claims eligibility requirements under this TDP, but rather shall be made only for

the purpose of adapting those requirements to the particular licensing provisions and/or medical

customs or practices of the foreign country in question.



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       At such time as the PI Trust has sufficient historical settlement, verdict and other

valuation data for claims from a particular foreign jurisdiction, the Asbestos Trustees, with the

consent of the TAC and the Futures Representative, may also establish a separate valuation

matrix for any such Foreign Claims based on that data.

                               5.3(b)(1)(A) Review of Medical/Exposure Criteria. The PI

Trust’s Individual Review Process provides a claimant with an opportunity for individual

consideration and evaluation of a PI Trust Claim that fails to meet the presumptive

Medical/Exposure Criteria for Disease Levels I–V, VII or VIII. In such a case, the PI Trust shall

either deny the claim or, if the PI Trust is satisfied that the claimant has presented a claim that

would be cognizable and valid in the tort system, the PI Trust can offer the claimant a liquidated

value amount up to the Scheduled Value for that Disease Level.

                               5.3(b)(1)(B) Review of Liquidated Value. Claimants holding

claims in Disease Levels II–VIII shall also be eligible to seek Individual Review of the

liquidated value of their claims, as well as of their medical/exposure evidence. The Individual

Review Process is intended to result in payments equal to the full liquidated value for each claim

multiplied by the Payment Percentage; however, the liquidated value of any PI Trust Claim that

undergoes Individual Review may be determined to be less than the Scheduled Value the

claimant would have received under Expedited Review. Moreover, the liquidated value for a

claim involving Disease Levels II–VIII shall not exceed the Maximum Value for the relevant

Disease Level set forth in Section 5.3(b)(3) below, unless the claim meets the requirements of an

Extraordinary Claim described in Section 5.4(a) below, in which case its liquidated value cannot

exceed the maximum extraordinary value set forth in Section 5.4(a) for such claims. Because the

detailed examination and valuation process pursuant to Individual Review requires substantial



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time and effort, claimants electing to undergo the Individual Review Process may be paid the

liquidated value of their PI Trust Claims later than would have been the case had the claimant

elected the Expedited Review Process. Subject to the provisions of Section 5.8, the PI Trust

shall devote reasonable resources to the review of all claims to ensure that there is a reasonable

balance maintained in reviewing all classes of claims.

                       5.3(b)(2) Valuation Factors to Be Considered in Individual Review.

The PI Trust shall liquidate the value of each PI Trust Claim that undergoes Individual Review

based on the historic liquidated values of other similarly situated claims in the tort system for the

same Disease Level. The PI Trust shall thus take into consideration all of the factors that affect

the severity of damages and values within the tort system including, but not limited to, credible

evidence of (i) the degree to which the characteristics of a claim differ from the presumptive

Medical/Exposure Criteria for the Disease Level in question; (ii) factors such as the claimant’s

age, disability, employment status, disruption of household, family or recreational activities,

dependencies, special damages, and pain and suffering; (iii) whether the claimant’s damages

were (or were not) caused by asbestos exposure, including exposure to asbestos or an asbestos-

containing product or to conduct for which Grace has legal responsibility prior to the relevant

date set forth in the definition of Grace Exposure in Section 5.7(b)(3) below (for example,

alternative causes, and the strength of documentation of injuries); (iv) the industry of exposure;

(v) settlement and verdict histories and other law firms’ experience in the Claimant's Jurisdiction

for similarly situated claims; and (vi) settlement and verdict histories for the claimant’s law firm

for similarly situated claims.

       For these purposes, the “Claimant’s Jurisdiction” is the jurisdiction in which the claim

was filed (if at all) against Grace in the tort system prior to the Petition Date. If the claim was



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not filed against Grace in the tort system prior to the Petition Date, the claimant may elect as the

Claimant’s Jurisdiction either (i) the jurisdiction in which the claimant resides at the time of

diagnosis or when the claim is filed with the PI Trust; or (ii) a jurisdiction in which the claimant

experienced exposure to asbestos or an asbestos-containing product or to conduct for which

Grace has legal responsibility.

       With respect to the “Claimant’s Jurisdiction” in the event a personal representative or

authorized agent makes a claim under this TDP for wrongful death with respect to which the

governing law of the Claimant’s Jurisdiction could only be the Alabama Wrongful Death Statute,

the Claimant’s Jurisdiction for such claim shall be the Commonwealth of Pennsylvania, and such

claimant’s damages shall be determined pursuant to the statutory and common laws of the

Commonwealth of Pennsylvania without regard to its choice of law principles. The choice of

law provision in Section 7.4 below applicable to any claim with respect to which, but for this

choice of law provision, the applicable law of the Claimant’s Jurisdiction pursuant to Section

5.3(b)(2) is determined to be the Alabama Wrongful Death Statute, shall only govern the rights

between the PI Trust and the claimant, and, to the extent the PI Trust seeks recovery from any

entity that provided insurance coverage to Grace, the Alabama Wrongful Death Statute shall

govern.

                       5.3(b)(3) Scheduled, Average and Maximum Values. The Scheduled,

Average and Maximum Values for claims involving Disease Levels I–VIII are the following:

Scheduled Disease                   Scheduled Value          Average Value       Maximum Value

Mesothelioma (Level VIII)                $180,000                $225,000            $450,000

Lung Cancer 1 (Level VII)                 $42,000                 $45,000             $95,000

Lung Cancer 2 (Level VI)                   None                   $14,000             $33,000




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Scheduled Disease                   Scheduled Value         Average Value       Maximum Value

Other Cancer (Level V)                    20,000                 $20,500             $35,000

Severe Asbestosis (Level IV-A)            $50,000                $62,240             $100,000

Severe Disabling Pleural                  $50,000                $62,240             $100,000
Disease (Level IV-B)

Asbestosis/Pleural Disease                $7,500                 $8,500              $15,000
(Level III)

Asbestosis/Pleural Disease                $2,500                 $3,000               $5,000
(Level II)

Other Asbestos Disease – Cash              $300                   None                 None
Discount Payment (Level I)

       These Scheduled Values, Average Values and Maximum Values shall apply to all PI

Trust Voting Claims other than Pre-Petition Liquidated Claims filed with the PI Trust on or

before the Initial Claims Filing Date as provided in Section 5.1 above. Thereafter, the PI Trust,

with the consent of the TAC and the Futures Representative pursuant to Sections 5.7(b) and

6.6(b) of the PI Trust Agreement, may change these valuation amounts for good cause and

consistent with other restrictions on the amendment power. In addition, commencing on the

second anniversary of the Effective Date, the PI Trust shall adjust the valuation amounts for

yearly inflation based on the Consumer Price Index for Urban Wage Earners and Clerical

Workers (“CPI-W”) published by the United States Department of Labor, Bureau of Labor

Statistics. The CPI-W adjustment may not exceed 3% annually, and the first adjustment shall

not be cumulative.

       5.4     Categorizing Claims as Extraordinary and/or Exigent Hardship.

               5.4(a) Extraordinary Claims. “Extraordinary Claim” means a PI Trust Claim

that otherwise satisfies the Medical Criteria for Disease Levels II–VIII, and that is held by a

claimant whose exposure to asbestos (i) occurred predominantly as a result of working in a


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manufacturing facility of Grace during a period in which Grace was manufacturing asbestos-

containing products at that facility, or (ii) was at least 75% the result of exposure to asbestos or

an asbestos-containing product or to conduct for which Grace has legal responsibility, and in

either case there is little likelihood of a substantial recovery elsewhere. All such Extraordinary

Claims shall be presented for Individual Review and, if valid, shall be entitled to an award of up

to a maximum extraordinary value of five (5) times the Scheduled Value set forth in Section

5.3(b)(3) for claims qualifying for Disease Levels II–V, VII and VIII, and five (5) times the

Average Value for claims in Disease Level VI, multiplied by the applicable Payment Percentage;

provided, however, that if the claimant’s exposure to asbestos was 95% the result of exposure to

an asbestos-containing product or to conduct for which Grace has legal responsibility, the

maximum extraordinary value shall be eight (8) times the Scheduled Value set forth in Section

5.3(b)(3) for claims qualifying for Disease Levels II-V, VII and VIII and eight (8) times the

Average Value for claims in Disease Level VI, multiplied by the applicable Payment Percentage.

       Any dispute as to Extraordinary Claim status shall be submitted to a special

Extraordinary Claims Panel established by the PI Trust with the consent of the TAC and the

Futures Representative. All decisions of the Extraordinary Claims Panel shall be final and not

subject to any further administrative or judicial review. An Extraordinary Claim, following its

liquidation, shall be placed in the FIFO Payment Queue ahead of all other PI Trust Claims except

Pre-Petition Liquidated Claims, Disease Level I Claims, Existing Claims and Exigent Hardship

Claims, which shall be paid first, based on its date of liquidation, subject to the Maximum

Available Payment and Claims Payment Ratio described above.

               5.4(b) Exigent Hardship Claims. At any time the PI Trust may liquidate and

pay PI Trust Claims that qualify as Exigent Hardship Claims as defined below. Such claims may



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be considered separately no matter what the order of processing otherwise would have been

under this TDP. An Exigent Hardship Claim, following its liquidation, shall be placed first in

the FIFO Payment Queue ahead of all other liquidated PI Trust Claims except Pre-Petition

Liquidated Claims, Disease Level I Claims and Existing Claims, which claims, together with the

Exigent Hardship Claims, shall be paid in accordance with the provisions of Section 2.4 hereof.

A PI Trust Claim qualifies for payment as an Exigent Hardship Claim if the claim meets the

Medical/Exposure Criteria for Severe Asbestosis (Disease Level IV) or an asbestos-related

malignancy (Disease Levels V–VIII), and the PI Trust, in its sole discretion, determines (i) that

the claimant needs financial assistance on an immediate basis based on the claimant’s expenses

and all sources of available income, and (ii) that there is a causal connection between the

claimant’s dire financial condition and the claimant’s asbestos-related disease.

       5.5     Secondary Exposure Claims. If a claimant alleges an asbestos-related disease

resulting solely from exposure to an occupationally exposed person, such as a family member,

the claimant must seek Individual Review of his or her claim pursuant to Section 5.3(b) above.

In such a case, the claimant must establish that the occupationally exposed person would have

met the exposure requirements under this TDP that would have been applicable had that person

filed a direct claim against the PI Trust. In addition, the claimant with secondary exposure must

establish that he or she is suffering from one of the eight Disease Levels described in Section

5.3(a)(3) above or an asbestos-related disease otherwise compensable under this TDP, that his or

her own exposure to the occupationally exposed person occurred within the same time frame as

the occupationally exposed person was exposed to asbestos or asbestos-containing products

manufactured, produced or distributed by Grace or to conduct for which Grace has legal




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responsibility, and that such secondary exposure was a cause of the claimed disease. All other

liquidation and payment rights and limitations under this TDP shall be applicable to such claims.

       5.6     Indirect PI Trust Claims. Indirect PI Trust Claims8 asserted against the PI Trust

shall be treated as presumptively valid and paid by the PI Trust subject to the applicable Payment

Percentage if the holder of such claim (the “Indirect Claimant”) establishes to the satisfaction

of the Trustees that (i) the Indirect Claimant has paid in full the liability and obligation of the PI

Trust to the individual claimant to whom the PI Trust would otherwise have had a liability or

obligation under this TDP (the “Direct Claimant”), (ii) the Direct Claimant and the Indirect

Claimant have forever and fully released the PI Trust from all liability to the Direct Claimant,

and (iii) the claim is not otherwise barred by a statute of limitation or repose or by other

applicable law. In no event shall any Indirect Claimant have any rights against the PI Trust

superior to the rights of the related Direct Claimant against the PI Trust, including any rights

with respect to the timing, amount or manner of payment. In addition, no Indirect PI Trust Claim


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  Indirect PI Trust Claims are defined in the Plan to mean any Claim or remedy, liability, or
Demand against the Debtors, now existing or hereafter arising, whether or not such Claim,
remedy, liability, or Demand is reduced to judgment, liquidated, unliquidated, fixed, contingent,
matured, unmatured, disputed, undisputed, legal, equitable, secured, or unsecured, whether or not
the facts of or legal bases for such Claim, remedy, liability, or Demand are known or unknown,
that is (x)(i) held by (A) any Entity (other than a director or officer entitled to indemnification
pursuant to Section 8.6 of the Plan) who has been, is, or may be a defendant in an action seeking
damages for death, bodily injury, sickness, disease, or other personal injuries (whether physical,
emotional, or otherwise) to the extent caused or allegedly caused, directly or indirectly, by
exposure to asbestos or asbestos-containing products for which the Debtors have liability or (B)
any assignee or transferee of such Entity and (ii) on account of alleged liability of the Debtors for
payment, repayment, reimbursement, indemnification, subrogation, or contribution of any
portion of any damages such Entity has paid or may pay to the plaintiff in such action or (y) held
by any Entity that is a claim seeking payment, repayment, reimbursement, indemnification,
subrogation, or contribution from the Debtors with respect to any surety bond, letter of credit, or
other financial assurance issued by any Entity on account of, or with respect to, Asbestos PI
Claims; provided, however, that for the avoidance of doubt, the term “Indirect PI Trust Claim”
shall not include or pertain to any Asbestos PD Claim, CDN ZAI PD Claim, Environmental
Claim, or Workers’ Compensation Claim.


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may be liquidated and paid in an amount that exceeds what the Indirect Claimant has actually

paid the related Direct Claimant.

       To establish a presumptively valid Indirect PI Trust Claim, the Indirect Claimant’s

aggregate liability for the Direct Claimant’s claim must also have been fixed, liquidated and paid

fully by the Indirect Claimant by settlement (with an appropriate full release in favor of the PI

Trust) or a Final Order (as defined in the Plan) provided that such claim is valid under the

applicable state law. In any case where the Indirect Claimant has satisfied the claim of a Direct

Claimant against the PI Trust under applicable law by way of a settlement, the Indirect Claimant

shall obtain for the benefit of the PI Trust a release in form and substance satisfactory to the

Trustees.

       If an Indirect Claimant cannot meet the presumptive requirements set forth above,

including the requirement that the Indirect Claimant provide the PI Trust with a full release of

the Direct Claimant’s claim, the Indirect Claimant may request that the PI Trust review the

Indirect PI Trust Claim individually to determine whether the Indirect Claimant can establish

under applicable state law that the Indirect Claimant has paid all or a portion of a liability or

obligation that the PI Trust had to the Direct Claimant. If the Indirect Claimant can show that it

has paid all or a portion of such a liability or obligation, the PI Trust shall reimburse the Indirect

Claimant the amount of the liability or obligation so paid, times the then applicable Payment

Percentage. However, in no event shall such reimbursement to the Indirect Claimant be greater

than the amount to which the Direct Claimant would have otherwise been entitled. Further, the

liquidated value of any Indirect PI Trust Claim paid by the PI Trust to an Indirect Claimant shall

be treated as an offset to or reduction of the full liquidated value of any PI Trust Claim that

might be subsequently asserted by the Direct Claimant against the PI Trust.



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       Any dispute between the PI Trust and an Indirect Claimant over whether the Indirect

Claimant has a right to reimbursement for any amount paid to a Direct Claimant shall be subject

to the ADR Procedures provided in Section 5.10 below and set forth in Attachment A hereto. If

such dispute is not resolved by said ADR Procedures, the Indirect Claimant may litigate the

dispute in the tort system pursuant to Sections 5.11 and 7.6 below.

       The Trustees may develop and approve a separate proof of claim form for Indirect PI

Trust Claims. Indirect PI Trust Claims that have not been disallowed, discharged, or otherwise

resolved by prior order of the Bankruptcy Court shall be processed in accordance with

procedures to be developed and implemented by the Trustees consistent with the provisions of

this Section 5.6, which procedures (a) shall determine the validity, acceptability and

enforceability of such claims; and (b) shall otherwise provide the same liquidation and payment

procedures and rights to the holders of such claims as the PI Trust would have afforded the

holders of the underlying valid PI Trust Claims. Nothing in this TDP is intended to preclude a

trust to which asbestos-related liabilities are channeled from asserting an Indirect PI Trust Claim

against the PI Trust subject to the requirements set forth herein.

       5.7     Evidentiary Requirements.

               5.7(a) Medical Evidence.

                       5.7(a)(1) In General. All diagnoses of a Disease Level shall be

accompanied by either (i) a statement by the physician providing the diagnosis that at least ten

(10) years have elapsed between the date of first exposure to asbestos or asbestos-containing

products and the diagnosis, or (ii) a history of the claimant’s exposure sufficient to establish a

10-year latency period. A finding by a physician after the Effective Date that a claimant’s




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disease is “consistent with” or “compatible with” asbestosis shall not alone be treated by the PI

Trust as a diagnosis.

                               5.7(a)(1)(A) Disease Levels I–IV. Except for asbestos claims

filed against Grace or any other defendant in the tort system prior to the Petition Date, all

diagnoses of a non-malignant asbestos-related disease (Disease Levels I–IV) shall be based in

the case of a claimant who was living at the time the claim was filed, upon a physical

examination of the claimant by the physician providing the diagnosis of the asbestos-related

disease. All living claimants must also provide (i) for Disease Levels I–III, evidence of Bilateral

Asbestos-Related Nonmalignant Disease (as defined in Footnote 4 above); (ii) for Disease Level

IV-A,9 an ILO reading of 2/1 or greater or pathological evidence of asbestosis; (iii) for Disease

Level IV-B, evidence of diffuse pleural thickening of at least extent “2” and at least width “a”;

and (iv) for Disease Levels III, IV-A and IV-B, pulmonary function testing.10




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        All diagnoses of Asbestos/Pleural Disease (Disease Levels II and III) not based on
pathology shall be presumed to be based on findings of bilateral asbestosis or pleural disease,
and all diagnoses of Mesothelioma (Disease Level VIII) shall be presumed to be based on
findings that the disease involves a malignancy. However, the PI Trust may rebut such
presumptions.
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        “Pulmonary function testing” or “PFT” shall mean testing that is in material compliance
with the quality criteria established by the American Thoracic Society (“ATS”) and is performed
on equipment which is in material compliance with ATS standards for technical quality and
calibration. PFT performed in a hospital accredited by the JCAHO, or performed, reviewed or
supervised by a board certified pulmonologist or other Qualified Physician shall be presumed to
comply with ATS standards, and the claimant may submit a summary report of the testing. If the
PFT was not performed in an JCAHO-accredited hospital, or performed, reviewed or supervised
by a board certified pulmonologist or other Qualified Physician, the claimant must submit the
full report of the testing (as opposed to a summary report); provided, however, that if the PFT
was conducted prior to the Effective Date of the Plan and the full PFT report is not available, the
claimant must submit a declaration signed by a Qualified Physician or other qualified party, in
the form provided by the PI Trust, certifying that the PFT was conducted in material compliance
with ATS standards.


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       In the case of a claimant who was deceased at the time the claim was filed, all diagnoses

of a non-malignant asbestos-related disease (Disease Levels I–IV) shall be based upon either (i) a

physical examination of the claimant by the physician providing the diagnosis of the asbestos-

related disease; or (ii) pathological evidence of the non-malignant asbestos-related disease; or

(iii) in the case of Disease Levels I–III, evidence of Bilateral Asbestos-Related Nonmalignant

Disease (as defined in Footnote 3 above), and for Disease Level IV-A, either an ILO reading of

2/1 or greater or pathological evidence of asbestosis, and for Disease Level IV-B, evidence of

diffuse pleural thickening of at least extent “2” and at least width “a;” and (iv) for Disease Level

III, IV-A or IV-B, pulmonary function testing.

                               5.7(a)(1)(B) Disease Levels V–VIII. All diagnoses of an

asbestos-related malignancy (Disease Levels V–VIII) shall be based upon either (i) a physical

examination of the claimant by the physician providing the diagnosis of the asbestos-related

disease, or (ii) a diagnosis of such a malignant Disease Level by a board-certified pathologist or

by a pathology report prepared at or on behalf of a hospital accredited by the Joint Commission

on Accreditation of Healthcare Organizations (“JCAHO”).

                               5.7(a)(1)(C) Exception to the Exception for Certain Pre-

Petition Claims. If the holder of a PI Trust Claim that was filed against Grace or any other

defendant in the tort system prior to the Petition Date has available a report of a diagnosing

physician engaged by the holder or his or her law firm who conducted a physical examination of

the holder as described in Sections 5.7(a)(1)(A), or if the holder has filed such medical evidence

and/or a diagnosis of the asbestos-related disease by a physician not engaged by the holder or his

or her law firm who conducted a physical examination of the holder with another asbestos-

related personal injury settlement trust that requires such evidence, without regard to whether the



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claimant or the law firm engaged the diagnosing physician, the holder shall provide such medical

evidence to the PI Trust notwithstanding the exception in Section 5.7(a)(1)(A).

                        5.7(a)(2) Credibility of Medical Evidence. Before making any payment

to a claimant, the PI Trust must have reasonable confidence that the medical evidence provided

in support of the claim is credible and consistent with recognized medical standards. The PI

Trust may require the submission of X-rays, CT scans, detailed results of pulmonary function

tests, laboratory tests, tissue samples, results of medical examination or reviews of other medical

evidence, and may require that medical evidence submitted comply with recognized medical

standards regarding equipment, testing methods and procedures to assure that such evidence is

reliable. Medical evidence (i) that is of a kind shown to have been received in evidence by a

state or federal judge at trial, (ii) that is consistent with evidence submitted to Grace to settle for

payment similar disease cases prior to Grace’s bankruptcy, or (iii) that is a diagnosis by a

physician shown to have previously qualified as a medical expert with respect to the asbestos-

related disease in question before a state or federal judge, is presumptively reliable, although the

PI Trust may seek to rebut the presumption. In addition, claimants who otherwise meet the

requirements of this TDP for payment of a PI Trust Claim shall be paid irrespective of the results

in any litigation at any time between the claimant and any other defendant in the tort system.

However, any relevant evidence submitted in a proceeding in the tort system, other than any

findings of fact, a verdict, or a judgment, involving another defendant may be introduced by

either the claimant or the PI Trust in any Individual Review proceeding conducted pursuant to

5.3(b) or any Extraordinary Claim proceeding conducted pursuant to 5.4(a).




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               5.7(b) Exposure Evidence.

                       5.7(b)(1) In General. As set forth above in Section 5.3(a)(3), to qualify

for any Disease Level, the claimant must demonstrate a minimum exposure to (a) any products

or materials containing asbestos that were manufactured, sold, supplied, produced, specified,

selected, distributed or in any way marketed by Grace (or any past or present Grace Affiliate, or

any of the predecessors of Grace or any of their past or present Affiliates, or any other Entity for

whose products or operations Grace allegedly has liability or is otherwise liable) or (b) asbestos-

containing vermiculite mined, milled or processed by Grace (or any past or present Grace

Affiliate, or any of the predecessors of Grace or any of their past or present Affiliates, or any

other Entity for whose products or operations Grace allegedly has liability or is otherwise liable).

Claims based on conspiracy theories that involve no exposure to such products or materials are

not compensable under this TDP. To meet the presumptive exposure requirements of Expedited

Review set forth in Section 5.3(a)(3) above, the claimant must show (i) for all Disease Levels,

Grace Exposure as defined in Section 5.7(b)(3) below; (ii) for Asbestos/Pleural Disease Level II,

six (6) months Grace Exposure, plus, for certain types of Grace Exposure, five years cumulative

occupational asbestos exposure; and (iii) for Asbestosis/Pleural Disease (Disease Level III),

Severe Asbestosis (Disease Level IV-A), Severe Disabling Pleural Disease (Disease Level IV-

B), Other Cancer (Disease Level V) or Lung Cancer 1 (Disease Level VII), the claimant must

show six (6) months Grace Exposure, plus, for certain types of Grace Exposure, Significant

Occupational Exposure to asbestos. If the claimant cannot meet the relevant presumptive

exposure requirements for a Disease Level eligible for Expedited Review, the claimant may seek

Individual Review pursuant to Section 5.3(b) of his or her claim based on exposure to asbestos or

an asbestos-containing product or to conduct for which Grace has legal responsibility.



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                       5.7(b)(2) Significant Occupational Exposure. “Significant

Occupational Exposure” means employment for a cumulative period of at least five (5) years

with a minimum of two (2) years prior to December 31, 1982, in an industry and an occupation

in which the claimant (a) handled raw asbestos fibers on a regular basis; (b) fabricated asbestos-

containing products so that the claimant in the fabrication process was exposed on a regular basis

to raw asbestos fibers; (c) altered, repaired or otherwise worked with an asbestos-containing

product such that the claimant was exposed on a regular basis to asbestos fibers; or (d) was

employed in an industry and occupation such that the claimant worked on a regular basis in close

proximity to workers engaged in the activities described in (a), (b) and/or (c).

                       5.7(b)(3) Grace Exposure. The claimant must demonstrate either (i)

meaningful and credible exposure, which occurred prior to December 31, 1982, to (a) any

products or materials containing asbestos that were manufactured, sold, supplied, produced,

specified, selected, distributed or in any way marketed by Grace (or any past or present Grace

Affiliate, or any of the predecessors of Grace or any of their past or present Affiliates, or any

other Entity for whose products or operations Grace allegedly has liability or is otherwise liable)

or (b) asbestos-containing winchite asbestos or asbestos-containing vermiculite mined, milled or

processed by Grace (or any past or present Grace Affiliate, or any of the predecessors of Grace

or any of their past or present Affiliates, or any other Entity for whose products or operations

Grace allegedly has liability or is otherwise liable) or (ii) meaningful and credible exposure

which occurred prior to the Effective Date to (a) asbestos, asbestos-containing winchite asbestos

or unexpanded asbestos-containing vermiculite ore in Lincoln County, Montana or (b) asbestos,

asbestos-containing winchite asbestos or asbestos-containing vermiculite ore from Lincoln

County, Montana during transport or use prior to the completion of a finished product at an



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expansion plant (“Grace Exposure”). That meaningful and credible exposure evidence may be

established by an affidavit or sworn statement of the claimant, by an affidavit or sworn statement

of a co-worker or the affidavit or sworn statement of a family member in the case of a deceased

claimant (providing the PI Trust finds such evidence reasonably reliable), by invoices,

employment, construction or similar records, or by other credible evidence. The specific

exposure information required by the PI Trust to process a claim under either Expedited or

Individual Review shall be set forth on the proof of claim form to be used by the PI Trust. The

PI Trust can also require submission of other or additional evidence of exposure when it deems

such to be necessary.

       Evidence submitted to establish proof of Grace Exposure is for the sole benefit of the PI

Trust, not third parties or defendants in the tort system. The PI Trust has no need for, and

therefore claimants are not required to furnish the PI Trust with evidence of, exposure to specific

asbestos or asbestos-containing products other than those for which Grace has legal

responsibility, except to the extent such evidence is required elsewhere in this TDP. Similarly,

failure to identify Grace products in the claimant’s underlying tort action, or to other bankruptcy

trusts, does not preclude the claimant from recovering from the PI Trust, provided the claimant

otherwise satisfies the medical and exposure requirements of this TDP.

       5.8     Claims Audit Program. The PI Trust, with the consent of the TAC and the

Futures Representative, may develop methods for auditing the reliability of medical evidence,

including additional reading of X-rays, CT scans and verification of pulmonary function tests, as

well as the reliability of evidence of exposure to asbestos, including exposure to asbestos-

containing products manufactured or distributed by Grace. In the event that the PI Trust

reasonably determines that any individual or entity has engaged in a pattern or practice of



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providing unreliable medical evidence to the PI Trust, it may decline to accept additional

evidence from such provider in the future.

       Further, in the event that an audit reveals that fraudulent information has been provided

to the PI Trust, the PI Trust may penalize any claimant or claimant’s attorney by rejecting the PI

Trust Claim or by other means including, but not limited to, requiring the source of the

fraudulent information to pay the costs associated with the audit and any future audit or audits,

reordering the priority of payment of all affected claimants’ PI Trust Claims, raising the level of

scrutiny of additional information submitted from the same source or sources, refusing to accept

additional evidence from the same source or sources, seeking the prosecution of the claimant or

claimant’s attorney for presenting a fraudulent claim in violation of 18 U.S.C. § 152, and seeking

sanctions from the Bankruptcy Court.

       5.9     Second Disease Claims. The holder of a PI Trust Claim involving a non-

malignant asbestos-related disease (Disease Levels I–IV) may assert a new PI Trust Claim

against the PI Trust for a malignant disease (Disease Levels V–VIII) that is subsequently

diagnosed. Any additional payments to which such claimant may be entitled with respect to such

malignant asbestos-related disease shall not be reduced by the amount paid for the non-malignant

asbestos-related disease, provided that the malignant disease had not been diagnosed by the time

the claimant was paid with respect to the original claim involving the non-malignant disease.

       The holder of a PI Trust Claim involving a Disease Level I, II or III claim may assert a

new PI Trust Claim against the PI Trust for a Disease Level IV-A or Disease Level IV-B claim

that is subsequently diagnosed. Any additional payments to which such claimant may be entitled

with respect to such subsequent claim shall be reduced by the amount paid for the prior claim.




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       5.10    Arbitration.

               5.10(a) Establishment of ADR Procedures. The PI Trust, with the consent of the

TAC and the Futures Representative, shall institute binding and non-binding arbitration

procedures in accordance with the Alternative Dispute Resolution (“ADR”) Procedures included

in Attachment A hereto for resolving disputes concerning whether a pre-petition settlement

agreement with Grace is binding and judicially enforceable in the absence of a Final Order of the

Bankruptcy Court determining the issue, whether the PI Trust’s outright rejection or denial of a

claim was proper, or whether the claimant’s medical condition or exposure history meets the

requirements of this TDP for purposes of categorizing a claim involving Disease Levels I–VIII.

Binding and non-binding arbitration shall also be available for resolving disputes over the

liquidated value of a claim involving Disease Levels II–VIII, as well as disputes over Grace’s

share of the unpaid portion of a Pre-Petition Liquidated Claim described in Section 5.2 above and

disputes over the validity of an Indirect PI Trust Claim.

       In all arbitrations, the arbitrator shall consider the same medical and exposure evidentiary

requirements that are set forth in Section 5.7 above. In the case of an arbitration involving the

liquidated value of a claim involving Disease Levels II–VIII, the arbitrator shall consider the

same valuation factors that are set forth in Section 5.3(b)(2) above. In order to facilitate the

Individual Review Process with respect to such claims, the PI Trust may from time to time

develop a valuation model that enables the PI Trust to efficiently make initial liquidated value

offers on those claims in the Individual Review setting. In an arbitration involving any such

claim, the PI Trust shall neither offer into evidence or describe any such model nor assert that

any information generated by the model has any evidentiary relevance or should be used by the

arbitrator in determining the presumed correct liquidated value in the arbitration. The underlying



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data that was used to create the model may be relevant and may be made available to the

arbitrator but only if provided to the claimant or his or her counsel ten (10) days prior to the

arbitration proceeding. With respect to all claims eligible for arbitration, the claimant, but not

the PI Trust, may elect either non-binding or binding arbitration. The ADR Procedures set forth

in Attachment A hereto may be modified by the PI Trust with the consent of the TAC and the

Futures Representative.

               5.10(b) Claims Eligible for Arbitration. In order to be eligible for arbitration,

the claimant must first complete the Individual Review Process with respect to the disputed issue

as well as either the Pro Bono Evaluation or the Mediation process set forth in the ADR

Procedures. Individual Review shall be treated as completed for these purposes when the claim

has been individually reviewed by the PI Trust, the PI Trust has made an offer on the claim, the

claimant has rejected the liquidated value resulting from the Individual Review, and the claimant

has notified the PI Trust of the rejection in writing. Individual Review shall also be treated as

completed if the PI Trust has rejected the claim.

               5.10(c) Limitations on and Payment of Arbitration Awards. In the case of a

claim involving Disease Level I, the arbitrator shall not return an award in excess of the Scheduled

Value for such claim. In the case of a non-Extraordinary Claim involving Disease Levels II–VIII,

the arbitrator shall not return an award in excess of the Maximum Value for the appropriate

Disease Level as set forth in Section 5.3(a)(3) above, and for an Extraordinary Claim involving

one of those Disease Levels, the arbitrator shall not return an award greater than the maximum

extraordinary value for such a claim as set forth in Section 5.4(a) above. A claimant who submits

to arbitration and who accepts the arbitral award shall receive payments in the same manner as one

who accepts the PI Trust’s original valuation of the claim.



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       5.11    Litigation. Claimants who elect non-binding arbitration and then reject their

arbitral awards retain the right to institute a lawsuit in the tort system against the PI Trust

pursuant to Section 7.6 below. However, a claimant shall be eligible for payment of a judgment

for monetary damages obtained in the tort system from the PI Trust’s available cash only as

provided in Section 7.7 below.

       5.12    Insurance-Related TDP Claims. Any claim of The Scotts Company LLC,

BNSF Railway Company and any other Entity (individually, an “Insurance-Related

Claimant”) against any Settled Asbestos Insurance Company seeking insurance coverage under

an Asbestos Insurance Policy which is the subject of an Asbestos Insurance Settlement

Agreement (individually, an "Insurance-Related TDP Claim") that is channeled to the PI Trust

shall be reviewed, processed and if entitled to payment, paid by the PI Trust in accordance with

this Section 5.12.

       Each Insurance-Related TDP Claim submitted to the PI Trust shall be reviewed

individually by the PI Trust to determine the validity and amount of such claim. The PI Trust

shall provide each Insurance-Related Claimant submitting such a claim with the PI Trust’s

determination in writing of the validity and amount of such claim. Any dispute between the PI

Trust and an Insurance-Related Claimant concerning the validity or amount of an Insurance-

Related TDP Claim shall be subject to the ADR Procedures provided in Section 5.10 herein and

set forth in Attachment A hereto.

       If the PI Trust and an Insurance-Related Claimant agree upon the amount of an

Insurance-Related Claim, or if such dispute is resolved through arbitration under the ADR

Procedures, then a claim in the amount of the arbitration award, if any, or in such amount as

agreed between the Insurance-Related Claimant and the PI Trust, shall be placed in the FIFO



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Payment Queue based upon the date on which such arbitration award was rendered or the date on

which such amount was agreed between the PI Trust and the Insurance-Related Claimant, as

applicable. Thereafter, the Insurance-Related Claimant shall receive from the PI Trust payment

of an amount equal to (x) the amount of the arbitration award or other agreed amount with

respect to such Insurance-Related TDP claim, multiplied by (y) the Payment Percentage in effect

at the time of such payment, subject to (z) the Maximum Annual Payment and Maximum

Available Payment provisions herein.

       If a dispute between the PI Trust and an Insurance-Related Claimant is not resolved

through the PI Trust's ADR Procedures, the Insurance-Related Claimant may litigate its

Insurance-Related TDP Claim against the PI Trust by filing suit in any federal or state court with

jurisdiction over the PI Trust and over such claim. In any such litigation, the Insurance-Related

Claimant may assert its Insurance-Related TDP Claim against the PI Trust as if the Insurance-

Related Claimant were asserting such claim against one or more Settling Asbestos Insurance

Companies and the Channeling Injunction had not been issued. The PI Trust may assert against

the Insurance-Related Claimant any and all claims and defenses of the PI Trust, as well as any

and all claims and defenses that the affected Settling Asbestos Insurance Companies or Grace

could have asserted against the Insurance-Related Claimant with respect to such Insurance-

Related TDP Claim.

       If the dispute is resolved by litigation, then a claim in the amount of any judgment against

the PI Trust that has become a final judgment not subject to further proceedings shall be placed

in the FIFO Payment Queue based upon the date on which such judgment became a final

judgment not subject to further proceedings. Thereafter, the Insurance-Related Claimant shall

receive from the PI Trust an initial payment equal to (x) the greater of (i) the PI Trust’s last offer



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to the Insurance-Related Claimant with respect to such claim and (ii) the arbitration award which

the Insurance-Related Claimant declined with respect to such claim, but in any case such amount

shall not be greater than the amount of the judgment the Insurance-Related Claimant obtained

with respect to such claim, multiplied by (y) the Payment Percentage in effect at the time of such

payment, subject to (z) the Maximum Annual Payment and Maximum Available Payment

provisions herein. The Insurance-Related Claimant shall receive the balance, if any, of the

judgment amount in five (5) equal installments in years six (6) through ten (10) following the

year of the initial payment, subject to the applicable Payment Percentage and the Maximum

Annual Payment and Maximum Available Payment provisions in effect as of the date of payment

of each such installment.

       5.13    Indemnified Insurer TDP Claims. Any claim of a Settled Asbestos Insurance

Company seeking indemnification from Grace based upon or arising out of an Asbestos PI Claim

(individually, an “Indemnified Insurer TDP Claim”) that is channeled to the PI Trust shall be

reviewed, processed and if entitled to payment, paid by the PI Trust in accordance with this

Section 5.13. Any Settled Asbestos Insurance Company asserting such indemnification rights

shall be referred to herein as an “Indemnified Insurer.”

       Each Indemnified Insurer TDP Claim submitted to the PI Trust shall be reviewed

individually by the PI Trust to determine the validity and amount of such claim. The PI Trust

shall provide each Indemnified Insurer submitting such a claim with the PI Trust’s determination

in writing of the validity and amount of such claim. Any dispute between the PI Trust and an

Indemnified Insurer concerning the validity or amount of an Indemnified Insurer TDP Claim

shall be subject to the ADR Procedures provided in Section 5.10 herein and set forth in

Attachment A hereto.



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       If the PI Trust and an Indemnified Insurer agree upon the amount of an Indemnified

Insurer Claim, or if such dispute is resolved through arbitration under the ADR Procedures, then

a claim in the amount of the arbitration award, if any, or in such amount as agreed between the

Indemnified Insurer and the PI Trust, shall be placed in the FIFO Payment Queue based upon the

date on which such arbitration award was rendered or the date on which such amount was agreed

between the PI Trust and the Indemnified Insurer, as applicable. Thereafter, the Indemnified

Insurer shall receive from the PI Trust payment of an amount equal to (x) the amount of the

arbitration award or other agreed amount with respect to such Indemnified Insurer TDP claim,

multiplied by (y) the Payment Percentage in effect at the time of such payment, subject to (z) the

Maximum Annual Payment and Maximum Available Payment provisions herein.

       If a dispute between the PI Trust and an Indemnified Insurer is not resolved through the

PI Trust's ADR Procedures, the Indemnified Insurer may litigate its Indemnified Insurer TDP

Claim against the PI Trust by filing suit in any federal or state court with jurisdiction over the PI

Trust and over such claim. In any such litigation, the Indemnified Insurer may assert its

Indemnified Insurer TDP Claim against the PI Trust as if the Indemnified Insurer were asserting

such claim against Grace and the discharge and injunctions in the Plan had not been issued. The

PI Trust may assert against the Indemnified Insurer any and all claims and defenses of the PI

Trust, as well as any and all claims and defenses that Grace could have asserted against the

Indemnified Insurer with respect to such Indemnified Insurer TDP Claim.

       If the dispute is resolved by litigation, then a claim in the amount of any judgment against

the PI Trust that has become a final judgment not subject to further proceedings shall be placed

in the FIFO Payment Queue based upon the date on which such judgment became a final

judgment not subject to further proceedings. Thereafter, the Indemnified Insurer shall receive



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from the PI Trust an initial payment equal to (x) the greater of (i) the PI Trust’s last offer to the

Indemnified Insurer with respect to such claim and (ii) the arbitration award which the

Indemnified Insurer declined with respect to such claim, but in any case such amount shall not be

greater than the amount of the judgment the Indemnified Insurer obtained with respect to such

claim, multiplied by (y) the Payment Percentage in effect at the time of such payment, subject to

(z) the Maximum Annual Payment and Maximum Available Payment provisions herein. The

Indemnified Insurer shall receive the balance, if any, of the judgment amount in five (5) equal

installments in years six (6) through ten (10) following the year of the initial payment, subject to

the applicable Payment Percentage and the Maximum Annual Payment and Maximum Available

Payment provisions in effect as of the date of payment of each such installment.


                                           SECTION VI

                                         Claims Materials

       6.1     Claims Materials. The PI Trust shall prepare suitable and efficient claims

materials (“Claims Materials”) for all PI Trust Claims, and shall provide such Claims Materials

upon a written request for such materials to the PI Trust. The proof of claim form to be

submitted to the PI Trust shall require the claimant to assert the highest Disease Level for which

the claim qualifies at the time of filing. The proof of claim form shall also include a certification

by the claimant or his or her attorney sufficient to meet the requirements of Rule 11(b) of the

Federal Rules of Civil Procedure. In developing its claim filing procedures, the PI Trust shall

make every effort to provide claimants with the opportunity to utilize currently available

technology at their discretion, including filing claims and supporting documentation over the

internet and electronically by disk or CD-rom. The proof of claim form to be used by the PI

Trust shall be developed by the PI Trust and submitted to the TAC and the Futures


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Representatives for approval; it may be changed by the PI Trust with the consent of the TAC and

the Futures Representative.

       6.2     Content of Claims Materials. The Claims Materials shall include a copy of this

TDP, such instructions as the Trustees shall approve, and a detailed proof of claim form. If

feasible, the forms used by the PI Trust to obtain claims information shall be the same or

substantially similar to those used by other asbestos claims resolution organizations. If requested

by the claimant, the PI Trust shall accept information provided electronically. The claimant

may, but shall not be required to, provide the PI Trust with evidence of recovery from other

defendants and claims resolution organizations.

       6.3     Withdrawal or Deferral of Claims. A claimant can withdraw a PI Trust Claim

at any time upon written notice to the PI Trust and file another claim subsequently without

affecting the status of the claim for statute of limitations purposes, but any such claim filed after

withdrawal shall be given a place in the FIFO Processing Queue based on the date of such

subsequent filing. A claimant can also request that the processing of his or her PI Trust Claim by

the PI Trust be deferred for a period not to exceed three (3) years without affecting the status of

the claim for statute of limitation purposes, in which case the claimant shall also retain his or her

original place in the FIFO Processing Queue. During the period of such deferral, a sequencing

adjustment on such claimant’s PI Trust Claim as provided in Section 7.5 hereunder shall not

accrue and payment thereof shall be deemed waived by the claimant. Except for PI Trust Claims

held by representatives of deceased or incompetent claimants for which court or probate

approval of the PI Trust’s offer is required, or a PI Trust Claim for which deferral status has been

granted, a claim shall be deemed to have been withdrawn if the claimant neither accepts, rejects,

nor initiates arbitration within six (6) months of the PI Trust’s written offer of payment or



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rejection of the claim. Upon written request and good cause, the PI Trust may extend the

withdrawal or deferral period for an additional six (6) months.

       6.4     Filing Requirements and Fees. The Trustees shall have the discretion to

determine, with the consent of the TAC and the Futures Representative, (a) whether a claimant

must have previously filed an asbestos-related personal injury claim in the tort system to be

eligible to file the claim with the PI Trust and (b) whether a filing fee should be required for any

PI Trust Claims.

       6.5     Confidentiality of Claimants’ Submissions. All submissions to the PI Trust by

a holder of a PI Trust Claim or a proof of claim form and materials related thereto shall be

treated as made in the course of settlement discussions between the holder and the PI Trust, and

intended by the parties to be confidential and to be protected by all applicable state and federal

privileges, including but not limited to those directly applicable to settlement discussions. The

PI Trust will preserve the confidentiality of such claimant submissions, and shall disclose the

contents thereof only, with the permission of the holder, to another trust established for the

benefit of asbestos personal injury claimants pursuant to section 524(g) of the Bankruptcy Code

or other applicable law, to such other persons as authorized by the holder, or in response to a

valid subpoena of such materials issued by the Bankruptcy Court, a Delaware State Court or the

United States District Court for the District of Delaware. Furthermore, the PI Trust shall provide

counsel for the holder a copy of any such subpoena immediately upon being served. The PI

Trust shall on its own initiative or upon request of the claimant in question take all necessary and

appropriate steps to preserve said privileges before the Bankruptcy Court, a Delaware State

Court or the United States District Court for the District of Delaware and before those courts

having appellate jurisdiction related thereto. Notwithstanding anything in the foregoing to the



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contrary, with the consent of the TAC and the Futures Representative, the PI Trust may, in

specific limited circumstances, disclose information, documents or other materials reasonably

necessary in the PI Trust’s judgment to preserve, litigate, resolve or settle coverage, or to comply

with an applicable obligation under an insurance policy or settlement agreement within the

Asbestos Insurance Policies or the Asbestos Insurance Settlement Agreements; provided,

however, that the PI Trust shall take any and all steps reasonably feasible in its judgment to

preserve the further confidentiality of such information, documents and materials, and prior to

the disclosure of such information, documents or materials to a third party, the PI Trust shall

receive from such third party a written agreement of confidentiality that (a) ensures that the

information, documents and materials provided by the PI Trust shall be used solely by the

receiving party for the purpose stated in the agreement and (b) prohibits any other use or further

dissemination of the information, documents and materials by the third party. Nothing in this

TDP, the Plan or the PI Trust Agreement expands, limits or impairs the obligation under

applicable law of a claimant to respond fully to lawful discovery in an underlying civil action

regarding his or her submission of factual information to the PI Trust for the purpose of

obtaining compensation for asbestos-related injuries from the PI Trust.

                                          SECTION VII

                    General Guidelines for Liquidating and Paying Claims

       7.1     Showing Required. To establish a valid PI Trust Claim, a claimant must meet

the requirements set forth in this TDP. The PI Trust may require the submission of X-rays, CT

scans, laboratory tests, medical examinations or reviews, other medical evidence, or any other

evidence to support or verify the PI Trust Claim, and may further require that medical evidence




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submitted comply with recognized medical standards regarding equipment, testing methods, and

procedures to assure that such evidence is reliable.

       7.2     Costs Considered. Notwithstanding any provisions of this TDP to the contrary,

the Trustees shall always give appropriate consideration to the cost of investigating and

uncovering invalid PI Trust Claims so that the payment of valid PI Trust Claims is not further

impaired by such processes with respect to issues related to the validity of the medical evidence

supporting a PI Trust Claim. The Trustees shall also have the latitude to make judgments

regarding the amount of transaction costs to be expended by the PI Trust so that valid PI Trust

Claims are not unduly further impaired by the costs of additional investigation. Nothing herein

shall prevent the Trustees, in appropriate circumstances, from contesting the validity of any

claim against the PI Trust whatever the costs, or declining to accept medical evidence from

sources that the Trustees have determined to be unreliable pursuant to the Claims Audit Program

described in Section 5.8 above.

       7.3     Discretion to Vary the Order and Amounts of Payments in Event of Limited

Liquidity. Consistent with the provisions hereof and subject to the FIFO Processing and

Payment Queues, the Maximum Annual Payment, the Maximum Available Payment and the

Claims Payment Ratio requirements set forth above, the Trustees shall proceed as quickly as

possible to liquidate valid PI Trust Claims, and shall make payments to holders of such claims in

accordance with this TDP promptly as funds become available and as claims are liquidated,

while maintaining sufficient resources to pay future valid claims in substantially the same

manner.

       Because the PI Trust’s income over time remains uncertain, and decisions about

payments must be based on estimates that cannot be done precisely, they may have to be revised



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in light of experiences over time, and there can be no guarantee of any specific level of payment

to claimants. However, the Trustees shall use their best efforts to treat similar claims in

substantially the same manner, consistent with their duties as Trustees, the purposes of the PI

Trust, the established allocation of funds to claims in Categories A and B, and the practical

limitations imposed by the inability to predict the future with precision.

       In the event that the PI Trust faces temporary periods of limited liquidity, the Trustees

may, with the consent of the TAC and the Futures Representative, suspend the normal order of

payment and may temporarily limit or suspend payments altogether, and may offer a Reduced

Payment Option as described in Section 2.5 above.

       7.4     Punitive Damages. Except as provided below for claims asserted under the

Alabama Wrongful Death Statute, in determining the value of any liquidated or unliquidated PI

Trust Claim, punitive or exemplary damages, i.e., damages other than compensatory damages,

shall not be considered or paid, notwithstanding their availability in the tort system.

       Similarly, no punitive or exemplary damages shall be payable with respect to any claim

litigated against the PI Trust in the tort system pursuant to Sections 5.11 above and 7.6 below.

The only damages that may be awarded pursuant to this TDP to Alabama Claimants who are

deceased and whose personal representatives pursue their claims only under the Alabama

Wrongful Death Statute shall be compensatory damages determined pursuant to the statutory and

common law of the Commonwealth of Pennsylvania, without regard to its choice of law

principles. The choice of law provision in Section 7.4 herein applicable to any claim with

respect to which, but for this choice of law provision, the applicable law of the Claimant’s

Jurisdiction pursuant to Section 5.3(b)(2) is determined to be the Alabama Wrongful Death

Statute, shall only govern the rights between the PI Trust and the claimant including, but not



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limited to, suits in the tort system pursuant to Section 7.6, and to the extent the PI Trust seeks

recovery from any entity that provided insurance to Grace, the Alabama Wrongful Death Statute

shall govern.

       7.5      Sequencing Adjustment.

                7.5(a) In General. Except for any PI Trust Claim involving Other Asbestos

Disease (Disease Level I – Cash Discount Payment) and subject to the limitations set forth

below, a sequencing adjustment shall be paid on all PI Trust Claims with respect to which the

claimant has had to wait a year or more for payment, provided, however, that no claimant shall

receive a sequencing adjustment for a period in excess of six (6) years. The sequencing

adjustment factor shall be five percent (5%) per annum for each of the first five (5) years after

the Effective Date; thereafter, the PI Trust shall have the discretion to change the sequencing

adjustment factor with the consent of the TAC and the Futures Representative.

                7.5(b) Unliquidated PI Trust Claims. A sequencing adjustment shall be

payable on the Scheduled Value of any unliquidated PI Trust Claim that meets the requirements

of Disease Levels II–V, VII and VIII, whether the claim is liquidated under Expedited Review,

Individual Review, or by arbitration. No sequencing adjustment shall be paid on any claim

involving Disease Level I or on any claim liquidated in the tort system pursuant to Section 5.11

above and Section 7.6 below. The sequencing adjustment on an unliquidated PI Trust Claim that

meets the requirements of Disease Level VI shall be based on the Average Value of such a claim.

Sequencing adjustments on all such unliquidated claims shall be measured from the date of

payment back to the earliest of the date that is one year after the date on which (a) the claim was

filed against Grace prior to the Petition Date; (b) the claim was filed against another defendant in

the tort system on or after the Petition Date but before the Effective Date; provided, however,



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that if a claimant was barred from pursuing other defendants in the tort system by the terms of a

preliminary injunction or other stay entered by the Court in the Grace bankruptcy proceedings

and such claimant files an asbestos claim against another defendant in the tort system within one

year after such preliminary injunction or other stay is lifted, the claimant shall be deemed to have

filed the asbestos claim against the other defendant on the date the preliminary injunction or

other stay was first entered; (c) the claim was filed with the Bankruptcy Court during the

pendency of the Chapter 11 proceeding; or (d) the claim was filed with the PI Trust after the

Effective Date.

               7.5(c) Liquidated Pre-Petition Claims. A sequencing adjustment shall also be

payable on the liquidated value of all Pre-Petition Liquidated Claims described in Section 5.2(a)

above. In the case of Pre-Petition Liquidated Claims liquidated by verdict or judgment, the

sequencing adjustment shall be measured from the date of payment back to the date that is one

year after the date that the verdict or judgment was entered; provided, however, that in no event

shall the sequencing adjustment be measured from a date prior to the Petition Date if the

liquidated value of the Pre-Petition Liquidated Claim includes pre-petition interest. In the case

of Pre-Petition Liquidated Claims liquidated by a binding, judicially enforceable settlement, the

sequencing adjustment shall be measured from the date of payment back to the date that is one

(1) year after the Petition Date.

       7.6     Suits in the Tort System. If the holder of a disputed claim disagrees with the PI

Trust’s determination regarding the Disease Level of the claim, the claimant’s exposure history

or the liquidated value of the claim, and if the holder has first submitted the claim to non-binding

arbitration as provided in Section 5.10 above, the holder may file a lawsuit against the PI Trust in

the Claimant’s Jurisdiction as defined in Section 5.3(b)(2) above. Any such lawsuit must be



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filed by the claimant in her or her own right and name and not as a member or representative of a

class, and no such lawsuit may be consolidated with any other lawsuit. All defenses (including,

with respect to the PI Trust, all defenses which could have been asserted by Grace) shall be

available to both sides at trial; however, the PI Trust may waive any defense and/or concede any

issue of fact or law. If the claimant was alive at the time the initial pre-petition complaint was

filed or on the date the proof of claim form was filed with the PI Trust, the case shall be treated

as a personal injury case with all personal injury damages to be considered even if the claimant

has died during the pendency of the claim. Holders of PI Trust Claims remain subject to, and

bound by, the Plan, including, without limitation, the Asbestos PI Channeling Injunction, the

Successor Claims Injunction, and any other injunction or release issued or granted in favor of

any (or all) of the Sealed Air Indemnified Parties or the Fresenius Indemnified Parties (to the

extent that such other injunction or release is applicable to Holders of PI Trust Claims) in

connection with the Plan.

       7.7     Payment of Judgments for Money Damages. If and when a claimant obtains a

judgment in the tort system, the claim shall be placed in the FIFO Payment Queue based on the

date on which the judgment became final. Thereafter, the claimant shall receive from the PI Trust

an initial payment (subject to the applicable Payment Percentage, the Maximum Available

Payment and the Claims Payment Ratio provisions set forth above) of an amount equal to the

greater of (i) the PI Trust’s last offer to the claimant or (ii) the award that the claimant declined in

non-binding arbitration; provided, however, that in no event shall such payment amount exceed

the amount of the judgment obtained in the tort system. The claimant shall receive the balance of

the judgment, if any, in five (5) equal installments in years six (6) through ten (10) following the

year of the initial payment (also subject to the applicable Payment Percentage, the Maximum



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Available Payment and the Claims Payment Ratio provisions above in effect on the date of the

payment of the subject installment).

       In the case of a claim involving Disease Level I, the total amounts paid with respect to

such claim shall not exceed the Scheduled Value for such Disease Level. In the case of non-

Extraordinary claims involving Disease Levels II–VIII, the total amounts paid with respect to such

claims shall not exceed the Maximum Values for such Disease Levels set forth in Section

5.3(b)(3). In the case of Extraordinary Claims, the total amounts paid with respect to such claims

shall not exceed the maximum extraordinary values for such claims set forth in Section 5.4(a)

above. Under no circumstances shall (a) sequencing adjustments be paid pursuant to Section 7.5

or (b) interest be paid under any statute on any judgments obtained in the tort system.

       7.8     Releases. The Trustees shall have the discretion to determine the form and

substance of the releases to be provided to the PI Trust in order to maximize recovery for

claimants against other tortfeasors without increasing the risk or amount of claims for

indemnification or contribution from the PI Trust. As a condition to making any payment to a

claimant, the PI Trust shall obtain a general, partial, or limited release as appropriate in accordance

with the applicable state or other law. If allowed by state law, the endorsing of a check or draft for

payment by or on behalf of a claimant may, in the discretion of the PI Trust, constitute such a

release.

       7.9     Third-Party Services. Nothing in this TDP shall preclude the PI Trust from

contracting with another asbestos claims resolution organization to provide services to the PI

Trust so long as decisions about the categorization and liquidated value of PI Trust Claims are

based on the relevant provisions of this TDP, including the Disease Levels, Scheduled Values,

Average Values, Maximum Values, and Medical/Exposure Criteria set forth above.



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       7.10    PI Trust Disclosure of Information. Periodically, but not less often than once a

year, the PI Trust shall make available to claimants and other interested parties, the number of

claims by Disease Levels that have been resolved both by the Individual Review Process and by

arbitration as well as by litigation in the tort system indicating the amounts of the awards and the

averages of the awards by jurisdiction.

                                          SECTION VIII

                                          Miscellaneous

       8.1     Amendments. Except as otherwise provided herein, the Trustees may amend,

modify, delete, or add to any provisions (but not the final sentence of Section 7.6) of this TDP

(including, without limitation, amendments to conform this TDP to advances in scientific or

medical knowledge or other changes in circumstances), provided they first obtain the consent of

the TAC and the Futures Representative pursuant to the Consent Process set forth in Sections

5.7(b) and 6.6(b) of the PI Trust Agreement, except that the right to amend the Claims Payment

Ratio is governed by the restrictions in Section 2.5 above, and the right to adjust the Payment

Percentage is governed by Section 4.2 above. Nothing herein is intended to preclude the TAC or

the Futures Representatives from proposing to the Trustees, in writing, amendments to this TDP.

Any amendment proposed by the TAC or the Futures Representatives shall remain subject to

Section 7.3 of the PI Trust Agreement.

       8.2     Severability. Should any provision contained in this TDP be determined to be

unenforceable, such determination shall in no way limit or affect the enforceability and operative

effect of any and all other provisions of this TDP. Should any provision contained in this TDP

be determined to be inconsistent with or contrary to Grace’s obligations to any insurance

company providing insurance coverage to Grace in respect of claims for personal injury based on



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exposure to an asbestos-containing product or to conduct for which Grace has legal

responsibility, the PI Trust with the consent of the TAC and the Futures Representative may

amend this TDP and/or the PI Trust Agreement to make the provisions of either or both

documents consistent with the duties and obligations of Grace to said insurance company.

       8.3     Governing Law. Except for purposes of determining the liquidated value of any

PI Trust Claim, administration of this TDP shall be governed by, and construed in accordance

with, the laws of the State of Delaware. The law governing the liquidation of PI Trust Claims in

the case of Individual Review, arbitration or litigation in the tort system shall be the law of the

Claimant’s Jurisdiction as described in Section 5.3(b)(2) above.




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               )        Chapter 11
                                                     )
W. R. GRACE & CO., et al.1                           )        Case No. 01-01139 (JKF)
                                                     )        Jointly Administered
                         Debtors.                    )
                                                     )
                                                     )
                                                     )


                             EXHIBIT 5 TO EXHIBIT BOOK
                       SCHEDULE OF SETTLED ASBESTOS INSURERS
                           ENTITLED TO 524 (g) PROTECTION

                                                                                                  EXHIBIT 5

         Attached.




1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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                                                                                                  Exhibit 5

                                                                    Schedule of Settled Asbestos Insurance Companies

                   Note: Exhibit 5 is referenced in the definition of Settled Asbestos Insurance Company in the Plan. Exhibit 5 identifies those policies (or portions thereof) as to which the
                              Plan Proponents intend to ask the Court to grant 524(g) protection, as set forth in the Plan’s definition of Settled Asbestos Insurance Company.


                                                                                                                   Asbestos Insurance Policies (or portions thereof)
                                            Asbestos Insurance Entities which have entered into       Date of
                                                                                                     Settlement
                                                                                                                      that are subject to the Asbestos Insurance
                                               an Asbestos Insurance Settlement Agreement
                                                                                                                    Settlement Agreements referred to in column I

                                            Admiral Insurance Company                                 08/01/95     Only the “Products” coverage portion of the
                                                                                                                   following policy:
                                                                                                                    06/30/75 – 06/30/76 75DD1064C
                                                                                                                                                                                                  Case 01-01139-AMC




                                            Aetna Casualty & Surety Company                           02/20/92     All primary policies prior to 1971 issued to Western
                                                                                                                   Mineral Products, California Zonolite or
                                                                                                                   Arizonolite.
                                            Allstate Insurance Company                                06/07/94     Only the “Products” coverage portion of the
                                                                                                                   following policies:
                                                                                                                    06/30/75 – 06/30/76 63001170
                                                                                                                    06/30/75 – 06/30/76 63001171
                                                                                                                                                                                                  Doc 22825-2




                                                                                                                    06/30/75 – 06/30/76 63001172
                                                                                                                    06/30/76 – 06/30/77 63002048
                                                                                                                    06/30/77 – 06/30/78 63002048
                                                                                                                    06/30/78 – 06/30/79 63002048
                                                                                                                    06/30/79 – 06/30/80 63005793
                                                                                                                    06/30/80 – 06/30/81 63005793
                                                                                                                    06/30/81 – 06/30/82 63005793
                                                                                                                                                                                                  Filed 08/17/09




                                                                                                                    06/30/79 – 06/30/80 63005794
                                                                                                                    06/30/80 – 06/30/81 63006854
                                                                                                                    06/30/81 – 06/30/82 63008153
                                            American Centennial                                       05/26/95      06/30/78 – 06/30/79 CC000304
                                            (n/k/a OneBeacon)                                                       06/30/78 – 06/30/79 CC000305
                                                                                                                    06/30/78 – 06/30/79 CC000306
                                                                                                                    06/30/81 – 06/30/82 CC002418
                                                                                                                    06/30/81 – 06/30/82 CC002419
                                                                                                                    06/30/82 – 06/30/83 CC005317
                                                                                                                                                                                                  Page 334 of 364




                                                                                                                    06/30/83 – 06/30/84 CC015780
                                                                                                                    06/30/83 – 06/30/84 CC015815
                                            American Re-Insurance Company                             10/01/95     Only the “Products” coverage portion of the
                                                                                                                   following policies for only those claims at issue in
                                                                                                                   Dayton Independent School Dist. #1 v. U.S. Mineral
                                                                                                                   Products Co., No. B-87-00507 (E.D. Tex.):

                                                                                                             1                                                      As of February 27, 2009




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                                                                                      Asbestos Insurance Policies (or portions thereof)
                   Asbestos Insurance Entities which have entered into    Date of
                                                                         Settlement
                                                                                         that are subject to the Asbestos Insurance
                      an Asbestos Insurance Settlement Agreement
                                                                                       Settlement Agreements referred to in column I

                                                                                      01/27/65 – 10/20/65   M-6672-0001
                                                                                      05/17/66 – 10/20/66   M-6672-0002
                                                                                      10/20/66 – 10/20/67   M-6672-0002
                                                                                      10/20/67 – 10/20/68   M-6672-0002
                                                                                      10/20/68 – 10/20/69   M0085374
                                                                                      10/20/69 – 10/20/70   M0085374
                                                                                      10/20/70 – 10/20/71   M0085374
                                                                                      10/20/71 – 10/20/72   M0085374
                                                                                      10/20/72 – 10/20/73   M0085374
                                                                                                                                          Case 01-01139-AMC




                   Bermuda Fire & Marine Insurance Company LTD           11/17/95     06/30/76 – 06/30/77   76DD1594C
                                                                                      06/30/77 – 06/30/78   76DD1594C
                                                                                      06/30/78 – 06/30/79   76DD1594C
                                                                                      06/30/76 – 06/30/77   76DD1595C
                                                                                      06/30/77 – 06/30/78   76DD1595C
                                                                                      06/30/78 – 06/30/79   76DD1595C
                                                                                      06/30/77 – 06/30/78   77DD1631C
                                                                                      06/30/77 – 06/30/78   77DD1632C
                                                                                                                                          Doc 22825-2




                                                                                      06/30/78 – 06/30/79   78DD1417C
                                                                                      06/30/78 – 06/30/79   78DD1418C
                                                                                      06/30/79 – 06/30/80   79DD1633C
                                                                                      06/30/80 – 06/30/81   79DD1633C
                                                                                      06/30/81 – 06/30/82   79DD1633C
                                                                                      06/30/79 – 06/30/80   79DD1634C
                                                                                      06/30/79 – 06/30/80   79DD1635C
                                                                                                                                          Filed 08/17/09




                                                                                      06/30/79 – 06/30/80   79DD1636C
                                                                                      06/30/80 – 06/30/81   80DD1643C
                                                                                      06/30/81 – 06/30/82   80DD1643C
                                                                                      06/30/80 – 06/30/81   80DD1644C
                                                                                      06/30/80 – 06/30/81   80DD1645C
                                                                                      06/30/79 – 06/30/80   DM025 A/B
                                                                                      06/30/79 – 06/30/80   DM025 A/B
                                                                                      06/30/80 – 06/30/81   KJ10029
                                                                                      06/30/80 – 06/30/81   KJ10029
                                                                                                                                          Page 335 of 364




                                                                                      06/30/80 – 06/30/81   KJ10029
                                                                                      06/30/81 – 06/30/82   KJ10040
                                                                                      06/30/81 – 06/30/82   KJ10040
                                                                                      06/30/81 – 06/30/82   KJ10040
                                                                                      06/30/82 – 06/30/83   KY017582
                                                                                      06/30/83 – 06/30/84   KY017582

                                                                                2                    As of February 27, 2009




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                                                                                      Asbestos Insurance Policies (or portions thereof)
                   Asbestos Insurance Entities which have entered into    Date of
                                                                         Settlement
                                                                                         that are subject to the Asbestos Insurance
                      an Asbestos Insurance Settlement Agreement
                                                                                       Settlement Agreements referred to in column I

                                                                                      06/30/84 – 06/30/85   KY017582
                                                                                      06/30/82 – 06/30/83   KY017782
                                                                                      06/30/83 – 06/30/84   KY017782
                                                                                      06/30/84 – 06/30/85   KY017782
                                                                                      06/30/82 – 06/30/83   KY017882
                                                                                      06/30/83 – 06/30/84   KY048183
                                                                                      06/30/84 – 06/30/85   KY048183
                                                                                      06/30/81 – 06/30/82   PY030181
                                                                                      06/30/81 – 06/30/82   PY030281
                                                                                                                                          Case 01-01139-AMC




                   CIGNA (PEIC/INA)                                      03/04/94     06/30/75 – 06/30/76   ZCX001391/75DD1065
                   (nka Century Indemnity)                                            06/30/83 – 06/30/84   CIZ426249
                                                                                      10/20/65 – 10/20/66   XBC1834
                                                                                      10/20/66 – 10/20/67   XBC1834
                                                                                      10/20/67 – 10/20/68   XBC1834
                                                                                      10/20/68 – 10/20/69   XBC1834
                                                                                      10/20/69 – 10/20/70   XBC1834
                                                                                      10/20/70 – 06/30/71   XBC1834
                                                                                                                                          Doc 22825-2




                                                                                      06/30/77 – 06/30/78   XCP12378
                                                                                      06/30/78 – 06/30/79   XCP14341
                                                                                      06/30/83 – 06/30/84   XCP145667
                                                                                      06/30/71 – 06/30/72   XCP3745
                                                                                      06/30/72 – 06/30/73   XCP3745
                                                                                      06/30/73 – 08/09/73   XCP3745
                                                                                      06/30/75 – 06/30/76   CNU 12-33-83
                                                                                                                                          Filed 08/17/09




                                                                                      06/30/84 – 06/30/85   XCC012283
                                                                                      06/30/84 – 06/30/85   XM0017204
                                                                                         UNKNOWN            ZCV 006025
                   Commercial Union Insurance Company                    05/14/93     10/20/62 – 10/20/63   A-15-2127-51
                   (n/k/a OneBeacon)                                                  10/20/63 – 10/20/64   A-15-2127-51
                                                                                      10/20/64 – 10/20/65   A-15-2127-51
                                                                                      01/27/65 – 10/20/65   A-15-8138-001
                                                                                      10/20/65 – 10/20/66   A-16-8220-001
                                                                                      10/20/66 – 10/20/67   A-16-8220-001
                                                                                                                                          Page 336 of 364




                                                                                      10/20/67 – 10/20/68   A-16-8220-001
                                                                                      10/20/65 – 10/20/66   A-16-8220-002
                                                                                      10/20/66 – 10/20/67   A-16-8220-002
                                                                                      10/20/67 – 10/20/68   A-16-8220-002
                                                                                      10/20/68 – 10/20/69   A-16-8220-003
                                                                                      10/20/69 – 10/20/70   A-16-8220-003

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                                                                                      Asbestos Insurance Policies (or portions thereof)
                   Asbestos Insurance Entities which have entered into    Date of
                                                                         Settlement
                                                                                         that are subject to the Asbestos Insurance
                      an Asbestos Insurance Settlement Agreement
                                                                                       Settlement Agreements referred to in column I

                                                                                       10/20/70 – 06/30/71 A-16-8220-003
                                                                                       10/20/68 – 10/20/69 A-16-8220-004
                                                                                       10/20/69 – 10/20/70 A-16-8220-004
                                                                                       10/20/70 – 06/30/71 A-16-8220-004
                                                                                       06/30/71 – 06/30/72 EY8220005
                                                                                       06/30/72 – 06/30/73 EY8220005
                                                                                       06/30/73 – 06/30/74 EY8220005
                                                                                       06/30/71 – 06/30/72 EY8220006
                                                                                       06/30/72 – 06/30/73 EY8220006
                                                                                                                                          Case 01-01139-AMC




                                                                                       06/30/73 – 06/30/74 EY8220006
                   Commercial Union Insurance Company                    10/07/98      10/20/62 – 10/20/63 A-15-2127-51
                   (n/k/a OneBeacon)                                                   10/20/63 – 10/20/64 A-15-2127-51
                                                                                       10/20/64 – 10/20/65 A-15-2127-51
                                                                                       01/27/65 – 10/20/65 A-15-8138-001
                                                                                       10/20/65 – 10/20/66 A-16-8220-001
                                                                                       10/20/66 – 10/20/67 A-16-8220-001
                                                                                       10/20/67 – 10/20/68 A-16-8220-001
                                                                                                                                          Doc 22825-2




                                                                                       10/20/65 – 10/20/66 A-16-8220-002
                                                                                       10/20/66 – 10/20/67 A-16-8220-002
                                                                                       10/20/67 – 10/20/68 A-16-8220-002
                                                                                       10/20/68 – 10/20/69 A-16-8220-003
                                                                                       10/20/69 – 10/20/70 A-16-8220-003
                                                                                       10/20/70 – 06/30/71 A-16-8220-003
                                                                                       10/20/68 – 10/20/69 A-16-8220-004
                                                                                                                                          Filed 08/17/09




                                                                                       10/20/69 – 10/20/70 A-16-8220-004
                                                                                       10/20/70 – 06/30/71 A-16-8220-004
                                                                                       06/30/71 – 06/30/72 EY8220005
                                                                                       06/30/72 – 06/30/73 EY8220005
                                                                                       06/30/73 – 06/30/74 EY8220005
                                                                                       06/30/71 – 06/30/72 EY8220006
                                                                                       06/30/72 – 06/30/73 EY8220006
                                                                                       06/30/73 – 06/30/74 EY8220006
                   Continental Casualty Company                          08/01/90     Only the “Products” coverage portion of the
                                                                                                                                          Page 337 of 364




                                                                                      following policies:
                                                                                       06/30/76 – 06/30/83 CCP2483440
                                                                                       06/30/83 – 06/30/85 CCP2483440
                                                                                       06/30/73 – 06/30/76 CCP9023670



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                                                                                      Asbestos Insurance Policies (or portions thereof)
                   Asbestos Insurance Entities which have entered into    Date of
                                                                         Settlement
                                                                                         that are subject to the Asbestos Insurance
                      an Asbestos Insurance Settlement Agreement
                                                                                       Settlement Agreements referred to in column I

                   Federal Insurance Company                             11/18/97     Only the portion of the following policy in a policy
                                                                                      amount of $500,000, part of $50 million, excess of
                                                                                      $25 million:
                                                                                       06/30/84 – 06/30/85 7928-26-20
                   Fireman’s Fund Insurance Company                      09/21/95     Only the “Products” coverage portion of the
                                                                                      following policies for only those claims at issue in
                                                                                      Dayton Independent School Dist. #1 v. U.S. Mineral
                                                                                      Products Co., No. B-87-00507 (E.D. Tex.):
                                                                                       01/27/65 – 10/20/65 XL76937
                                                                                                                                             Case 01-01139-AMC




                                                                                       05/17/66 – 10/20/66 XL91085
                                                                                       10/20/66 – 10/20/67 XL91085
                                                                                       10/20/67 – 10/20/68 XL91085
                   Fireman’s Fund Insurance Company                      12/26/96      01/27/65 – 10/20/65 XL76937
                                                                                       05/17/66 – 10/20/66 XL91085
                                                                                       10/20/66 – 10/20/67 XL91085
                                                                                       10/20/67 – 10/20/68 XL91085
                                                                                                                                             Doc 22825-2




                                                                                       10/20/68 – 10/20/69 XLX1026877
                                                                                       10/20/69 – 10/20/70 XLX1026877
                                                                                       10/20/70 – 06/30/71 XLX1026877
                   General Insurance Company of America                  03/03/94     Only the “Products” coverage portion of the
                                                                                      following policies:
                                                                                       06/01/61 – 06/01/62 BLP186027
                                                                                       06/01/62 – 06/01/63 BLP205359
                                                                                       06/01/63 – 06/01/64 BLP221289
                                                                                                                                             Filed 08/17/09




                                                                                       06/01/64 – 06/01/65 BLP245115
                                                                                       06/01/65 – 06/01/66 BLP260071
                                                                                       06/01/66 – 06/01/67 BLP270815
                                                                                      and all known and unknown “disputed” primary
                                                                                      policies generally described in the settlement.
                   Gibraltar Casualty Co./Prudential Reinsurance Co.     10/08/93     Gibraltar Casualty:
                   (n/k/a Mt. McKinley/Everest)                                        06/30/80 – 06/30/81 GMX00656
                                                                                       06/30/81 – 11/01/81 GMX01275
                                                                                       11/01/81 – 06/30/82 GMX01407
                                                                                                                                             Page 338 of 364




                                                                                       06/30/82 – 06/30/83 GMX01784
                                                                                       06/30/83 – 06/30/84 GMX02269
                                                                                       06/30/84 – 06/30/85 GMX02683
                                                                                      Prudential Re. Co.:
                                                                                       06/30/76 – 06/30/77 DXC901145
                                                                                       06/30/76 – 06/30/77 DXC901146

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                                                                                      Asbestos Insurance Policies (or portions thereof)
                   Asbestos Insurance Entities which have entered into    Date of
                                                                         Settlement
                                                                                         that are subject to the Asbestos Insurance
                      an Asbestos Insurance Settlement Agreement
                                                                                       Settlement Agreements referred to in column I

                                                                                       06/30/76 – 06/30/77 DXC901147
                                                                                       06/30/77 – 06/30/78 DXCDX0250
                                                                                       06/30/77 – 06/30/78 DXCDX0251
                                                                                       06/30/77 – 06/30/78 DXCDX0252
                   Guarantee Insurance Company                           06/03/98      06/30/82 – 06/30/83 SL0950030
                                                                                       06/30/82 – 06/30/83 SL0950031
                   Home Insurance Company (INSOLVENT)                    09/24/93      10/20/68 – 10/20/69 HEC9304605
                                                                                       10/20/69 – 10/20/70 HEC9304605
                                                                                       10/20/70 – 06/30/71 HEC9304605
                                                                                                                                          Case 01-01139-AMC




                                                                                       10/20/62 – 10/20/63 HEC9543206
                                                                                       10/20/63 – 10/20/64 HEC9543206
                                                                                       10/20/64 – 10/20/65 HEC9543206
                                                                                       10/20/65 – 10/20/66 HEC9544498
                                                                                       10/20/66 – 10/20/67 HEC9544498
                                                                                       10/20/67 – 10/20/68 HEC9544498
                                                                                       06/30/71 – 06/30/72 HEC9919945
                                                                                       06/30/72 – 06/30/73 HEC9919945
                                                                                                                                          Doc 22825-2




                                                                                       06/30/73 – 06/30/74 HEC9919945
                   Home Insurance Company (INSOLVENT)                    11/14/97     Only the “Products” coverage portion of the
                                                                                      following policy:
                                                                                       02/27/73 – 06/30/73 HEC4356740
                   KWELM                                                   08/2004     06/30/74 – 06/30/75 74DD662C
                                                                         (Approved     06/30/75 – 06/30/76 74DD662C
                                                                          09/27/04)    06/30/76 – 06/30/77 74DD662C
                                                                                                                                          Filed 08/17/09




                                                                                       07/17/74 – 06/30/75 74DD663C
                                                                                       06/30/75 – 06/30/76 74DD663C
                                                                                       06/30/76 – 06/30/77 76DD1594C
                                                                                       06/30/77 – 06/30/78 76DD1594C
                                                                                       06/30/78 – 06/30/79 76DD1594C
                                                                                       06/30/76 – 06/30/77 76DD1595C
                                                                                       06/30/77 – 06/30/78 76DD1595C
                                                                                       06/30/78 – 06/30/79 76DD1595C
                                                                                       06/30/77 – 06/30/78 77DD1631C
                                                                                                                                          Page 339 of 364




                                                                                       06/30/77 – 06/30/78 77DD1632C
                                                                                       06/30/78 – 06/30/79 78DD1417C
                                                                                       06/30/78 – 06/30/79 78DD1418C
                                                                                       06/30/79 – 06/30/80 79DD1633C
                                                                                       06/30/80 – 06/30/81 79DD1633C
                                                                                       06/30/81 – 06/30/82 79DD1633C

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                                                                                                                    Asbestos Insurance Policies (or portions thereof)
                                              Asbestos Insurance Entities which have entered into       Date of
                                                                                                       Settlement
                                                                                                                       that are subject to the Asbestos Insurance
                                                 an Asbestos Insurance Settlement Agreement
                                                                                                                     Settlement Agreements referred to in column I

                                                                                                                    06/30/79 – 06/30/80   79DD1634C
                                                                                                                    06/30/79 – 06/30/80   79DD1635C
                                                                                                                    06/30/79 – 06/30/80   79DD1636C
                                                                                                                    06/30/80 – 06/30/81   80DD1643C
                                                                                                                    06/30/81 – 06/30/82   80DD1643C
                                                                                                                    06/30/80 – 06/30/81   80DD1644C
                                                                                                                    06/30/80 – 06/30/81   80DD1645C
                                                                                                                    06/30/82 – 06/30/83   KY017582
                                                                                                                    06/30/83 – 06/30/84   KY017582
                                                                                                                                                                        Case 01-01139-AMC




                                                                                                                    06/30/84 – 06/30/85   KY017582
                                                                                                                    06/30/82 – 06/30/83   KY017782
                                                                                                                    06/30/83 – 06/30/84   KY017782
                                                                                                                    06/30/84 – 06/30/85   KY017782
                                                                                                                    06/30/82 – 06/30/83   KY017882
                                                                                                                    06/30/83 – 06/30/84   KY048183
                                                                                                                    06/30/84 – 06/30/85   KY048183
                                                                                                                    06/30/81 – 06/30/82   PY030181
                                                                                                                                                                        Doc 22825-2




                                                                                                                    06/30/81 – 06/30/82   PY030281
                                             Lloyd’s Underwriters*                                     11/20/06     05/17/66 – 10/20/66   66/180390
                                                                                                                    10/20/66 – 10/20/67   66/180390
                                                                                                                    10/20/67 – 10/20/68   66/180390
                                                                                                                    06/30/74 – 06/30/75   74DD662C
                                                                                                                    06/30/75 – 06/30/76   74DD662C
                                                                                                                    06/30/76 – 06/30/77   74DD662C
                                                                                                                                                                        Filed 08/17/09




                                                                                                                    07/17/74 – 06/30/75   74DD663C
                                                                                                                    06/30/75 – 06/30/76   74DD663C
                                                                                                                    06/30/76 – 06/30/77   74DD663C
                                                                                                                    06/30/76 – 06/30/77   76DD1595C
                                                                                                                    06/30/77 – 06/30/78   76DD1595C
                                                                                                                    06/30/78 – 06/30/79   76DD1595C
                                                                                                                    06/30/77 – 06/30/78   77DD1631C
                                                                                                                    06/30/77 – 06/30/78   77DD1632C
                                                                                                                    06/30/77 – 06/30/78   77DD1826C
                                                                                                                                                                        Page 340 of 364




                                                                                                                    06/30/78 – 06/30/79   78DD1417C
                                                                                                                    06/30/78 – 06/30/79   78DD1418C
                                                                                                                    06/30/78 – 06/30/79   78DD1419C

                   *
                       Void if Lloyd’s exercises the termination clause in its settlement agreement.

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                                                                                      Asbestos Insurance Policies (or portions thereof)
                   Asbestos Insurance Entities which have entered into    Date of
                                                                         Settlement
                                                                                         that are subject to the Asbestos Insurance
                      an Asbestos Insurance Settlement Agreement
                                                                                       Settlement Agreements referred to in column I

                                                                                       06/30/78 – 06/30/79 78DD1420C
                                                                                       06/30/79 – 06/30/80 79DD1634C
                                                                                       06/30/79 – 06/30/80 79DD1635C
                                                                                       06/30/79 – 06/30/80 79DD1636C
                                                                                       06/30/79 – 06/30/80 79DD1637C
                                                                                       06/30/79 – 06/30/80 79DD1638C
                                                                                       06/30/80 – 06/30/81 80DD1643C
                                                                                       06/30/81 – 06/30/82 80DD1643C
                                                                                       06/30/80 – 06/30/81 80DD1644C
                                                                                                                                           Case 01-01139-AMC




                                                                                       06/30/80 – 06/30/81 80DD1645C
                                                                                       06/30/80 – 06/30/81 80DD1646C
                                                                                       06/30/80 – 06/30/81 80DD1647C
                                                                                       11/14/69 – 10/20/70 914/1/4116
                                                                                       10/20/70 – 06/30/71 914/1/4116
                                                                                       10/20/68 – 10/20/69 914-102502
                                                                                       10/20/69 – 10/20/70 914-102502
                                                                                       10/20/70 – 06/30/71 914-102502
                                                                                                                                           Doc 22825-2




                                                                                       06/30/71 – 06/30/72 914105953
                                                                                       06/30/72 – 06/30/73 914105953
                                                                                       06/30/73 – 06/30/74 914105953
                                                                                       06/30/82 – 06/30/83 KY017782
                                                                                       06/30/83 – 06/30/84 KY017782
                                                                                       06/30/84 – 06/30/85 KY017782
                                                                                       06/30/82 – 06/30/83 KY017882
                                                                                                                                           Filed 08/17/09




                                                                                       06/30/82 – 06/30/83 KY017982
                                                                                       06/30/83 – 06/30/84 KY048183
                                                                                       06/30/84 – 06/30/85 KY048183
                                                                                       06/30/83 – 06/30/84 KY048283
                                                                                       06/30/84 – 06/30/85 KY048283
                                                                                       06/30/81 – 06/30/82 PY030181
                                                                                       06/30/81 – 06/30/82 PY030281
                                                                                       06/30/81 – 06/30/82 PY030381
                                                                                      and all known or unknown policies subscribed to by
                                                                                                                                           Page 341 of 364




                                                                                      Certain Underwriters’ at Lloyd’s London up to
                                                                                      incepting before 01/01/98 issued to W.R. Grace.
                   Maryland Casualty Company                             09/01/91       06/30/67 – 06/30/68       31-278301
                                                                                        06/30/68 – 06/30/69       31-278301
                                                                                        06/30/69 – 06/30/70       31-278301
                                                                                        06/30/70 – 06/30/71       31-R-911051

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                                                                                      Asbestos Insurance Policies (or portions thereof)
                   Asbestos Insurance Entities which have entered into    Date of
                                                                         Settlement
                                                                                         that are subject to the Asbestos Insurance
                      an Asbestos Insurance Settlement Agreement
                                                                                       Settlement Agreements referred to in column I

                                                                                         06/30/71 – 06/30/72      31-R-911051
                                                                                         06/30/72 – 06/30/73      31-R-911051
                                                                                         06/30/62 – 06/30/63      96-205800
                                                                                         06/30/63 – 06/30/64      96-224900
                                                                                       06/30/64 – 06/30/65 96-243400
                                                                                       06/30/65 – 06/30/66 96-257400
                                                                                       06/30/66 – 06/30/67 96-269500
                                                                                      and any and all primary general liability policies
                                                                                      issued by Maryland Casualty Company to W.R.
                                                                                                                                           Case 01-01139-AMC




                                                                                      Grace prior to 1973.
                   Maryland Casualty Company                             03/18/96      10/20/68 – 10/20/69 WRG-1
                                                                                       10/20/69 – 10/20/70 WRG-1
                                                                                       10/20/70 – 06/30/71 WRG-1
                                                                                       06/30/71 – 06/30/72 WRG-2
                                                                                       06/30/72 – 06/30/73 WRG-2
                                                                                       06/30/73 – 06/30/74 WRG-2
                                                                                                                                           Doc 22825-2




                                                                                      and all known and unknown excess insurance
                                                                                      policies issued by Maryland Casualty Company to
                                                                                      W.R. Grace.
                   Royal Indemnity Company                               01/05/95     Pursuant to the 01/05/95 Settlement Agreement and
                                                                                      only as to the following policies:
                                                                                       04/01/60 – 04/01/61 RLG021620
                                                                                       04/01/61 – 04/01/62 RLG021621
                                                                                       04/01/62 – 04/01/63 RLG021622
                                                                                                                                           Filed 08/17/09




                                                                                       04/01/59 – 04/01/60 RLG021629
                                                                                       04/01/55 – 04/01/56 RLG035805
                                                                                       04/01/56 – 04/01/57 RLG045762
                                                                                       04/01/57 – 04/01/58 RLG045836
                                                                                       04/01/58 – 04/01/59 RLG053959
                                                                                       03/31/53 – 03/31/54 RLG27635
                                                                                       03/31/54 – 04/01/55 RLG31840
                   Unigard Security Insurance Company                    08/06/92     Only the “Products” coverage portion of the
                   (n/k/a Seaton)                                                     following policy:
                                                                                                                                           Page 342 of 364




                                                                                       06/30/74 – 06/30/75 1-2517
                   Unigard Security Insurance Company                    05/15/95     Pursuant to the 5/15/95 Settlement Agreement and
                   (n/k/a Seaton)                                                     only as to the following policy:




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                                                                                      Asbestos Insurance Policies (or portions thereof)
                   Asbestos Insurance Entities which have entered into    Date of
                                                                         Settlement
                                                                                         that are subject to the Asbestos Insurance
                      an Asbestos Insurance Settlement Agreement
                                                                                       Settlement Agreements referred to in column I

                                                                                       02/27/73 – 06/30/73 1-0589
                                                                                       06/30/73 – 06/30/74 1-0589
                                                                                       06/30/74 – 06/30/75 1-0589
                   U.S. Fire Insurance Company                           09/11/95     Only the “Products” coverage portion of the
                                                                                      following policies:
                                                                                       10/20/68 – 10/20/69 XS2108
                                                                                       10/20/69 – 10/20/70 XS2108
                                                                                       10/20/70 – 06/30/71 XS2108
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               )        Chapter 11
                                                     )
W. R. GRACE & CO., et al.1                           )        Case No. 01-01139 (JKF)
                                                     )        Jointly Administered
                         Debtors.                    )
                                                     )
                                                     )
                                                     )


                             EXHIBIT 6 TO EXHIBIT BOOK
                      ASBESTOS INSURANCE TRANSFER AGREEMENT

                                                                                                  EXHIBIT 6

         Attached.




1   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.),
    W. R. Grace & Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food ‘N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., GC Limited Partners I, Inc., (f/k/a
    Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
    Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




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                   ASBESTOS INSURANCE TRANSFER AGREEMENT

        This ASBESTOS INSURANCE TRANSFER AGREEMENT (this “Agreement”) is
made as of [insert date], by and between the Insurance Contributors (which include, without
limitation, the Non-Debtor Affiliates identified in Exhibit 16 to the Plan) and the Asbestos PI
Trust. Capitalized terms used herein without definition shall have the meanings given to them in
the First Amended Joint Plan of Reorganization Under Chapter 11 of the Bankruptcy Code of
W. R. Grace & Co., et al., the Official Committee of Asbestos Personal Injury Claimants, the
Asbestos PI Future Claimants’ Representative, and the Official Committee of Equity Security
Holders dated as of February 27, 2009 (the “Plan”) (as such Plan may be amended, modified, or
supplemented from time to time in accordance with the terms thereof).

       WHEREAS, the Debtors and the Non-Debtor Affiliates maintained liability insurance
programs to protect themselves from certain risks resulting from their businesses, including,
without limitation, liability for personal injury tort or wrongful death arising from exposure to
asbestos or asbestos-containing products;

       WHEREAS, numerous individuals and other persons have asserted asbestos-related
personal injury tort and wrongful death claims against the Debtors;

       WHEREAS, on April 2, 2001, each of the Debtors filed a petition for relief under
Chapter 11 of the U.S. Bankruptcy Code in the United States Bankruptcy Court for the District
of Delaware (“Bankruptcy Court”);

       WHEREAS, on February 27, 2009, the Debtors, the Asbestos PI Committee, the
Asbestos PI Future Claimants’ Representative, and the Equity Committee filed the Plan in the
Bankruptcy Court;

       WHEREAS, the Bankruptcy Court has entered a Confirmation Order in the Chapter 11
Cases, confirming the Plan;

      WHEREAS, it is a condition to the effectiveness of the Plan that the parties enter into this
Agreement;

       WHEREAS, the Plan, inter alia, provides that the Insurance Contributors will transfer the
Asbestos Insurance Rights to the Asbestos PI Trust;

       WHEREAS, the Insurance Contributors wish to implement, inter alia, the terms of the
Plan providing for such transfer of the Asbestos Insurance Rights to the Asbestos PI Trust;

        NOW, THEREFORE, subject to and on the terms and conditions set forth herein, for
good and valuable consideration the receipt of which the parties hereto hereby acknowledge, the
parties hereby agree as follows:




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       Section 1.     Transfer to the Asbestos PI Trust

        (a)     Effective upon the Effective Date, the Insurance Contributors hereby irrevocably
transfer, convey, and grant to the Asbestos PI Trust all of their Asbestos Insurance Rights,
including, without limitation, any and all rights to Proceeds (the “Transfer”). The Transfer is
made free and clear of all Encumbrances, liens, security interests, and claims or causes of action,
except that all Asbestos Insurer Coverage Defenses are preserved.

       (b)    The Asbestos PI Trust and the Insurance Contributors intend that the Transfer is
made to the maximum extent permitted under applicable law.

       (c)     The Transfer is absolute and does not require any further action by any Debtor,
any Reorganized Debtor, any Insurance Contributor, the Asbestos PI Trust, the Bankruptcy
Court, or any other entity.

       (d)     The Transfer is not an assignment of any insurance policy.

        (e)    Immediately upon the Effective Date, the Insurance Contributors shall wire
transfer the Proceeds (defined below) to the Asbestos PI Trust, together with all interest earned
on such Proceeds up to and through the date on which the Proceeds are actually transferred to the
Asbestos PI Trust. For purposes of this Agreement, the term “Proceeds” shall include any and
all proceeds, payments, cash, or cash equivalents paid to an Insurance Contributor or held in
escrow, pursuant to, in satisfaction of, or on account of any of the Asbestos Insurance Rights.

       Section 2.     Cooperation

        (a)    The Insurance Contributors shall cooperate in the pursuit by the Asbestos PI Trust
of the Asbestos Insurance Rights as reasonably requested by the Asbestos PI Trust. Such
cooperation shall include, without limitation, making their books, records, employees, agents,
and professionals available to the Asbestos PI Trust, provided, however, that the Asbestos PI
Trust’s access to such books, records, documents, employees, agents, and professionals shall be
subject to the terms and provisions of the cooperation agreement executed as of the Effective
Date by the Reorganized Debtors and the trustees of the Asbestos PI Trust (“Cooperation
Agreement”). The obligations set forth in paragraph 3 of the Cooperation Agreement, relating
to the disposal and retention of relevant documents, shall apply to all Insurance Contributors,
regardless of whether they signed the Cooperation Agreement.

       (b)      If after the Effective Date, the Asbestos PI Trust or any Insurance Contributor
discovers the existence of an insurance policy or coverage-in-place agreement, or insurance
reimbursement agreement providing insurance coverage, proceeds, or reimbursement to one or
more of the Insurance Contributors that falls within the definition of Asbestos Insurance Policy,
Asbestos In-Place Insurance Coverage, or Asbestos Insurance Reimbursement Agreement and
potentially or actually provides coverage, proceeds, or reimbursement for Asbestos Claims, then
such party shall promptly notify the other parties to this Agreement of such discovery and the
Insurance Contributors will, upon notice and request, cooperate with the Asbestos PI Trust to




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effectuate a transfer of rights under such policy or agreement to the Asbestos PI Trust in a
manner consistent with the Transfer under this Agreement.

         (c)    At the reasonable direction and request of the Asbestos PI Trust, and at the
reasonable expense of the Asbestos PI Trust, an Insurance Contributor shall pursue any of the
Asbestos Insurance Rights for the benefit of and to the fullest extent required by the Asbestos PI
Trust, by negotiation, or, if necessary, by the initiation or prosecution of all appropriate and
necessary legal action to secure or recover such Asbestos Insurance Rights, and shall take such
other action as the Asbestos PI Trust may request, including granting a security interest in any or
all of the Asbestos Insurance Rights. Each Insurance Contributor shall immediately transfer any
amounts recovered under or on account of any of the Asbestos Insurance Rights to the Asbestos
PI Trust; provided, however, that while any such amounts are held by or under the control of an
Insurance Contributor, such amounts shall be held in trust for the benefit of the Asbestos PI
Trust. No Insurance Contributor shall commence or pursue any claim against any Asbestos
Insurance Entity with respect to any Asbestos Insurance Policy, Asbestos Insurance Settlement
Agreement, Asbestos In-Place Insurance Coverage, or Asbestos Insurance Reimbursement
Agreement without the prior written consent of the Asbestos PI Trust. Upon the Effective Date,
the Insurance Contributors shall cede to the Asbestos PI Trust all control of the pursuit of any
and all claims with respect to any Asbestos Insurance Policy, Asbestos Insurance Settlement
Agreement, Asbestos In-Place Insurance Coverage, or Asbestos Insurance Reimbursement
Agreement, and the Asbestos PI Trust shall have the right to control and direct the choice of
counsel and conduct of all such proceedings.

       Section 3.     Representations and Warranties

       (a)     The Insurance Contributors, jointly and severally, warrant and represent that:

               (i)     All insurance policies that the Insurance Contributors have reason to
believe potentially or actually provide insurance coverage for Asbestos PI Claims are listed and
described accurately on the attached Schedule 1;

               (ii)  All insurance settlement agreements, coverage-in-place agreements, and
reimbursement agreements, written, oral, or otherwise, that the Insurance Contributors have
reason to believe potentially affect any right under any Asbestos Insurance Policy, Asbestos
Insurance Settlement Agreement, Asbestos In-Place Insurance Coverage, or Asbestos Insurance
Reimbursement Agreement are listed and described accurately on the attached Schedules 2 and
3;

               (iii)   The Insurance Contributors have not heretofore transferred, granted, or
assigned, in whole or in part, any Asbestos Insurance Right, Asbestos Insurance Policy, Asbestos
Insurance Settlement Agreement, Asbestos In-Place Insurance Coverage, or Asbestos Insurance
Reimbursement Agreement;

             (iv)   Any written information pertaining to any Asbestos Insurance Right,
Asbestos Insurance Policy, Asbestos Insurance Settlement Agreements, Asbestos In-Place
Insurance Coverage, or Asbestos Insurance Reimbursement Agreement provided by the



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Insurance Contributors or their authorized representatives to the Asbestos PI Committee, the
Asbestos PI Future Claimants’ Representative, or the Asbestos PI Trust was true and correct in
all material respects as of the respective dates specified therein or, in the absence of any such
specification, at the time it was so provided; and

                (v)    Each Entity signing this Agreement as, or on behalf of, an Insurance
Contributor has been duly authorized by such Insurance Contributor to execute and deliver this
Agreement, and upon execution and delivery by each such Entity, this Agreement will be the
legal, valid, and binding obligation of each Insurance Contributor, enforceable against each such
Insurance Contributor in accordance with its terms. Each individual signing this Agreement
represents and warrants that he or she is authorized to execute this Agreement on behalf of each
Entity for which he or she executes this Agreement.

        (b)     Each of the representations and warranties contained in this Agreement shall
survive the execution, delivery, and performance thereof. In the event that any representation or
warranty herein by or on behalf of an Insurance Contributor was not true and correct as of the
Effective Date, or any Insurance Contributor fails to perform any covenant or agreement required
to be performed by it herein (such failure of a representation or warranty to be true and correct or
breach of a covenant or agreement is referred to herein as a “Breach”), then the Asbestos PI
Trust shall be entitled to exercise forthwith any and all rights and remedies provided for in this
Agreement or under any of the other Plan Documents and all other rights and remedies that may
otherwise be available to the Asbestos PI Trust by agreement or at law or in equity (including the
right to seek damages, including attorneys’ fees and enforcement costs, resulting or arising,
directly or indirectly, from such Breach).

       Section 4.      Miscellaneous

        (a)    This Agreement shall be binding on each of the parties hereto and each of their
respective successors and assigns. This Agreement is not intended, and shall not be construed,
deemed, or interpreted, to confer on any person or entity not a party hereto any rights or
remedies hereunder, except as otherwise provided expressly herein.

        (b)    This Agreement, the Plan, and the other Plan Documents shall constitute the
entire agreement and understanding among the parties to this Agreement with respect to the
subject matter hereof and shall supersede all prior agreements and understandings, oral or
written, among the parties hereto relating to the subject matter of this Agreement. This
Agreement may not be amended or modified, and no provision hereof may be waived, except by
an agreement in writing signed by the party against whom enforcement of any amendment,
modification, or waiver is sought.

       (c)     This Agreement and the rights and obligations of the parties hereto under this
Agreement shall be governed by and construed and enforced in accordance with the substantive
laws of the State of Delaware, without regard to any conflicts of law provisions thereof that
would result in the application of the laws of any other jurisdiction.




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        (d)    The headings used in this Agreement are inserted for convenience only and
neither constitute a portion of this Agreement nor in any manner affect the construction of the
provisions of this Agreement. The rules of construction set forth in 11 U.S.C. § 102 shall apply
to this Agreement.

        (e)     This Agreement may be executed in multiple counterparts, each of which will be
an original, but all of which together will constitute one and the same agreement.

       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed by their respective duly authorized representatives on the date first above written.

                            [Signature blocks to be inserted here]




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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                              TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                         Insurer              Policy Number        Layer
06/30/74     06/30/75 Acc. & Casualty Ins. of Winterthur   74DD662C                    3
06/30/75     06/30/76 Acc. & Casualty Ins. of Winterthur   74DD662C                    5
06/30/76     06/30/77 Acc. & Casualty Ins. of Winterthur   74DD662C                    4
07/17/74     06/30/75 Acc. & Casualty Ins. of Winterthur   74DD663C                    6
06/30/75     06/30/76 Acc. & Casualty Ins. of Winterthur   74DD663C                    8
06/30/75     06/30/76 Admiral Insurance                    75DD1064C                   2
06/30/77     06/30/78 Aetna Casualty & Surety              01XN1400WCA                 7
06/30/77     06/30/78 Aetna Casualty & Surety              01XN1422WCA                 8
06/30/71     06/30/72 Aetna Casualty & Surety              01XN150WCA                  4
06/30/72     06/30/73 Aetna Casualty & Surety              01XN150WCA                  4
06/30/73     06/30/74 Aetna Casualty & Surety              01XN150WCA                  4
06/30/78     06/30/79 Aetna Casualty & Surety              01XN1846WCA                 6
06/30/78     06/30/79 Aetna Casualty & Surety              01XN1847WCA                 7
06/30/79     06/30/80 Aetna Casualty & Surety              01XN2306WCA                 7
06/30/80     06/30/81 Aetna Casualty & Surety              01XN2669WCA                 7
07/17/74     06/30/75 Aetna Casualty & Surety              01XN607WCA                  5
06/30/75     06/30/76 Aetna Casualty & Surety              01XN607WCA                  7
06/30/76     06/30/77 Aetna Casualty & Surety              01XN607WCA                  6
07/17/74     06/01/75 Aetna Casualty & Surety              01XN608WCA                  6
06/01/75     06/30/75 Aetna Casualty & Surety              01XN608WCA.                 6
06/30/75     06/30/76 Aetna Casualty & Surety              01XN608WCA.                 8
06/30/76     06/30/77 Aetna Casualty & Surety              01XN608WCA.                 7
Various      Pre-1971 Aetna Casualty and Surety Company    Various               Primary
06/30/77     06/30/78 AG Belge de 1830                     AVB102                      8
06/30/78     06/30/79 AG Belge de 1830                     AVB124                      7
06/30/82     06/30/83 Allianz Underwriters Ins             C7300025                    4
06/30/83     06/30/84 Allianz Underwriters Ins             C7300025                    4
06/30/84     06/30/85 Allianz Underwriters Ins             C7300025                    4
06/30/77     06/30/78 Allianz Underwriters Ins             H00011428                   8
06/30/78     06/30/79 Allianz Underwriters Ins             H0001428                    7
06/30/79     06/30/80 Allianz Underwriters Ins             H0001428                    6
06/30/80     06/30/81 Allianz Underwriters Ins             H0001428                    6
06/30/81     06/30/82 Allianz Underwriters Ins             H0001428                    6
06/30/78     06/30/79 American Centennial                  CC000304                    5
06/30/78     06/30/79 American Centennial                  CC000305                    7
06/30/78     06/30/79 American Centennial                  CC000306                    6
06/30/81     06/30/82 American Centennial                  CC002418                    5
06/30/81     06/30/82 American Centennial                  CC002419                    6
06/30/82     06/30/83 American Centennial                  CC005317                    4
06/30/83     06/30/84 American Centennial                  CC015780                    4
10/20/62     10/20/63 American Employers                   A-15-2127-51                1
10/20/63     10/20/64 American Employers                   A-15-2127-51                1
10/20/64     10/20/65 American Employers                   A-15-2127-51                1
01/27/65     10/20/65 American Employers                   A-15-8138-001               3
10/20/65     10/20/66 American Employers                   A-16-8220-001               1
10/20/66     10/20/67 American Employers                   A-16-8220-001               1
10/20/67     10/20/68 American Employers                   A-16-8220-001               1
10/20/65     10/20/66 American Employers                   A-16-8220-002               4
10/20/66     10/20/67 American Employers                   A-16-8220-002               4
10/20/67     10/20/68 American Employers                   A-16-8220-002               4
10/20/68     10/20/69 American Employers                   A-16-8220-003               1

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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                             TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                        Insurer              Policy Number    Layer
10/20/69     10/20/70 American Employers                  A-16-8220-003           1
10/20/70     06/30/71 American Employers                  A-16-8220-003           1
10/20/68     10/20/69 American Employers                  A-16-8220-004           4
10/20/69     10/20/70 American Employers                  A-16-8220-004           4
10/20/70     06/30/71 American Employers                  A-16-8220-004           4
06/30/74     06/30/75 American Home Assurance             74DD662C                3
06/30/75     06/30/76 American Home Assurance             74DD662C                5
07/17/74     06/30/75 American Home Assurance             74DD663C                6
06/30/75     06/30/76 American Home Assurance             74DD663C                8
06/30/71     06/30/72 American Home Assurance             CE2691919               4
06/30/72     06/30/73 American Home Assurance             CE2691919               4
06/30/73     06/30/74 American Home Assurance             CE2691919               4
07/17/74     06/30/75 American Home Assurance             CE3436358               6
06/30/75     06/30/76 American Home Assurance             CE3436358               8
06/30/76     06/30/77 American Home Assurance             CE3436358               7
10/20/65     10/20/66 American Home Assurance             CE351082                5
10/20/66     10/20/67 American Home Assurance             CE351082                5
10/20/67     10/20/68 American Home Assurance             CE351082                5
10/20/68     10/20/69 American Home Assurance             WRG-1                   4
10/20/69     10/20/70 American Home Assurance             WRG-1                   4
10/20/70     06/30/71 American Home Assurance             WRG-1                   4
06/30/78     06/30/79 American Int'l Underwriter          75100695                7
06/30/78     06/30/79 American Int'l Underwriter          75100696                4
06/30/79     06/30/80 American Int'l Underwriter          75101107                3
06/30/79     06/30/80 American Int'l Underwriter          75101108                4
06/30/79     06/30/80 American Int'l Underwriter          75101109                6
06/30/82     06/30/83 American Int'l Underwriter          75102158                3
06/30/82     06/30/83 American Int'l Underwriter          75102159                5
06/30/80     06/30/81 American Int'l Underwriter          75102422                4
06/30/80     06/30/81 American Int'l Underwriter          75102423                6
06/30/80     06/30/81 American Int'l Underwriter          75102424                3
06/30/81     06/30/82 American Int'l Underwriter          75-102641               3
06/30/81     06/30/82 American Int'l Underwriter          75-102642               4
06/30/81     06/30/82 American Int'l Underwriter          75-102643               8
06/30/83     06/30/84 American Int'l Underwriter          75103044                3
06/30/83     06/30/84 American Int'l Underwriter          75103045                5
06/30/84     06/30/85 American Int'l Underwriter          75103845                3
06/30/84     06/30/85 American Int'l Underwriter          75103864                4
07/17/74     06/30/75 American Manufacturers Mutual       4SG-010001              6
06/30/75     06/30/76 American Manufacturers Mutual       4SG-010001              8
06/30/76     06/30/77 American Manufacturers Mutual       4SG-010001              7
10/20/68     10/20/69 American Reinsurance Co             M0085374                4
10/20/69     10/20/70 American Reinsurance Co             M0085374                4
10/20/70     06/30/71 American Reinsurance Co             M0085374                4
06/30/71     06/30/72 American Reinsurance Co             M0085374                4
06/30/72     06/30/73 American Reinsurance Co             M0085374                4
06/30/73     06/30/74 American Reinsurance Co             M0085374                4
06/30/74     06/30/75 American Reinsurance Co             M1025776                3
06/30/75     06/30/76 American Reinsurance Co             M1025776                5
06/30/76     06/30/77 American Reinsurance Co             M1025776                4
01/27/65     10/20/65 American Reinsurance Co             M-6672-0001             5

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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                              TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                         Insurer              Policy Number    Layer
05/17/66     10/20/66 American Reinsurance Co              M-6672-0002             6
10/20/66     10/20/67 American Reinsurance Co              M-6672-0002             6
10/20/67     10/20/68 American Reinsurance Co              M-6672-0002             6
06/30/84     06/30/85 Ancon Ins. Co. (U.K.)                KY048183                3
05/17/66     10/20/66 Andrew Weir Ins. Co. Ltd.            66/180390               8
10/20/66     10/20/67 Andrew Weir Ins. Co. Ltd.            66/180390               8
10/20/67     10/20/68 Andrew Weir Ins. Co. Ltd.            66/180390               8
06/30/74     06/30/75 Argonaut Northwest Ins. Co.          74DD662C                3
06/30/75     06/30/76 Argonaut Northwest Ins. Co.          74DD662C                5
06/30/76     06/30/77 Argonaut Northwest Ins. Co.          74DD662C                4
07/17/74     06/30/75 Argonaut Northwest Ins. Co.          74DD663C                6
06/30/75     06/30/76 Argonaut Northwest Ins. Co.          74DD663C                8
06/30/76     06/30/77 Assicurazioni Generali S.p.A.        76DD1595C               2
06/30/77     06/30/78 Assicurazioni Generali S.p.A.        76DD1595C               2
06/30/78     06/30/79 Assicurazioni Generali S.p.A.        76DD1595C               2
06/30/79     06/30/80 Associated International             AEL00208C               6
06/30/80     06/30/81 Associated International             AEL00208C               6
06/30/81     06/30/82 Associated International             AEL00208C               6
06/30/76     06/30/77 Bermuda Fire & Marine Ins. Co. Ltd.  76DD1594C               1
06/30/77     06/30/78 Bermuda Fire & Marine Ins. Co. Ltd.  76DD1594C               1
06/30/78     06/30/79 Bermuda Fire & Marine Ins. Co. Ltd.  76DD1594C               1
06/30/76     06/30/77 Bermuda Fire & Marine Ins. Co. Ltd.  76DD1595C               2
06/30/77     06/30/78 Bermuda Fire & Marine Ins. Co. Ltd.  76DD1595C               2
06/30/78     06/30/79 Bermuda Fire & Marine Ins. Co. Ltd.  76DD1595C               2
06/30/77     06/30/78 Bermuda Fire & Marine Ins. Co. Ltd.  77DD1631C               4
06/30/77     06/30/78 Bermuda Fire & Marine Ins. Co. Ltd.  77DD1632C               5
06/30/78     06/30/79 Bermuda Fire & Marine Ins. Co. Ltd.  78DD1417C               3
06/30/78     06/30/79 Bermuda Fire & Marine Ins. Co. Ltd.  78DD1418C               4
06/30/79     06/30/80 Bermuda Fire & Marine Ins. Co. Ltd.  79DD1633C               1
06/30/80     06/30/81 Bermuda Fire & Marine Ins. Co. Ltd.  79DD1633C               1
06/30/81     06/30/82 Bermuda Fire & Marine Ins. Co. Ltd.  79DD1633C               1
06/30/79     06/30/80 Bermuda Fire & Marine Ins. Co. Ltd.  79DD1634C               2
06/30/79     06/30/80 Bermuda Fire & Marine Ins. Co. Ltd.  79DD1635C               3
06/30/79     06/30/80 Bermuda Fire & Marine Ins. Co. Ltd.  79DD1636C               4
06/30/80     06/30/81 Bermuda Fire & Marine Ins. Co. Ltd.  80DD1643C               2
06/30/81     06/30/82 Bermuda Fire & Marine Ins. Co. Ltd.  80DD1643C               2
06/30/80     06/30/81 Bermuda Fire & Marine Ins. Co. Ltd.  80DD1644C               3
06/30/80     06/30/81 Bermuda Fire & Marine Ins. Co. Ltd.  80DD1645C               4
06/30/79     06/30/80 Bermuda Fire & Marine Ins. Co. Ltd.  DM025 A/B               6
06/30/79     06/30/80 Bermuda Fire & Marine Ins. Co. Ltd.  DM025. A/B              7
06/30/80     06/30/81 Bermuda Fire & Marine Ins. Co. Ltd.  KJ10029                 7
06/30/80     06/30/81 Bermuda Fire & Marine Ins. Co. Ltd.  KJ10029.                3
06/30/80     06/30/81 Bermuda Fire & Marine Ins. Co. Ltd.  KJ10029..               6
06/30/81     06/30/82 Bermuda Fire & Marine Ins. Co. Ltd.  KJ10040                 6
06/30/81     06/30/82 Bermuda Fire & Marine Ins. Co. Ltd.  KJ10040.                3
06/30/81     06/30/82 Bermuda Fire & Marine Ins. Co. Ltd.  KJ10040..               7
06/30/82     06/30/83 Bermuda Fire & Marine Ins. Co. Ltd.  KY017582                1
06/30/83     06/30/84 Bermuda Fire & Marine Ins. Co. Ltd.  KY017582                1
06/30/84     06/30/85 Bermuda Fire & Marine Ins. Co. Ltd.  KY017582                1
06/30/82     06/30/83 Bermuda Fire & Marine Ins. Co. Ltd.  KY017782                2
06/30/83     06/30/84 Bermuda Fire & Marine Ins. Co. Ltd.  KY017782                2

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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                               TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                          Insurer              Policy Number    Layer
06/30/84     06/30/85 Bermuda Fire & Marine Ins. Co. Ltd.   KY017782                2
06/30/82     06/30/83 Bermuda Fire & Marine Ins. Co. Ltd.   KY017882                3
06/30/83     06/30/84 Bermuda Fire & Marine Ins. Co. Ltd.   KY048183                3
06/30/84     06/30/85 Bermuda Fire & Marine Ins. Co. Ltd.   KY048183                3
06/30/81     06/30/82 Bermuda Fire & Marine Ins. Co. Ltd.   PY030181                3
06/30/81     06/30/82 Bermuda Fire & Marine Ins. Co. Ltd.   PY030281                4
06/30/78     06/30/79 Birmingham Fire Ins Co                SE6073371               7
06/30/79     06/30/80 Birmingham Fire Ins Co                SE6073508               6
06/30/80     06/30/81 Birmingham Fire Ins Co                SE6073646               6
06/30/81     06/30/82 Birmingham Fire Ins Co                SE6073657               6
06/30/82     06/30/83 Birmingham Fire Ins Co                SE6073957               4
06/30/83     06/30/84 Birmingham Fire Ins Co                SE6074116               4
06/30/83     06/30/84 Birmingham Fire Ins Co                SE6074145               3
06/30/83     06/30/84 Birmingham Fire Ins Co                SE6074146               4
06/30/84     06/30/85 Birmingham Fire Ins Co                SE6074318               4
06/30/74     06/30/75 Bishopsgate Ins. Co. Ltd.             74DD662C                3
06/30/75     06/30/76 Bishopsgate Ins. Co. Ltd.             74DD662C                5
06/30/76     06/30/77 Bishopsgate Ins. Co. Ltd.             74DD662C                4
07/17/74     06/30/75 Bishopsgate Ins. Co. Ltd.             74DD663C                6
06/30/75     06/30/76 Bishopsgate Ins. Co. Ltd.             74DD663C                8
07/17/74     06/30/75 Boston Old Colony Ins Co              LX2666569               5
06/30/75     06/30/76 Boston Old Colony Ins Co              LX2666569               7
06/30/76     06/30/77 Boston Old Colony Ins Co              LX2666569               6
05/17/66     10/20/66 British National Ins. Co. Ltd.        66/180390               8
10/20/66     10/20/67 British National Ins. Co. Ltd.        66/180390               8
10/20/67     10/20/68 British National Ins. Co. Ltd.        66/180390               8
06/30/83     06/30/84 British National Ins. Co. Ltd.        KY048183                3
06/30/84     06/30/85 British National Ins. Co. Ltd.        KY048183                3
06/30/83     06/30/84 British National Ins. Co. Ltd.        KY048283                4
10/20/68     10/20/69 British Northwestern                  411-4307                4
10/20/69     11/14/69 British Northwestern                  411-4307                4
11/14/69     10/20/70 British Northwestern                  411-4307.               4
10/20/70     06/30/71 British Northwestern                  411-4307.               4
06/30/80     06/30/81 Bryanston Ins. Co. Ltd.               80DD1643C               2
06/30/81     06/30/82 Bryanston Ins. Co. Ltd.               80DD1643C               2
06/30/80     06/30/81 Bryanston Ins. Co. Ltd.               80DD1644C               3
06/30/80     06/30/81 Bryanston Ins. Co. Ltd.               80DD1645C               4
06/30/81     06/30/82 Bryanston Ins. Co. Ltd.               PY030181                3
06/30/81     06/30/82 Bryanston Ins. Co. Ltd.               PY030281                4
06/30/81     06/30/82 Buffalo Reinsurance                   BR507551                7
06/30/82     06/30/83 Buffalo Reinsurance                   BR508040                5
06/30/79     06/30/80 C.A.M.A.T.                            79DD1638C               7
06/30/75     06/30/76 California Union Ins Co               ZCX001391/75DD1065C     3
07/17/74     06/30/75 Centennial Ins Co                     462013040               6
06/30/75     06/30/76 Centennial Ins Co                     462013040               8
06/30/76     06/30/77 Centennial Ins Co                     462013040               7
06/30/77     06/30/78 Centennial Ins Co                     462-01-68-10            8
06/30/78     06/30/79 Centennial Ins Co                     462017826               7
06/30/79     06/30/80 Centennial Ins Co                     462019494               6
06/30/81     06/30/82 Centennial Ins Co                     462021419               6
06/30/80     06/30/81 Centennial Ins Co                     462023810               6

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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                              TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                          Insurer             Policy Number        Layer
06/30/82     06/30/83 Centennial Ins Co                    462023979                   4
06/30/75     06/30/76 Central National Ins Co              CNU123383                   2
06/30/83     06/30/84 Century Indemnity Co                 CIZ426249                   4
06/30/80     06/30/81 Cie Europeene D'Ass. Industrielles   80DD1643C                   2
06/30/81     06/30/82 Cie Europeene D'Ass. Industrielles   80DD1643C                   2
06/30/80     06/30/81 Cie Europeene D'Ass. Industrielles   80DD1644C                   3
06/30/80     06/30/81 Cie Europeene D'Ass. Industrielles   80DD1645C                   4
06/30/82     06/30/83 Cie Europeene D'Ass. Industrielles   KY017582                    1
06/30/83     06/30/84 Cie Europeene D'Ass. Industrielles   KY017582                    1
06/30/84     06/30/85 Cie Europeene D'Ass. Industrielles   KY017582                    1
06/30/82     06/30/83 Cie Europeene D'Ass. Industrielles   KY017782                    2
06/30/83     06/30/84 Cie Europeene D'Ass. Industrielles   KY017782                    2
06/30/84     06/30/85 Cie Europeene D'Ass. Industrielles   KY017782                    2
06/30/82     06/30/83 Cie Europeene D'Ass. Industrielles   KY017882                    3
06/30/83     06/30/84 Cie Europeene D'Ass. Industrielles   KY048183                    3
06/30/84     06/30/85 Cie Europeene D'Ass. Industrielles   KY048183                    3
06/30/81     06/30/82 Cie Europeene D'Ass. Industrielles   PY030181                    3
06/30/81     06/30/82 Cie Europeene D'Ass. Industrielles   PY030281                    4
06/30/77     06/30/78 CNA Reinsurance of London Ltd.       76DD1595C                   2
06/30/78     06/30/79 CNA Reinsurance of London Ltd.       76DD1595C                   2
11/01/81     06/30/82 CNA Reinsurance of London Ltd.       KY003382                    5
06/30/79     06/30/80 Continental Casualty Co.             RDX1784282                  7
06/30/84     06/30/85 Continental Casualty Co.             RDX1784529                  2
06/30/80     06/30/81 Continental Casualty Co.             RDX1784981                  7
06/30/81     06/30/82 Continental Casualty Co.             RDX1784981                  7
06/30/82     06/30/83 Continental Casualty Co.             RDX1785056                  5
06/30/83     06/30/84 Continental Casualty Co.             RDX1785096                  5
06/30/77     06/30/78 Continental Casualty Co.             RDX1788117                  7
06/30/77     06/30/78 Continental Casualty Co.             RDX1788118                  8
08/09/73     06/30/74 Continental Casualty Co.             RDX8936833                  3
06/30/74     06/30/75 Continental Casualty Co.             RDX9156645                  2
06/30/75     06/30/76 Continental Casualty Co.             RDX9156645                  4
06/30/76     06/30/77 Continental Casualty Co.             RDX9156645                  3
06/30/76     06/30/83 Continental Casualty Company         CCP2483440            Primary
06/30/83     06/30/85 Continental Casualty Company         CCP2483440            Primary
06/30/73     06/30/76 Continental Casualty Company         CCP9023670            Primary
06/30/82     06/30/83 Continental Ins Co                   SRX1591702                  5
06/30/83     06/30/84 Continental Ins Co                   SRX1591976                  5
06/30/81     06/30/82 Continental Ins Co                   SRX3193093                  8
06/30/83     06/30/84 Dairyland Insurance Co               XL17275                     4
05/17/66     10/20/66 Dominion Ins. Co. Ltd.               66/180390                   8
10/20/66     10/20/67 Dominion Ins. Co. Ltd.               66/180390                   8
10/20/67     10/20/68 Dominion Ins. Co. Ltd.               66/180390                   8
06/30/79     06/30/80 Dominion Ins. Co. Ltd.               79DD1638C                   7
06/30/80     06/30/81 Dominion Ins. Co. Ltd.               80DD1647C                   7
06/30/77     06/30/78 Eisen Und Stahl                      6-1-31-181-001              8
06/30/79     06/30/80 El Paso Ins. Co. Ltd.                79DD1633C                   1
06/30/80     06/30/81 El Paso Ins. Co. Ltd.                79DD1633C                   1
06/30/81     06/30/82 El Paso Ins. Co. Ltd.                79DD1633C                   1
06/30/79     06/30/80 El Paso Ins. Co. Ltd.                79DD1634C                   2
06/30/79     06/30/80 El Paso Ins. Co. Ltd.                79DD1635C                   3

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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                               TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                          Insurer               Policy Number   Layer
06/30/79     06/30/80 El Paso Ins. Co. Ltd.                 79DD1636C               4
06/30/80     06/30/81 El Paso Ins. Co. Ltd.                 80DD1643C               2
06/30/81     06/30/82 El Paso Ins. Co. Ltd.                 80DD1643C               2
06/30/80     06/30/81 El Paso Ins. Co. Ltd.                 80DD1644C               3
06/30/80     06/30/81 El Paso Ins. Co. Ltd.                 80DD1645C               4
06/30/82     06/30/83 El Paso Ins. Co. Ltd.                 KY017582                1
06/30/83     06/30/84 El Paso Ins. Co. Ltd.                 KY017582                1
06/30/84     06/30/85 El Paso Ins. Co. Ltd.                 KY017582                1
06/30/82     06/30/83 El Paso Ins. Co. Ltd.                 KY017782                2
06/30/83     06/30/84 El Paso Ins. Co. Ltd.                 KY017782                2
06/30/84     06/30/85 El Paso Ins. Co. Ltd.                 KY017782                2
06/30/82     06/30/83 El Paso Ins. Co. Ltd.                 KY017882                3
06/30/83     06/30/84 El Paso Ins. Co. Ltd.                 KY048183                3
06/30/84     06/30/85 El Paso Ins. Co. Ltd.                 KY048183                3
06/30/81     06/30/82 El Paso Ins. Co. Ltd.                 PY030181                3
06/30/81     06/30/82 El Paso Ins. Co. Ltd.                 PY030281                4
06/30/71     06/30/72 Employers Comm'l Union                EY8220005               1
06/30/72     06/30/73 Employers Comm'l Union                EY8220005               1
06/30/73     06/30/74 Employers Comm'l Union                EY8220005               1
06/30/71     06/30/72 Employers Comm'l Union                EY8220006               4
06/30/72     06/30/73 Employers Comm'l Union                EY8220006               4
06/30/73     06/30/74 Employers Comm'l Union                EY8220006               4
06/30/78     06/30/79 Employers Mutual Cas Co               MM0-70348               6
06/30/78     06/30/79 Employers Mutual Cas Co               MM0-70349               7
06/30/78     06/30/79 Employers Mutual Cas Co               MMO-70347               5
05/17/66     10/20/66 English & American Ins. Co. Ltd.      66/180390               8
10/20/66     10/20/67 English & American Ins. Co. Ltd.      66/180390               8
10/20/67     10/20/68 English & American Ins. Co. Ltd.      66/180390               8
06/30/77     06/30/78 English & American Ins. Co. Ltd.      76DD1595C               2
06/30/78     06/30/79 English & American Ins. Co. Ltd.      76DD1595C               2
06/30/77     06/30/78 English & American Ins. Co. Ltd.      77DD1826                8
06/30/80     06/30/81 English & American Ins. Co. Ltd.      80DD1643C               2
06/30/81     06/30/82 English & American Ins. Co. Ltd.      80DD1643C               2
06/30/82     06/30/83 English & American Ins. Co. Ltd.      KY017782                2
06/30/83     06/30/84 English & American Ins. Co. Ltd.      KY017782                2
06/30/84     06/30/85 English & American Ins. Co. Ltd.      KY017782                2
06/30/79     06/30/80 European General                      FU78819413178           6
06/30/80     06/30/81 European General                      FU78819413180           6
06/30/79     06/30/80 European General                      FU78819413679           7
06/30/80     06/30/81 European General                      FU78819413680           7
06/30/77     06/30/78 Federal Insurance Co                  (78) 79221530           8
06/30/78     06/30/79 Federal Insurance Co                  (79) 79227260           7
06/30/79     06/30/80 Federal Insurance Co                  (80) 79227260           6
06/30/79     06/30/80 Federal Insurance Co                  (80) 79227298           7
06/30/80     06/30/81 Federal Insurance Co                  (81) 7922-7260          6
06/30/80     06/30/81 Federal Insurance Co                  (81) 7922-7298          7
06/30/81     06/30/82 Federal Insurance Co                  (82) 7922-7260          6
06/30/81     06/30/82 Federal Insurance Co                  (82) 7922-7298          7
07/17/74     06/30/75 Federal Insurance Co                  79221530                6
06/30/75     06/30/76 Federal Insurance Co                  79221530                8
06/30/76     06/30/77 Federal Insurance Co                  79221530                7

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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                               TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                        Insurer                Policy Number        Layer
06/30/84     06/30/85 Federal Insurance Co                  7928-26-20                  3
06/30/84     06/30/85 Federal Insurance Co                  7928-26-20.                 5
01/27/65     10/20/65 Fireman's Fund                        XL76937                     4
05/17/66     10/20/66 Fireman's Fund                        XL91085                     7
10/20/66     10/20/67 Fireman's Fund                        XL91085                     7
10/20/67     10/20/68 Fireman's Fund                        XL91085                     7
10/20/68     10/20/69 Fireman's Fund                        XLX1026877                  4
10/20/69     10/20/70 Fireman's Fund                        XLX1026877                  4
10/20/70     06/30/71 Fireman's Fund                        XLX1026877                  4
06/30/76     06/30/77 Fireman's Fund                        XLX1202930                  6
06/30/77     06/30/78 Fireman's Fund                        XLX1299553                  7
06/30/78     06/30/79 Fireman's Fund                        XLX1362955                  6
06/30/79     06/30/80 Fireman's Fund                        XLX1370426                  6
06/30/79     06/30/80 Fireman's Fund                        XLX1370427                  7
06/30/80     06/30/81 Fireman's Fund                        XLX1437060                  6
06/30/80     06/30/81 Fireman's Fund                        XLX1437061                  7
06/30/81     06/30/82 Fireman's Fund                        XLX1481490                  6
06/30/81     06/30/82 Fireman's Fund                        XLX1481491                  7
06/30/81     06/30/82 Fireman's Fund                        XLX1481492                  8
06/30/83     06/30/84 Fireman's Fund                        XLX1532227                  4
06/30/83     06/30/84 Fireman's Fund                        XLX1532228                  5
06/30/82     06/30/83 Fireman's Fund                        XLX1532474                  4
06/30/82     06/30/83 Fireman's Fund                        XLX1532475                  5
06/30/75     06/30/76 First State Ins Co                    922099                      3
06/30/76     06/30/77 First State Ins Co                    923099                      4
06/30/76     06/30/77 First State Ins Co                    923100                      6
06/30/84     06/30/85 Folksam International Ins. Co. Ltd.   KY048183                    3
06/30/81     06/30/82 GEICO                                 GXU30031                    8
06/30/82     06/30/83 GEICO                                 GXU30152                    5
06/30/83     06/30/84 GEICO                                 GXU30267                    5
06/01/61     06/01/62 General Insurance Company of America  BLP186027             Primary
06/01/62     06/01/63 General Insurance Company of America  BLP205359             Primary
06/01/63     06/01/64 General Insurance Company of America  BLP221289             Primary
06/01/64     06/01/65 General Insurance Company of America  BLP245115             Primary
06/01/65     06/01/66 General Insurance Company of America  BLP260071             Primary
06/01/66     06/01/67 General Insurance Company of America  BLP270815             Primary
06/30/78     06/30/79 Gerling Konzern Ins                   01/49/99/6282               3
06/30/81     06/30/82 Gerling Konzern Ins                   49/6409/01                  3
06/30/82     06/30/83 Gerling Konzern Ins                   49/6409/01.                 3
06/30/83     06/30/84 Gerling Konzern Ins                   49/6409/01.                 3
06/30/77     06/30/78 Gerling Konzern Ins                   49/99/6212/01               5
06/30/79     06/30/80 Gerling Konzern Ins                   49/99/6340/01               3
06/30/80     06/30/81 Gerling Konzern Ins                   49/99/6409/01               3
06/30/80     06/30/81 Gibraltar Cas. Co.                    GMX00656                    5
06/30/81     11/01/81 Gibraltar Cas. Co.                    GMX01275                    5
11/01/81     06/30/82 Gibraltar Cas. Co.                    GMX01407
06/30/82     06/30/83 Gibraltar Cas. Co.                    GMX01784
06/30/83     06/30/84 Gibraltar Cas. Co.                    GMX02269
06/30/84     06/30/85 Gibraltar Cas. Co.                    GMX02683
06/30/78     06/30/79 Granite State Ins                     61780491                    3
06/30/78     06/30/79 Granite State Ins                     61780492                    4

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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                               TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                        Insurer                Policy Number    Layer
06/30/78     06/30/79 Granite State Ins                     6178-0493               6
06/30/79     06/30/80 Granite State Ins                     61791383                2
06/30/79     06/30/80 Granite State Ins                     61791384                3
06/30/79     06/30/80 Granite State Ins                     61791385                4
06/30/79     06/30/80 Granite State Ins                     61791386                5
06/30/80     06/30/81 Granite State Ins                     6480-5013               2
06/30/80     06/30/81 Granite State Ins                     6480-5014               3
06/30/80     06/30/81 Granite State Ins                     6480-5015               4
06/30/80     06/30/81 Granite State Ins                     6480-5016               5
06/30/81     06/30/82 Granite State Ins                     6481-5220               2
06/30/81     06/30/82 Granite State Ins                     6481-5221               3
06/30/81     06/30/82 Granite State Ins                     6481-5222               4
06/30/81     06/30/82 Granite State Ins                     6481-5223               5
06/30/82     06/30/83 Granite State Ins                     6482-5442               2
06/30/82     06/30/83 Granite State Ins                     6482-5443               3
06/30/82     06/30/83 Granite State Ins                     6482-5444               4
06/30/83     06/30/84 Granite State Ins                     6483-5666               2
06/30/83     06/30/84 Granite State Ins                     6483-5667               3
06/30/83     06/30/84 Granite State Ins                     6483-5668               4
06/30/84     06/30/85 Granite State Ins                     6484-5866               3
06/30/84     06/30/85 Granite State Ins                     6484-5867               2
06/30/84     06/30/85 Granite State Ins                     6484-5890               4
06/30/77     06/30/78 Granite State Ins                     SCLD8093266             5
06/30/77     06/30/78 Granite State Ins                     SCLD80-93292            8
06/30/76     06/30/77 Granite State Ins                     SCLD80-93954            4
06/30/82     06/30/83 Guarantee Insurance Co                SL0950030               3
06/30/82     06/30/83 Guarantee Insurance Co                SL0950031               4
06/30/79     06/30/80 Haftpflichtverband                    EWI1016                 7
06/30/80     06/30/81 Haftpflichtverband                    EWI-1030                7
06/30/84     06/30/85 Haftpflichtverband                    EWI1067                 4
07/17/74     06/30/75 Harbor Insurance Co                   120346                  6
06/30/75     06/30/76 Harbor Insurance Co                   120346                  8
06/30/76     06/30/77 Harbor Insurance Co                   120346                  7
06/30/76     06/30/77 Hartford Insurance                    10XS100043              4
06/30/76     06/30/77 Hartford Insurance                    10XS100044              5
06/30/77     06/30/78 Hartford Insurance                    10XS100176              5
06/30/77     06/30/78 Hartford Insurance                    10XS100181              8
06/30/78     06/30/79 Hartford Insurance                    10XS100665              7
06/30/78     06/30/79 Hartford Insurance                    10XS100666              4
06/30/79     06/30/80 Hartford Insurance                    10XS100841              5
06/30/79     06/30/80 Hartford Insurance                    10XS100842              3
06/30/79     06/30/80 Hartford Insurance                    10XS100843              6
06/30/80     06/30/81 Hartford Insurance                    10XS100988              5
06/30/80     06/30/81 Hartford Insurance                    10XS100989              6
06/30/80     06/30/81 Hartford Insurance                    10XS100990              3
06/30/81     06/30/82 Hartford Insurance                    10XS102369              3
06/30/82     06/30/83 Hartford Insurance                    10XS102369.             3
06/30/83     06/30/84 Hartford Insurance                    10XS102369.             3
06/30/81     06/30/82 Hartford Insurance                    10XS102370              5
06/30/82     06/30/83 Hartford Insurance                    10XS102370.             4
06/30/83     06/30/84 Hartford Insurance                    10XS102370.             4

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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                               TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                       Insurer                 Policy Number    Layer
06/30/81     06/30/82 Hartford Insurance                    10XS102371              6
06/30/74     06/30/75 Highlands Ins. Co.                    74DD662C                3
06/30/74     06/30/75 Highlands Ins. Co.                    74DD662C                3
06/30/75     06/30/76 Highlands Ins. Co.                    74DD662C                5
06/30/75     06/30/76 Highlands Ins. Co.                    74DD662C                5
07/17/74     06/30/75 Highlands Ins. Co.                    74DD663C                6
07/17/74     06/30/75 Highlands Ins. Co.                    74DD663C                6
06/30/75     06/30/76 Highlands Ins. Co.                    74DD663C                8
06/30/75     06/30/76 Highlands Ins. Co.                    74DD663C                8
06/30/74     06/30/75 Highlands Ins. Co.                    SR10579                 3
06/30/75     06/30/76 Highlands Ins. Co.                    SR10579                 5
07/17/74     06/30/75 Highlands Ins. Co.                    SR10580                 5
06/30/75     06/30/76 Highlands Ins. Co.                    SR10580                 7
06/30/81     06/30/82 Home Insurance Co                     HEC1198525 (CITY)       8
06/30/81     06/30/82 Home Insurance Co                     HEC1198526 (CITY)       7
06/30/82     06/30/83 Home Insurance Co                     HEC1199602              5
02/27/73     06/30/73 Home Insurance Co                     HEC4356740              5
06/30/73     06/30/74 Home Insurance Co                     HEC4356740              5
06/30/74     06/30/75 Home Insurance Co                     HEC4356740              4
06/30/75     06/30/76 Home Insurance Co                     HEC4356740              6
06/30/76     06/30/77 Home Insurance Co                     HEC4356740              5
06/30/77     06/30/78 Home Insurance Co                     HEC4356740              6
07/17/74     06/30/75 Home Insurance Co                     HEC4495872              5
06/30/75     06/30/76 Home Insurance Co                     HEC4495872              7
06/30/76     06/30/77 Home Insurance Co                     HEC4495872              6
06/30/77     06/30/78 Home Insurance Co                     HEC4495872              7
10/20/68     10/20/69 Home Insurance Co                     HEC9304605              2
10/20/69     10/20/70 Home Insurance Co                     HEC9304605              2
10/20/70     06/30/71 Home Insurance Co                     HEC9304605              2
06/30/77     06/30/78 Home Insurance Co                     HEC9531436              8
10/20/62     10/20/63 Home Insurance Co                     HEC9543206              2
10/20/63     10/20/64 Home Insurance Co                     HEC9543206              2
10/20/64     10/20/65 Home Insurance Co                     HEC9543206              2
10/20/65     10/20/66 Home Insurance Co                     HEC9544498              2
10/20/66     10/20/67 Home Insurance Co                     HEC9544498              2
10/20/67     10/20/68 Home Insurance Co                     HEC9544498              2
06/30/78     06/30/79 Home Insurance Co                     HEC9694108 (CITY)       6
06/30/78     06/30/79 Home Insurance Co                     HEC9694109              5
06/30/78     06/30/79 Home Insurance Co                     HEC9694110 (CITY)       7
06/30/79     06/30/80 Home Insurance Co                     HEC9826188 (CITY)       5
06/30/79     06/30/80 Home Insurance Co                     HEC9826189 (CITY)       6
06/30/80     06/30/81 Home Insurance Co                     HEC9826575 (CITY)       6
06/30/71     06/30/72 Home Insurance Co                     HEC9919945              2
06/30/72     06/30/73 Home Insurance Co                     HEC9919945              2
06/30/73     06/30/74 Home Insurance Co                     HEC9919945              2
06/30/80     06/30/81 Ideal Mutual                          0052                    5
06/30/81     06/30/82 Ideal Mutual                          0076                    5
06/30/82     06/30/83 Ideal Mutual                          0109                    4
06/30/83     06/30/84 Illinois National                     886-7134                5
10/20/65     10/20/66 INA                                   XBC1834                 3
10/20/66     10/20/67 INA                                   XBC1834                 3

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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                               TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                         Insurer               Policy Number    Layer
10/20/67     10/20/68 INA                                   XBC1834                 3
10/20/68     10/20/69 INA                                   XBC1834                 3
10/20/69     10/20/70 INA                                   XBC1834                 3
10/20/70     06/30/71 INA                                   XBC1834                 3
06/30/77     06/30/78 INA                                   XCP12378                8
06/30/78     06/30/79 INA                                   XCP14341                7
06/30/83     06/30/84 INA                                   XCP145667               5
06/30/71     06/30/72 INA                                   XCP3745                 3
06/30/72     06/30/73 INA                                   XCP3745                 3
06/30/73     08/09/73 INA                                   XCP3745                 3
06/30/76     06/30/77 Insurance Co State of PA              4176-7052               4
06/30/77     06/30/78 Insurance Co State of PA              4177-7981               5
06/30/77     06/30/78 Insurance Co State of PA              4177-7982               7
06/30/77     06/30/78 Insurance Co State of PA              SEP 396-3996            8
06/30/78     06/30/79 Integrity Insurance Co                XL200420                5
06/30/79     06/30/80 Integrity Insurance Co                XL200699                4
06/30/80     06/30/81 Integrity Insurance Co                XL201688                4
06/30/81     06/30/82 Integrity Insurance Co                XL203279                4
06/30/81     06/30/82 Integrity Insurance Co                XL203280                8
06/30/82     06/30/83 Integrity Insurance Co                XL204091                3
06/30/82     06/30/83 Integrity Insurance Co                XL204091.               5
06/30/83     06/30/84 Integrity Insurance Co                XL207784                3
06/30/84     06/30/85 Integrity Insurance Co                XL208627                3
06/30/79     06/30/80 Kraft Ins. Co. Ltd.                   79DD1633C               1
06/30/80     06/30/81 Kraft Ins. Co. Ltd.                   79DD1633C               1
06/30/81     06/30/82 Kraft Ins. Co. Ltd.                   79DD1633C               1
06/30/79     06/30/80 Kraft Ins. Co. Ltd.                   79DD1634C               2
06/30/79     06/30/80 Kraft Ins. Co. Ltd.                   79DD1635C               3
06/30/79     06/30/80 Kraft Ins. Co. Ltd.                   79DD1636C               4
06/30/80     06/30/81 Kraft Ins. Co. Ltd.                   80DD1643C               2
06/30/81     06/30/82 Kraft Ins. Co. Ltd.                   80DD1643C               2
06/30/80     06/30/81 Kraft Ins. Co. Ltd.                   80DD1644C               3
06/30/80     06/30/81 Kraft Ins. Co. Ltd.                   80DD1645C               4
06/30/82     06/30/83 Kraft Ins. Co. Ltd.                   KY017582                1
06/30/83     06/30/84 Kraft Ins. Co. Ltd.                   KY017582                1
06/30/84     06/30/85 Kraft Ins. Co. Ltd.                   KY017582                1
06/30/82     06/30/83 Kraft Ins. Co. Ltd.                   KY017782                2
06/30/83     06/30/84 Kraft Ins. Co. Ltd.                   KY017782                2
06/30/84     06/30/85 Kraft Ins. Co. Ltd.                   KY017782                2
06/30/82     06/30/83 Kraft Ins. Co. Ltd.                   KY017882                3
06/30/83     06/30/84 Kraft Ins. Co. Ltd.                   KY048183                3
06/30/84     06/30/85 Kraft Ins. Co. Ltd.                   KY048183                3
06/30/81     06/30/82 Kraft Ins. Co. Ltd.                   PY030181                3
06/30/81     06/30/82 Kraft Ins. Co. Ltd.                   PY030281                4
06/30/74     06/30/75 Lexington Ins. Co.                    74DD662C                3
06/30/75     06/30/76 Lexington Ins. Co.                    74DD662C                5
06/30/76     06/30/77 Lexington Ins. Co.                    74DD662C                4
06/30/76     06/30/77 Lexington Ins. Co.                    76DD1595C               2
06/30/77     06/30/78 Lexington Ins. Co.                    76DD1595C               2
06/30/78     06/30/79 Lexington Ins. Co.                    76DD1595C               2
06/30/77     06/30/78 Lexington Ins. Co.                    77DD1631C               4

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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                              TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                        Insurer               Policy Number    Layer
06/30/77     06/30/78 Lexington Ins. Co.                   77DD1632C               5
06/30/78     06/30/79 Lexington Ins. Co.                   78DD1417C               3
06/30/78     06/30/79 Lexington Ins. Co.                   78DD1418C               4
06/30/79     06/30/80 Lexington Ins. Co.                   79DD1634C               2
06/30/79     06/30/80 Lexington Ins. Co.                   79DD1635C               3
06/30/79     06/30/80 Lexington Ins. Co.                   79DD1638C               7
06/30/80     06/30/81 Lexington Ins. Co.                   80DD1643C               2
06/30/81     06/30/82 Lexington Ins. Co.                   80DD1643C               2
06/30/80     06/30/81 Lexington Ins. Co.                   80DD1644C               3
06/30/80     06/30/81 Lexington Ins. Co.                   80DD1647C               7
11/01/81     06/30/82 Lexington Ins. Co.                   KY003382                5
06/30/82     06/30/83 Lexington Ins. Co.                   KY017782                2
06/30/83     06/30/84 Lexington Ins. Co.                   KY017782                2
06/30/84     06/30/85 Lexington Ins. Co.                   KY017782                2
06/30/82     06/30/83 Lexington Ins. Co.                   KY017882                3
06/30/82     06/30/83 Lexington Ins. Co.                   KY017982                4
06/30/83     06/30/84 Lexington Ins. Co.                   KY048183                3
06/30/83     06/30/84 Lexington Ins. Co.                   KY048283                4
06/30/81     06/30/82 Lexington Ins. Co.                   PY030181                3
05/17/66     10/20/66 Lloyds Underwriters                  66/180390               8
10/20/66     10/20/67 Lloyds Underwriters                  66/180390               8
10/20/67     10/20/68 Lloyds Underwriters                  66/180390               8
06/30/74     06/30/75 Lloyds Underwriters                  74DD662C                3
06/30/75     06/30/76 Lloyds Underwriters                  74DD662C                5
06/30/76     06/30/77 Lloyds Underwriters                  74DD662C                4
07/17/74     06/30/75 Lloyds Underwriters                  74DD663C                6
06/30/75     06/30/76 Lloyds Underwriters                  74DD663C                8
06/30/76     06/30/77 Lloyds Underwriters                  74DD663C                7
06/30/76     06/30/77 Lloyds Underwriters                  76DD1595C               2
06/30/77     06/30/78 Lloyds Underwriters                  76DD1595C               2
06/30/78     06/30/79 Lloyds Underwriters                  76DD1595C               2
06/30/77     06/30/78 Lloyds Underwriters                  77DD1631C               4
06/30/77     06/30/78 Lloyds Underwriters                  77DD1632C               5
06/30/77     06/30/78 Lloyds Underwriters                  77DD1826                8
06/30/78     06/30/79 Lloyds Underwriters                  78DD1417C               3
06/30/78     06/30/79 Lloyds Underwriters                  78DD1418C               4
06/30/78     06/30/79 Lloyds Underwriters                  78DD1419C               5
06/30/78     06/30/79 Lloyds Underwriters                  78DD1420C               7
06/30/79     06/30/80 Lloyds Underwriters                  79DD1634C               2
06/30/79     06/30/80 Lloyds Underwriters                  79DD1635C               3
06/30/79     06/30/80 Lloyds Underwriters                  79DD1636C               4
06/30/79     06/30/80 Lloyds Underwriters                  79DD1637C               6
06/30/79     06/30/80 Lloyds Underwriters                  79DD1638C               7
06/30/80     06/30/81 Lloyds Underwriters                  80DD1643C               2
06/30/81     06/30/82 Lloyds Underwriters                  80DD1643C               2
06/30/80     06/30/81 Lloyds Underwriters                  80DD1644C               3
06/30/80     06/30/81 Lloyds Underwriters                  80DD1645C               4
06/30/80     06/30/81 Lloyds Underwriters                  80DD1646C               6
06/30/80     06/30/81 Lloyds Underwriters                  80DD1647C               7
11/14/69     10/20/70 Lloyds Underwriters                  914/1/4116              4
10/20/70     06/30/71 Lloyds Underwriters                  914/1/4116              4

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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                              TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                          Insurer             Policy Number    Layer
10/20/68     10/20/69 Lloyds Underwriters                  914-102502              4
10/20/69     10/20/70 Lloyds Underwriters                  914-102502              4
10/20/70     06/30/71 Lloyds Underwriters                  914-102502              4
06/30/71     06/30/72 Lloyds Underwriters                  914105953               4
06/30/72     06/30/73 Lloyds Underwriters                  914105953               4
06/30/73     06/30/74 Lloyds Underwriters                  914105953               4
06/30/82     06/30/83 Lloyds Underwriters                  KY017782                2
06/30/83     06/30/84 Lloyds Underwriters                  KY017782                2
06/30/84     06/30/85 Lloyds Underwriters                  KY017782                2
06/30/82     06/30/83 Lloyds Underwriters                  KY017882                3
06/30/82     06/30/83 Lloyds Underwriters                  KY017982                4
06/30/83     06/30/84 Lloyds Underwriters                  KY048183                3
06/30/84     06/30/85 Lloyds Underwriters                  KY048183                3
06/30/83     06/30/84 Lloyds Underwriters                  KY048283                4
06/30/84     06/30/85 Lloyds Underwriters                  KY048283                4
06/30/81     06/30/82 Lloyds Underwriters                  PY030181                3
06/30/81     06/30/82 Lloyds Underwriters                  PY030281                4
06/30/81     06/30/82 Lloyds Underwriters                  PY030381                6
06/30/74     06/30/75 London & Edinburgh General Ins. Co.  74DD662C                3
06/30/74     06/30/75 London & Edinburgh General Ins. Co.  74DD662C                3
06/30/75     06/30/76 London & Edinburgh General Ins. Co.  74DD662C                5
06/30/75     06/30/76 London & Edinburgh General Ins. Co.  74DD662C                5
06/30/76     06/30/77 London & Edinburgh General Ins. Co.  74DD662C                4
06/30/76     06/30/77 London & Edinburgh General Ins. Co.  74DD662C                4
07/17/74     06/30/75 London & Edinburgh General Ins. Co.  74DD663C                6
07/17/74     06/30/75 London & Edinburgh General Ins. Co.  74DD663C                6
06/30/75     06/30/76 London & Edinburgh General Ins. Co.  74DD663C                8
06/30/75     06/30/76 London & Edinburgh General Ins. Co.  74DD663C                8
06/30/76     06/30/77 London & Edinburgh General Ins. Co.  74DD663C                7
05/17/66     10/20/66 London & Overseas Ins. Co. Ltd.      66/180390               8
10/20/66     10/20/67 London & Overseas Ins. Co. Ltd.      66/180390               8
10/20/67     10/20/68 London & Overseas Ins. Co. Ltd.      66/180390               8
06/30/82     06/30/83 London Guarantee & Acc               LX1898010               5
06/30/83     06/30/84 London Guarantee & Acc               LX2107836               5
06/30/81     06/30/82 London Guarantee & Acc               LX3193640               8
06/30/80     06/30/81 Louisville Ins. Co. Ltd.             80DD1643C               2
06/30/81     06/30/82 Louisville Ins. Co. Ltd.             80DD1643C               2
06/30/80     06/30/81 Louisville Ins. Co. Ltd.             80DD1644C               3
06/30/80     06/30/81 Louisville Ins. Co. Ltd.             80DD1645C               4
06/30/82     06/30/83 Louisville Ins. Co. Ltd.             KY017582                1
06/30/83     06/30/84 Louisville Ins. Co. Ltd.             KY017582                1
06/30/84     06/30/85 Louisville Ins. Co. Ltd.             KY017582                1
06/30/82     06/30/83 Louisville Ins. Co. Ltd.             KY017782                2
06/30/83     06/30/84 Louisville Ins. Co. Ltd.             KY017782                2
06/30/84     06/30/85 Louisville Ins. Co. Ltd.             KY017782                2
06/30/82     06/30/83 Louisville Ins. Co. Ltd.             KY017882                3
06/30/83     06/30/84 Louisville Ins. Co. Ltd.             KY048183                3
06/30/84     06/30/85 Louisville Ins. Co. Ltd.             KY048183                3
06/30/81     06/30/82 Louisville Ins. Co. Ltd.             PY030181                3
06/30/81     06/30/82 Louisville Ins. Co. Ltd.             PY030281                4
06/30/83     06/30/84 Ludgate Ins. Co. Ltd.                KY048183                3

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          SCHEDULE 1: PRIMARY & EXCESS INSURANCE POLICIES THAT WERE OR ARE APPLICABLE
                              TO ASBESTOS RELATED CLAIMS (sorted alphabetically)
     Policy Year
 Begin         End                          Insurer             Policy Number        Layer
06/30/84     06/30/85 Ludgate Ins. Co. Ltd.                KY048183                    3
10/20/68     10/20/69 Maryland Casualty Co.                WRG-1.                      4
10/20/69     10/20/70 Maryland Casualty Co.                WRG-1.                      4
10/20/70     06/30/71 Maryland Casualty Co.                WRG-1.                      4
06/30/71     06/30/72 Maryland Casualty Co.                WRG-2                       4
06/30/72     06/30/73 Maryland Casualty Co.                WRG-2                       4
06/30/73     06/30/74 Maryland Casualty Co.                WRG-2                       4
06/30/74     06/30/68 Maryland Casualty Company            31-278301             Primary
06/30/68     06/30/69 Maryland Casualty Company            31-278301             Primary
06/30/69     06/30/70 Maryland Casualty Company            31-278301             Primary
06/30/70     06/30/71 Maryland Casualty Company            31-R-911051           Primary
06/30/71     06/30/72 Maryland Casualty Company            31-R-911051           Primary
06/30/72     06/30/73 Maryland Casualty Company            31-R-911051           Primary
06/30/62     06/30/63 Maryland Casualty Company            96-205800             Primary
06/30/63     06/30/64 Maryland Casualty Company            96-224900             Primary
06/30/64     06/30/65 Maryland Casualty Company            96-243400             Primary
06/30/65     06/30/66 Maryland Casualty Company            96-257400             Primary
06/30/66     06/30/67 Maryland Casualty Company            96-269500             Primary
06/30/75     06/30/76 Mentor Ins. Co. (U.K.) Ltd.          74DD662C                    5
06/30/76     06/30/77 Mentor Ins. Co. (U.K.) Ltd.          76DD1595C                   2
06/30/77     06/30/78 Mentor Ins. Co. (U.K.) Ltd.          76DD1595C                   2
06/30/78     06/30/79 Mentor Ins. Co. (U.K.) Ltd.          76DD1595C                   2
06/30/79     06/30/80 Mentor Ins. Co. (U.K.) Ltd.          79DD1635C                   3
06/30/74     06/30/75 Midland Insurance Co                 111017056574-7              3
06/30/75     06/30/76 Midland Insurance Co                 111017056574-7              5
06/30/76     06/30/77 Midland Insurance Co                 111017056574-7              4
07/17/74     06/30/75 Midland Insurance Co                 1110171611748               5
06/30/75     06/30/76 Midland Insurance Co                 1110171611748               7
06/30/76     06/30/77 Midland Insurance Co                 1110171611748               6
06/30/78     06/30/79 Midland Insurance Co                 XL147450                    7
06/30/79     06/30/80 Midland Insurance Co                 XL147540                    6
06/30/77     06/30/78 Midland Insurance Co                 XL152467                    8
06/30/71     06/30/72 Midland Insurance Co                 XL1611 (WRG-2)              4
06/30/72     06/30/73 Midland Insurance Co                 XL1611 (WRG-2)              4
06/30/73     06/30/74 Midland Insurance Co                 XL1611 (WRG-2)              4
06/30/80     06/30/81 Midland Insurance Co                 XL706665                    6
06/30/81     06/30/82 Midland Insurance Co                 XL724449                    6
06/30/82     06/30/83 Midland Insurance Co                 XL739548                    4
06/30/83     06/30/84 Midland Insurance Co                 XL748917                    4
06/30/83     06/30/84 Midland Insurance Co                 XL748919                    5
05/17/66     10/20/66 Minster Ins. Co. Ltd.                66/180390                   8
10/20/66     10/20/67 Minster Ins. Co. Ltd.                66/180390                   8
10/20/67     10/20/68 Minster Ins. Co. Ltd.                66/180390                   8
06/30/74     06/30/75 Mission Insurance Co                 M81721                      3
06/30/75     06/30/76 Mission Insurance Co                 M81721                      5
06/30/76     06/30/77 Mission Insurance Co                 M81721.                     4
07/17/74     06/30/75 Mission Insurance Co                 M81722                      5
06/30/75     06/30/76 Mission Insurance Co                 M81722                      7
06/30/76     06/30/77 Mission Insurance Co                 M81722                      6
06/30/81     06/30/82 Mission Insurance Co                 M877286                     8
06/30/82     06/30/83 Mission Insurance Co                 M885801                     5

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